Case: 1:22-cv-04775 Document #: 34-4 Filed: 12/19/22 Page 1 of 230 PageID #:327




                              Exhibit C
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                          Page 2PageID.11497
                                                                 of 230 PageID #:328
                                                                               Page 1 of
                                         229


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   9
                         IN THE UNITED STATES DISTRICT COURT
  10
                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  11
                                         CIVIL DIVISION
  12
  13
  14    JAMES MILLER et al.,                           3:19-cv-01537-BEN-JLB
  15                                   Plaintiffs, DECLARATION OF ROBERT
                                                   SPITZER
  16                v.
                                                       Dept:        5A
  17                                                   Judge:       Hon. Roger T. Benitez
        CALIFORNIA ATTORNEY
  18    GENERAL ROB BONTA et al.,                      Action Filed: 8/15/2019
  19                                 Defendants.
  20
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                         Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                          Page 3PageID.11498
                                                                 of 230 PageID #:329
                                                                               Page 2 of
                                         229


   1                         DECLARATION OF ROBERT SPITZER
   2           I, Robert Spitzer, declare under penalty of perjury that the following is true
   3    and correct:
   4           1.      I have been asked by the California Department of Justice to render an
   5    opinion on the history of firearms restrictions enacted in the early twentieth century,
   6    addressing machine guns (fully automatic firearms), semiautomatic firearms, and
   7    ammunition feeding devices, and tracing those regulations back to earlier hardware
   8    and use restrictions on other types of weapons enacted in the nineteenth century and
   9    earlier.
  10           2.      This declaration is based on my own personal knowledge and
  11    experience, and if I am called to testify as a witness, I could and would testify
  12    competently to the truth of the matters discussed in this declaration.
  13           3.      I have been retained by the California Department of Justice to render
  14    expert opinions in this case. I am being compensated at a rate of $500 per hour.
  15                        BACKGROUND AND QUALIFICATIONS
  16           4.      I am a Distinguished Service Professor of Political Science Emeritus at
  17    the State University of New York at Cortland. I earned my Ph.D. in Government
  18    from Cornell University. I reside in Williamsburg, Virginia. A copy of my
  19    curriculum vitae is attached as Exhibit A to this Declaration.
  20           5.      I have been studying and writing about gun policy for over thirty
  21    years. My first publication on the subject appeared in 1985. Since then, I have
  22    published six books and over one hundred articles, papers, and essays on gun
  23    policy. My expertise includes the history of gun laws, gun policy in American
  24    politics, and related historical, legal, political, and criminological issues. My book,
  25    The Politics of Gun Control, has been in print since its initial publication in 1995.
  26    It examines firearms policy in the United States through the lenses of history, law,
  27    politics, and criminology. The eighth edition of the book was published in 2021 by
  28    Routledge Publishers. My two most recent books on gun policy, Guns across
                                                    1
                           Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                          Page 4PageID.11499
                                                                 of 230 PageID #:330
                                                                               Page 3 of
                                         229


   1    America (Oxford University Press, 2015) and The Gun Dilemma (Oxford
   2    University Press, 2023), both deal extensively with the study of historical gun laws.
   3    I am frequently interviewed and quoted in the national and international media on
   4    gun-related matters. For over twenty years, I have been a member of the National
   5    Rifle Association and of Brady (formerly, the Brady Campaign to Prevent Gun
   6    Violence).
   7          6.     I have provided written testimony as an expert witness in Worman v.
   8    Healey, No. 1:17-10107-WGY (D. Mass.), which concerned the constitutionality of
   9    Massachusetts’ restrictions on assault weapons. I have co-authored amicus briefs in
  10    numerous cases, including Nordyke v. King, U.S. Court of Appeals, Ninth Circuit,
  11    319 F.3d 1185 (2003); Republic of Iraq et al. v. Beaty et. al., U.S. Supreme Court,
  12    556 U.S. 848 (2009); McDonald v. Chicago, U.S. Supreme Court, 561 U.S. 742
  13    (2010); Ezell v. Chicago, U.S. Court of Appeals for the Seventh Circuit, 651 F.3d
  14    684 (2011); and People of the State of Illinois v. Aguilar, Illinois Supreme Court,
  15    No. 08 CR 12069 (2012).
  16          7.     I have also presented written testimony to the U.S. Congress on “The
  17    Second Amendment: A Source of Individual Rights?” submitted to the Judiciary
  18    Committee, Subcommittee on the Constitution, Federalism, and Property Rights,
  19    U.S. Senate, Washington, D.C., September 23, 1998; “Perspectives on the ‘Stand
  20    Your Ground’ Movement,” submitted to the Judiciary Committee, Subcommittee
  21    on the Constitution, Civil Rights and Human Rights, U.S. Senate, Washington,
  22    D.C., October 29, 2013; and “The Hearing Protection Act to Deregulate Gun
  23    Silencers,” submitted to Committee on Natural Resources, Subcommittee on
  24    Federal Lands, the U.S. House of Representatives, Hearings on the Sportsmen’s
  25    Heritage and Recreational Enhancement Act (SHARE Act), Washington, D.C.,
  26    September 12, 2017.
  27
  28
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                         Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                          Page 5PageID.11500
                                                                 of 230 PageID #:331
                                                                               Page 4 of
                                         229


   1                                          OPINIONS
   2    I.   INTRODUCTION
   3          1.     The current controversy surrounding legislative efforts to restrict semi-
   4    automatic assault weapons and large capacity magazines would seem to be a purely
   5    contemporary matter, responding to the modern phenomenon of mass shootings.
   6    The effort to restrict such weapons was sparked in part by a shooting at an
   7    elementary school in Stockton, California in 1989, when a man armed with an AK-
   8    47 and a handgun killed five children and wounded thirty-three others. Later that
   9    year, California enacted the first assault weapons ban in the country. Five years
  10    later, Congress enacted a limited ten year ban. 1 As of this writing, eight states plus
  11    the District of Columbia have similar bans in place. 2 These jurisdictions represent
  12    approximately 89 million people, or approximately 26.8% of the U.S. population.3
  13    Twelve states plus the District of Columbia restrict large capacity magazines
  14
  15          1
                Robert J. Spitzer, The Politics of Gun Control, 8th ed. (NY: Routledge,
  16    2021), 25-26, 205-11.
              2
  17             Giffords Law Center, Assault Weapons, https://giffords.org/lawcenter/gun-
        laws/policy-areas/hardware-ammunition/assault-weapons/; Robert J. Spitzer, The
  18
        Gun Dilemma (NY: Oxford University Press, 2023), 14-15. The nine American
  19    jurisdictions with assault weapons bans are: California, Connecticut, Delaware, the
        District of Columbia, Hawaii, Maryland, Massachusetts, New Jersey, and New
  20
        York. Notably, the U.S. House of Representatives passed a renewed federal assault
  21    weapons ban with magazine limitations in 2022 (H.R. 1808, 117th Cong. (2022)).
        Delaware recently enacted its assault weapons and large-capacity magazine
  22
        restrictions in June 2022. See Governor Carney Signs Package of Gun Safety
  23    Legislation (June 30, 2022), https://news.delaware.gov/2022/06/30/governor-
        carney-signs-package-of-gun-safety-legislation/.
  24
              3
                See U.S. Census, National Population Totals and Components of Change:
  25
        2020-2021, https://www.census.gov/data/tables/time-series/demo/popest/2020s-
  26    national-total.html#par_textimage_2011805803 (2021 state population estimates).
        The total population in these jurisdictions is estimated to be 88,976,315 out of a
  27
        U.S. total of 331,501,080.
  28
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                          Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                          Page 6PageID.11501
                                                                 of 230 PageID #:332
                                                                               Page 5 of
                                         229


   1    (LCMs).4 These jurisdictions represent more than 103 million individuals, or
   2    approximately 31.2% of the U.S. population.5 And in 2022, the U.S. House of
   3    Representatives passed a renewed nationwide assault weapons ban with LCM
   4    restrictions.6
   5           2.        These recent efforts to restrict assault weapons and LCMs are simply
   6    the latest chapter in a centuries-long effort to protect the public from harm and to
   7    dampen weapons-related criminality. The pattern of criminal violence and
   8    concerns for public safety leading to weapons restrictions is not new; in fact, it can
   9    be traced back to the Nation’s beginnings. While the particular weapons
  10    technologies and public safety threats have changed over time, governmental
  11    responses to the dangers posed by certain weapons have remained constant.
  12    Current restrictions on assault weapons and detachable ammunition magazines are
  13    historically grounded. They are part of a pattern in America’s history of legislative
  14    restrictions on particular weapons stretching back centuries.
  15
  16
  17
  18           4
                 Giffords Law Center, Large Capacity Magazines,
  19    https://giffords.org/lawcenter/gun-laws/policy-areas/hardware-ammunition/large-
        capacity-magazines/; Spitzer, The Gun Dilemma, 30. The thirteen jurisdictions are
  20    California, Colorado, Connecticut, Delaware, the District of Columbia, Hawaii,
  21    Maryland, Massachusetts, New Jersey, New York, Rhode Island, Vermont, and
        Washington. With two exceptions, all of these restrictions impose a ten-round limit
  22    on magazines, as did the 1994 federal law, and Hawaii’s restrictions apply to only
  23    handguns.
               5
  24            U.S. Census, National Population Totals and Components of Change: 2020-
        2021, https://www.census.gov/data/tables/time-series/demo/popest/2020s-national-
  25    total.html#par_textimage_2011805803 (2021 state population estimates). The total
  26    population in these jurisdictions is estimated to be 103,503,256 out of a U.S. total
        of 331,501,080.
  27           6
                   H.R. 1808, 117th Cong. (2022).
  28
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                             Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                          Page 7PageID.11502
                                                                 of 230 PageID #:333
                                                                               Page 6 of
                                         229


   1    II.   REGULATORY HISTORY OF FULLY AUTOMATIC AND SEMI-AUTOMATIC
   2          FIREARMS (EARLY TWENTIETH CENTURY)

   3          3.     A clear example of this historical pattern is provided by early

   4    twentieth-century restrictions related to fully automatic firearms. While weapons

   5    capable of firing rounds in rapid succession can be traced to guns of the late

   6    nineteenth and early twentieth centuries, like the hand-cranked, multi-barreled

   7    Gatling gun which could fire up to 200 rounds per minute,7 it and its successors

   8    were military weapons designed to be used in combat and fired from a tripod or

   9    similar supporting apparatus, owing to the Gatlin gun’s size and weight. Strictly

  10    speaking, guns like the Gatling gun were not fully automatic as they did not fire a

  11    continuous stream of bullets while depressing a gun trigger. The development of a

  12    fully automatic machine gun for battlefield use, capable of firing all of its rounds

  13    from a single barrel and with a single trigger pull, came to fruition during World

  14    War I, and to devastating effect, where tripod-mounted machine guns on the

  15    battlefield, like the Maxim, which initially fired 200-400 rounds per minute but

  16    later 400-600 rounds per minute from a gun weighing roughly 100 pounds.8

  17          4.     Out of World War I came a practical, lighter-weight, reliable, hand-

  18    held, fully automatic weapon: the Thompson submachine gun, widely known as the

  19
              7
                The Gatling gun, a manually operated, hand-cranked machine gun, was
  20
        adopted by the U.S. Army in 1866, and was utilized in warfare against Native
  21    Americans and the Spanish-American War of 1898. Richard W. Stewart, American
        Military History, Vol. I: The U.S. Army and the Forging of a Nation, 1775-1917
  22
        (Washington, D.C.: Center of Military History, 2008), 367-68; “Gatling Gun,”
  23    History.com, September 9, 2021, https://www.history.com/topics/american-civil-
        war/gatling-gun.
  24
              8
               Donald M. Snow and Dennis M. Drew, From Lexington to Desert Storm:
  25
        War and Politics in the American Experience (Armonk, NY: M.E. Sharpe, 1994),
  26    127; “How The Machine Gun Changed Combat During World War I,” Norwich
        University Online, October 15, 2020, https://online.norwich.edu/academic-
  27
        programs/resources/how-machine-gun-changed-combat-during-world-war-i.
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     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                          Page 8PageID.11503
                                                                 of 230 PageID #:334
                                                                               Page 7 of
                                         229


   1    Tommy gun. Though it was developed for use in World War I, it came too late in
   2    the war to have much effect. Its inventor, John Thompson, patented his .45 caliber
   3    gun in 1920.9 The Tommy gun was initially unregulated after World War I and
   4    made available for civilian purchase, typically with either a 20-30 round stick
   5    magazine or a 100-round drum magazine. (The U.S. military showed little interest
   6    in acquiring the weapon, as the military largely demobilized and contracted sharply
   7    in size after the war.10) It was only at this point—in the early 1920s—that such
   8    hand-held weapons operated reliably, were made available to civilians, and began
   9    to circulate in society,11 though sales in the early 1920s were sluggish. By 1925,
  10    Thompson’s marketing company, Auto Ordnance, had sold only about 3,000 of the
  11    15,000 it had manufactured up to this point, including to police forces and
  12    individuals.12 Before the early 1920s, these weapons were unregulated for the
  13    obvious reason that they did not exist or were not circulating widely in society.
  14    When they did begin to circulate, however, their uniquely destructive capabilities
  15    rapidly became apparent, especially to the emergent Prohibition-fueled gangster
  16    organizations of the 1920s. Another automatic weapon developed for World War I
  17    was the Browning Automatic Rifle (BAR). It fired a .30-06 caliber round, could
  18
  19          9
                Matthew Moss, “From Gangland to the Battlefield — 15 Amazing Facts
  20    About the Thompson Submachine Gun,” Military History Now, January 16, 2015,
        https://militaryhistorynow.com/2015/01/16/from-gangland-to-the-battlefield-15-
  21    amazing-facts-about-the-thompson-submachine-gun/.
  22          10
                   John Ellis, The Social History of the Machine Gun (NY: Pantheon, 1975),
  23    149-52.

  24
              11
                 Peter Suciu, “The Thompson Submachine Gun: Made for the U.S. Postal
        Service?” The National Interest, July 3, 2020,
  25    https://nationalinterest.org/blog/reboot/thompson-submachine-gun-made-us-postal-
        service-164096.
  26
              12
               Lee Kennett and James LaVerne Anderson, The Gun in America
  27
        (Westport, CT: Greenwood Press, 1975), 203.
  28
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     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                          Page 9PageID.11504
                                                                 of 230 PageID #:335
                                                                               Page 8 of
                                         229


   1    receive a 20-round box magazine, and could fire up to 650 rounds per minute. The
   2    BAR first appeared on the battlefield in 1918.13 It, too, made its way into civilian
   3    life and found favor among criminals and gangsters in the 1920s and early 1930s.14
   4    Like contemporary assault weapons and their use in mass shootings, guns like the
   5    Tommy gun and the BAR were actually used relatively infrequently by criminals
   6    generally, but when they were used, they exacted a devastating toll and garnered
   7    extensive national attention, such as their use in the infamous St. Valentine’s Day
   8    massacre in Chicago in 1929.15
   9          A.     State-Level and Nationwide Attempts to Regulate Automatic
  10                 and Semi-Automatic Firearms in the Early Twentieth
                     Century
  11
  12          5.     In response to the wider availability of firearms like the Tommy gun
  13    and the BAR, between 1925 and 1934, at least 32 states enacted anti-machine gun
  14    laws; eight of these laws were passed in 1927 alone (see Exhibits B and D). These
  15    state (and eventual federal) enactments were anticipated, justified, and promoted by
  16    the National Conference of Commissioners on Uniform State Laws, a national
  17    organization formed in 1892 to provide “non-partisan, well-conceived and well-
  18
  19
              13
                 Paul Richard Huard, “Browning Automatic Rifle: The Most Dangerous
        Machine Gun Ever?” The National Interest, November 19, 2019,
  20    https://nationalinterest.org/blog/buzz/browning-automatic-rifle-most-dangerous-
  21    machine-gun-ever-97662; “Browning automatic rifle,” Britannica, September 8,
        2022, https://www.britannica.com/technology/Browning-automatic-rifle.
  22          14
                 Derek Avery, Firearms (Hertfordshire, England: Wordsworth Editions,
  23    1995), 12. The BAR was a favorite of the notorious outlaws Bonnie and Clyde, for
  24    example. Christian Oord, “The Weapons of Bonnie & Clyde & the Guns That
        Stopped Them,” War History Online, April 26, 2019,
  25    https://www.warhistoryonline.com/history/weapons-of-bonnie-and-
        clyde.html?A1c=1.
  26
              15
               Chris McNab, Firearms and American Law Enforcement Deadly Force
  27
        (NY: Osprey Publishing, 2009), 97-98.
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   Case:
     3:19-cv-01537-BEN-JLB
         1:22-cv-04775 Document
                            Document
                                #: 34-4137-8
                                        Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 10PageID.11505
                                                                 of 230 PageID Page
                                                                               #:3369 of
                                        229


   1    drafted legislation that brings clarity and stability to critical areas of state statutory
   2    law.”16 (Today, the organization is known as the Uniform Law Commission.) In
   3    1923, the Commission organized a special committee to draft a “Uniform Act to
   4    Regulate the Sale and Possession of Firearms.” In 1928, it issued a model law
   5    calling for the prohibition of the possession of “any firearm which shoots more than
   6    twelve shots semi-automatically without reloading.”17 In 1930, it issued a model
   7    firearms act focusing on “guns of the pistol type.” In 1932, it issued a model act
   8    “intended not only to curb the use of the machine gun, but to make it unwise for
   9    any civilian to possess one of the objectionable type.” The Commission explained
  10    that, between 1923 and 1930, “the infant industry of racketeering grew to
  11    monstrous size, and with it the automatic pistol replaced the revolver, to be in turn
  12    displaced by a partly concealable type of machine gun-the Thompson .45 inch
  13    caliber submachine gun becoming most popular. . . .”18
  14           6.     Congress enacted a machine gun ban for the District of Columbia in
  15    1932 which included as a machine gun “any firearm which shoots automatically or
  16    semiautomatically more than twelve shots without reloading.”19 The National Rifle
  17    Association endorsed DC’s ban, stating “it is our desire [that] this legislation be
  18    enacted for the District of Columbia, in which case it can then be used as a guide
  19
               16
  20             Uniform Law Commission, About Us,
        https://www.uniformlaws.org/aboutulc/overview.
  21           17
                Report of Firearms Committee, 38th Conference Handbook of the National
  22    Conference on Uniform State Laws and Proceedings of the Annual Meeting 422-23
  23    (1928).

  24            “Uniform Machine Gun Act,” National Conference of Commissioners on
               18

        Uniform State Laws, Forty-Second Annual Conference, Washington, D.C., October
  25    4-10, 1932, http://www.titleii.com/bardwell/1932_uniform_machine_gun_act.txt.
  26            “Hearings Before the Committee on Ways and Means, National Firearms
               19

        Act, H.R. 9066,” U.S. House of Representatives, April 16, 18, May 14, 15, and 16,
  27
        1934 (Washington, D.C.: GPO, 1934), 45 ; 47 Stat. 650, ch. 465, §§ 1, 14 (1932).
  28
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                           Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 11
                                                               PageID.11506
                                                                 of 230 PageIDPage
                                                                               #:33710 of
                                          229


    1   throughout the states of the Union.”20 In his testimony before Congress in 1934 on
    2   the bill that became the National Firearms Act, NRA vice president Milton A.
    3   Reckord extolled his organization’s role in passing the 1932 D.C. law, saying, “. . .
    4   the association I represent is absolutely favorable to reasonable legislation. We are
    5   responsible for the uniform firearms act. . . . in the District of Columbia. It is on
    6   the books now.”21
    7          7.       In 1934, Congress enacted the National Firearms Act, which imposed
    8   a series of strict (and effective 22) requirements on the civilian acquisition and
    9   general circulation of fully automatic weapons, like the Tommy gun. The National
  10    Firearms Act imposed a tax on the manufacture, sale, and transfer of listed
  11    weapons, including machine guns, sawed-off shotguns and rifles, silencers, and
  12    “any other weapons” with certain firing capabilities. Such weapons had to be
  13    registered with the Treasury Department, and the owners fingerprinted and subject
  14    to a background check, with the payment of a $200 tax.23 The early models of the
  15    Tommy gun could fire “an astounding 1,500 rounds per minute. A Tommy gun
  16    could go through a 100-round drum magazine in four seconds. Later versions fired
  17    600 to 700 rounds per minute.”24
  18
  19
               20
                    S. Rep. No. 72-575, at 5-6 (1932).
  20
               21
                    “Hearings Before the Committee on Ways and Means,” 36.
  21           22
                 Philip J. Cook and Kristin A. Goss, The Gun Debate, 2nd ed. (NY: Oxford
  22    University Press, 2020), 13; Spitzer, The Politics of Gun Control, 195-96.
  23    According to the ATF’s national registry of machine guns, 726,951 are registered
        with the government as of 2020. Such weapons are rarely used in crimes. Firearms
  24    Commerce in the United States Annual Statistical Update 2020, United States
  25    Department of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives, 15,
        https://www.atf.gov/file/149886/download.
  26           23
                    48 Stat. 1236.
  27           24
                    Moss, “From Gangland to the Battlefield.”
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          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 12
                                                               PageID.11507
                                                                 of 230 PageIDPage
                                                                               #:33811 of
                                          229


    1          8.       In his opening statement to the Ways and Means Committee of the
    2   U.S. House of Representatives, Attorney General Homer Cummings made clear
    3   that the bill under consideration was designed to fight the epidemic of gun crime
    4   where criminals could evade capture by crossing state lines:
    5        The development of late years of the predatory criminal who passes
    6        rapidly from State to State, has created a situation which is giving
             concern to all who are interested in law and order. . . . there are more
    7        people in the underworld today armed with deadly weapons, in fact,
    8        twice as many, as there are in the Army and the Navy of the United
             States combined. . . . In other words, roughly speaking, there are at least
    9        500,000 of these people who are warring against society and who are
  10         carrying about with them or have available at hand, weapons of the most
             deadly character. 25
  11
  12    As one member of the committee observed, “The question in my mind and I think
  13    in the majority of the committee is what we can do to aid in suppressing violations
  14    by such men as [John] Dillinger and others.”26
  15           9.       To address the problem, the original version of the bill proposed
  16    regulating both semi-automatic and fully automatic firearms, as it defined restricted
  17    machine guns this way: “The term ‘machine gun’ means any weapon designed to
  18    shoot automatically or semiautomatically 12 or more shots without reloading.” 27
  19    The final version of the bill limited restrictions to fully automatic firearms.
  20    Contemporary assault weapons that fire semi-automatically, like AR-platform
  21    rifles, are excluded from the National Firearms Act.
  22
  23           25
                  “Hearings Before the Committee on Ways and Means,” 4. The version of
  24    the bill that appears on page 1 of the Hearings had this definition of machine gun:
  25    “The term ‘machine gun’ means any weapon designed to shoot automatically or
        semiautomatically twelve or more shots without reloading.”
  26           26
                    “Hearings Before the Committee on Ways and Means,” 42.
  27           27
                    Ibid., 52.
  28
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                             Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 13
                                                               PageID.11508
                                                                 of 230 PageIDPage
                                                                               #:33912 of
                                          229


    1          10.   In addition to the National Firearms Act’s restrictions on fully
    2   automatic weapons, during this same time period, at least seven states plus the
    3   District of Columbia, and as many as eleven states, enacted laws restricting semi-
    4   automatic weapons (see Exhibit B).28 The reason for restricting semi-automatic
    5   firearms is not hard to discern. With the exception of the District of Columbia’s
    6   restrictions on semi-automatic weapons, these restrictions all appeared in the same
    7   statutes as those restricting fully automatic weapons, which utilize the same
    8   fundamental firearms technology: an action that automatically loads a new round
    9   into the chamber after each shot is fired, potentially with the use of detachable
  10    ammunition magazines or similar feeding devices, and is capable of firing
  11    numerous rounds without reloading.29
  12           11.   As the prior discussion reveals, the regulation of automatic and semi-
  13    automatic weapons in the 1920s and 1930s was closely tied to the enhanced firing
  14    capacity of these weapons and the attractiveness (and use) of these weapons by
  15    criminals at that time. By that time, gun technology was now available that made it
  16    possible for ammunition to be reliably fired in rapid succession and guns to be
  17    reloaded through interchangeable ammunition magazines or similar devices.
  18    Again, the lesson is the same: once these technologies began to spread in civil
  19    society, regulatory efforts proliferated.
  20
  21
  22            See also Robert J. Spitzer, “Gun Law History in the United States and
               28

  23    Second Amendment Rights,” Law and Contemporary Problems 80 (2017): 68-71.
        The language of the restrictions in Illinois, Maine, and South Carolina was
  24    ambiguous regarding whether they applied to semi-automatic weapons.
  25           29
                  Spitzer, The Gun Dilemma, 32-33. In 1913, Florida enacted this measure:
  26    “It shall, at any time, be unlawful to hunt game in Marion County with guns—
        known as Automatic guns.” While an automatic weapon fires a continuous stream
  27    of bullets when the trigger is depressed, a semi-automatic weapon fires a single shot
  28    with each pull of the trigger.
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                          Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 14
                                                               PageID.11509
                                                                 of 230 PageIDPage
                                                                               #:34013 of
                                          229


    1          B.    State Regulation of Ammunition Feeding Devices
    2          12.   Restrictions on fully automatic and semi-automatic firearms were
    3   closely tied to restrictions on ammunition magazines or their equivalent, as both
    4   automatic and semi-automatic weapons are predicated on some kind of mechanical
    5   loading function or device that automatically feeds new rounds into the firing
    6   chamber after the previous round is fired. As is the case with contemporary state
    7   limitations on ammunition magazine capacity, state laws enacted early in the
    8   twentieth century imposed restrictions based on the number of rounds that could be
    9   fired without reloading, ranging from more than one (Massachusetts and
  10    Minnesota) up to a high of eighteen (Ohio).
  11           13.   Magazine firing limits were imposed in three categories of state laws
  12    (see Table 1 below): twelve states plus the District of Columbia regulating semi-
  13    automatic and fully automatic weapons (California, District of Columbia,
  14    Louisiana, Massachusetts, Michigan, Minnesota, New Jersey, North Carolina,
  15    Ohio, Rhode Island, South Carolina, South Dakota, and Virginia30); nine states
  16    regulated fully automatic weapons only, where the regulation was defined by the
  17
               30
  18             1933 Cal. Stat. 1169; Act of July 8, 1932, ch. 465, §§ 1, 8, 47 Stat. 650,
        650, 652 (District of Columbia); Act of July 2, 1931, 1931 Ill. Laws 452, 452; Act
  19    of July 7, 1932, no. 80, 1932 La. Acts 336; 1927 Mass. Acts 413, 413-14; Act of
  20    June 2, 1927, no. 372, 1927 Mich. Pub. Acts 887, 888; Mich. Pub. Acts 1929, Act
        No. 206, Sec. 3, Comp. Laws 1929; Act of Apr. 10, 1933, ch. 190, 1933 Minn.
  21    Laws 231, 232; Act of Apr. 8, 1933, no. 64, 1933 Ohio Laws 189, 189; 1927 R.I.
  22    Pub. Laws 256, 256; Act of Mar. 2, 1934, no. 731, 1934 S.C. Acts 1288; Uniform
        Machine Gun Act, ch. 206, 1933 S.D. Sess. Laws 245, 245; Act of Mar. 7, 1934,
  23    ch. 96, 1934 Va. Acts 137, 137. Two of these states enacted early laws focused on
  24    such weapons’ use in hunting. New Jersey had a 1920 law making it “unlawful to
        use in hunting fowl or animals of any kind any shotgun or rifle holding more than
  25
        two cartridges at one time, or that may be fired more than twice without reloading.”
  26    1920 N.J. Laws 67, ch. 31, Section 9. North Carolina made it “unlawful to kill
        quail with any gun or guns that shoot over two times before reloading” in 1917.
  27
        1917 N.C. Sess. Laws 309, ch. 209, Sec. 1.
  28
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                          Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 15
                                                               PageID.11510
                                                                 of 230 PageIDPage
                                                                               #:34114 of
                                          229


    1   number of rounds that could be fired without reloading or by the ability to receive
    2   ammunition feeding devices (Illinois, Minnesota, New Jersey, North Dakota,
    3   Oregon, Pennsylvania, Texas, Vermont, and Wisconsin31); and four states restricted
    4   all guns that could receive any type of ammo feeding mechanism or round feeding
    5   device and fire them continuously in a fully automatic manner (California, Hawaii,
    6   Missouri, and Washington State)32.
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               31
                 1931 Ill. Laws 452-53, An Act to Regulate the Sale, Possession and
  20    Transportation of Machine Guns, §§ 1-2; 1927 N.J. Laws 180-81, A Supplement to
  21    an Act Entitled “An Act for the Punishment of Crimes,” ch. 95, §§ 1-2; 1931 N.D.
        Laws 305-06, An Act to Prohibit the Possession, Sale and Use of Machine Guns,
  22    Sub-Machine Guns, or Automatic Rifles and Defining the Same . . . , ch. 178, §§ 1-
  23    2; 1933 Or. Laws 488, An Act to Amend Sections 72-201, 72-202, 72-207; 1929
        Pa. Laws 777, §1; 1933 Tex. Gen. Laws 219-20, 1st Called Sess., An Act Defining
  24    “Machine Gun” and “Person”; Making It an Offense to Possess or Use Machine
  25    Guns. . . , ch. 82, §§ 1-4, § 6; 1923 Vt. Acts and Resolves 127, An Act to Prohibit
        the Use of Machine Guns and Automatic Rifles in Hunting, § 1; 1933 Wis. Sess.
  26    Laws 245, 164.01.
  27           32
                    1933 Haw. Sess. Laws 117; 1929 Mo. Laws 170; Wash. 1933 Sess. Laws
  28    335.
                                                    13
                           Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 16
                                                               PageID.11511
                                                                 of 230 PageIDPage
                                                                               #:34215 of
                                          229


    1                                          TABLE 1
    2      AMMUNITION MAGAZINE RESTRICTIONS IN 23 STATES, 1917-193433
    3     Semi-automatic and        Fully Automatic                  All Firearms
          Fully Automatic           Firearms                         (any weapon capable of
    4     Firearms                  (barred firearms capable         receiving rounds through
          (barred firearms holding  of firing the listed             certain named round-
    5     more than the listed      number of rounds or              feeding devices)
          number of rounds or       more without reloading
    6     more without reloading)   or that could receive
                                    ammunition feeding
    7                               devices)
          -California (10 rounds;   -Illinois (8 rounds; 1931)       -California (1927)
    8     1933)                     -Minnesota (12 rounds;           -Hawaii (1933)
          -District of Columbia (12 1933)                            -Missouri (1929)
    9     rounds; 1932)             -New Jersey (any                 -Washington State
          -Louisiana (8 rounds;     removable device                 (1933)
  10      1932)                     holding rounds; 1927)
          -Massachusetts (1 round; -North Dakota (loadable
  11      1927)                     bullet reservoir; 1931)
          -Michigan (16 rounds;     -Oregon (2 rounds; 1933)
  12      1927)                     -Pennsylvania (2 rounds;
          -Minnesota (1 round;      1929)
  13      1933)                     -Texas (5 rounds; 1933)
          -New Jersey (2 rounds;    -Vermont (6 rounds;
  14      hunting only; 1920)       1923)
          -North Carolina (2        -Wisconsin (2 rounds;
  15      rounds; hunting only;     1933)
          1917)
  16      -Ohio (18 rounds; 1933)
          -Rhode Island (12
  17      rounds; 1927)
          -South Carolina (8
  18      rounds; 1934)
          -South Dakota (5 rounds;
  19      1933)
          -Virginia (7 rounds;
  20      1934)
  21    See Exhibit D for statutory text.
  22
  23
  24
               33
                 Including the District of Columbia. Note that California, Minnesota, and
  25
        New Jersey appear twice in this table. The dataset from which this information is
  26    drawn ended in 1934, so it does not include any states that might have enacted
        similar restrictions after 1934. See Duke Law Center for Firearms Law,
  27
        “Repository of Historical Gun Laws,” https://law.duke.edu/gunlaws/.
  28
                                                   14
                          Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 17
                                                               PageID.11512
                                                                 of 230 PageIDPage
                                                                               #:34316 of
                                          229


    1           14.      A 1927 California law, for example, prohibited the possession of any
    2   “machine gun,” where that term was defined to include:
    3          all firearms known as machine rifles, machine guns or submachine guns
    4          capable of discharging automatically and continuously loaded
               ammunition of any caliber in which the ammunition is fed to such gun
    5          from or by means of clips, disks, drums, belts or other separable
    6          mechanical device.34
    7   The other three states in this category (Hawaii, Missouri, Washington 35) utilized
    8   this same description. In all, at least twenty-three states enacted twenty-six gun
    9   restrictions based on the regulation of ammunition magazines or similar feeding
  10    devices, and/or round capacity (see Table 1). The original version of the legislation
  11    that became the National Firearms Act of 1934, as noted earlier, included this
  12    definition of machine gun that encompassed both semi-automatic and fully
  13    automatic firearms: “The term ‘machine gun’ means any weapon designed to shoot
  14    automatically or semiautomatically 12 or more shots without reloading.”36 (This
  15    text was derived from the law enacted by Congress for the District of Columbia in
  16    1932, which also stipulated a 12 round limit, as noted previously. 37 The final
  17    version of the 1934 bill was limited to fully automatic firearms only and did not
  18    include any limitation by number of rounds fired.) Regulations concerning
  19    removable magazines and magazine capacity were in fact common as early as the
  20    1920s—the period of time when these weapons and devices began to make their
  21    way into civilian life and also contributed to violence and criminality—as these
  22
                34
                     1927 Cal. Stat. 938 (emphasis added).
  23            35
                     1933 Haw. Sess. Laws 117; 1929 Mo. Laws 170; Wash. 1933 Sess. Laws
  24    335.
  25            “National Firearms Act,” Hearings Before the Committee on Ways and
                36


  26    Means, House of Representatives, on H.R. 9066, April 16, 18, and May 14, 15, and
        16, 1934 (Washington, D.C.: GPO, 1934), 52.
  27            37
                     Ibid., 45.
  28
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                              Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 18
                                                               PageID.11513
                                                                 of 230 PageIDPage
                                                                               #:34417 of
                                          229


    1   regulations were adopted by nearly half of all states, representing approximately
    2   58% of the American population at that time. 38
    3          C.    Lessons from the Regulation of Automatic and Semi-
    4                Automatic Firearms and Ammunition Feeding Devices in the
                     Early Twentieth Century
    5
    6          15.   The lesson from this sequence of events early in the twentieth century
    7   demonstrates that changes in gun policy followed a series of steps that respond to
    8   developments in firearms technologies and their use in crime, each dependent on
    9   the previous step. First, a new gun or gun technology is invented. Second, it may
  10    then be patented, though the patenting of a design or idea by no means assures that
  11    it will proceed beyond this point. Third, it may then be developed with a focus on
  12    military applications and supplying military needs, not directly for civilian
  13    acquisition or use. Fourth, some military-designed weapons may then spread to, or
  14    be adapted to, civilian markets and use. Finally, if such weapons then circulate
  15    sufficiently in society to pose a safety, violence, or criminological problem or
  16    threat, calls for government regulation or restriction then may lead to gun
  17    policy/law changes. New gun laws are not enacted when firearm technologies are
  18    invented or conceived. They are enacted when those technologies circulate
  19    sufficiently in society to spill over into criminal or other harmful use, presenting
  20    public safety concerns that governments attempt to address through their police and
  21    policy-making powers.
  22           16.   This lesson is significant because some argue that the absence of
  23    government gun regulations in history—at the time of the invention of various
  24    weapons or weapons developments—means that regulations now are unjustifiable,
  25
               38
  26             U.S. Census, Historical Population Change Data (1910-1920) (using 1920
        census data), https://www.census.gov/data/tables/time-series/dec/popchange-data-
  27
        text.html.
  28
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                          Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 19
                                                               PageID.11514
                                                                 of 230 PageIDPage
                                                                               #:34518 of
                                          229


    1   or have no historical basis. For example, David Kopel argues that “[m]agazines of
    2   more than ten rounds are older than the United States.”39 Drawing on examples like
    3   a firearm “created around 1580” capable of firing sixteen “‘superposed’ loads”
    4   (with each round stacked on top of the other); the Puckle gun said to fire eleven
    5   shots and patented in 1718; the Girandoni air rifle, invented in the late 1700s; and
    6   the Pepperbox pistol of the early 1800s,40 Kopel suggests that “magazines of more
    7   than ten rounds are older than the Second Amendment.” 41 Therefore, by Kopel’s
    8   reckoning, since these weapons existed early in (or even before) the country’s
    9   existence, and were not specifically regulated, ipso facto, today’s governments are
  10    unable to regulate assault weapons, like AR-platform rifles, or magazines
  11    exceeding certain capacities (typically, a ten-round limit).42
  12           17.      Kopel’s and similar arguments43 fail for two sets of reasons. First, as
  13    explained in the following section, this sort of narrative misrepresents the
  14    availability and capabilities of these early weapons. Second, the account fails to
  15    understand the relationship between firearms’ technological development, their
  16    spread into civil society, and government gun policy. As one gun history expert
  17    noted, “the guns of 1830 were essentially what they had been in 1430: single metal
  18           39
                 David Kopel, “The History of Firearm Magazines and Magazine
  19    Prohibitions,” Albany Law Review 78 (2014-2015): 851.
               40
  20            Ibid., 852-54.
               41
  21                Ibid., 849.
                Ibid., 871-72 (“a court which today ruled that [10-round] magazines are
               42
  22
        ‘dangerous and unusual’ would seem to have some burden of explaining how such
  23    magazines, after a century and a half of being ‘in common use’ and ‘typically
  24    possessed by law-abiding citizens for lawful purposes,’ became ‘dangerous and
        unusual’ in the twenty-first century.”).
  25
                Declaration of Ashley Hlebinsky in Support Of Plaintiffs’ Motion for
               43

  26    Preliminary Injunction, Miller v. Becerra, Case No. 3:19-cv-01537-BEN-JLB,
        United States District Court For The Southern District Of California, filed
  27
        September 27, 2019 (Plaintiffs’ Trial Exhibit 2).
  28
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                             Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 20
                                                               PageID.11515
                                                                 of 230 PageIDPage
                                                                               #:34619 of
                                          229


    1   tubes or barrels stuffed with combustible powder and projectiles” where “after
    2   every shot, the shooter had to carry out a minimum of three steps: pour powder into
    3   the barrel; add a projectile. . .; then ignite the gunpowder and send the projectile on
    4   its way.”44 The firearms and firearm feeding devices regulated in the early
    5   twentieth century represented a dramatically different type of firearm, capable of
    6   reliable, rapid fire utilizing interchangeable ammunition feeding devices.
    7          D.       The History of Pre-Twentieth Century Firearms Technologies
    8          18.      As researchers and experts of gun history have noted, experimental
    9   multi-shot guns existed in the eighteenth century (with multi-shot experimental
  10    designs dating back as much as two centuries earlier). Kopel’s example of a
  11    firearm from the late 1500s that could fire up to sixteen rounds is drawn from a
  12    book titled, Firearms Curiosa. But this book’s very title indicates why this
  13    narrative is irrelevant to the modern gun debate. The definition of “curiosa” is
  14    something that is rare or unusual. As the book’s author, James Winant says, his
  15    book is about “oddity guns” and “peculiar guns.”45 That is, they were anything but
  16    common, ordinary, or found in general circulation. Winant’s description of the
  17    sixteen shot gun from the 1500s is that “the first pull of the trigger” fires “nine
  18    Roman candle charges, a second pull will release the wheel on the rear lock and set
  19    off six more such charges, and finally a third pull will fire the one remaining
  20    shot.”46 A “Roman candle charge” was defined by Winant as one where “the
  21    operator had no control of the interval between shots; he could not stop the firing
  22    once he had started it.”47 In other words, this firing process was more like lighting
  23
               44
  24           Jim Rasenberger, Revolver: Sam Colt and the Six-Shooter That Changed
        America (NY: Scribner, 2021), 3-4.
  25           45
                    James Winant, Firearms Curiosa (New York: Bonanza Books, 1955), 8, 9.
  26           46
                    Ibid., 168.
  27           47
                    Ibid., 166.
  28
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                             Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 21
                                                               PageID.11516
                                                                 of 230 PageIDPage
                                                                               #:34720 of
                                          229


    1   the fuse of a string of firecrackers, where their ignition occurs in a manner that
    2   cannot be controlled by the operator once the initial charge is ignited. Winant
    3   concludes: “Of all the ideas for producing multishot firearms the scheme of
    4   superimposing loads in one barrel is probably the oldest, the most discredited, the
    5   most frequently recurring, and also the most readily accepted as new.” 48
    6          19.      An early multi-shot gun, the “Puckle Gun,” patented in 1718 in
    7   London by James Puckle, could fire nine rounds per minute (hardly comparable to
    8   the firing capabilities of semi- and fully automatic weapons of the early twentieth
    9   century or modern era). The patent drawing of this weapon shows it sitting on a
  10    tripod on the ground.49 It was not a held-held weapon. In the patent, Puckle
  11    described it as “a portable Gun or Machine (by me lately invented) called a
  12    DEFENCE.”50 It was indeed a military weapon, as Winant says: “Of the oddities
  13    among military weapons none has received more publicity than the Puckle gun. . . .
  14    The Puckle invention was probably the first crank-operated machine gun. It
  15    embodied several elements that closely resemble construction features of Gatling,
  16    Hotchkiss and other manually-operated machine guns.” Winant continued, “It is
  17    doubtful that any of the Puckle guns that may have been actually produced ever saw
  18    service. A different account of this weapon says: “There is in fact no record of such
  19    a gun ever having been built,”51 although there are claims to the contrary. A
  20    contemporaneous poet, commenting on ‘Puckle’s Machine Company’, wrote ‘Fear
  21
  22
  23
  24
               48
                    Ibid., 166.
  25           49
                    Ibid., 220.
  26           50
                    Ibid., 219.
  27           51
                    Ellis, The Social History of the Machine Gun, 13.
  28
                                                      19
                             Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 22
                                                               PageID.11517
                                                                 of 230 PageIDPage
                                                                               #:34821 of
                                          229


    1   not, my friends, this terrible machine. They’re only wounded who have shares
    2   therein.’”52 This weapon “never advanced beyond the prototype stage.” 53
    3          20.      In short, it was an experimental weapon designed for military use, and
    4   the patent’s reference to “DEFENCE” was clearly a reference to military defense,
    5   not personal defense. As this account confirms, it was likely never even
    6   manufactured beyond perhaps a prototype. It was a failed effort, even though later
    7   gun inventors learned from its failure.
    8          21.      Kopel also cites the example of the Jennings multi-shot flintlock rifle
    9   from 1821, capable of firing up to twelve “superposed” shots before reloading. 54
  10    Yet according to Flayderman’s Guide to Antique American Firearms, its
  11    production quantity was so small as to be “unknown” and therefore is “extremely
  12    rare,” unsurprising since it utilized fatally defective “superposed” firing (discussed
  13    earlier) relying on twelve individual touchholes.55 Similar problems plagued or
  14    doomed multi-shot flintlock pistols of the early nineteenth century. According to
  15    Carl P. Russell: “Flintlock revolving pistols had been given trials and some
  16    practical use very early in the nineteenth century, but the loose priming powder in
  17    the pan of each cylinder constituted a hazard that was never eliminated.”56
  18           22.      Another example often cited is the Girandoni (or Girardoni) air rifle, a
  19    military weapon developed for crack shots in the Austrian army that was capable of
  20           52
                 Winant, Firearms Curiosa, 219-21. See also “The Puckle Gun: Repeating
  21    Firepower in 1718,” December 25, 2016,
        https://www.youtube.com/watch?v=GPC7KiYDshw.
  22
               53
                    Rasenberger, Revolver, 3.
  23           54
                    Kopel, “The History of Firearm Magazines and Magazine Prohibitions,”
  24    853.
  25           55
                  Norm Flayderman, Flayderman’s Guide to Antique American Firearms, 9th
        ed. (Iola, IA: Gun Digest Books, 2007), 683.
  26
               56
               Carl P. Russell, Guns on the Early Frontier (Lincoln, NE: University of
  27
        Nebraska Press, 1957), 91.
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                            Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
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     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 23
                                                               PageID.11518
                                                                 of 230 PageIDPage
                                                                               #:34922 of
                                          229


    1   firing up to 20 rounds. One of these was taken along on the Lewis and Clark
    2   expedition of 1804-1806.57 But these guns were a rarity, as they were extremely
    3   expensive, fragile, and complex, and few were made—no more than about 1,500.58
    4   In fact, the rifles never caught on as they proved to be impractical on the battlefield,
    5   and even more so for civilian use. To wit: “Leather gaskets needed to be constantly
    6   maintained and swelled with water to sustain pressure. Once empty the reservoirs
    7   required a significant effort and 1500 strokes to restore full power. A supply wagon
    8   was subsequently outfitted with a mounted pump to readily supply soldiers but this
    9   negated one of the key features—mobility. The rudimentary fabrication methods of
  10    the day engineered weak threading on the reservoir neck and this was the ultimate
  11    downfall of the weapon. The reservoirs were delicate in the field and if the riveted
  12    brazed welds parted the weapon was rendered into an awkward club as a last
  13    resort.”59 It was pulled from military service by 1815.60
  14
  15
  16
               57
                 David Kopel, “The history of magazines holding 11 or more rounds:
  17    Amicus brief in 9th Circuit,” Washington Post, May 29, 2014,
  18    https://www.washingtonpost.com/news/volokh-conspiracy/wp/2014/05/29/the-
        history-of-magazines-holding-11-or-more-rounds-amicus-brief-in-9th-circuit/. The
  19    Girandoni air gun taken by Lewis and Clark was never used in combat or battle, but
  20    to impress the Native Americans they encountered. Whenever they planned to fire
        the gun, they were careful to prepare it before encountering Native Americans so
  21    that they were not aware of the extensive pre-fire preparations needed. See Stephen
  22    E. Ambrose, Undaunted Courage (NY: Simon and Schuster, 1996), 158, 160, and
        passim.
  23
                Mike Markowitz, “The Girandoni Air Rifle,” DefenseMediaNetwork, May
               58
  24    14, 2013, https://www.defensemedianetwork.com/stories/the-girandoni-air-rifle/.
  25            John Paul Jarvis, “The Girandoni Air Rifle: Deadly Under Pressure,”
               59


  26    GUNS.com, March 15, 2011, https://www.guns.com/news/2011/03/15/the-
        girandoni-air-rifle-deadly-under-pressure.
  27           60
                    Markowitz, “The Girandoni Air Rifle.”
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                            Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 24
                                                               PageID.11519
                                                                 of 230 PageIDPage
                                                                               #:35023 of
                                          229


    1          23.     To take another example, the Volcanic repeating pistol, patented in
    2   1854, was said to have the ability to fire up to “ten or greater rounds.”61 The
    3   Volcanic Repeating Arms Company was founded in 1855, and it experimented with
    4   a number of design innovations. But the company was “short-lived” and went
    5   “defunct” in 1866, even though its partners included Horace Smith, Daniel B.
    6   Wesson, and Courtlandt Palmer.62 Its patent and technological work were
    7   important for subsequent developments, especially for Smith and Wesson’s later
    8   work, but the actual weapons produced by Volcanic were few, flawed, and
    9   experimental,63 dubbed “radical defects” by Winchester himself. 64 In 1857 and
  10    1858, Volcanic produced 3,200 “flawed” repeaters, most of which “collected dust
  11    for many decades” until the company finally sold them for fifty cents each to
  12    employees. 65
  13           24.     Another account laboring to establish early gun firing provenance
  14    asserts that “[s]emi-automatic technology was developed in the 1880s” with the
  15    “Mannlicher rifle. . . generally attributed to be the first semi-automatic rifle.” 66 Yet
  16    this “development” was initially a failure: “Ferdinand von Mannlicher’s Model
  17    1885 self-loading rifle design” was “a failure, never seeing anything even
  18    resembling mass production.”67 The true semi-automatic weapon did not become
  19
                Declaration of Ashley Hlebinsky, Miller v. Becerra, 6 (Plaintiffs’ Trial
               61

  20    Exhibit 2).
               62
  21                Pamela Haag, The Gunning of America (NY: Basic Books, 2016), 51-52.
  22
               63
                 “Volcanic Repeating Arms,” https://military-
        history.fandom.com/wiki/Volcanic_Repeating_Arms, n.d.; Flayderman,
  23    Flayderman’s Guide to Antique American Firearms, 303-5.
  24           64
                    Quoted in Haag, The Gunning of America, 56.
  25           65
                    Haag, The Gunning of America, 60.
  26            Declaration of Ashley Hlebinsky, Miller v. Becerra, 8 (Plaintiffs’ Trial
               66

        Exhibit 2).
  27
               67
                    Ian McCollum, “Mannlicher 1885 Semiauto Rifle,” Forgotten Weapons,
  28
                                                     22
                            Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
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     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 25
                                                               PageID.11520
                                                                 of 230 PageIDPage
                                                                               #:35124 of
                                          229


    1   feasible and available until the beginning of the twentieth century, and the primary
    2   market was the military. 68
    3          25.      The more well-known “pepperbox,” a multi-shot firearm where the
    4   number of shots capable of being fired repeatedly coincided with the number of
    5   barrels bundled together, found some civilian market popularity in the early 1800s,
    6   but it was rapidly eclipsed by the superior Colt revolver. The reason: pepperboxes
    7   were “heavy, lumpy, and impractical.”69 By another account, “because of its small
    8   bore, short range, and lack of accuracy, the pepperbox was by no means as
    9   satisfactory as a revolver for military use.” 70 Further, “[t]hey also had a nasty habit
  10    of discharging all their barrels at once. No shooter could be certain he would not
  11    get two or three innocent bystanders, as well as his intended victim.” 71 Indeed, the
  12    Colt revolver was “the first widely used multishot weapon,” 72 although it took
  13    decades for this and similar revolvers to catch on.
  14           26.      Colt’s technological developments notwithstanding, single shot guns
  15    were the ubiquitous firearm until after the Civil War, although some long gun
  16
  17
  18
  19
  20    May 6, 2015, https://www.forgottenweapons.com/mannlicher-1885-semiauto-rifle/.
  21           Philip Schreier, “A Short History of the Semi-Automatic Firearm,”
               68

        America’s 1st Freedom, July 2022, 32-39.
  22
               69
                    Rasenberger, Revolver, 54.
  23           70
                    Lewis Winant, Pepperbox Firearms (New York: Greenberg Pub., 1952),
  24    30.
  25           71
                 Larry Koller, The Fireside Book of Guns (NY: Simon and Schuster, 1959),
  26    154. By another account, “it was a disconcerting but not uncommon experience to
        have all six barrels go off in unison.” Winant, Pepperbox Firearms, 32.
  27           72
                    Rasenberger, Revolver, 401.
  28
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                            Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 26
                                                               PageID.11521
                                                                 of 230 PageIDPage
                                                                               #:35225 of
                                          229


    1   repeaters appeared late in the Civil War.73 Even so, the “standard infantry weapon
    2   [in the Civil War] remained the single-shot, muzzle-loaded weapon.”74
    3          27.      As noted, the idea of an available, affordable, reliable multi-shot
    4   firearm did not arise until the development of Colt’s multi-shot revolver in the
    5   1830s. Indeed, Colt biographer Jim Rasenberger says that Colt’s pistol was the first
    6   practical firearm that could shoot more than one bullet without reloading. 75 Even
    7   then, Colt could not readily manufacture multi-shot weapons for many years
    8   because he could find no market for them, either from the government or the public.
    9   The government, in fact, dismissed such firearms as mere “novelties.”76 After an
  10    1837 test of Colt’s gun and others the government concluded that it was “entirely
  11    unsuited to the general purposes of the service.” 77 The government also rejected
  12    the weapon after tests in 1836, 1840, and 1850. Colt’s early failure to cultivate
  13    either a military or a civilian market in the U.S. drove him to bankruptcy and then
  14    to market his guns to European governments in the 1840s. The gun made
  15    appearances in the pre-Civil War West, yet even during the Civil War, “Colt’s
  16    revolver was a sideshow through most of the war. . . .”78 And though the Colt-type
  17    revolver “had proved itself, the official sidearm of the United States Army [in the
  18
  19
               Kopel, “The history of magazines holding 11 or more rounds”; Kennett
               73

  20    and Anderson, The Gun in America, 112-13.
               74
  21             Snow and Drew, From Lexington to Desert Storm, 90. As Civil War
        historian James M. McPherson noted, even though some repeating rifles appeared
  22    in the Civil War as early as 1863, single-shot muzzle-loaders “remained the
  23    principal infantry weapons throughout the war.” Battle Cry of Freedom (NY:
        Oxford University Press, 1988), 475.
  24
               75
                    Rasenberger, Revolver, 3-5, 401.
  25           76
                    Pamela Haag, The Gunning of America (NY: Basic Books, 2016), 24.
  26           77
                    Rasenberger, Revolver, 136.
  27           78
                    Ibid., 390.
  28
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     3:19-cv-01537-BEN-JLB
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 27
                                                               PageID.11522
                                                                 of 230 PageIDPage
                                                                               #:35326 of
                                          229


    1   Civil War] remained a single shot pistol.”79 It took the Colt’s use during the Civil
    2   War to finally spur the post-Civil War proliferation of the Colt-type revolver and
    3   similar firearms into society. 80
    4          28.       While inventor Benjamin Henry claims credit for developing the first
    5   practical, lever action repeating rifle (patented in 1860), his competitor Winchester
    6   “deftly gutted” the Henry Arms Company, coopting it to form the Winchester Arms
    7   Company in 1866, paving the way for Winchester’s dominance.81 The Winchester
    8   rifle could fire up to fifteen rounds without reloading. Yet the widely known
    9   Winchester 1873, “was designed for sale to the Government as a military arm.” 82 A
  10    gun whose legendary status wildly outdistanced its actual production and impact, it
  11    was nevertheless an important firearm in the late nineteenth century, although this
  12    “quintessential frontier rifle flourished later, in the ‘post-frontier’ early 1900s. Its
  13    celebrity biography backdated its diffusion and even its popularity.” 83 In fact, the
  14    slogan stating that the Winchester “won the West” was invented by a Winchester
  15    executive as a marketing ploy in 1919.84 Additionally, the Winchester was not a
  16    semi-automatic firearm; it was a lever-action rifle that required the shooter to
  17    manipulate a lever in a forward-and-back motion before each shot. And when the
  18    gun was emptied, it had to be manually reloaded, one round at a time. 85 The
  19    Winchester Model 1905, then called a “self-loading” rifle, was a true semi-
  20           79
                     Kennett and Anderson, The Gun in America, 91.
  21
               Haag, The Gunning of America, 34-37, 46-64. As Haag said, “the Civil
               80

  22    War saved” the gun industrialists (65).
               81
  23                 Haag, The Gunning of America, 96.
               82
  24                 Koller, The Fireside Book of Guns, 112.
               83
  25                 Haag, The Gunning of America, 179.
               84
                     Ibid., 353.
  26
               85
                     Normally, a Remington-type rifle is loaded from a feed ramp on the side of
  27
        the rifle.
  28
                                                       25
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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 28
                                                               PageID.11523
                                                                 of 230 PageIDPage
                                                                               #:35427 of
                                          229


    1   automatic firearm. It could receive a five or ten round box magazine, although
    2   from 1905 to 1920 only about 30,000 of the guns were made. Even in World
    3   War I, soldiers primarily used bolt-action one shot rifles that could fire about
    4   twelve rounds per minute.86
    5          29.   With all this, the Winchester was by no means universally embraced
    6   by long gun users. Indeed, “a good many westerners would have nothing to do
    7   with the early Winchesters or other repeaters, for reasons they considered very
    8   sound, and not until the 1880s did the repeating rifle assert its dominance over the
    9   single-shot breechloader.”87 According to A.C. Gould, writing in 1892, single-shot
  10    rifles were: “less complicated, and less liable to get out of order; will shoot a
  11    greater variety of ammunition; will shoot uncrimped ammunition, patched or
  12    unpatched bullets; will permit the use of a longer barrel; an explosive bullet can be
  13    used; a greater range of rear sights on tang can be used.”88
  14           30.   The rise in the circulation of multi-shot handguns in society was
  15    accompanied by the rapid spread of concealed carry restrictions (see Exhibits B-E),
  16    especially in the post-Civil War period, precisely because of their contribution to
  17    escalating interpersonal violence.89 By the end of the nineteenth century, virtually
  18
                Robert Johnson and Geoffrey Ingersoll, “It’s Incredible How Much Guns
               86
  19    Have Advanced Since The Second Amendment,” Military & Defense, December
  20    17, 2012, https://finance.yahoo.com/news/incredible-much-guns-improved-since-
        174927324.html; Phil Bourjaily, “Blast From the Past: Winchester Model 1905,”
  21    Field & Stream, January 11, 2019, https://www.fieldandstream.com/blast-from-
  22    past-winchester-model-1905/.
               87
  23            Louis A. Garavaglia and Charles G. Worman, Firearms of the American
        West, 1866-1894 (Albuquerque, NM: University of New Mexico Press, 1985), 129.
  24           88
                Quoted in Garavaglia and Worman, Firearms of the American West, 1866-
  25    1894, 131.
               89
  26             Dickinson D. Bruce, Violence and Culture in the Antebellum South
        (Austin, TX: University of Texas Press, 1979); Randolph Roth, American Homicide
  27
        (Cambridge, MA: Belknap Press, 2012).
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                          Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 29
                                                               PageID.11524
                                                                 of 230 PageIDPage
                                                                               #:35528 of
                                          229


    1   every state in the country prohibited or severely restricted concealed gun and other
    2   weapons carrying. 90 It was only in the post-World War I era when multi-shot semi-
    3   automatic and fully automatic long guns began to circulate appreciably in society
    4   and came to be associated with criminal use that they became a regulatory and
    5   public policy concern.
    6          31.     As noted earlier, the problems with arguments claiming that historical
    7   multi-shot weapons were both viable and commonly possessed before the late
    8   nineteenth century are two-fold: they misrepresent the actual past of the weapons
    9   cited, and even more importantly fail to understand the connection between gun
  10    technology developments and the steps leading up to changes in gun-related public
  11    policy to regulate threats posed by those developments. As discussed previously,
  12    that process has occurred, both historically and in the modern era, through a series
  13    of sequential steps.
  14           32.     First, a new gun or gun technology must be invented. Second, it is
  15    then normally patented, noting that there are many steps between a patent, actual
  16    gun production, distribution and dissemination. As Lewis Winant sardonically
  17    observed, “Many patents are granted for arms that die a-borning.”91 And as gun
  18    expert Jack O’Connor wrote, “many types of guns were invented, produced and
  19    discarded through the early years of the development of the United States.”92
  20    Third, weapons development is historically tied to military need and military
  21    acquisition, not directly for civilian use or self-defense applications. Military
  22    weaponry is developed without consideration of potential civilian use and the
  23
  24           90
                 Spitzer, “Gun Law History in the United States and Second Amendment
  25    Rights,” 63-67.
               91
                    Winant, Firearms Curiosa, 36.
  26
               Jack O’Connor, Complete Book of Rifles and Shotguns (NY: Harper &
               92
  27
        Row, 1961), 42.
  28
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                            Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 30
                                                               PageID.11525
                                                                 of 230 PageIDPage
                                                                               #:35629 of
                                          229


    1   consequences of dissemination in the civilian market. 93 Fourth, some military-
    2   designed weapons may then spill over into, or be adapted to, civilian markets and
    3   use. Fifth, if such weapons then circulate sufficiently to pose a public safety or
    4   criminological problem or threat, calls for government regulation or restriction then
    5   may lead to gun policy/law changes. This general sequence is echoed in works like
    6   the Buyer’s Guide to Assault Weapons.94
    7          33.    Again, to simply assert or assume that past firearms
    8   design/development, invention, or patenting equals commonality, viability, or a
    9   measurable presence or impact on society, is a leap in logic without historical
  10    foundation. It would be as logical to reject modern governmental regulation of
  11    electric power through such government agencies as state power commissions and
  12    the Federal Energy Regulatory Commission because no such regulation was
  13    enacted around the time of Benjamin Franklin’s experiments with electricity in the
  14    mid-eighteenth century. The fact that inventors worked on new firearm designs and
  15    modifications tells us nothing about the consequences of such designs for society
  16    and public policy. And the existence of such designs does not equal general
  17    availability, much less societal circulation and use of these weapons. Other
  18    weapons subject to government restriction in our history further illustrate these
  19    principles.
  20
  21
  22
               93
  23              Note that the third step, and perhaps the second, do not apply to non-
        firearms weapons discussed here—in particular the Bowie knife and various clubs.
  24    These weapons were mostly not developed for military use, though Bowie knives,
  25    for example, were carried by some soldiers during the Civil War. Knives and clubs
        are far simpler technologically compared to firearms (and of course do not rely on
  26    ammunition) and thus were much more easily made, reproduced, and circulated.
  27            Phillip Peterson, Buyer’s Guide to Assault Weapons (Iola, IA: Gun Digest
               94

  28    Books, 2008), 4-7.
                                                   28
                          Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 31
                                                               PageID.11526
                                                                 of 230 PageIDPage
                                                                               #:35730 of
                                          229


    1   III. HISTORICAL HARDWARE RESTRICTIONS ON KNIVES, BLUNT WEAPONS,
    2        PISTOLS, AND TRAP GUNS IN THE EIGHTEENTH AND NINETEENTH
             CENTURIES
    3
    4          34.   Similar to government regulation of certain types of firearms and
    5   ammunition feeding devices in the early twentieth century, which occurred only
    6   after the weapons technologies matured, entered the civilian market, and threatened
    7   the public through criminal use, government regulation of other weapons typically
    8   followed a version of this trajectory around the time of the ratification of the
    9   Fourteenth Amendment in the 1860s and even earlier.
  10           A.    Historical Restrictions on the Bowie Knife and Similar Long-
  11                 Bladed Knives

  12           35.   The Bowie knife is generally credited with having been invented by

  13    the brother of adventurer Jim Bowie, Rezin Bowie. The knife was named after Jim

  14    Bowie, who reputedly killed one man and wounded another using a “big knife”

  15    given to him by his brother in the alternately notorious or celebrated “Sandbar

  16    Duel” in 1827.95 Bowie died at the Alamo in 1836.

  17           36.   The “Bowie knife” rapidly became known in the 1830s for the

  18    distinctive type of long-bladed single-edged knife with a hand guard identified with

  19    Bowie, the man after whom the knife was named. The Bowie legend, the explosive

  20    growth and spread of Bowie-related mythology (only magnified by his death at the

  21    Alamo), and the knife’s distinctive features, encouraged its proliferation, 96 referred

  22
  23           95
                 “Bowie Knife,” Encyclopedia of Arkansas, n.d.,
  24    https://encyclopediaofarkansas.net/entries/bowie-knife-2738/; William C. Davis,
        Three Roads to the Alamo (NY: HarperCollins, 1998), 207-8. Davis persuasively
  25    dismisses the claim of a blacksmith, James Black, that he invented or styled the
        distinctive knife for Rezin Bowie (676-77).
  26
               96
               Virgil E. Baugh, Rendezvous at the Alamo (Lincoln, NE: University of
  27
        Nebraska Press, 1985), 39-63.
  28
                                                   29
                          Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 32
                                                               PageID.11527
                                                                 of 230 PageIDPage
                                                                               #:35831 of
                                          229


    1   to by one historian as “the craze for the knives.” 97 As was true of other knives with
    2   long, thin blades,98 they were widely used in fights and duels, especially at a time
    3   when single-shot pistols were often unreliable and inaccurate.99 Indeed, such
    4   knives were known as “fighting knives” 100 that were “intended for combat.” 101 In
    5   the early nineteenth century “guns and knives accounted for a growing share of the
    6   known weapons that whites used to kill whites.”102 In 1834, for example, a grand
    7   jury in Jasper County, Georgia deplored
    8        the practice which is common amongst us with the young the middle
    9        aged and the aged to arm themselves with Pistols, dirks knives sticks &
             spears under the specious pretence of protecting themselves against
  10         insult, when in fact being so armed they frequently insult others with
  11         impunity, or if resistance is made the pistol dirk or club is immediately
             resorted to, hence we so often hear of the stabbing shooting & murdering
  12         so many of our citizens.103
  13           37.      Homicide rates increased in the South in the early nineteenth century,
  14    as did laws restricting concealed weapons carrying. Dueling also persisted during
  15    this time, even as the practice was widely deplored by religious and other groups, in
  16
  17
               97
  18                Davis, Three Roads to the Alamo, 583.
               98
                  Other such long-bladed, thin knives of varying configurations typically
  19
        named in laws barring their carrying included the Arkansas toothpick, the Spanish
  20    stiletto, dirks, daggers, and the like.
               99
  21            Davis, Three Roads to the Alamo, 164, 208; Baugh, Rendezvous at the
        Alamo, 42; Karen Harris, “Bowie Knives: The Old West’s Most Famous Blade,”
  22    Oldwest, n.d., https://www.oldwest.org/bowie-knife-history/; Norm Flayderman,
  23    The Bowie Knife (Lincoln, RI: Andrew Mowbray, 2004), 485.
               100
  24             Randolph Roth, American Homicide (Cambridge, MA: Harvard
        University Press, 2009), 218.
  25           101
                     Flayderman, The Bowie Knife, 59.
  26           102
                     Roth, American Homicide, 218.
  27           103
                     Quoted in Roth, American Homicide, 218-19.
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                            Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 33
                                                               PageID.11528
                                                                 of 230 PageIDPage
                                                                               #:35932 of
                                          229


    1   newspapers, by anti-dueling societies and political leaders.104 Bowie knife expert
    2   Norm Flayderman provides abundant and prolific evidence of the early criminal use
    3   of Bowie knives in the 1830s, quoting from dozens of contemporaneous newspaper
    4   and other accounts, and providing references to literally hundreds of additional
    5   articles and accounts attesting to the widespread use of Bowie knives in fights,
    6   duels, brawls and other criminal activities. 105 Flayderman concludes that, as early
    7   as 1836, “most of the American public was well aware of the Bowie knife.” 106
    8   (Very much like contemporary assault weapons, 107 the Bowie knife’s notorious
    9   reputation also, if perversely, fanned its sale and acquisition.108) All this led to
  10    widespread enactment of laws prohibiting dueling in the states 109 and even in the
  11    halls of Congress, where a constitutional amendment in the form of a joint
  12    resolution prohibiting dueling was introduced as early as 1838. In 1839, Congress
  13    passed a measure barring dueling in the District of Columbia. 110 Both pistols and
  14    knives were prominently used in such affairs. 111
  15
  16           104
                     Baugh, Rendezvous at the Alamo, 51.
  17           105
                     Flayderman, The Bowie Knife, 25-64; 495-502.
               106
  18                 Ibid., 43.
               107
  19             Ryan Busse, Gunfight (NY: Public Affairs, 2021), 12-15,65; David
        Altheide, “The cycle of fear that drives assault weapon sales,” The Guardian,
  20    March 2, 2013, https://www.theguardian.com/commentisfree/2013/mar/02/cycle-
  21    fear-assault-weapon-sales; Rukmani Bhatia, “Guns, Lies, and Fear,” American
        Progress, April 24, 2019, https://www.americanprogress.org/article/guns-lies-fear/.
  22
               108
                     Flayderman, The Bowie Knife, 46.
  23           109
                   A search for the word “duel” in the Duke Center for Firearms Law
  24    database of old gun laws yields 35 results. See
  25    https://firearmslaw.duke.edu/repository/search-the-repository/.
               110
  26              H.R. 8, Joint Resolution Prohibiting Dueling, introduced March 5, 1838,
        https://history.house.gov/Records-and-Research/Listing/lfp_032/.
  27           111
                     Roth, American Homicide, 180-83, 210-17.
  28
                                                      31
                             Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 34
                                                               PageID.11529
                                                                 of 230 PageIDPage
                                                                               #:36033 of
                                          229


    1          38.        In the 1840 case of Aymette v. State, the Supreme Court of Tennessee
    2   upheld the conviction of William Aymette for wearing a Bowie knife concealed
    3   under his clothes under a state law of 1837-1838, ch. 137, sec. 2, providing “that, if
    4   any person shall wear any bowie-knife, or Arkansas toothpick, or other knife or
    5   weapon that shall in form, shape, or size resemble a bowie-knife or Arkansas
    6   toothpick, under his clothes, or keep the same concealed about his person such
    7   person shall be guilty of a misdemeanor, and, upon conviction thereof, shall be
    8   fined in a sum not less than two hundred dollars, and shall be imprisoned in the
    9   county jail not less than three months and not more than six months.”112 In its
  10    decision, the court concluded that the prohibition against wearing the named
  11    weapons was well justified in that they “are usually employed in private broils, and
  12    which are efficient only in the hands of the robber and the assassin.”113 The court
  13    continued, “The Legislature, therefore, have a right to prohibit the wearing or
  14    keeping weapons dangerous to the peace and safety of the citizens. . . .”114 Further,
  15    the court added that the state law existed “to preserve the public peace, and protect
  16    our citizens from the terror which a wanton and unusual exhibition of arms might
  17    produce, or their lives from being endangered by desperadoes with concealed
  18    arms. . . .”115
  19           39.        The ubiquity of the concern about the criminological consequences of
  20    carrying Bowie knives and other, similar long-bladed knives is seen in the
  21    widespread adoption of laws barring or restricting these weapons. 116 In the 1830s,
  22           112
                     Aymette v. State, 21 Tenn. 152, 153 (Tenn. 1840).
  23           113
                     Ibid., 156.
  24           114
                     Ibid., 157.
  25           115
                     Ibid.
               116
  26            The near-immediate effort in the states to restrict Bowie knives was noted,
        for example, in Davis, Three Roads to the Alamo, 582, and in Flayderman, The
  27
        Bowie Knife, 53-54.
  28
                                                       32
                              Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 35
                                                               PageID.11530
                                                                 of 230 PageIDPage
                                                                               #:36134 of
                                          229


    1   four states enacted laws barring the carrying of Bowie knives by name. From then
    2   to the start of the twentieth century, every state plus the District of Columbia (with
    3   the sole exception of New Hampshire) restricted Bowie knives: a total of at least 38
    4   states (including the District of Columbia) barred or restricted Bowie knives by
    5   name; and another 12 states enacted laws barring the category or type of knife
    6   embodied by the Bowie knife but without mentioning them by name (see Exhibits
    7   C and E) totaling 49 states plus the District of Columbia.117 Several states banned
    8   the possession of Bowie knives outright, and others imposed taxes on the ability for
    9   individuals to acquire or possess them. See Exhibit E. The desirability and utility
  10    of concealed carry restrictions were precisely that they pushed dangerous weapons
  11    out of public spaces and places, improving public safety through the deterrent and
  12    punishment effects of such laws, and also discouraging the settlement of private
  13    grievances and disputes in public through weapons-fueled violence.
  14           B.       Historical Restrictions on Clubs and Other Blunt Weapons
  15           40.      A very similar and analogous set of hardware restrictions was enacted
  16    regarding clubs and other blunt weapons. See Exhibits C and E. Nearly all were
  17    anti-carry laws, which also generally included pistols and knives. As the table in
  18    Exhibit C shows, at least six distinct types of clubs and blunt objects were regulated
  19    in the United States. Notably, every single state in the nation (except for New
  20    Hampshire) had laws restricting one or more types of clubs.
  21           41.      Among the six types, 15 states barred bludgeon carrying. A bludgeon
  22    is a short stick with a thickened or weighted end used as a weapon. 118 The earliest
  23    state anti-bludgeon law was in 1799; 12 such state laws were enacted in the 1700s
  24    and 1800s, and 4 in the early 1900s (as with each of these chronological categories,
  25
               117
                 Initial bowie law enactment by decade: 1830s: 4 states; 1840s: 1 state;
  26    1850s: 7 states; 1860s: 5 states; 1870s: 14 states; 1880s: 10 states; 1890s: 8 states;
  27    1900s: 1 state. See Exhibits C and E.
               118
  28                 https://www.merriam-webster.com/dictionary/bludgeon.
                                                     33
                            Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 36
                                                               PageID.11531
                                                                 of 230 PageIDPage
                                                                               #:36235 of
                                          229


    1   the state law total exceeds the total number of states because some states enacted
    2   the same or similar laws in multiple centuries).
    3          42.      A billy (sometimes spelled billie) club is a heavy, hand-held rigid club,
    4   usually made of wood, plastic, or metal,119 that is traditionally carried by police,
    5   often called a nightstick or baton. Seventeen states had anti-billy club laws; the
    6   earliest law appears to have been enacted in 1866. Fourteen states enacted such
    7   laws in the 1800s; 10 states did so in the early 1900s.
    8          43.      At least 14 states barred the carrying of “clubs” more generically,
    9   without specifying the type. The oldest anti-club law was 1664; 7 states enacted
  10    these laws in the 1600s-1700s, 7 states in the 1800s, and 2 in the early 1900s.
  11           44.      Anti-slungshot carry laws were enacted by 43 states. A slungshot (or
  12    slung shot) is a hand-held weapon for striking that has a piece of metal or stone at
  13    one end attached to a flexible strap or handle that was developed roughly in the
  14    1840s (the first “known use” of slungshot was 1842).120 By one account,
  15    “[s]lungshots were widely used by criminals and street gang members in the 19th
  16    Century. They had the advantage of being easy to make, silent, and very effective,
  17    particularly against an unsuspecting opponent. This gave them a dubious
  18    reputation, similar to that carried by switchblade knives in the 1950s, and they were
  19    outlawed in many jurisdictions. The use as a criminal weapon continued at least up
  20    until the early 1920s.”121
  21           45.      In a criminal case considered the most famous of those involving
  22    lawyer Abraham Lincoln, the future president defended a man charged with
  23           119
                   https://www.merriam-webster.com/dictionary/billy%20club. One of the
  24    earliest references to a “billy” was a 1857 newspaper article describing “an
  25    indiscriminate attack with slung-shot, billies, clubs, &c.” Local Intelligence,
        Delaware Republican, June 15, 1857, https://bit.ly/3V9nVO7.
  26           120
                     See https://www.merriam-webster.com/dictionary/slungshot.
  27           121
                     “Slungshot,” https://military-history.fandom.com/wiki/Slungshot.
  28
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                            Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 37
                                                               PageID.11532
                                                                 of 230 PageIDPage
                                                                               #:36336 of
                                          229


    1   murdering another using a slung shot. In the 1858 trial of William “Duff”
    2   Armstrong, Lincoln succeeded in winning Armstrong’s acquittal.122
    3          46.   These weapons were viewed as especially dangerous or harmful when
    4   they emerged in society, given the ubiquity of state enactments against carrying
    5   them enacted after their invention. These devices were invented and appeared in
    6   society during an identifiable period of time in the mid-nineteenth century, sparking
    7   subsequent wide-ranging prohibitions. The earliest anti-Slungshot law was enacted
    8   in 1850; 42 states legislated against them in the 1800s (including the District of
    9   Columbia), and 11 states in the early 1900s (note this incorporates laws enacted in
  10    more than one century by a few states).
  11           47.   Sandbags, also known as sand clubs, were also a specific focus in anti-
  12    carry laws as well. Consisting of nothing more than sand poured into a bag, sack,
  13    or sock (although it could also be something dense and heavy, like a lock in the end
  14    of a sock), 123 their particular appeal was that they could be dispensed with by
  15    simply pouring the sand out, leaving nothing more than an empty cloth bag. The
  16    first anti-sandbag law was 1866, with 10 states enacted such laws—7 in the 1800s
  17    and 7 in the early 1900s.
  18           48.   Only 4 states did not have any prohibitions in any of these categories,
  19    but 3 of those 4 (Montana, Ohio, and Washington State) had blanket legislative
  20    provisions against the carrying of any concealed/dangerous/deadly weapons. One
  21
  22
  23           122
                 Lincoln was able to discredit the testimony of a witness who claimed to
  24    see Armstrong strike the victim at night because of the full moon. Lincoln used as
        evidence an Almanac to prove that on the night in question, there was no full moon.
  25    Judson Hale, “When Lincoln Famously Used the Almanac,” Almanac, May 4,
        2022, https://www.almanac.com/abraham-lincoln-almanac-and-murder-trial.
  26
               123
                 https://www.ferrislawnv.com/criminal-defense/weapons-
  27
        offenses/dangerous-weapons/.
  28
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                          Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 38
                                                               PageID.11533
                                                                 of 230 PageIDPage
                                                                               #:36437 of
                                          229


    1   state, New Hampshire, may not have enacted such a law during this time but did at
    2   some point.124
    3          C.    Historical Restrictions on Pistol Carrying
    4          49.   Carry restriction laws were widely enacted from the 1600s through the
    5   start of the twentieth century, spanning over three centuries. As early as 1686, New
    6   Jersey enacted a law against wearing weapons because they induced “great fear and
    7   quarrels.”125 Massachusetts followed in 1750. In the late 1700s, North Carolina
    8   and Virginia passed similar laws. In the 1800s, as interpersonal violence and gun
    9   carrying spread, 43 states joined the list; 3 more did so in the early 1900s (see
  10    Exhibit B). The eighteenth century laws generally restricted more general carrying
  11    of firearms, usually if done in crowded places, or in groups of armed people. The
  12    laws of the nineteenth century forward generally restricted concealed weapons
  13    carrying. Among the earliest laws criminalizing the carrying of concealed weapons
  14    was that of Louisiana in 1813. Concealed carry laws normally targeted pistols as
  15    well as the types of knives and various types of clubs discussed here (see Exhibit E
  16    for text of most such laws).
  17
               D.    Historical Restrictions on Trap Guns
  18
               50.   Not to be confused with firearms used in trapshooting, trap guns were
  19
        devices or contraptions rigged in such a way as to fire when the owner need not be
  20
  21           124
                  Up to 2010, New Hampshire had this law on the books: “159:16 Carrying
        or Selling Weapons. Whoever, except as provided by the laws of this state, sells,
  22
        has in his possession with intent to sell, or carries on his person any stiletto, switch
  23    knife, blackjack, dagger, dirk-knife, slung shot, or metallic knuckles shall be guilty
  24    of a misdemeanor; and such weapon or articles so carried by him shall be
        confiscated to the use of the state.” In 2010, the law was amended when it enacted
  25    HB 1665 to exclude stilettos, switch knives, daggers, and dirk-knives. Compare
        N.H. Rev. Stat. § 159:16 with 2010 New Hampshire Laws Ch. 67 (H.B. 1665)...
  26
               125
                The Grants, Concessions, And Original Constitutions of The Province of
  27
        New Jersey 290 (1881).
  28
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                          Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 39
                                                               PageID.11534
                                                                 of 230 PageIDPage
                                                                               #:36538 of
                                          229


    1   present. Typically, trap guns could be set to fire remotely (without the user being
    2   present to operate the firearm) by rigging the firearm to be fired with a string or
    3   wire when tripped.126 This early law from New Jersey in 1771 both defines and
    4   summarizes the problem addressed by this law:
    5        Whereas a most dangerous Method of setting Guns has too much
    6        prevailed in this Province, Be it Enacted by the Authority aforesaid, That
             if any Person or Persons within this Colony shall presume to set any
    7        loaded Gun in such Manner as that the same shall be intended to go off or
    8        discharge itself, or be discharged by any String, Rope, or other
             Contrivance, such Person or Persons shall forfeit and pay the Sum of Six
    9        Pounds; and on Non-payment thereof shall be committed to the common
  10         Gaol of the County for Six Months.127
  11           51.   Also sometimes referred to as “infernal machines,”128 the term trap gun
  12    came to encompass other kinds of traps designed to harm or kill those who might
  13    encounter them, including for purposes of defending property from intruders.
  14    Unlike the other weapons restrictions examined here, opinion was more divided on
  15    the relative merits or wisdom of setting such devices, with some arguing that
  16    thieves or criminals hurt or killed by the devices had it coming, 129 though the
  17
  18          See Spitzer, “Gun Law History in the United States and Second
               126

        Amendment Rights,” 67.
  19           127
                1763-1775 N.J. Laws 346, An Act for the Preservation of Deer and Other
  20    Game, and to Prevent Trespassing with Guns, ch. 539, § 10.
  21           128
                 E.g. 1901 Utah Laws 97-98, An Act Defining an Infernal Machine, and
        Prescribing Penalties for the Construction or Contrivance of the Same, or Having
  22
        Such Machine in Possession, or Delivering Such Machine to Any Person . . . , ch.
  23    96, §§ 1-3.
               129
  24               For example, this small item appeared in the Bangor (Maine) Daily Whig
        on October 27, 1870: “A burglar while attempting to break into a shop in New
  25
        York, Monday night, had the top of his head blown off by a trap-gun so placed that
  26    it would be discharged by any one tampering with the window. A few such
        ‘accidents’ are needed to teach the thieves who have lately been operating in this
  27
        city, a lesson.”
  28
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                          Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 40
                                                               PageID.11535
                                                                 of 230 PageIDPage
                                                                               #:36639 of
                                          229


    1   weight of opinion seemed mostly against such devices. 130 Those who set gun traps
    2   typically did so to defend their places of business, properties, or possessions. This
    3   1870 newspaper account from an incident in New York City provides an example
    4   where a burglar was killed by a gun-trap set by a shopkeeper, who was then
    5   prosecuted: “As there is a statute against the use of such infernal machines, which
    6   might cause loss of life to some innocent person, the jury censured Agostino.”
    7   After the verdict the man continued to be held under $2,000 bail.131
    8          52.   Inevitably, however, the traps sometimes wound up hurting or killing
    9   innocents, even including the person who set the trap. For example, this 1891
  10    newspaper account from Chillicothe, Missouri illustrated the problem: “George
  11    Dowell, a young farmer, was fined $50 under an old law for setting a trap-gun.
  12    Dowell set the gun in his corn-crib to catch a thief, but his wife was the first person
  13    to visit the crib and on opening the door was shot dead.”132
  14           53.   In all, at least 16 states had anti-trap gun laws (see Exhibits B and F).
  15    The earliest such law encountered was the 1771 New Jersey law (above). Nine
  16    laws were enacted in the 1700s-1800s, and 9 in the early 1900s (counting states that
  17    enacted multiple laws across the centuries).
  18    IV. CONCLUSION
  19           54.   What does the law say, and what should the law be, regarding the
  20    regulation of firearms and other harmful or dangerous weapons and accessories, in
  21    the light of the Supreme Court’s ruling in the Bruen decision? Given the
  22
               130
                  This is my observation based on my reading of historic newspaper
  23    accounts from the late 1800s, and from the number of anti-trap gun laws enacted.
  24    As policing became more consistent, professional, and reliable, support for
        vigilante-type actions like setting trap guns seems to have declined.
  25
                 . “The Man Trap,” The Buffalo Commercial, November 1, 1870; from the
               131
  26    N.Y. Standard, October 29, 1870, https://bit.ly/3yUSGNF. See Exhibit G.
  27           132
                   “Shot by a Trap-Gun,” South Bend Tribune, February 11, 1891,
  28    https://bit.ly/3CtZsfk. See Exhibit G.
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                          Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 41
                                                               PageID.11536
                                                                 of 230 PageIDPage
                                                                               #:36740 of
                                          229


    1   importance of history, especially, though not limited to, the founding era and the
    2   Reconstruction era, the lesson is abundantly clear. Firearms and other dangerous
    3   weapons were subject to remarkably strict, consistent, and wide-ranging regulation
    4   throughout our history when they entered society, proliferated, and resulted in
    5   violence, harm, or contributed to criminality. This historical record from the 1600s
    6   through the early twentieth century, as seen in the examples examined here, is even
    7   more remarkable given that the United States was an evolving and developing
    8   nation-state that could not claim to have reached maturity until the twentieth
    9   century. The historical record summarized here makes clear that contemporary
  10    restrictions among the states pertaining to assault weapons and large capacity
  11    ammunition magazines are merely the latest iteration of a centuries-long tradition of
  12    weapons regulations and restrictions. Gun ownership is as old as the country. But
  13    so are gun and other dangerous weapons laws, which have adapted to changes in
  14    threats to public safety.
  15
  16           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the
  17    laws of the United States of America that the foregoing is true and correct.
  18           Executed on October 13, 2022, at Cortland, NY.
  19
  20
  21
                                                        Robert Spitzer
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                          Declaration of Robert Spitzer (3:19-cv-01537-BEN-JLB)
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 42
                                                               PageID.11537
                                                                 of 230 PageIDPage
                                                                               #:36841 of
                                          229




                                   EXHIBIT A
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 43
                                                               PageID.11538
                                                                 of 230 PageIDPage
                                                                               #:36942 of
                                          229




                                                                               September 2022
                                     Curriculum Vitae

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  Positions Held:

         Department Chair, SUNY Cortland, 2008-2020.
         Interim Department Chair, SUNY Cortland, 2004-2005.
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         Visiting Professor, Cornell University, Spring, 2009, Spring 1993; Summers 1980, 1988-
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         Professor, SUNY Cortland, 1989 to 1997.
         Continuing Appointment, SUNY Cortland, 1986.
         Associate Professor, SUNY Cortland, 1984 to 1989.
         Department Chair, SUNY Cortland, 1983 to 1989.
         Visiting Professor, SUNY College of Technology, Utica-Rome, Graduate Division, 1985,
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         Copy Editor, Administrative Science Quarterly, 1982 to 1983.
         Adjunct Professor, Tompkins-Cortland Community College, 1982-83.
         Assistant Professor, SUNY Cortland, 1979 to 1984.
         Instructor, Cornell University, 1979.
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         Research Assistant, Theodore J. Lowi and Benjamin Ginsberg, 1976-1978.
         Reporter (Stringer), Buffalo Courier-Express; Dunkirk Evening Observer, 1974-75.


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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 44
                                                               PageID.11539
                                                                 of 230 PageIDPage
                                                                               #:37043 of
                                          229




  Honors:

         Fellow, the Royal Society for Arts, Manufactures and Commerce (RSA), London,
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         Founding member, Regional Gun Violence Research Consortium, coordinated with the
         Rockefeller Institute of Government. Consortium of gun policy experts from eight states
         to advance research on gun policy, 2018-present.
         Member, SUNY Research Council, an advisory council to the SUNY Board of Trustees,
         SUNY System Administration, campus leadership teams, and the leadership team of the
         Research Foundation (RF) for SUNY, 2018-2021.
         Member, Scholars Strategy Network, 2015-present. Created to improve public policy and
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         Winner, Pi Sigma Alpha (the national political science honors society) Chapter Advisor
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         Winner, Outstanding Achievement in Research Award, SUNY Cortland, 2010.
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         Winner, State University of New York’s Chancellor’s Excellence in Scholarship and
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         SUNY Cortland Nominee, National Scholar Competition of the Honor Society of Phi
                 Kappa Phi, 1994-95.
         Winner, New York State/United University Professions Excellence Award, 1991, for
                 "outstanding professional performance and superior service."
         Member, New York State Commission on the Bicentennial of the U.S. Constitution,
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         Member, New York State Ratification Celebration Committee for U.S. Constitution
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         Member, National Bicentennial Competition on the Constitution and the Bill of Rights,
                 1987-1991.
         Who's Who in the World, 1996.
         Dictionary of International Biography, 1995.
         Who's Who in the East, 1995-96; 1997-98
         Ex officio member, Cortland County Bicentennial Committee, 1987-89.
         Chair, SUNY Cortland Bicentennial Committee, 1987-89.
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         Phi Kappa Phi, SUNY Cortland, 1990.
         Men of Achievement (1986)
         Contemporary Authors, vol. 112 (1985) and subsequent updates.
         International Authors and Writers Who's Who, 1985-present.
         International Who's Who in Education, Winter 1985-86.
         Herbert H. Lehman Graduate Fellowship, 1975-79.
         Who's Who Among Students in American Universities and Colleges, 1974-75.
         Phi Beta Kappa Club, SUNY College at Fredonia, 1975.
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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 45
                                                               PageID.11540
                                                                 of 230 PageIDPage
                                                                               #:37144 of
                                          229




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  Research Fellowships and Projects:

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         Title “F” Leave with pay, Spring 1994.
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         National Endowment for the Humanities (NEH) Research Grant for Study of the
         Constitution, 1986. Project Proposal: “The Presidential Veto: Constitutional Antecedents
         and Modern Applications.”
         SUNY Cortland Faculty Research Program Grant, “The Presidential Veto, 1986.
         Consultant for Reporting Research Corporation, “Quality of Earnings Report,” Thornton
         L. O’Glove, author; research on presidential veto use, 1984-1987.
         SUNY University Awards Program Research Fellowship, “The Right to Life Party and
         New York State Politics, 1983.
         SUNY Cortland Faculty Research Program Fellowship, “New York State Parties and
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  Publications and Papers:

         Books:

         The Presidency and Public Policy: The Four Arenas of Presidential Power (University,
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         Congress in the making of domestic policy. Revised version of doctoral dissertation.

         The Right to Life Movement and Third Party Politics (Westport, CT: Greenwood Press,
         1987). A study of the New York multi-party system, single-issue third parties, and the
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                                                               PageID.11545
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                                                         Page 69
                                                               PageID.11564
                                                                 of 230 PageIDPage
                                                                               #:39568 of
                                          229




         Testimony, Briefs, and Reports:
         "Report of a Survey of Contributors to the Democratic Telethon," A Report to the
         Democratic National Committee, Washington, D.C., January 1974.

         "Election Laws, Registration and Voting: Some Recommendations," Testimony
         presented before the New York State Assembly Committee on Election Law, Albany,
         N.Y., May 15, 1980.

         "New York's Multi-Party System," a presentation given before members of the Mexican
         and Canadian Parliaments at the Rockefeller Institute for Governmental Studies, Albany,
         N.Y., October 29, 1982.

         "Comments and Recommendations on `The New York State Assembly: The Need for
         Improved Legislative Management,'" co-authored with Henry Steck, prepared for the
         New York State Assembly Republican Study Group, September, 1985.

         "Registration, Voting, and the New York Election Law," Testimony presented before the
         Governor's Task Force to Encourage Electoral Participation, World Trade Center, New
         York City, December 21, 1987.

         "The Pocket Veto and Sine Die Adjournments," Testimony presented to the Rules
         Committee, Subcommittee on the Legislative Process, House of Representatives,
         Washington D.C., July 26, 1989.

         "Issues Pertaining to the Pocket Veto," Testimony presented to the Judiciary Committee,
         Subcommittee on Economic and Commercial Law, House of Representatives,
         Washington, D.C., May 9, 1990.

         "The Stealth Veto: Does the President Already Possess Item Veto Powers?" Testimony
         presented to the Judiciary Committee, Subcommittee on the Constitution, U.S. Senate,
         Washington, D.C., June 15, 1994.

         “The Hidden History of the Second Amendment,” The National Press Club, Washington,
         D.C., May 12, 1998.

         “The Second Amendment: A Source of Individual Rights?” Testimony presented to the
         Judiciary Committee, Subcommittee on the Constitution, Federalism, and Property
         Rights, U.S. Senate, Washington, D.C., September 23, 1998.

         “The Gun Industry: The NRA’s Silent Partner,” National Press Briefing, Atlanta, GA,
         February 2, 1999.

         “Program Review: SUNY Oswego Political Science Department,” prepared as part of the
                                          27
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          1:22-cv-04775 Document
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                                                Filed 10/13/22
                                                         Page 70
                                                               PageID.11565
                                                                 of 230 PageIDPage
                                                                               #:39669 of
                                          229




         department’s review and assessment process, March 2001.

         Meeting on Executive Order 13233, pertaining to presidential records access, hosted by
         Alberto Gonzales, Office of Legal Counsel, the White House, Washington, D.C.,
         December 7, 2001.

         Article (“Lost and Found: Researching the Second Amendment,” Chicago-Kent Law
         Review, 2000) cited as controlling authority by the U.S. Court of Appeals, Ninth Circuit,
         in the case of Silveira v. Lockyer (312 F.3d 1052; 9th Cir. 2002); 2002 U.S. App. LEXIS
         24612.

         Coauthor, amicus curiae brief in the case of Nordyke v. King, U.S. Court of Appeals,
         Ninth Circuit, 319 F.3d 1185 (2003).

         White House meeting on changing standards regarding FOIA requests, access to
         Executive Branch documents, and presidential library design, hosted by White House
         Counsel Alberto Gonzales and White House Staff Secretary Brett Kavanaugh,
         Washington, D.C., July 17, 2003.

         Invited participant and panelist, “National Research Collaborative Meeting on Firearms
         Violence,” hosted by the Firearm and Injury Center at the University of Pennsylvania,
         and the Joyce Foundation, Philadelphia, PA, June 15-17, 2005.

         Program Review Report, SUNY Geneseo Political Science Department, March, 2009.

         Coauthor with Louis Fisher, amicus curiae brief in the case of Republic of Iraq et al. v.
         Beaty et. al., U.S. Supreme Court, filed March 25, 2009; case decided June 8, 2009 (556
         U.S. 848; 2009).

         Testimony on bills to enact early voting and other state voting reform measures before
         the New York State Senate Standing Committee on Elections, Syracuse, NY, May 14,
         2009.

         Co-author, amicus brief in the cases of NRA v. City of Chicago and McDonald v.
         Chicago, U.S. Supreme Court, argued March 2, 2010, decided June 28, 2010, 561 U.S.
         742 (2010).

         Consultant for plaintiffs in Conservative Party of New York and Working Families Party
         v. NYS Board of Elections (10 Civ. 6923 (JSR)), 2010, U.S. District Court for the
         Southern District of New York.

         Co-author, amicus brief in the case of Ezell v. Chicago, U.S. Court of Appeals for the
         Seventh Circuit, 651 F.3d 684 (2011).
                                                 28
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     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                                Filed 10/13/22
                                                         Page 71
                                                               PageID.11566
                                                                 of 230 PageIDPage
                                                                               #:39770 of
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         Co-author, amicus brief in the case of People of the State of Illinois v. Aguilar, Illinois
         Supreme Court, No. 08 CR 12069, 2012.

         Invited panelist and contributor to conference and report, Institute of Medicine and the
         National Research Council of the National Academies, “Committee on Priorities for a
         Public Health Research Agenda to Reduce the threat of Firearm-Related Violence,”
         National Academies Keck Center, 500 Fifth St., NW, Washington, DC, April 23, 2013.

         “Perspectives on the ‘Stand Your Ground’ Movement,” Testimony submitted to the U.S.
         Senate Committee on the Judiciary, Subcommittee on the Constitution, Civil Rights and
         Human Rights, Hearing on “‘Stand Your Ground’ Laws: Civil Rights and Public Safety
         Implications of the Expanded Use of Deadly Force,” Washington, D.C., October 29,
         2013.

         Testimony on the Hearing Protection Act to deregulate gun silencers submitted to the
         U.S. House of Representatives Committee on Natural Resources, Subcommittee on
         Federal Lands, for Hearings on the Sportsmen’s Heritage and Recreational Enhancement
         Act (SHARE Act), Washington, D.C., September 12, 2017.

         Expert testimony submitted for the State of Massachusetts, Office of Attorney General, in
         the case of Worman v. Baker, No. 1:17-cv-10107-WGY, United States District Court for
         the District of Massachusetts, submitted September 15, 2017, challenging Massachusetts
         state assault weapons restrictions. In 2019 the U.S. Court of Appeals for the First Circuit
         upheld the Massachusetts law (922 F.3d 26).

         Member, Regional Gun Violence Research Consortium Organizing Committee, a Task
         Force organized by NY Governor Andrew Cuomo and the State Department of Education
         to research and investigate the causes of gun violence in a multi-state effort. February
         2018.

         Program Review Report, SUNY New Paltz Political Science and International Relations
         Departments, April 2019.

         Consultant on Facebook policies and actions regarding gun issues, Quonundrums Market
         Research for Facebook, August 17, 2021.

         Several of my publications cited in the case ruling of Duncan v. Bonta, U.S. Court of
         Appeals for the Ninth Circuit, November 30, 2021.


  Papers and Presentations (not including those given on the Cortland campus):

                                                  29
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     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                                Filed 10/13/22
                                                         Page 72
                                                               PageID.11567
                                                                 of 230 PageIDPage
                                                                               #:39871 of
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         "The President as Policy-Maker: The Arenas of Presidential Power from 1954 to 1974,"
         American Political Science Association, Washington, D.C., August 28-31, 1980.

         "The Right-to-Life Movement as a Third Party: The Policy Environment and Movement
         Politics," American Political Science Association, New York City, September 3-6, 1981.
         Reprinted by Rockefeller Institute for Governmental Studies Working Papers, Vol. I, No.
         4, September, 1982.

         "Viable Democracy or the French Fourth Republic: Multi-Party Politics in New York,"
         New York State Political Science Association, Albany, April 6, 1984.

         "The Right-to-Life Movement as Partisan Activity," American Political Science Associa-
         tion, Washington, D.C., August 30 - September 2, 1984.

         "Biting the Bullet: Gun Control and Social Regulation," American Political Science
         Association, New Orleans, La., August 29 - September 1, 1985.

         "The Presidential Veto," Northeastern Political Science Association, Boston, MA,
         November 13-15, 1986.

         "Perspectives on the Presidential Veto Power: Antecedents and Evolution," Bicentennial
         Conference on the Presidency, co-sponsored by the Center for the Study of the
         Presidency, the Chautauqua Institution and Gannon University, Erie, PA, April 24-26,
         1987.

         "The Transformation of a Kingly Power: The Presidential Veto, Past and Present,"
         American Political Science Association, Chicago, IL, September 3-6, 1987.

         "The Pocket Veto: Expanding Presidential Prerogatives Through the Back Door,"
         American Political Science Association, Washington, D.C., September 1-4, 1988.

         "Liberalism and Juridical Democracy; or What's Interesting About Interest Group
         Liberalism," Western Political Science Association, Newport Beach, CA., March 22-24,
         1990.

         "Separation of Powers and the War Power," presentation sponsored by the Federalist
         Society, Cornell University School of Law, April 20, 1990.

         "Is the Separation of Powers Obsolete? An Inquiry into Critiques of the Congressional-
         Presidential Balance of Power," American Political Science Association, Washington,
         D.C., August 29-September 1, 1991.

         "Hate Speech and the College Campus," conference on Two Hundred Years of Free
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                                                Filed 10/13/22
                                                         Page 73
                                                               PageID.11568
                                                                 of 230 PageIDPage
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                                          229




         Expression, SUNY Oneonta, October 2-3, 1992.

         "From Presidential Shield to `Go Ahead, Make My Day': The Presidential Veto and the
         Constitutional Balance of Power," featured paper presenter for Fall 1992 Symposium on
         American Constitutionalism, Southwest Texas State University, San Marcos, TX,
         October 30, 1992.

         "The Reagan Presidency and the Veto Power: Symbols and Actions of the `Make-My-
         Day' President," Southern Political Science Association, Savannah, GA, November 3-6,
         1993.

         "Tenure, Speech, and the Jeffries Case: A Functional Analysis," conference on academic
         Freedom and Tenure, sponsored by New York City Bar Association and Pace University
         Law School, New York City, March 8, 1994.

         "`It's My Constitution, and I'll Cry If I Want To': Constitutional Dialogue, Interpretation,
         and Whim in the Inherent Item Veto Dispute, " American Political Science Association,
         Chicago, August 31-September 3, 1995. Winner, 1996 Presidency Research Group
         Founders’ Award for Best Paper on the Presidency presented at the 1995 APSA. Paper
         received mention in the Washington Post, September 24, 1995.

         "Guns and Violence," presentation before Bryn Mawr Presbyterian Church Task Force on
         Violence, Bryn Mawr, PA, October 8, 1995.

         "Guns, Militias, and the Constitution," Distinguished Lecture Series, Utica College, Utica
         NY, March 26, 1996.

         "The Right to Bear Arms: A Constitutional and Criminological Analysis of Gun
         Control," the Cornell University School of Law, October 8, 1996.

         "The Veto King: The `Dr. No' Presidency of George Bush," Conference on the
         Presidency of George Bush, Hofstra University, Hempstead, NY, April 17-19, 1997.

         "Saving the Constitution from Lawyers," American Political Science Association,
         Washington, D.C., August 28-31, 1997.

         “Revolution, the Second Amendment, and Charlton Heston,” Gettysburg College,
         Gettysburg, PA, October 30, 1997.

         “Recent Developments in The Politics of Gun Control,” Gettysburg College, Gettysburg,
         PA, November 10, 1998.

         “The Second Amendment, Disarmament, and Arms Control,” Communitarian Summit,
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                                 #: 34-4137-8
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                                                Filed 10/13/22
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                                                               PageID.11569
                                                                 of 230 PageIDPage
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                                          229




         the Washington National Airport Hilton, Arlington, VA, February 27-28, 1999.

         “The Argument Against Clinton’s Impeachment,” Hyde Park Session, American Political
         Science Association, Atlanta, September 2-5, 1999.

         “Gun Politics After Littleton,” Gettysburg College, Gettysburg, PA, November 9, 1999.

         “Lost and Found: Researching the Second Amendment,” Symposium on “The Second
         Amendment: Fresh Looks,” Chicago-Kent Law School and the Joyce Foundation,
         Chicago, April 28, 2000.

         “The Independent Counsel and the Presidency After Clinton,” American Political Science
         Association, Washington, D.C., August 31-September 3, 2000.

         “From Columbine to Santee: Gun Control in the 21st Century,” Idaho State University,
         Pocatello, Idaho, April 19, 2001.

         “Gun Control in the New Millennium,” Gettysburg College, Gettysburg, PA, November
         13, 2001.

         “Gun Rights for Terrorists? Gun Control and the Bush Presidency,” A Presidency
         Transformed By Crises: The George W. Bush Presidency, SUNY Fredonia, NY, October
         17-18, 2002.

         “Gun Control and the Bush Presidency,” Gettysburg College, Gettysburg, PA, November
         21, 2002.

         “The Ashcroft Justice Department and the Second Amendment,” American Bar
         Association Annual Meeting, San Francisco, August 8-11, 2003.

         “The Bush Presidency and 9/11,” Keynote Address, Conference on 9/11, Cazenovia
         College, NY, September 11, 2003.

         “Report of the National Task Force on Presidential Communication to Congress,” co-
         author, Tenth Annual Texas A&M Conference on Presidential Rhetoric, George Bush
         Presidential Library and Conference Center, College Station, TX, March 4-7, 2004.

         “Don’t Know Much About History, Politics, or Law: Comment,” Conference on The
         Second Amendment and the Future of Gun Regulation, co-sponsored by the Fordham
         School of Law, the Second Amendment Research Center, and the John Glenn Institute
         for Public Service and Public Policy of the Ohio State University, April 13, 2004, New
         York City.

                                                32
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         “Bush vs. Kerry: Election of the Century?” Colgate University, Hamilton, NY, October
         20, 2004.

         “The Commander-in-Chief Power and Constitutional Invention in the Bush
         Administration,” a paper presented at a Conference on “Is the Presidency Dangerous to
         Democracy?”, Loyola Marymount University, Los Angeles, CA, February 7, 2005.

         Participant, “The Wheler Family Address on International Relations,” Academic
         Conference on World Affairs, Cazenovia College, Cazenovia, NY, September 9, 2005.

         “What Ever Happened to Gun Control?”, Gettysburg College, Gettysburg, PA, November
         1, 2005.

         “Clinton and Gun Control: Boon or Bane?” a paper presented at the 11th Presidential
         Conference on William Jefferson Clinton, Hofstra University, Hempstead, NY,
         November 10-12, 2005.

         “George W. Bush and the Unitary Executive,” Keynote Address for “Quest,” SUNY
         Oswego Scholars Day, April 19, 2006.

         “Resolving Conflict with Intractable Foes: The Lessons of International Relations
         Theory Applied to the Modern Gun Control Debate,” Bryant University, Smithfield, RI,
         April 24, 2006.

         “The Unitary Executive and the Commander-in-Chief Power,” Conference on
         Presidential Power in America: The Constitution, the Defense of a Nation and the
         National Ethos, Massachusetts School of Law Conference Series, Andover, MA, October
         14-15, 2006.

         “The 2006 Elections,” LeMoyne College, Syracuse, NY, November 29, 2006.

         “In Wartime, Who Has the Power?” Symposium on Presidential Power and the Challenge
         to Democracy, Idaho State University, Pocatello, ID, April 26, 2007.

         “Saul Cornell’s Second Amendment: Why History Matters,” Conference on Firearms, the
         Militia and Safe Cities: Merging History, Constitutional Law, and Public Policy, Albany
         Law School, Albany, NY, October 18-19, 2007.

         “Gun Control and the 2008 Elections,” Third Annual Harry F. Guggenheim Symposium
         on Crime in America, John Jay College, New York City, December 3-4, 2007.

         “The Post-Cold War Vice Presidency,” Cornell Adult University, Cornell University,
         Ithaca, NY, July 31, 2008.
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                                                               PageID.11571
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                                                                               #:40275 of
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         “Is the Presidency Constitutional?” Roundtable panel on Restoring the Constitutional
         Presidency, APSA, Boston, August 28-31, 2008.

         “The Future of the American Presidency,” Board of the Bristol Statehouse, Bristol, RI,
         November 30, 2008.

         “Is the Constitutional Presidency Obsolete? The Future of the American Presidency,”
         Symposium on The Future of the American Presidency, Regent University, Virginia
         Beach, VA, February 6, 2009.

         “The Failure of the Pro-Gun Control Movement,” SUNY Oneonta, March 19, 2009.

         “The Post-Bush Presidency and the Constitutional Order,” American Political Science
         Association, Toronto, Canada, September 3-6, 2009.

         “Inventing Gun Rights: The Supreme Court, the Second Amendment, and Incorporation,”
         SUNY Geneseo, March 24, 2010.

         “Intelligence Don’t Matter,” Keynote Address to Phi Kappa Phi Induction Ceremony,
         SUNY Cortland, April 17, 2010.

         “The Law and Politics of Gun Control after Tucson,” 6th Annual Harry Frank
         Guggenheim Symposium on Crime in America, conference on “Law and Disorder:
         Facing the Legal and Economic Challenges to American Criminal Justice,” John Jay
         College of Criminal Justice, CUNY, New York City, January 31-February 1, 2011.

         “Looking Ahead to the 2012 Elections,” Tompkins County Democratic Committee,
         Ithaca, NY, August 7, 2011.

         “Growing Executive Power: The Strange Case of the ‘Protective Return’ Pocket Veto,”
         American Political Science Association, Seattle, WA, September 1-4, 2011.

         “Gun Control and the Second Amendment,” OASIS Conference, Syracuse, NY, October
         3, 2011

         “Comparing the Constitutional Presidencies of George W. Bush and Barack Obama: War
         Powers, Signing Statements, Vetoes,” conference on “Change in the White House?
         Comparing the Presidencies of George W. Bush and Barack Obama,” Hofstra University,
         Hempstead, NY, April 19, 2012.

         “Watergate After 40 Years: Dick Cheney’s Revenge,” American Political Science
         Association, New Orleans, LA, August 30-September 2, 2012.
                                              34
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                                                Filed 10/13/22
                                                         Page 77
                                                               PageID.11572
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                                          229




         “The Media, American Elections, and Democracy,” OASIS, Syracuse, NY, October 22,
         2012.

         “Hot Button Issues in the 2012 Presidential Campaign,” Hiram College Conference on
         the 2012 Elections, Hiram, Ohio, November 15-17, 2012.

         “Gun Legislation and Obstacles to Effective Gun Control,” Metropolitan Black Bar
         Association, New York City Bar Association, November 29, 2012.

         “Guns and America,” Syracuse University, Syracuse, NY, February 19, 2013.

         “The Constitution Between Opponents,” conference on “The State of the Presidency,”
         Andrus Center for Public Policy, Boise State University, Boise, ID, February 28, 2013.

         “Gun Policy at a Crossroads,” Thursday Morning Roundtable, Syracuse, NY, March 7,
         2013.

         “Gun Policy Cycles and History,” Pediatric Grand Rounds at the Upstate Golisano
         Children’s Hospital, Syracuse, NY, March 13, 2013.

         “Gun Law and the Constitution,” Monroe County Bar Association, Rochester, NY,
         March 21, 2013.

         “The Architecture of the Gun Control Debate,” Goldfarb Center for Public Affairs, Colby
         College, Waterville, ME, April 2, 2013.

         “The Campbell Debates: This Assembly Supports the NY SAFE Act,” Syracuse
         University, April 5, 2013.

         “What has Sandy Hook Changed? The Evolving Gun Debate,” Reisman Lecture Series,
         Cazenovia College, Cazenovia, NY, April 17, 2013.

         “Gun Policy Change: Infringing Rights, or Following History?” Jefferson Community
         College, Watertown, NY, April 18, 2013.

         “Under the Gun,” Conference on “Gun Violence, Gun Laws, and the Media,” Center on
         Media, Crime and Justice, John Jay College of Criminal Justice, New York, May 14-15,
         2013.

         “Five Myths of the Gun Debate,” Lawman of the Year, Cortland County Lawman
         Committee, Cortland, NY, May 20, 2013.

                                                35
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     3:19-cv-01537-BEN-JLB
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                                                Filed 10/13/22
                                                         Page 78
                                                               PageID.11573
                                                                 of 230 PageIDPage
                                                                               #:40477 of
                                          229




         “Gun Law History,” Sterling Historical Society, Sterling, NY, June 27, 2013.

         “Analyzing the New York SAFE Act,” League of Women Voters Forum, Cortland, NY,
         September 12, 2013.

         “Constitution Day, the Second Amendment, and Guns,” OASIS, Syracuse, NY,
         September 16, 2013.

         “The Second Amendment and Guns in America,” Values, Arts, and Ideas Series
         Constitution Day Speaker, Manchester University, North Manchester, Indiana, September
         17, 2013.

         “Live By History, Die By History: The Second Amendment, Heller, and Gun Policy,”
         Georgetown University, Washington, DC, October 18, 2013.

         “American Gun Policy,” “Gun Violence: A Comparative Perspective,” and “American
         History and Foreign Policy, 1960-1990,” King’s College, London, England; Southbank
         Centre, “Superpower Weekend,” November 8-11, 2013.

         “Gun Politics and the Electoral Process,” Oneida County Women’s Democratic Club and
         County Committee, Utica, NY, November 17, 2013.

         “The Second Amendment and the Hidden History of Gun Laws,” Institute for Legislative
         Studies, University of North Carolina, Greensboro, NC, November 20-21, 2013.

         “The Future of Gun Regulation After Newtown,” Fordham University, New York, NY,
         January 21, 2014.

         “The 2014 Elections: The End of the Obama Era?” 22nd Annual Chautauqua, Homer, NY,
         August 3, 2014.

         “New York State and the NY SAFE Act: A Case Study in Strict Gun Laws,” conference
         on “A Loaded Debate: The Right to Keep and Bear Arms in the 21st Century,” Albany
         Law School, Albany, NY, October 9, 2014.

         “Is Gun Control Un-American or at Least Unconstitutional?” Temple Concord, Syracuse,
         NY, October 14, 2014.

         “The American Gun Debate is Under Water,” TEDxCortland Talk, Hathaway House,
         Solon, NY, October 25, 2014.

         “The Unitary Executive and the Bush Presidency,” Conference on the Presidency of
         George W. Bush,” Hofstra University, Hempstead, NY, March 24-26, 2015.
                                              36
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     3:19-cv-01537-BEN-JLB
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                                                Filed 10/13/22
                                                         Page 79
                                                               PageID.11574
                                                                 of 230 PageIDPage
                                                                               #:40578 of
                                          229




         “Assessing the Obama Presidency,” Western Political Science Association, Las Vegas,
         NV, April 1-3, 2015.

         “Gun Laws, Gun Policies, and the Second Amendment,” Central New York Council of
         the Social Studies Professional Development Day Conference, Carnegie Conference
         Center, Syracuse, NY, October 20, 2015.

         “The 2016 Elections,” The Cornell Club of Cortland County, November 17, 2015,
         Cortland, NY.

         “Gun Law History in the U.S. and Second Amendment Rights,” Conference on The
         Second Amendment: Legal and Policy Issues, New York University Law School and the
         Brennan Center for Justice, New York City, April 8, 2016.

         “The Presidential Elections,” The Century Club, June 7, 2016, Syracuse, NY.

         “The 2016 Elections,” Chautauqua, August 3, 2016, Homer, NY.

         “The 2016 Elections” Cortland Rotary, Cortland, N.Y. September 20, 2016.

         “The 2016 Elections,” Cortland Community Roundtable, October 6, 2016.

         “TrumPocalypse 2016,” Finger Lakes Forum, Geneva, N.Y., October 16, 2016.

         “The 2016 Elections,” Homer Congregational Church, Homer, N.Y., October 30, 2016.

         “Had Enough? Only Five More Days,” OASIS, November 3, 2016, Syracuse, N.Y.

         “Guns for Everyone?” OASIS, November 14, 2016, Syracuse, N.Y.

         “Sizing Up the Trump Presidency,” Cortland County Democratic Party, June 1, 2017.

         “Understanding Impeachment,” Ladies Literary Society, Lafayette, NY, June 7, 2017.

         “Guns Across America,” Ithaca College, Ithaca, NY, September 21, 2017.

         Guest panelist, “Gun Studies Symposium,” University of Arizona, Tucson, AZ, October
         20, 2017.

         “Gun Policy and Schools After Parkland,” SUNY Student Assembly Annual Conference,
         Syracuse, NY, April 7, 2018.

                                               37
CaseCase:
     3:19-cv-01537-BEN-JLB
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                                                Filed 10/13/22
                                                         Page 80
                                                               PageID.11575
                                                                 of 230 PageIDPage
                                                                               #:40679 of
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         “Gun Laws, History, and the Second Amendment: What Does the Constitution Allow?”
         Clemson University, SC, April 17, 2018.

         “Gun Violence and the History of Gun Laws,” League of Women Voters of Tompkins
         County, Ithaca, NY, May 23, 2018.

         “The Unknown History of Gun Laws in America,” Madison-Chenango Call to Action,
         Hamilton, NY, June 20, 2018.

         “It’s All Academic: The Meaning of the Second Amendment Versus Heller,” Conference
         on “The Second Amendment: Its Meaning and Implications in Modern America,”
         Lincoln Memorial University School of Law, Knoxville, TN, January 18, 2019.

         “Mulling Over the Mueller Report,” Indivisible Cortland County, Homer, NY, June 15,
         2019.

         “Gun Accessories and the Second Amendment: Assault Weapons, Magazines, and
         Silencers,” Symposium on Gun Rights and Regulation Outside the Home, Duke
         University, Durham, NC, September 27, 2019.

         “Gun Policy 101: What Policymakers and the Public Need to Know,” Rockefeller
         Institute of Government, Albany, NY, October 1, 2019.

         Guest expert, Federalist Society Teleforum on New York State Rifle and Pistol
         Association v. NYC, November 22, 2019.

         “To Brandish or Not to Brandish: The Consequences of Gun Display,” Duke University
         Law School Conference on Historical Gun Laws, June 19, 2020 (virtual).

         “The 2020 Elections,” Cortland Country Club, October 14, 2020.

         Panelist, “Gun Law, Politics, and Policy,” Midwest Political Science Association,
         Chicago, April 14-17, 2021 (virtual).

         “Gun Violence,” Beaches Watch, Florida, August 4, 2021 (virtual).

         “Challenging Conversations: Gun Control,” Lockdown University (virtual), April 5,
         2022.

         “Scholars’ Circle: Gun Control,” June 30, 2022 (virtual).

         “Gun Rules and Regulations,” Clubhouse AverPoint, July 2, 2022 (virtual).

                                                38
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     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 81
                                                               PageID.11576
                                                                 of 230 PageIDPage
                                                                               #:40780 of
                                          229




         “A Nation in Crisis: Are Guns the Problem?” Center for Ethics and Human Values’ Civil
         Discourse Forum, The Ohio State University, Columbus, OH, September 23, 2022.

         “Explaining the 2022 Midterm Elections,” OSHER Lifelong Learning Institute at the
         College of William and Mary, Williamsburg, Va., October 13, 2022.


         Panel Participation:

         Discussant, "Historical Transformations of Political Institutions in the U.S.," Social
         Science History Association, Rochester, N.Y., November 7-9, 1980.

         Chair, "The Political Economy of Single Issue Movements," 1981 American Political
         Science Association, New York City, September 3-6.

         Discussant, "New York Republicans: An Emerging Majority Party?", New York State
         Political Science Association, Albany, N.Y., April 2-3, 1982.

         Round table panel member, "Perspectives on the Reagan Administration," New York
         State Political Science Association, New York, N.Y., April 8-9, 1983.

         Discussant, "Toward a Theory of the Chief Executive," 1983 American Political Science
         Association, Chicago, Ill., September 1-4, 1983.

         Chair and Discussant, "Political Parties and Party Organization," 1984 American Political
         Science Association, Washington, D.C., August 30 - September 2, 1984.

         Discussant, "Reforming the Presidential Selection Process,” New York State Political
         Science Association, New York, N.Y., April 25-26, 1985.

         Chair, "Theoretical Approaches to Policy Concerns," American Political Science
         Association, New Orleans, La., August 29 - September 1, 1985.

         Discussant, "Perspectives on Presidential Influence," American Political Science
         Association, New Orleans, La., August 29 - September 1, 1985.

         Discussant, "The Item Veto," American Political Science Association, New Orleans, La.,
         August 29 - September 1, 1985.

         Chair, "Mobilizing Interests on National Policies," American Political Science
         Association, Washington, D.C., August 28-31, 1986.

         Discussant, "The News Media and American Politics," American Political Science
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CaseCase:
     3:19-cv-01537-BEN-JLB
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                                                         Page 82
                                                               PageID.11577
                                                                 of 230 PageIDPage
                                                                               #:40881 of
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         Association, Washington, D.C., August 28-31, 1986.

         Chair, "Perspectives on the Bicentennial of the U.S. Constitution," New York State
         Political Science Association, New York City, April 3-4, 1987.

         Discussant, "The Presidency in Comparative Perspective," and "Media and Models of
         Public Policy-Making," American Political Science Association, Atlanta, Aug. 31 - Sept.
         3, 1989.

         Discussant, "Presidents and Economic Interests," American Political Science
         Association, Washington, D.C., August 29 - September 1, 1991.

         Panel Chair, "The Presidential Role in Policy Making," American Political Science
         Association, Chicago, September 3-6, 1992.

         Discussant, "Presidential Influence on Congress," American Political Science
         Association, Washington, D.C., September 2-5, 1993.

         Discussant, "Bureaucratic Politics," Southern Political Science Association, November 3-
         6, 1993.

         Discussant, "The President's Extra-Constitutional Power," American Political Science
         Association, New York City, September 1-4, 1994.

         Discussant, "Roundtable on the President and Congress in a Republican Age," Western
         Political Science Association, San Francisco, March 14-16, 1996.

         Chair, "Militias, the Second Amendment, and the State: Constitutional, Social, and
         Historical Implications," American Political Science Association, San Francisco, August
         29-September 1, 1996.

         Chair, "Roundtable on Teaching the Presidency," American Political Science
         Association, August 29-September 1, 1996.

         Chair, "The Constitutionalism and Presidentialism of Louis Fisher," American Political
         Science Association, Washington, D.C., August 28-31, 1997.

         Chair, “The President as Legislative Leader,” American Political Science Association,
         Boston, September 3-6, 1998.

         Chair, Roundtable on “Memo to the President,” American Political Science Association,
         Atlanta, September 2-5, 1999.

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CaseCase:
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                                                Filed 10/13/22
                                                         Page 83
                                                               PageID.11578
                                                                 of 230 PageIDPage
                                                                               #:40982 of
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         Discussant, “Firearms in the U.S.,” Midwest Political Science Association, Chicago,
         April 27-30, 2000.

         Chair and discussant, Roundtable on “Is the Presidency Changed?” APSA, San
         Francisco, August 30-September 2, 2001.

         Chair and discussant, “Presidential Use of Strategic Tools,” APSA, Boston, August 29 -
         Sept. 1, 2002.

         Discussant, “Executing the Constitution,” APSA, Boston, August 29 - Sept. 1, 2002.

         Chair, “Marketing the President,” APSA, Philadelphia, August 28-31, 2003.

         Discussant, “Media Coverage of the Presidency,” APSA, Philadelphia, August 28-31,
         2003.

         Chair and discussant, “Does Presidential Leadership in Foreign Policy Matter?” APSA,
         Chicago, September 2-5, 2004.

         Roundtable member, “The Ins and Outs of Obtaining a Book Contract,” APSA, Chicago,
         September 2-5, 2004.

         Discussant, “Presidential Power: Lessons From the Past,” APSA, Washington, D.C.,
         September 1-4, 2005.

         Chair and Discussant, “The Unitary Executive in a Separated System,” APSA,
         Philadelphia, August 31-September 3, 2006.

         Panel chair, “The Culpability of Congress,” Conference on Presidential Power in
         America: The Constitution, the Defense of a Nation and the National Ethos,
         Massachusetts School of Law Conference Series, Andover, MA, October 14-15, 2006.

         Panel chair, “Keeping the Modern Presidency in Check and Balance,” APSA, Chicago,
         August 30-September 2, 2007.

         Discussant, “Presidential Endings: George W. Bush and the Final Two Years,” APSA,
         Chicago, August 30-September 2, 2007.

         Discussant, “Staffing and Decisionmaking in the White House,” APSA, Boston, August
         28-31, 2008.

         Panel Chair, “Early Assessments of the Obama Presidency,” APSA, Washington, D.C.,
         September 2-5, 2010.
                                                41
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                                Filed 10/13/22
                                                         Page 84
                                                               PageID.11579
                                                                 of 230 PageIDPage
                                                                               #:41083 of
                                          229




         Discussant, “Historical Perspectives on the Presidency,” APSA, Chicago, August 29-
         Sept. 1, 2013.

         Discussant, “Politics and Presidential Travel,” APSA, Washington, D.C., August 27-31,
         2014.

         Discussant, “The Obama Presidency and Constitutional Law,” APSA, San Francisco,
         Sept. 3-6, 2015.

         Discussant, “Presidents, the Courts and the Law,” APSA, Philadelphia, Sept. 1-4, 2016.

         Discussant, “Executive Power and Democratic Functioning in the Trump Era,” APSA,
         Boston, MA, August 30-September 2, 2018.

         Panel chair, “Assessing the Presidency of Donald Trump,” APSA, Washington, DC,
         August 29-September 1, 2019.

         Roundtable, “Gun Law, Politics, and Policy,” Midwest Political Science Association,
         April 17, 2021 (virtual).

         Roundtable, “Guns and the Political Moment: Political Violence, Self-Defense, and
         Reckoning with Race,” Midwest Political Science Association, Chicago, April 7, 2022.


  Book Reviews:

         The American Presidency, by Richard M. Pious, reviewed in The Journal of Politics,
         November, 1979.

         The Politics of Mistrust, by Aaron Wildavsky and Ellen Tenenbaum, reviewed in
         Administrative Science Quarterly, December, 1981.

         Review essay, The President as Policymaker, by Laurence E. Lynn and David DeF.
         Whitman, review essay in Administrative Science Quarterly, March, 1982.

         PL94-142: An Act of Congress, by Erwin L. Levine and Elizabeth M. Wexler, reviewed
         in the American Political Science Review, June, 1982.

         Pure Politics and Impure Science, by Arthur M. Silverstein, reviewed in Administrative
         Science Quarterly, June, 1984.

         Review essay, The President's Agenda, by Paul Light, reviewed in Administrative
                                               42
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 85
                                                               PageID.11580
                                                                 of 230 PageIDPage
                                                                               #:41184 of
                                          229




         Science Quarterly, September, 1984.

         The Evolution of American Electoral Systems, by Paul Kleppner, et al., reviewed in the
         American Political Science Review, December, 1983.

         A Case of Third Party Activism, by James Canfield, reviewed in Perspective, July-
         August, 1984.

         Winners and Losers: Campaigns, Candidates and Congressional Elections, by Stuart
         Rothenberg, reviewed in the American Political Science Review, December, 1984.

         The Political Presidency, by Barbara Kellerman, reviewed in Perspective, January-
         February, 1985.

         Presidents and Promises, by Jeff Fishel, reviewed in the American Political Science
         Review, December, 1985.

         The Elections of 1984, ed. by Michael Nelson, reviewed in Perspective, May/June, 1985.

         Economic Conditions and Electoral Outcomes, by Heinz Eulau and Michael S. Lewis-
         Beck, reviewed in Perspective, May/June, 1986.

         Presidential Transitions: Eisenhower Through Reagan, by Carl M. Brauer, in
         Perspective, January/February, 1987.

         Religion and Politics in the United States, by Kenneth D. Wald, in Journal for the
         Scientific Study of Religion, September, 1988.

         Abortion and Divorce in Western Law, by Mary Ann Glendon, in The Annals of the
         American Academy of Political and Social Science, September, 1988.

         The American Political Economy, by Douglas Hibbs, in Perspective, Spring, 1988.

         God in the White House, by Richard G. Hutcheson, Jr., in Perspective, Fall, 1988.

         The Reagan Legacy, Charles O. Jones, ed., in Social Science Quarterly, June, 1989.

         Dilemmas of Presidential Leadership From Washington Through Lincoln by Richard
         Ellis and Aaron Wildavsky, in Perspective, September, 1989.

         Taming the Prince by Harvey Mansfield, Jr., in Governance, April, 1990.

         Public Policy and Transit System Management, ed. by George M. Guess, in Perspective,
                                              43
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 86
                                                               PageID.11581
                                                                 of 230 PageIDPage
                                                                               #:41285 of
                                          229




         Spring, 1991.

         The Myth of Scientific Public Policy, by Robert Formaini, in Perspective, Winter, 1992.

         The Bush Presidency: First Appraisals, ed. by Colin Campbell and Bert Rockman in
         Public Administration Review, May/June, 1992.

         The Illusion of a Conservative Reagan Revolution, by Larry Schwab, in Policy Currents,
         May, 1992.

         The Vital South: How Presidents Are Elected, by Earl Black and Merle Black, in
         Perspective, Fall, 1993.

         The Presidential Pulse of Congressional Elections, by James E. Campbell, in The Journal
         of American History, March, 1995.

         Out of Order, by Thomas Patterson, in Presidential Studies Quarterly, Summer, 1994.

         Congress, the President, and Policymaking, by Jean Schroedel, in the American Political
         Science Review, December, 1994.

         The President and the Parties, by Sidney Milkis, in Governance, January 1995.

         The Myth of the Modern Presidency, by David K. Nichols, PRG Report, Spring, 1995.

         The End of the Republican Era, by Theodore Lowi, The Journal of American History,
         December, 1995.

         Strategic Disagreement: Stalemate in American Politics by John B. Gilmour, in
         Governance (9), 1996.

         Rivals For Power: Presidential-Congressional Relations, by James Thurber, in American
         Political Science Review, March, 1997.

         American Presidential Elections, ed. by Harvey Schantz, in Perspectives, Spring 1997.

         The Power of Separation by Jessica Korn, in Congress & the Presidency, Spring 1997.

         Strong Presidents by Philip Abbott, in Perspective, Fall 1997.

         Other People’s Money: Policy Change, Congress, and Bank Regulation, by Jeffrey
         Worsham, in Perspectives, Spring 1998.

                                                 44
CaseCase:
     3:19-cv-01537-BEN-JLB
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                                                Filed 10/13/22
                                                         Page 87
                                                               PageID.11582
                                                                 of 230 PageIDPage
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         A Third Choice, in Journal of American History, December 1998.

         Politics, Power and Policy Making: The Case of Health Care Reform in the 1990s, by
         Mark Rushefsky and Kant Patel in Perspectives, Winter 1999.

         The Paradoxes of the American Presidency, by Thomas Cronin and Michael Genovese,
         for the American Political Science Review, March 1999.

         Republic of Denial, by Michael Janeway, for Perspectives, Spring 2000.

         The Art of Political Warfare, by John Pitney, Rhetoric and Public Affairs, Summer 2001.

         Arming America, by Michael Bellesiles, Congress Monthly, January/February 2002.

         Gun Violence in America by Alexander DeConde, Law and Politics Book Review,
         August 2001; also in Historynewsnetwork.org, 8/01.

         Presidents as Candidates, by Kathryn D. Tenpas, in Rhetoric and Public Affairs, Spring
         2002.

         The Trouble With Government, by Derek Bok, Perspectives, Spring 2002.

         King of the Mountain, by Arnold M. Ludwig, Rhetoric and Public Affairs, Winter 2002.

         Power, the Presidency, and the Preamble, by Robert M. Saunders, Presidential Studies
         Quarterly, December 2002.

         Presidents, Parliaments, and Policy, ed. by Stephen Haggard and Mathew McCubbins,
         Perspectives, Winter 2003.

         The Modern American Presidency, by Lewis L. Gould, Rhetoric and Public Affairs.

         Watergate: The Presidential Scandal that Shook America, by Keith W. Olson,
         Perspectives, Summer 2003.

         The Militia and the Right to Arms, or, How the Second Amendment Fell Silent, by H.
         Richard Uviller and William G. Merkel, Journal of American History, March 2004.

         Power Without Persuasion: The Politics of Direct Presidential Action, by William G.
         Howell, Perspectives on Politics, June 2004.

         The George W. Bush Presidency: An Early Assessment, ed. By Fred Greenstein,
         Perspectives, Spring 2004.
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CaseCase:
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                                                Filed 10/13/22
                                                         Page 88
                                                               PageID.11583
                                                                 of 230 PageIDPage
                                                                               #:41487 of
                                          229




         The Invention of the United States Senate, by Daniel Wirls and Stephen Wirls,
         Perspectives, Summer 2004.

         The Mythic Meanings of the Second Amendment, by David C. Williams, Law and
         Politics Book Review, April 2004.

         Empowering the White House, by Karen M. Hult and Charles E. Walcott, Rhetoric and
         Public Affairs, Fall 2005.

         Defining Americans: The Presidency and National Identity, by Mary E. Stuckey,
         Perspectives, Spring 2005.

         Presidential Leadership: Rating the Best and Worst in the White House, ed. By James
         Taranto and Leonard Leo, Rhetoric and Public Affairs, Summer 2006.

         A Well-Regulated Militia: The Founding Fathers and the Origins of Gun Control in
         America, by Saul Cornell, American Journal of Legal History, October 2006.

         The Founders’ Second Amendment: Origins of the Right to Bear Arms, by Stephen
         Halbrook, Law and Politics Book Review 18(October 2008).

         Out of the Shadow: George H.W. Bush and the End of the Cold War, by Christopher
         Maynard, Journal of American History (September 2009).

         Guns, Democracy, and the Insurrectionist Idea, by Joshua Horwitz, Law and Politics
         Book Review 19(June 2009).

         Talking Together, by Lawrence Jacobs, Fay Lomax Cook, and Michael Delli Carpini,
         dailykos.com, posted June 20, 2009, with Glenn Altschuler.

         Accidental Presidents, by Philip Abbott, Presidential Studies Quarterly, June 2010.

         The Co-Presidency of Bush and Cheney, by Shirley Anne Warshaw, Congress and the
         Presidency, 2010.

         Crisis and Command: The History of Executive Power from George Washington to
         George W. Bush, by John Yoo, Presidential Studies Quarterly (December 2010).

         Declaring War: Congress, the President, and What the Constitution Does Not Say, by
         Brien Hallett, Law and Politics Book Review 22(November 2012).

         Congress vs. the Bureaucracy: Muzzling Agency Public Relations, by Mordecai Lee, The
                                              46
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 89
                                                               PageID.11584
                                                                 of 230 PageIDPage
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         Journal of American History (December 2012).

         Arming and Disarming, by R. Blake Brown, Law and History Review (November 2013).

         Reclaiming Accountability: Transparency, Executive Power, and the U.S. Constitution,
         by Heidi Kitrosser, Congress and the Presidency 42(2015).

         The Six-Shooter State: Public and Private Violence in American Politics by Jonathan
         Obert and The Lives of Guns ed. by Jonathan Obert, Andrew Poe and Austin Sarat,
         Perspectives on Politics 17(September 2019).

         The Toughest Gun Law in the Nation by James B. Jacobs and Zoe Fuhr, Criminal Law
         and Criminal Justice Books, March 2020.

         Warped Narratives: Distortion in the Framing of Gun Policy by Melissa K. Merry,
         Perspectives on Politics 18(September 2020).

         The Uses and Misuses of Politics: Karl Rove and the Bush Presidency by William G.
         Mayer, Presidential Studies Quarterly (December 2022).


  Selected Media Appearances/Quotations:

         NBC’s “Today Show”; ABC’s “Good Morning America” and “Network Nightly News”;
         PBS’s “News Hour”; CNN’s “Lou Dobbs,” “NewsStand,” “CNN & Co.” CNN’s HLN,
         and “Insight”; CNBC’s “Upfront Tonight”; MSNBC’s “Countdown with Keith
         Olbermann,” “All In With Chris Hayes,” “Ali Velshi,” “Fresh Air With Terry Gross,”
         “The Diane Rehm Show,” 1A with Joshua Johnson, NPR; NHK Television (Japan);
         CGTN (China), documentary films “Guns and Mothers” (PBS, 2003), “Under the Gun”
         (Katie Couric Film Company, Epix, 2016), “The Price of Freedom” (Flatbush
         Pictures/Tribeca Films, 2021). Quoted in or by the New York Times, the Washington
         Post, Time Magazine, Newsweek, Der Spiegel (Germany), USA Today, the Los Angeles
         Times, the Wall Street Journal, the Christian Science Monitor, the Boston Globe, the
         Chicago Tribune, the Philadelphia Inquirer, the Miami Herald, Houston Chronicle, the St.
         Louis Post-Dispatch, San Francisco Chronicle, the Dallas Morning News, the Baltimore
         Sun, the Detroit Free Press, the Seattle Post-Intelligencer, Newsday, the Denver Post,
         Kansas City Star, Dallas News, Pittsburgh Post-Gazette, New Orleans Times Picayune,
         Orlando Sentinel, Columbus Dispatch, Buffalo News, San Jose Mercury News, Albany
         Times-Union, St. Petersburg Times, Arkansas Democrat-Gazette, Newark Star-Ledger,
         Bergen Record, Congress Daily, The Hill, CQ Report, Rolling Stone, The Nation, Ladies
         Home Journal, the National Journal, The Spectator, Legal Times, Financial Times,
         Toronto Globe, al Jazeera, Reuters, Bloomberg News, Knight Ridder, AP, Gannett,
         Newhouse, Scripps Howard, McClatchy, Hearst, the BBC (Britain), CBC (Canada), the
                                                  47
CaseCase:
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                                                Filed 10/13/22
                                                         Page 90
                                                               PageID.11585
                                                                 of 230 PageIDPage
                                                                               #:41689 of
                                          229




         Voice of America, Radio Free Europe, ABC News Online, Fox News Online, National
         Public Radio, CBS Radio, media outlets in South Korea, India, Brazil, Denmark, Spain,
         France, Norway, Germany.

         Regular panelist on “The Ivory Tower,” a weekly public affairs program broadcast on
         WCNY-TV, Syracuse, NY, from 2002-2021. A half hour discussion of the week’s events
         conducted by five academics from area colleges.


  Professional Associations:

         Scholars Strategy Network.
         American Political Science Association.
         Center for the Study of the Presidency.
         Presidents and Executive Politics Section (formerly the Presidency Research Group),
                APSA; served on Governing Board of PRG, 1991 to 2003.
         New York Political Science Association.
         Pi Sigma Alpha.
         Phi Kappa Phi.


  Teaching Areas:

         American Government: courses taught include Introduction to American Government,
               The Legislative Process, Political Parties and Social Movements, The American
               Presidency, Media and Politics, Gun Control Politics and Policy, State and Local
               Government, Abortion Politics, Elections and American Politics, Media and War,
               internships in Washington, D.C., Albany, and Cortland County, Seminars on the
               Decline of Parties and Third Parties, American Institutions, Current Develop-
               ments in American Politics, and Introduction to College Life.

                Public Policy: courses taught include Introduction to Public Policy, Gun Policy.
                Areas of interest include policy theory, policy formation and decisionmaking, and
                policy implementation.


  Teaching-Related Awards:

         Three-time recipient of the SUNY Cortland Student Government Association
         Outstanding Faculty Award (the "DiGiusto Award"), 1987, 1991, and 2003, for
         "Outstanding Service to Students." (The only faculty member ever to win this award
         more than once.)

                                               48
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 91
                                                               PageID.11586
                                                                 of 230 PageIDPage
                                                                               #:41790 of
                                          229




  Other Professional Activities

  External Reviewer, University of Michigan-Dearborn, Project to Expand Promotion and Tenure
  Guidelines (PTIE) to Inclusively Recognize Innovation and Entrepreneurial Impact, 2021.

  Member, Howard Penniman Graduate Scholarship Selection Committee, Pi Sigma Alpha, 2018.

  Member, Advisory Board of Pi Sigma Alpha Undergraduate Journal of Politics, 2014-2016.

  Executive Council, Pi Sigma Alpha National Board, 2014-18.

  Fund and organizing leader for American Political Science Association’s new Distinguished
  Teaching Award, 2011-12.

  Chair, Presidency Research Group Task Force on Membership and Recruitment, 2007-08.

  Chair, Richard E. Neustadt Award Committee for Best Book on the Presidency published in
         2005, Presidency Research Group, 2006.

  President, Presidency Research Group, American Political Science Association, 2001-2003;
         Vice-President 1999-2001.

  Chair, Best Paper Award Committee, Presidency Research Group, American Political Science
         Association, for 1991 and 1992 conferences.

  Member, Governing Board of the Presidency Research Group of the American Political Science
       Association, 1991-2003.

  Editor, PRG Report, 1993-1997.

  Board of Editors, State University of New York Press, 1993-1996; 1997-2000. Board Chair,
         1998-2000.

  Member, Leonard D. White Award Committee for Best Dissertation in Public Administration,
       American Political Science Association, 1995.

  Conference Organizing Committee, "Presidential Power: Forging the Presidency for the 21st
         Century," Columbia University, November 15-16, 1996.

  Chair, E.E. Schattschneider Award Committee, best doctoral dissertation in American Politics,
         American Political Science Association, 1997.

                                                49
CaseCase:
     3:19-cv-01537-BEN-JLB
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                                                Filed 10/13/22
                                                         Page 92
                                                               PageID.11587
                                                                 of 230 PageIDPage
                                                                               #:41891 of
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  Secretary/Treasurer, Presidency Research Group, 1997-99.

  Book and article reviews for Houghton Mifflin, Cengage Learning, Random House, McGraw-
  Hill, St. Martins, W.W. Norton, Oxford University Press, Cambridge University Press,
  University of Chicago Press, University of California Press, Princeton University Press, Cornell
  University Press, UNC Press, Pearson Longman, Allyn & Bacon, Palgrave/Macmillan,
  University of New Mexico Press, Texas A&M University Press, Chatham House, CQ Press,
  HarperCollins, SUNY Press, Thompson Wadsworth, University of Michigan Press, University of
  Missouri Press, Westview Press, Brooking Institution, Rowman and Littlefield, Routledge,
  University of Alabama Press, American Political Science Review, PS, Comparative Politics,
  American Journal of Political Science, Policy Studies Journal, Policy Studies Review, Political
  Science Quarterly, the Journal of Politics, Western Political Quarterly, Polity, Social Science
  Quarterly, Political Behavior, American Politics Quarterly, Political Communication, Legislative
  Studies Quarterly, Government and Policy, Congress and the Presidency, Social Science Journal,
  Journal of Policy History, Political Research Quarterly, Presidential Studies Quarterly, Politics
  and Policy, and the National Science Foundation.


  Selected Community Service

  Administrative Law Judge/Hearing Officer for Cortland County Board of Health, 1994-present;
  for Tompkins County, 1997-present; for Chenango County, 1997-present; for Madison County,
  2006-2021.

  Member, City of Cortland Planning Commission, 2009-2012.

  Chair, SUNY Press Board of Editors, 1998-2000 (board member 1993-96, 1997-2000).

  Board President, Cortland County Arts Council, 1989-1990 (board member, 1987-1990).

  Chair, Homer Zoning Board of Appeals, 1995-1997; board member 1988-1997.

  Board member, Cortland County Landmark Society, 1989-1995.

  Chair, Planning Committee on Codes and Safety for the village of Homer's Odyssey 2010
  Project, 1996.




                                                 50
CaseCase:
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                                                         Page 93
                                                               PageID.11588
                                                                 of 230 PageIDPage
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                                   EXHIBIT B
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                                                                           Page 94
                                                                                 PageID.11589
                                                                                   of 230 PageIDPage
                                                                                                 #:42093 of
                                                            229



                                                        EXHIBIT B

                                    FIREARM HARDWARE RESTRICTIONS TABLE
                                           (YEARS OF ENACTMENT)1
      STATE2          TRAP GUNS3        CONCEALED           AUTOMATIC               SEMI-             AMMUNITION
                                          CARRY 4            FIREARMS            AUTOMATIC          FEEDING DEVICES/
                                                                                  FIREARMS            FIRING LIMITS
    Alabama                            1839, 1841
    Alaska                             1896
    Arizona                            1889
    Arkansas                           1820,1837
    California                         1850, 1864        1927, 1933                                1927, 1933
    Colorado                           1862
    Connecticut                        1890, 1923
    Delaware                           1852              1931
    District of                        1857, 1871        1932                  1932                1932
    Columbia
    Florida                            1887              19135, 1933
    Georgia                            1837
    Hawaii                             1913              1933                                      1933
    Idaho                              1909

1
    Further research may yield additional laws regulating firearm hardware.
2
    In addition to state laws, this chart provides the year of enactment of local ordinances adopted within the states.
3
    Sometimes trap guns were also referred to as “infernal machines.”
4
  These laws prohibited the concealed carrying of certain enumerated weapons or types of weapons. The early laws
restricted general weapons carrying, whether concealed or open.
5
    “It shall, at any time, be unlawful to hunt wild game in Marion County with guns–known as Automatic guns.”

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                CaseCase:
                     3:19-cv-01537-BEN-JLB
                          1:22-cv-04775 Document
                                             Document
                                                 #: 34-4137-8
                                                         Filed: 12/19/22
                                                                Filed 10/13/22
                                                                         Page 95
                                                                               PageID.11590
                                                                                 of 230 PageIDPage
                                                                                               #:42194 of
                                                          229



    Illinois                         1881              1931                 1931†               1931
    Indiana                          1820              1927, 1929
    Iowa                             1882, 1887,       1927
                                     1897, 1929
    Kansas                           1901              1933
    Kentucky                         1812, 1813
    Louisiana                        1813              1932                 1932†               1932
    Maine                            1840
    Maryland        1910             1872              1927
    Massachusetts                    1751              1927                 1927                1927
    Michigan        1875, 1931       1887              1927, 1929           1927, 1929          1927
    Minnesota       1873, 1903       1881              1933                 1933                1933
    Mississippi                      1878
    Missouri        18916            1873              1929                                     1929
    Montana                          1864, 1865
    Nebraska                         1881              1929
    Nevada                           1881, 1925
    New             1915
    Hampshire
    New Jersey      1771             1686              1927, 1934                               1920, 1927
    New Mexico                       1852, 1853
    New York        18707            1891              1931, 1933




6
 Chillicothe, Mo.: “George Dowell, a young farmer, was fined $50 under an old law for setting a trap-gun. Dowell
set the gun in his corn-crib to catch a thief, but his wife was the first person to visit the crib and on opening the
door was shot dead.” “Shot by a Trap-Gun,” South Bend Tribune, Feb. 11, 1891, https://bit.ly/3CtZsfk.
7
 New York City, NY: A burglar was killed by a gun-trap set by a shopkeeper at 301 East 23rd St. A jury
concluded that the burglar’s death was caused by the trap-gun. The article notes: “As there is a statute against the
use of such infernal machines, which might cause loss of life to some innocent person, the jury censured
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              CaseCase:
                   3:19-cv-01537-BEN-JLB
                        1:22-cv-04775 Document
                                           Document
                                               #: 34-4137-8
                                                       Filed: 12/19/22
                                                              Filed 10/13/22
                                                                       Page 96
                                                                             PageID.11591
                                                                               of 230 PageIDPage
                                                                                             #:42295 of
                                                        229



 North                                  1792                                                  1917
 Carolina
 North Dakota 1891, 1895                1895                 1931                             1931
 Ohio                                   1859                 1933             1933            1933
 Oklahoma                               1890
 Oregon           1925                  1853                 1933                             1933
 Pennsylvania                           1851                 1929                             1929
 Rhode Island 1890, 1892                1893                 1927             1927            1927
 South            1855, 1931            1880                 1934             1934†           1934
 Carolina
 South Dakota 1909                      1877                 1933             1933            1933
 Tennessee                              1821
 Texas                                  1870                 1933                             1933
 Utah             1865, 1901            1877, 1888
 Vermont          1884, 1912            1895, 1897           1923                             1923
 Virginia                               1794, 1838           1934             1934            1934
 Washington       1909                  1881                 1933                             1933
 West Virginia                          1870                 1925
 Wisconsin        1872, 1921            1858                 1929, 1933                       1933
 Wyoming                                1876                 1933
 Total Laws       16                    50                   31               8–11            23
SOURCE: Duke Law, Duke Center for Firearms Law, Repository of Historical Gun Laws,
https://firearmslaw.duke.edu/repository/search-the-repository/
†Ambiguous law that could apply to semi-automatic in addition to automatic firearms.




Agostino.” After the verdict the man continued to be held under $2000 bail. “The Man Trap,” The Buffalo
Commercial, Nov. 1, 1870; from the N.Y. Standard, Oct. 29, 1870, https://bit.ly/3SDv2Nf.

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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 97
                                                               PageID.11592
                                                                 of 230 PageIDPage
                                                                               #:42396 of
                                          229




                                   EXHIBIT C
                  CaseCase:
                       3:19-cv-01537-BEN-JLB
                            1:22-cv-04775 Document
                                               Document
                                                   #: 34-4137-8
                                                           Filed: 12/19/22
                                                                  Filed 10/13/22
                                                                           Page 98
                                                                                 PageID.11593
                                                                                   of 230 PageIDPage
                                                                                                 #:42497 of
                                                            229



                                                              EXHIBIT C

                                        DANGEROUS WEAPONS RESTRICTIONS
                                             (YEARS OF ENACTMENT)1
       STATE2         BOWIE       Bludgeon     Billy/Billie      Clubs    Slung Shot    Sand Bag      Pistols        Any
                      KNIVES                     Clubs                                  Sand Club                 Concealed
                                                                                                                 /Deadly/Dan
                                                                                                                    gerous
                                                                                                                   Weapon
    Alabama          1837,                                     1805       1873                      1839, 1841
                     1839,
                     1841,
                     1867,
                     1876,
                     1877,
                     1879, 1892
    Alaska           1896†                                                1896-99                   1896         1896
    Arizona          1889, 1901                                           1873, 1889                1889         1867
                                                                          1893, 1901
    Arkansas         1871, 1875                                1835       1871                      1820, 1837
    California       1855, 1896   1849,        1917, 1923                 1864, 1923   1917, 1923   1850, 1864   1849
                                  1853, 1876
    Colorado         1862,        1876                                    1886                      1862         1862
                     1867,
                     1877, 1881
    Connecticut      1890†                                                1890                      1890, 1923
    Delaware         1881†                                     1797                                 1852


1
    Further research may yield additional laws regulating dangerous weapons.
2
    In addition to state laws, this chart provides the year of enactment of local ordinances adopted within the states.
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              CaseCase:
                   3:19-cv-01537-BEN-JLB
                        1:22-cv-04775 Document
                                           Document
                                               #: 34-4137-8
                                                       Filed: 12/19/22
                                                              Filed 10/13/22
                                                                       Page 99
                                                                             PageID.11594
                                                                               of 230 PageIDPage
                                                                                             #:42598 of
                                                        229



District of      1871                                                  1871                        1857, 1871
Columbia
Florida          1835,                     1888                        1868, 1888                  1887
                 1868,
                 1893†
Georgia          1860, 1873   1816                                     1860                        1837
Hawaii           1852, 1913                                            1852, 1913                  1913
Idaho            1879, 1909   1875                                     1879                        1909          1864
Illinois         1876, 1881   1845                                     1881, 1893                  1881
Indiana          1859                                    1804, 1855,   1875, 1905                  1820          1831
                                                         1881, 1905
Iowa             1882,                     1882                        1882          1887, 1900    1882, 1887,
                 1887, 1900                                                                        1897, 1929
Kansas           1862,                     1862, 1887                  1883, 1887,                 1901
                 1883, 1887                                            1899
Kentucky         1859                                    1798          1859                        1812, 1813
Louisiana        1870                                                                              1813          1813, 1842,
                                                                                                                 1870
Maine            1840,                                   1786                                      1840          1841
                 1841,
                 1884†
Maryland         1872,        1809,        1872, 1874                  1886          1890          1872
                 1886,        1874,        1884, 1886
                 1888, 1890   1886         1890, 1927
Massachusetts    1836†                                   1750          1850, 1927                  1751
Michigan         1891         1927, 1929   1887, 1891,   1913          1887, 1891,   1887, 1891,   1887
                                           1927, 1929                  1929          1927, 1929
Minnesota        1882                                                  1882, 1888    1888          1881          1882
Mississippi      1878                                    1799, 1804    1878                        1878
Missouri         1871,                     1871, 1897,   1818          1883, 1888,                 1873
                 1897,                     1923                        1897, 1917
                 1917, 1923


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                    3:19-cv-01537-BEN-JLB
                        1:22-cv-04775 Document
                                           Document
                                               #: 34-4137-8
                                                       Filed: 12/19/22
                                                               Filed 10/13/22
                                                                        Page 100
                                                                              PageID.11595
                                                                                 of 230 PageIDPage
                                                                                               #:426
                                                                                                   99 of
                                                        229



Montana           1864,        1887                                                            1864, 1865   1888
                  1879, 1885
Nebraska          1877,        1858         1872, 1890,            1890                        1881
                  1890, 1899                1899
Nevada            1873         1872                                1881                        1881, 1925
New
Hampshire
New Jersey        1871,        1799,        1871, 1927             1871, 1873,   1871, 1927    1686
                  1905†        1877, 1927                          1927
New Mexico        1853, 1887   1887                                1853, 1859,                 1852, 1853
                                                                   1869, 1887
New York          1866,        1911,        1866, 1881,   1664     1866          1866, 1881,   1891
                  1885,        1913, 1931   1884, 1885,                          1900, 1911,
                  1911†                     1900, 1911,                          1913, 1931
                                            1913, 1931
North Carolina    1879                                             1879                        1792
North Dakota      1895,        1915         1915                   1895          1915          1895
                  1915†
Ohio              1859,                                                                        1859         1788, 1859,
                  1880, 1890                                                                                1880
Oklahoma          1890,                     1890, 1891             1890, 1891,   1890          1890
                  1891, 1903                                       1903
Oregon            1885†                     1898, 1917             1885, 1917    1917          1853
Pennsylvania      1897                      1897                   1851                        1851
Rhode Island      1893,                     1893, 1908             1893, 1896                  1893
                  1896, 1908
South Carolina    1880, 1923                                       1880                        1880
South Dakota      1903†                                            1877, 1903                  1877
Tennessee         1838,                                            1879, 1882,                 1821
                  1856,                                            1893
                  1863,
                  1867,


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                 CaseCase:
                      3:19-cv-01537-BEN-JLB
                           1:22-cv-04775 Document
                                              Document
                                                  #: 34-4137-8
                                                          Filed: 12/19/22
                                                                 Filed 10/13/22
                                                                          Page 101
                                                                                PageID.11596
                                                                                   of 230 PageID
                                                                                               Page
                                                                                                 #:427
                                                                                                    100 of
                                                           229



                     1871,
                     1881, 1893
    Texas            1871, 1897                                1899           1871, 1879,                   1870
                                                                              1889, 1897,
                                                                              1899
    Utah             1877                                                                                   1877, 1888
    Vermont          1895†                                                    1895                          1895, 1897
    Virginia         1887                                      1792           1887                          1794
    Washington       1854, 1859                                                                             1881         1854, 1859,
                     1869                                                                                                1869, 1881,
                                                                                                                         1883, 1892,
                                                                                                                         1896, 1897
    West Virginia    1882,                      1870, 1882,                   1891                          1870
                     1891, 1925                 1891, 1925
    Wisconsin        1883                                                     1883, 1888                    1858         1883
    Wyoming          1884          1876, 1893                                 1884, 1890,                   1876
                                                                              1899
    Total Laws       106           25           44             17             79             21             64           24

SOURCE: https://firearmslaw.duke.edu/repository/search-the-repository/
†
    States that prosecuted/regulated/barred knives more generally without specifically mentioning Bowie knives.




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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 102
                                                               PageID.11597
                                                                  of 230 PageID
                                                                              Page
                                                                                #:428
                                                                                   101 of
                                          229




                                   EXHIBIT D
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 103
                                                               PageID.11598
                                                                  of 230 PageID
                                                                              Page
                                                                                #:429
                                                                                   102 of
                                          229



                                        EXHIBIT D

             MACHINE GUN AND SEMI-AUTOMATIC FIREARMS LAWS1

   CALIFORNIA:

   1927 Cal. Stat. 938, An Act to Prohibit the Possession of Machine Rifles, Machine
   Guns and Submachine Guns Capable of Automatically and Continuously
   Discharging Loaded Ammunition of any Caliber in which the Ammunition is Fed
   to Such Guns from or by Means of Clips, Disks, Drums, Belts or other Seperable
   Mechanical Device, and Providing a Penalty for Violation Thereof, ch. 552,
   §§ 1-2.
   § 1. . . . [E]very person, firm or corporation, who within the State of California
   possesses any firearm of the kind commonly known as a machine gun shall be
   guilty of a public offense and upon conviction thereof shall be punished by
   imprisonment in the state prison not to exceed three years or by a fine not to
   exceed five thousand dollars or by both such fine and imprisonment. Provided,
   however that nothing in this act shall prohibit police departments and members
   thereof, sheriffs, and city marshals or the military or naval forces of this state or of
   the United States from possessing such firearms for official use in the discharge of
   their duties.
   § 2. The term machine gun as used in this act shall be construed to apply to and
   include all firearms known as machine rifles, machine guns or submachine guns
   capable of discharging automatically and continuously loaded ammunition of any
   caliber in which the ammunition is fed to such gun from or by means of clips,
   disks, drums, belts or other separable mechanical device.

   1933 Cal. Stat. 1169
   § 2. [E]very person, firm or corporation, who within the State of California sells,
   offers for sale, possesses or knowingly transports any firearms of the kind
   commonly known as a machine gun … is guilty of a public offense…
    § 3. The term machine gun as used in this act shall be construed to apply to and
   include all firearms known as machine rifles, machine guns, or submachine guns
   capable of discharging automatically and continuously loaded ammunition of any
   caliber in which the ammunition is fed to such gun from or by means of clips,
   discs, drums, belts or other separable mechanical device and all firearms which are
   automatically fed after each discharge from or by means of clips, discs, drums,

   1
       Further research may yield additional laws regulating firearm hardware.

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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 104
                                                               PageID.11599
                                                                  of 230 PageID
                                                                              Page
                                                                                #:430
                                                                                   103 of
                                          229



   belts or other separable mechanical device having a capacity greater than ten
   cartridges.

   1933 Cal. Stat. 1169
   § 2. [E]very person, firm or corporation, who within the State of California sells,
   offers for sale, possesses or knowingly transports any firearms of the kind
   commonly known as a machine gun … is guilty of a public offense…
   § 3. The term machine gun as used in this act shall be construed to apply to and
   include all firearms known as machine rifles, machine guns, or submachine guns
   capable of discharging automatically and continuously loaded ammunition of any
   caliber in which the ammunition is fed to such gun from or by means of clips,
   discs, drums, belts or other separable mechanical device and all firearms which are
   automatically fed after each discharge from or by means of clips, discs, drums,
   belts or other separable mechanical device having a capacity greater than ten
   cartridges.

   DELAWARE:

   1931 Del. Laws 813, An Act Making it Unlawful for any Person or Persons Other
   than the State Military Forces or Duly Authorized Police Departments to have a
   Machine Gun in his or their Possession, and Prescribing a Penalty for Same, ch.
   249, § 1.
   On and after the passage and approval of this Act it is and shall be unlawful for any
   person or persons other than the State Military Forces or duly authorized Police
   Departments to have a machine gun in his or their possession, within the State of
   Delaware. Any person or persons convicted under the provisions of this Act shall
   be deemed guilty of a felony and shall be punished by either fine or imprisonment,
   or both, in the discretion of the Court . . . .

   DISTRICT OF COLUMBIA:

   District of Columbia 1932:
   1932, Public-No. 275-72D Congress
   CHAPTER 465
   H.R. 8754
   AN ACT To Control the possession, sale, transfer, and use of pistols and other
   dangerous weapons in the District of Columbia, to provide penalties to prescribe
   rules of evidence, and for other purposes.
   DEFINITIONS


                                            2
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 105
                                                               PageID.11600
                                                                  of 230 PageID
                                                                              Page
                                                                                #:431
                                                                                   104 of
                                          229



   SECTION 1. “Pistol,” as used in this Act, means any firearm with a barrel less
   than twelve inches in length. “Sawed-off shotgun” as used in this Act, means any
   shotgun with a barrel less than twenty inches in length. “Machine gun,” as used in
   this Act, means any firearm which shoots automatically or semiautomatically more
   than twelve shots without reloading. . . .
   SEC. 2. If any person shall commit a crime of violence in the District of Columbia
   when armed with or having readily available any pistol or other firearm, he may, in
   addition to the punishment provided for the crime, be punished by imprisonment
   for a term of not more than five years; upon a second conviction for a crime of
   violence so committed he may, in addition to the punishment provided for the
   crime, be punished by imprisonment for a term of not more than ten years; upon a
   third conviction for a crime of violence so committed he may, in addition to the
   punishment provided for the crime, be punished by imprisonment for a term of not
   more than fifteen years; upon a fourth or subsequent conviction for a crime of
   violence so committed he may, in addition to the punishment provided for the
   crime, be punished by imprisonment for an additional period of not more than
   thirty years.
   PERSONS FORBIDDEN TO POSSESS CERTAIN FIREARMS
   SEC. 3. No person who has been convicted in the District of Columbia or
   elsewhere of a crime of violence shall own or have in his possession a pistol,
   within the District of Columbia.
   CARRYING CONCEALED WEAPONS
   SEC. 4. No person shall within the District of Columbia carry concealed on or
   about his person, except in his dwelling house or place of business or on other land
   possessed by him, a pistol, without a license therefor issued as hereinafter
   provided, or any deadly or dangerous weapon.
   EXCEPTIONS
   SEC. 5. The provisions of the preceding section shall not apply to marshals,
   sheriffs, prison or jail wardens, or their deputies, policemen or other duly
   appointed law -enforcement officers, or to members of the Army, Navy, or Marine
   Corps of the United States or of the National Guard or Organized Reserves when
   on duty, or to the regularly enrolled members of any organization duly authorized
   to purchase or receive such weapons from the United States, provided such
   members are at or are going to or from their places of assembly or target practice,
   or to officers or employees of the United States duly authorized to carry a
   concealed pistol, or to any person engaged in the business of manufacturing,
   repairing, or dealing in firearms, or the agent or representative of any such person
   having in his possession, using, or carrying a pistol in the usual or ordinary course
   of such business or to any person while carrying a pistol unloaded and in a secure
   wrapper from the place of purchase to his home or place of business or to a place
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     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 106
                                                               PageID.11601
                                                                  of 230 PageID
                                                                              Page
                                                                                #:432
                                                                                   105 of
                                          229



   of repair or back to his home or place of business or in moving goods from one
   place of abode or business to another.
   ISSUE OF LICENSES TO CARRY
   SEC. 6. The superintendent of police of the District of Columbia may, upon the
   application of any person having a bona fide residence or place of business within
   the District of Columbia or of any person having a bona fide residence or place of
   business within the United States and a license to carry a pistol concealed upon his
   person issued by the lawful authorities of any State or subdivision of the United
   States, issue a license to such person to carry a pistol within the District of
   Columbia for not more than one year from date of issue, if it appears that the
   applicant has good reason to fear injury to his person or property or has any other
   proper reason for carrying a pistol and that he is a suitable person to be so licensed.
   The license shall be in duplicate, in form to be prescribed by the Commissioners of
   the District of Columbia and shall bear the name, address, description, photograph,
   and signature of the licensee and the reason given for desiring a license. The
   original thereof shall be delivered to the licensee, and the duplicate shall be
   retained by the superintendent of police of the District of Columbia and preserved
   in his office for six years.
   SEC. 7. No person shall within the District of Columbia sell any pistol to a person
   who he has reasonable cause to believe is not of sound mind, or is a drug addict, or
   is a person who has been convicted in the District of Columbia or elsewhere of a
   crime of violence or, except when the relation of parent and child or guardian and
   ward exists, is under the age of eighteen years.
   TRANSFERS REGULATED
   SEC. 8. No seller shall within the District of Columbia deliver a pistol to the
   purchaser thereof until forty-eight hours shall have elapsed from the time of the
   application for the purchase thereof, except in the case of sales to marshals,
   sheriffs, prison or jail wardens or their deputies, policemen, or other duly
   appointed law enforcement officers, and, when delivered, said pistol shall be
   securely wrapped and shall be unloaded. At the time of applying for the purchase
   of a pistol the purchaser shall sign in duplicate and deliver to the seller a statement
   containing his full name, address, occupation, color, place of birth, the date and
   hour of application, the caliber, make, model, and manufacturer's number of the
   pistol to be purchased and a statement that he has never been convicted in the
   District of Columbia or elsewhere of a crime of violence. The seller shall, within
   six hours after such application, sign and attach his address and deliver one copy to
   such person or persons as the superintendent of police of the District of Columbia
   may designate, and shall retain the other copy for six years. No machine gun,
   sawed-off shotgun, or
   blackjack shall be sold to any person other than the persons designated in section
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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 107
                                                               PageID.11602
                                                                  of 230 PageID
                                                                              Page
                                                                                #:433
                                                                                   106 of
                                          229



   14 hereof as entitled to possess the same, and then only after permission to make
   such sale has been obtained from the superintendent of police of the District of
   Columbia. This section shall not apply to sales at wholesale to licensed dealers.
   DEALERS TO BE LICENSED
   SEC. 9. No retail dealer shall within the District of Columbia sell or expose for
   sale or have in his possession with intent to sell, any pistol, machine gun. sawed -
   oft shotgun, or blackjack without being licensed as hereinafter provided. No
   wholesale dealer shall, within the District of Columbia, sell, or have in his
   possession with intent to sell, to any person other than a licensed dealer, any pistol,
   machine gun, sawed -oil shotgun, or blackjack.
   DEALERS' LICENSES, BY WHOM GRANTED AND CONDITIONS
   THEREOF
   SEC. 10. The Commissioners of the District of Columbia may, in their discretion,
   grant licenses and may prescribe the form thereof, effective for not more than one
   year from date of issue, permitting the licensee to sell pistols, machine guns,
   sawed-off shotguns, and blackjacks at retail within the District of Columbia subject
   to the following conditions in addition to those specified in section 9 hereof, for
   breach of any of which the license shall be subject to forfeiture and the licensee
   subject to punishment as provided in this Act. 1. The business shall be carried on
   only in the building designated in the license. 2. The license or a copy thereof,
   certified by the issuing authority, shall be displayed on the premises where it can
   be easily read. 3. No pistol shall be sold (a) if the seller has reasonable cause to
   believe that the purchaser is not of sound mind or is a drug addict or has been
   convicted in the District of Columbia or elsewhere of a crime of violence or is
   under the age of eighteen years, and (b) unless the purchaser is personally known
   to the seller or shall present clear evidence of his identity. No machine gun, sawed-
   off shotgun,
   or blackjack shall be sold to any person other than the persons designated in
   section 14 hereof as entitled to possess the same, and then only after permission to
   make such sale has been obtained
   from the superintendent of police of the District of Columbia. 4. A true record shall
   be made in a book kept for the purpose the form of which may be prescribed by the
   Commissioners, of pistols, machine guns, and sawed-off shotguns in the
   possession of the licensee, which said record shall contain the date of purchase, the
   caliber, make, model, and manufacturer's number of the weapon, to which shall be
   added, when sold, the date of sale. 5. A true record in duplicate shall be made of
   every pistol, machine gun, sawed-off shotgun, and blackjack sold, said record to be
   made in a book kept for the purpose, the form of which may be prescribed by the
   Commissioners of the District of Columbia and shall be personally signed by the
   purchaser and by the person effecting the sale, each in the presence of the other
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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 108
                                                               PageID.11603
                                                                  of 230 PageID
                                                                              Page
                                                                                #:434
                                                                                   107 of
                                          229



   and shall contain the date of sale, the name, address, occupation, color, and place
   of birth of the purchaser, and, so far as applicable, the caliber, make, model, and
   manufacturer's number of the weapon, and a statement signed by the purchaser that
   he has never been convicted in the District of Columbia or elsewhere of a crime of
   violence. One copy of said record shall, within seven days, be forwarded by mail to
   the superintendent of police of the District of Columbia and the other copy retained
   by the seller for six years. 6. No pistol or imitation thereof or placard advertising
   the sale thereof shall be displayed in any part of said premises where it can readily
   be seen from the outside. No license to sell at retail shall be granted to anyone
   except as provided in this section.
   FALSE INFORMATION FORBIDDEN
   SEC. 11. No person, shall, in purchasing a pistol or in applying for a license to
   carry the same, or in purchasing a machine sawed-off shotgun, or blackjack within
   the District of Columbia, give false information or offer false evidence of his
   identity.
   ALTERATION OF IDENTIFYING MARKS PROHIBITED
   SEC. 12. No person shall within the District of Columbia change, alter, remove, or
   obliterate the name of the maker, model, manufacturer's number, or other mark or
   identification on any pistol,
   machine gun, or sawed-off shotgun. Possession of any pistol, machine gun, or
   sawed-off shotgun upon which any such mark shall have been changed, altered,
   removed, or obliterated shall be prima facie evidence that the possessor has
   changed, altered, removed, or obliterated the same within the District of Columbia:
   Provided, however, That nothing contained in this section shall apply to any officer
   or agent of any of the departments of the United States or the District of Columbia
   engaged in experimental work.
   SEC. 13. This Act shall not apply to toy or antique pistols unsuitable for use as
   firearms.
   SEC. 14. No person shall within the District of Columbia possess any machine
   gun, sawed-off shotgun, or any instrument or weapon of the kind commonly
   known as a blackjack, slung shot, sand club, sandbag, or metal knuckles, nor any
   instrument, attachment, or appliance for causing the firing of any firearm to be
   silent or intended to lessen or muffle the noise of the firing of any firearms:
   Provided, however, That machine guns, or sawed-off shotguns, and blackjacks
   may be possessed by the members of the Army, Navy, or Marine Corps of the
   United States, the National Guard, or Organized Reserves when on duty, the Post
   Office Department or its employees when on duty, marshals, sheriffs, prison or jail
   wardens, or their deputies, policemen,
   or other duly appointed law -enforcement officers, officers or employees of the
   United States duly authorized to carry such weapons, banking institutions, public
                                            6
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 109
                                                               PageID.11604
                                                                  of 230 PageID
                                                                              Page
                                                                                #:435
                                                                                   108 of
                                          229



   carriers who are engaged in the business of transporting mail, money, securities, or
   other valuables, wholesale dealers
   and retail dealers licensed under section 10 of this Act.
   PENALTIES
   SEC. 15. Any violation of any provision of this Act for which no penalty is
   specifically provided shall be punished by a fine of not more than $1,000 or
   imprisonment for not more than one year, or both.
   CONSTITUTIONALITY
   SEC. 16. If any part of this Act is for any reason declared void, provision not to
   affect remainder, such invalidity shall not affect the validity of the remaining
   portions of this Act.
   Approved, July 8, 1932.
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   FLORIDA:

   1913 Fla. 117, An Act to Regulate the Hunting of Wild Deer etc., § 8.
   It shall, at any time, be unlawful to hunt wild game in Marion County with guns–
   known as Automatic guns.

   1933 Fla. Laws 623, An Act to Prevent Throwing of Bombs and the Discharge of
   Machine Guns Upon, or Across Any Public Road in the State of Florida . . ., ch.
   16111, § 1.
   That it shall be unlawful for any person to throw any bomb or to shoot off or
   discharge any machine guns upon, across or along any road, street or highway in
   the State of Florida, or upon or across any public park in the State of Florida, or in,
   upon or across any public place where people are accustomed to assemble in the
   State of Florida, and the casting of such bomb or the discharge of such machine
   gun in, upon or across such public street, or in, upon or across such public park, or
   in, upon or across such public place, whether indoors or outdoors, including all
   theatres and athletic stadiums, with intent to do bodily harm to any person or with
   intent to do damage to the property of any person, shall be a felony and shall be
   punishable by death.




                                              7
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 110
                                                               PageID.11605
                                                                  of 230 PageID
                                                                              Page
                                                                                #:436
                                                                                   109 of
                                          229



   HAWAII:

   1933 Haw. Special Sess. Laws 117, An Act . . . Regulating The Sale, Transfer And
   Possession Of Certain Firearms, Tear Gas And Ammunition: § 2.
   Except as permitted under the provisions of this Act, no person, firm or corporation
   shall own, possess, sell, offer for sale or transport any firearm of the kind
   commonly known as a machine gun or any shell cartridge or bomb containing or
   capable of emitting tear gas or any other noxious gas. Provided, however, that
   nothing in this Act contained shall prohibit the sale to, purchase by, or possession
   of such firearms by any city and county, county, territorial or federal officer where
   such firearms are required for professional use in the discharge of his duties, nor to
   the transportation of such firearms for or on behalf of police departments and
   members thereof, sheriffs, or the military or naval forces of this Territory or of the
   United States and “Provided, further that nothing in this Act shall prohibit police
   departments and members thereof, sheriffs, or the military or naval forces of the
   territory or of the United States from possessing or transporting such shells,
   cartridges or bombs for professional use in the discharge of their duties. “The term
   ‘shell, cartridge or bomb’, as used in this Act shall be construed to apply to and
   include all shells, cartridges, or bombs capable of being discharged or exploded
   through or by the use of percussion caps, fuses, electricity, or otherwise, when such
   discharge or explosion will cause or permit the release or emission of tear gases.
   The term ‘machine gun’ as used in this Act shall be construed to apply to and
   include machine rifles, machine guns and submachine guns capable of
   automatically and continuously discharging loaded ammunition of any caliber in
   which the ammunition is fed to such guns from or by means of clips, disks, drums,
   belts or other separable mechanical device.”

   1933 Haw. Sess. Laws 36, An Act Regulating the Sale, Transfer, and Possession of
   Firearms and Ammunition, § 2.
   Definitions. “Firearm” as used in this Act means any weapon, the operating force
   of which is an explosive. This definition includes pistols, revolvers, rifles,
   shotguns, machine guns, automatic rifles, noxious gas projectors, mortars, bombs,
   cannon and sub-machine guns. The specific mention herein of certain weapons
   does not exclude from the definition other weapons operated by explosives.
   “Crime of violence” as used in this Act means any of the following crimes,
   namely: murder, manslaughter, rape, kidnapping, robbery, burglary, and those
   certain crimes set forth in Sections 4130 and 4131 of said Revised Laws. “Pistol”
   or “revolver” as used in this Act, means and includes any firearm of any shape
   whatsoever with barrel less than twelve inches in length and capable of discharging
   loaded ammunition or any noxious gas. “‘Person” as used in this Act includes
                                             8
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 111
                                                               PageID.11606
                                                                  of 230 PageID
                                                                              Page
                                                                                #:437
                                                                                   110 of
                                          229



   individuals, firms, corporations and copartnerships, and includes wholesale and
   retail dealers.

   ILLINOIS:

   1931 Ill. Laws 452-53, An Act to Regulate the Sale, Possession and Transportation
   of Machine Guns, §§ 1-2.
   § 1. For purposes of this Act the term “machine gun” apples to and includes all
   firearms commonly known as machine rifles, machine guns and sub-machine guns
   of any calibre whatsoever, capable of automatically discharging more than eight
   cartridges successively without reloading, in which the ammunition is fed to such
   gun from or by means of clips, disks, belts, or other separable mechanical device.
   The term “manufacturer” shall apply to and include all persons dealing with
   machine guns as merchandise.
   § 2. It is unlawful for any person to sell, keep or offer for sale, loan or give away,
   purchase, possess, carry or transport any machine gun within this State, except that
   1. Sheriffs, constables, marshals, police officers and other duly appointed peace
   officers may purchase, possess, carry and transport machine guns. 2. The
   provisions of this Act shall not apply to the Army, Navy or Marine Corps of the
   United States, the National Guard, and organizations authorized by law to purchase
   or receive machine guns from the United States, or from this State, and the
   members of such Corps, National Guard and organizations while on duty, may
   possess, carry and transport machine guns. 3. Persons, organizations or institutions
   possessing war relics may purchase and possess machine guns which are relics of
   any war in which the United States was involved, may exhibit and carry such
   machine guns in the parades of any military organization, and may sell, offer to
   sell, loan or give such machine guns to other persons, organizations or institutions
   possessing war relics. 4. Guards or messengers employed by common carriers,
   banks and trust companies, and pay-roll guards or messengers may possess and
   carry machine guns while actually employed in and about the shipment,
   transportation or delivery, or in the guarding of any money, treasure, bullion,
   bonds or other thing of value, and their employers may purchase or receive
   machine guns and keep them in their possession when such guns are not being
   used by such guards or messengers 5. Manufacturers and merchants may sell, keep
   or offer for sale, loan or give away, purchase, possess and transport, machine guns,
   in the same manner as other merchandise except as hereinafter provided, and
   common carriers may possess and transport unloaded machine guns, as other
   merchandise.



                                             9
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 112
                                                               PageID.11607
                                                                  of 230 PageID
                                                                              Page
                                                                                #:438
                                                                                   111 of
                                          229



   1931 Ill. Laws 453, An Act to Regulate the Sale, Possession and Transportation of
   Machine Guns, § 4.
   Every manufacturer or merchant shall keep a register of all machine guns
   manufactured or handled by him. This register shall show the date of the sale, loan,
   gift, delivery or receipt of any machine gun, the name, address and occupation of
   the person to whom the machine gun was sold, loaned, given or delivered, or from
   whom it was received, and the purpose for which the person to whom the machine
   gun was sold, loaned, given or delivered, purchased or obtained said machine gun.
   Upon demand, every manufacturer or merchant shall permit any sheriff or deputy
   sheriff, or any police officer to inspect his entire stock of machine guns, parts and
   supplies therefor, and shall produce the register herein required and all written
   permits to purchase or possess a machine gun, which he has retained and filed in
   his place of business for inspection by such officer.

   1931 Ill. Laws 454, An Act to Regulate the Sale, Possession and Transportation of
   Machine Guns, § 7.
   Any person committing or attempting to commit arson, assault, burglary,
   kidnapping, larceny, rioting, or robbery while armed with a machine gun shall be
   imprisoned in the penitentiary for his natural life, or for a term not less than five
   years.

   INDIANA:

   1927 Ind. Acts 469, Public Offenses—Ownership, Possession or Control of
   Machine Guns or Bombs—Penalty, ch. 156, § 1.
   . . . [W]hoever shall be the owner of, or have in his possession, or under his
   control, in an automobile, or in any other way, a machine gun or bomb loaded with
   explosives, poisonous or dangerous gases, shall be deemed guilty of a felony, and
   upon conviction thereof, shall be imprisoned for a term of not less than one year
   nor more than five years.

   1927 Ind. Acts 469, Operation of Machine Guns, Discharge of Bombs—Offense
   and Penalty:, ch. 156, § 2.
   Whoever shall discharge, fire off, or operate any loaded machine gun, or whoever
   shall drop form an airplane, automobile, or from any building or structure, or who
   shall throw, hurl, or drop from ground or street, or keep in his possession and
   under his control any bomb filled with deadly or dangerous explosives, or
   dangerous or poisonous gases, shall be deemed guilty of a felony and upon
   conviction shall be imprisoned for a term of not less than two nor more than ten
   years.
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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 113
                                                               PageID.11608
                                                                  of 230 PageID
                                                                              Page
                                                                                #:439
                                                                                   112 of
                                          229




   1929 Ind. Acts 139, Criminal Offenses—Commission of or Attempt to Commit
   Crime While Armed with Deadly Weapon, ch.55, § 1.
   Be it enacted by the general assembly of the State of Indiana, That any person who
   being over sixteen years of age, commits or attempts to commit either the crime of
   rape, robbery, bank robbery, petit larceny or grand larceny while armed with a
   pistol, revolver, rifle, shotgun, machine gun or any other firearm or any dangerous
   or deadly weapon, or while any other person present and aiding or assisting in
   committing or attempting ot commit either of said crimes is armed with any of said
   weapons, shall be guilty of a seperate felony in addition to the crimes above named
   and upon conviction shall be imprisoned for a determinate period of not less than
   ten years nor more than twenty years . . . .

   IOWA:

   1927 Iowa Acts 201, An Act to prohibit the Possession or Control of Machine
   Guns. . . ., §§ 1-2.
   § 1. No person, firm, partnership, or corporation shall knowingly have in his or its
   possession or under his or its control any machine gun which is capable of being
   fired from the shoulder or hip of a person, and by the recoil of such gun.
   § 2. No person, firm, partnership, or corporation shall do any act with the intent to
   enable any other person, firm, partnership, or corporation to obtain possession of
   such gun.

   KANSAS:

   1933 Kan. Sess. Laws 76, An Act Relating to Machine Guns and Other Firearms
   Making the Transportation or Possession Thereof Ulawful in Certain Cases,
   Providing for Search, Seizure and Confiscation Thereof in Certain Cases, Relating
   to the Ownership and Registration of Certain Firearms, and Providing Penalties for
   the Violation of this Act, ch. 62, §§ 1-3.
   § 1. That is shall be unlawful for any person, firm, or corporation other than a
   sheriff or other peace officer or any military unit of the state or of the United States
   or any common carrier for hire, to transport or have in his possession or under his
   control a firearm known as a machine rifle, machine gun, or submachine gun:
   Provided, That banks, trust companies or other institutions or corporations subject
   to unusual hazard from robbery or holdup, may secure permits form the sheriff of
   the county in which they are located for one or more of their employees to have
   such firearms: Provided further, That museums, American Legions posts, and other


                                             11
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 114
                                                               PageID.11609
                                                                  of 230 PageID
                                                                              Page
                                                                                #:440
                                                                                   113 of
                                          229



   similar patriotic organizations may possess such firearms, when no usable as a
   weapon and when possessed as a curiosity, ornament or keepsake.
   § 2. That any person violating the provisions of the preceding section shall be
   guilty of a felony, and upon conviction shall be subject to imprisonment in the state
   penitentiary for not less than one year nor more than five years.
   § 3. Upon complaint being made on oath to any officer authorized to issue process
   for the apprehension of offenders that a firearm or firearms known as a machine
   rifles, machine guns or sub-machine guns as described in this act, are concealed in
   any particular house or place, and if such magistrate shall be satisfied that there are
   reasonable grounds for believing same to be true, he shall issue a warrant to search
   the house or place for such firearms . . . .

   LOUISIANA:

   1932 La. Acts 337-38, An Act to Regulate the Sale, Possession and Transportation
   of Machine Guns, and Providing a Penalty for a Violation Hereof . . . , §§ 1-2.
   § 1. . . . for the purpose of this Act the term “machine gun” applies to and include
   all firearms commonly known as machine rifles, machine guns and sub-machine
   guns of any caliber whatsoever, capable of automatically discharging more than
   eight cartridges successively without reloading, in which the ammunition is fed to
   such gun from or by means of clips, disks, belts, or other separable mechanical
   device.
   § 2. It is unlawful for any person to sell, keep or offer for sale, loan or give away,
   purchase, possess, carry or transport any machine gun within this State, except that
   (exceptions for law enforcement, military, war relics, museums, guards,
   messengers) . . . .

   MARYLAND:

   1927 Md. Laws 156, § 388-B.
   That not person, persons house, company, association or body corporate, shall
   deposit, keep or have in his, her, their or its possession any spirituous or fermented
   liquors, or intoxicating drinks of any kind whatsoever, or any article used or sold
   as a beverage in the composition of which, whiskey, brandy, high wines or
   alcoholic, spirituous or fermented liquors shall be an ingredient or ingredients, in
   any automobile or other vehicle in which any device for the prevention or arrest or
   apprehension of said motor vehicle, or the occupants thereof of the type commonly
   known as a smoke screen is carried, whether the said device be attached as a part
   of said motor vehicle in which any gun, pistol, revolver, rifle machine gun, or other


                                             12
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 115
                                                               PageID.11610
                                                                  of 230 PageID
                                                                              Page
                                                                                #:441
                                                                                   114 of
                                          229



   dangerous or deadly weapon of any kind whatsoever is carried, whether in said
   automobile or vehicle, or on the person of any occupant of the same.

   MASSACHUSETTS:

   1927 Mass. Acts 416, An Act Relative to Machine Guns and Other Firearms, ch.
   326, § 5 (amending §10)
   . . . Whoever, except as provided by law, carries on his person, or carries on his
   person or under his control in a vehicle, a pistol or revolver, loaded or unloaded, or
   possesses a machine gun as defined in section one hundred and twenty-one of
   chapter one hundred and forty… or whoever so carries any stiletto, dagger, dirk
   knife, slung shot, metallic knuckles or sawed off shotgun, or whoever, when
   arrested upon a warrant for an alleged crime or when arrested while committing a
   crime or a breach or disturbance of the public peace, is armed with, or has on his
   person, or has on his person or under his control in a vehicle, a billy or dangerous
   weapon other than those herein mentioned, shall be punished by imprisonment for
   not less than six months nor more than two and a half years in a jail . .

   1927 Mass. Acts 413, An Act Relative to Machine Guns and Other Firearms, ch.
   326, §§ 1-2 (amending §§ 121, 123)
   § 1. In sections one hundred and twenty-two to one hundred and twenty-nine,
   inclusive, “firearms” includes a pistol, revolver or other weapon of any description,
   loaded or unloaded, from which a shot or bullet can be discharged and of which the
   length of barrel, not including any revolving, detachable or magazine breach, does
   not exceed twelve inches, and a machine gun, irrespective of the length of the
   barrel. Any gun of small arm calibre designed for rapid fire and operated by a
   mechanism, or any gun which operates automatically after the first shot has been
   fired, either by gas action or recoil action, shall be deemed to be a machine gun for
   the purposes of said sections, and of sections one hundred and thirty-one and one
   hundred and thirty one B. . .
   § 2. . . Eighth, That no pistol or revolver shall be sold, rented or leased to a person
   who has not a permit, then in force, to purchase, rent or lease the same issued
   under section one hundred and thirty-one A, and that no machine gun shall be sold,
   rented or leased to a person who has not a license to possess the same issued under
   section one hundred and thirty-one. . .




                                             13
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 116
                                                               PageID.11611
                                                                  of 230 PageID
                                                                              Page
                                                                                #:442
                                                                                   115 of
                                          229



   MICHIGAN:

   1927 Mich. Pub. Acts 888-89, An Act to Regulate and License the Selling,
   Purchasing, Possessing and Carrying of Certain Firearms, § 3.
   It shall be unlawful within this state to manufacture, sell, offer for sale, or possess
   any machine gun or firearm which can be fired more than sixteen times without
   reloading, or any muffler, silencer or device for deadening or muffling the sound of
   a discharged firearm, or any bomb or bombshell, or any blackjack, slung shot,
   billy, metallic knuckles, sandclub, sandbag or bludgeon. Any person convicted of a
   violation of this section shall be guilty of a felony and shall be punished by a fine
   not exceeding one thousand dollars or imprisonment in the state prison not more
   than five years, or by both such fine and imprisonment in the discretion of the
   court. . . .

   1929 Mich. Pub. Acts 529, An Act to Regulate and License the Selling,
   Purchasing, Possessing and Carrying of Certain Firearms, § 3.
   It shall be unlawful within this state to manufacture, sell, offer for sale or possess
   any machine gun or firearm which can be fired more than sixteen times without
   reloading or any muffler, silencer, or device for deadening or muffling the sound of
   a discharged firearm, or any bomb, or bomb shell, blackjack, slung shot, billy,
   metallic knuckles, sand club, sand bag, or bludgeon or any gas ejecting device,
   weapon, cartridge, container, or contrivance designed or equipped for or capable of
   ejecting any gas which will either temporarily or permanently disable, incapacitate,
   injure or harm any person with whom it comes in contact.

   MINNESOTA:

   1933 Minn. Laws 231-33, An Act Making It Unlawful to Use, Own, Possess, Sell,
   Control or Transport a “Machine Gun”, as Hereinafter Defined, and Providing a
   Penalty for the Violation Thereof, ch. 190, §§ 1-3.
   § 1. Definitions. (a) Any firearm capable of loading or firing automatically, the
   magazine of which is capable of holding more than twelve cartridges, shall be a
   machine gun within the provisions of the Act. (b) Any firearm capable of
   automatically reloading after each shot is fired, whether firing singly by separate
   trigger pressure or firing continuously by continuous trigger pressure; which said
   firearm shall have been changed, altered or modified to increase the magazine from
   the original design as manufactured by the manufacturers thereof, or by the
   addition thereto of extra and/or longer grips or stocks to accommodate such extra
   capacity, or by the addition, modification and/or attachment thereto of any other
   device capable of increasing the magazine capacity thereof, shall be a machine gun
                                             14
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 117
                                                               PageID.11612
                                                                  of 230 PageID
                                                                              Page
                                                                                #:443
                                                                                   116 of
                                          229



   within the provisions of this Act. (c) A twenty-two caliber light sporting rifle,
   capable of firing continuously by continuous trigger pressure, shall be a machine
   gun within the provisions of this Act. But a twenty-two caliber light sporting rifle,
   capable of automatically reloading but firing separately by separate trigger
   pressure for each shot, shall not be a machine gun within the provisions of this Act
   and shall not be prohibited hereunder, whether having a magazine capacity of
   twelve cartridges or more. But if the same shall have been changed, altered, or
   modified, as prohibited in section one (b) hereof, then the same shall be a machine
   gun within the provisions of this Act.
   § 2. Application. This Act shall not apply to sheriffs, coroners, constables,
   policemen or other peace officers, or to any warden, superintendent or head keeper
   of any prison, penitentiary, county jail or other institution for retention of any
   person convicted or accused of crime, while engaged in the discharge of official
   duties, or to any public official engaged in the enforcement of law; nor to any
   person or association possessing a machine gun not usable as a weapon and
   possessed as a curiosity, ornament or keepsake; when such officers and persons
   and associations so excepted shall make and file with the Bureau of Criminal
   Apprehension of this state within 30 days after the passage of this Act, a written
   report showing the name and address of such person or association and the official
   title and position of such officers . . .
   § 3. Machine guns prohibited. Any person who shall own, control, use, possess,
   sell or transport a machine gun, as herein defined, in violation of this Act, shall be
   guilty of a felony.

   MISSOURI:

   1929 Mo. Laws 170, Crimes and Punishment, Prohibiting the Sale, Delivery,
   Transportation, Possession, or Control of Machine Rifles, Machine Guns and Sub-
   machine Guns, and Providing Penalty for Violation of Law, §§ 1-2.
   § 1. Unlawful to sell, deliver, transport or have in possession any machine gun. – It
   shall be unlawful for any person to sell, deliver, transport, or have in actual
   possession or control any machine gun, or assist in, or cause the same to be done.
   Any person who violates this act shall be guilty of a felony and punished by
   imprisonment in the state penitentiary not less than two (2) nor more than thirty
   (30) years, or by a fine not to exceed five thousand dollars, or by both such fine
   and imprisonment. Provided, that nothing in this act shall prohibit the sale,
   delivery, or transportation to police departments or members thereof, sheriffs, city
   marshals or the military or naval forces of this state or of the United States, or the
   possession and transportation of such machine guns, for official use by the above
   named officers and military and naval forces in the discharge of their duties.
                                             15
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 118
                                                               PageID.11613
                                                                  of 230 PageID
                                                                              Page
                                                                                #:444
                                                                                   117 of
                                          229



   § 2. The term “machine-gun” defined – The term “machine gun” as used in this act
   shall be construed to apply to and include all firearms known as machine rifles,
   machine guns or sub-machine guns capable of discharging automatically and
   continuously loaded ammunition of any caliber in which the ammunition is fed to
   such gun from or by means of clips, disks, drums, belts or other separable
   mechanical device.

   NEBRASKA:

   1929 Neb. Laws 674, An Act Prohibiting the Sale, Possession and Transportation
   of Machine Guns within the State of Nebraska; and Prescribing Penalties for the
   Violation of the Provisions Hereof, ch. 190, §§ 1-2.
   § 1. Machine Guns – Sale Unlawful – Penalty – It shall be unlawful for any person,
   firm or corporation, its or their agents or servants, to sell or cause to be sold or
   otherwise to dispose of any machine gun to any person in the State of Nebraska,
   except officers of the law, agents of the United States government, or agents of the
   law enforcement department of the State of Nebraska. If any person, firm or
   corporation, or its or their agents or servants violate any of the provisions of this
   section, they shall be deemed guilty of a misdemeanor and upon conviction
   thereof, shall be fined in a sum not less than one thousand dollars nor more than
   ten thousand dollars.
   § 2. U.S. Army and National Guard Exempt – It shall be unlawful for any person
   or persons, except officers of the law, soldiers of the United States Army, or
   officers and enlisted men of the National Guard of this state, to transport any
   machine gun on any highway within this state, or to have in possession for any
   unlawful purpose any machine gun. Any person violating any of the provisions of
   this section shall be deemed guilty of a felony and upon conviction thereof, shall
   be imprisoned in the state penitentiary for not less than one year nor more than ten
   years.

   NEW JERSEY:

   1920 N.J. Laws 67, An Act to Amend an Act Entitled, “An Act for the Protection
   of Certain Kinds of Birds, Game and Fish, to Regulate Their Method of Capture,
   and Provide Open and Close Seasons for Such Capture and Possession,” ch. 31,
   § 9.
   It shall be unlawful to use in hunting fowl or animals of any kind any shotgun or
   rifle holding more than two cartridges at one time, or that may be fired more than
   twice without reloading, or to use any silencer on any gun rifle or firearm when
   hunting for game or fowl under a penalty of twenty dollars for each offense.
                                            16
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 119
                                                               PageID.11614
                                                                  of 230 PageID
                                                                              Page
                                                                                #:445
                                                                                   118 of
                                          229




   1927 N.J. Laws 742, A Further Supplement to an Act Entitled, “An Act for the
   Punishment of Crimes,” ch. 321, § 1.
   No pawnbroker shall hereafter sell or have in his possession for sale or to loan or
   give away, any machine gun, automatic rifle, revolver, pistol, or other firearm, or
   other instrument of any kind known as a blackjack, slungshot, billy, sandclub,
   sandbag, bludgeon, metal knuckles, dagger, dirk, dangerous knife, stiletto, bomb or
   other high explosive. Any pawnbroker violating the provisions of this act shall be
   guilty of a high misdemeanor and punished accordingly.

   1927 N.J. Laws 180-81, A Supplement to an Act Entitled “An Act for the
   Punishment of Crimes,” ch. 95, §§ 1-2.
   § 1. The term “machine gun or automatic rifle,” as used in this act, shall be
   construed to mean any weapon, mechanism or instrument not requiring that the
   trigger be pressed for each shot and having a reservoir, belt or other means of
   storing and carrying ammunition which can be loaded into the said weapon,
   mechanism or instrument and fired therefrom at a rate of five or more shots to the
   second.
   § 2. Any person who shall sell, give, loan, furnish or deliver any machine gun or
   automatic rifle to another person, or any person who shall purchase, have or
   possess any machine gun or automatic rifle, shall be guilty of a high misdemeanor;
   provided, the provisions of this section shall not apply to any person who has
   procured and possesses a license to purchase, have and possess a machine gun or
   automatic rifle as hereinafter provided for; nor to the authorized agents and
   servants of such licensee; or to the officers and members of any duly authorized
   military organization; nor to the officers and members of the police force of any
   municipality, nor to the officers and members of the State Police force; nor to any
   sheriff or undersheriff; nor to any prosecutor of the pleas, his assistants, detectives
   and employees.

   1934 N.J. Laws 394-95, A Further Supplement to an Act Entitled “An Act for the
   Punishment of Crimes,” ch. 155, §§ 1-5.
   § 1. A gangster is hereby declared to be an enemy of the state.
   § 2. Any person in whose possession is found a machine gun or a submachine gun
   is declared to be a gangster; provided, however, that nothing in this section
   contained shall be construed to apply to any member of the military or naval forces
   of this State, or to any police officer of the State or of any county or municipality
   thereof, while engaged in his official duties.
   § 3. Any person, having no lawful occupation, who is apprehended while carrying
   a deadly weapon, without a permit so to do and how has been convicted at least
                                             17
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 120
                                                               PageID.11615
                                                                  of 230 PageID
                                                                              Page
                                                                                #:446
                                                                                   119 of
                                          229



   three times of being a disorderly person, or who has been convicted of any crime,
   in this or in any other State, is declared to be a gangster.
   § 4. Any person, not engaged in any lawful occupation, known to be a member of
   any gang consisting of two or more persons, who has been convicted at least three
   times of being a disorderly person, or who has been convicted of any crime, in this
   or in any other State, is declared to be a gangster; provided, however, that nothing
   in this section contained shall in any wise be construed to include any participant
   or sympathizer in any labor dispute.
   § 5. Any person convicted of being a gangster under the provisions of this act shall
   be guilty of a high misdemeanor, and shall be punished by a fine not exceeding ten
   thousand dollars ($10,000.00), or by imprisonment not exceeding twenty years, or
   both.

   NEW YORK:

   1931 N.Y. Laws 1033, An Act to Amend the Penal Law in Relation to Carrying
   and Use of Glass Pistols, ch. 435, § 1.
   A person who attempts to use against another an imitation pistol, or who carries or
   possesses any instrument or weapon of the kind commonly known as a black-jack,
   slungshot, billy, sand club, sandbag, metal knuckles, bludgeon, or who, with intent
   to use the same unlawfully against another, carries or possesses a dagger, dirk,
   dangerous knife, razor, stiletto, imitation pistol, machine gun, sawed off shot-gun,
   or any other dangerous or deadly instrument, or weapon is guilty of a
   misdemeanor, and if he has been previously convicted of any crime he is guilty of
   a felony.

   1933 N.Y. Laws 1639, An Act to Amend the Penal Law, in Relation to the Sale,
   Possession and Use of Sub-Machine Guns, ch. 805, §§ 1, 3.
   § 1. . . A person who sells or keeps for sale, or offers or gives, disposes of or
   transports any instrument or weapon of the kind usually known as a machine-gun
   or a sub-machine gun to any person is guilty of a felony, except that the
   manufacture of machine-guns and sub-machine guns as merchandise and the sale
   and shipment thereof direct to regularly constituted or appointed state or municipal
   police departments, sheriffs, policemen, and other peace officers, and to state
   prisons, penitentiaries and county jails, and to military and naval organizations
   shall be lawful.
   § 3. . . . A machine gun is a weapon of any description, irrespective of size, by
   whatever name known, loaded or unloaded, from which a number of shots or
   bullets may be rapidly or automatically discharged from a magazine with one
   continuous pull of the trigger and includes a sub-machine gun. A person who
                                            18
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 121
                                                               PageID.11616
                                                                  of 230 PageID
                                                                              Page
                                                                                #:447
                                                                                   120 of
                                          229



   possesses or uses such machine-gun is guilty of a felony. The presence of such
   machine-gun in any room, dwelling, structure, or vehicle shall be presumptive
   evidence of its illegal possession by all the persons occupying the place where such
   machine gun is found.

   NORTH CAROLINA:

   1917 N.C. Sess. Laws 309, Pub. Local Laws, An Act to Regulate the Hunting of
   Quail in Harnett County, ch. 209, § 1.
   That the open season for hunting quail shall be from the first day of December to
   the fifteenth day of January following each succeeding year, and that it shall be
   unlawful to kill quail with any gun or guns that shoot over two times before
   reloading, and any person violating any of the provisions of this act shall be guilty
   of a misdemeanor.

   NORTH DAKOTA:

   1931 N.D. Laws 305-06, An Act to Prohibit the Possession, Sale and Use of
   Machine Guns, Sub-Machine Guns, or Automatic Rifles and Defining the Same . .
   . , ch. 178, §§ 1-2.
   § 1. The term “machine gun, sub-machine gun or automatic rifle” as used in this
   act shall be construed to mean a weapon mechanism or instrument not requiring
   the trigger be pressed for each shot and having a reservoir, belt or other means of
   storing and carrying ammunition which can be loaded into the said weapon,
   mechanism or instrument and fired therefrom at a rate of five or more shots to the
   second.
   § 2. Any person who shall sell, give, loan, furnish or deliver any machine gun, sub-
   machine gun, automatic rifle of a caliber larger than twenty-two, or a bomb loaded
   with explosives or poisonous or dangerous gases to another person, or any person
   who shall purchase, have or possess any machine gun, sub-machine gun¸ automatic
   rifle, or a caliber larger than twenty-two or a bomb loaded with explosives or
   poisonous or dangerous gases, shall be guilty of a felony and shall be punished by
   imprisonment in the state penitentiary not to exceed ten years, or by a fine of not
   more than three thousand dollars, or both. Provided, that the provisions of this act
   shall not apply to any person who has procured and possesses a license to
   purchase, sell, have or possess a machine gun, sub-machine gun, automatic rifle, of
   a caliber larger than twenty-two, or bomb loaded with explosives or poisonous or
   dangerous gases, as hereinafter provided for, nor to the authorized agents and
   servants of such licensee or to the officers and members of any duly authorized
   military organization, nor to the officers and members of the police force of any
                                            19
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 122
                                                               PageID.11617
                                                                  of 230 PageID
                                                                              Page
                                                                                #:448
                                                                                   121 of
                                          229



   municipality, nor to any Sheriff, deputy sheriff, nor any other officer having police
   powers under the laws of the State.

   OHIO:

   1933 Ohio Laws 189-90, Reg. Sess., An Act. . . Relative to the Sale and Possession
   of Machine Guns, § 1.
   That § 12819 of the General Code be supplemented . . . to read as follows:
   Definitions. § 12819-3. For the purpose of this act, a machine gun, a light machine
   gun or a sub-machine gun shall be defined as any firearm which shoots
   automatically, or any firearm which shoots more than eighteen shots semi-
   automatically without reloading. Automatically as above used means that class of
   firearms which, while the trigger on the firearm is held back continues to fire
   successive shots. Semi-automatically means that class of firearm which discharges
   one shot only each time the trigger is pulled, no manual reloading operation being
   necessary between shots. Machine gun permit; application; bond or applicant;
   exceptions. § 12819-4. No person shall own, possess, transport, have custody of or
   use a machine gun, light machine gun or sub-machine gun, unless he first procures
   a permit therefor from and at the direction of the adjutant general of Ohio, who
   shall keep a complete record of each permit so issued. A separate permit shall be
   obtained for each gun so owned, possessed or used. The adjutant general shall
   require each applicant for such permit to give an accurate description of such
   weapon, the name of the person from whom it was or is to be obtained, the name of
   the person or persons to have custody thereof and the place of residence of the
   applicant and custodian. Before obtaining such permit each applicant shall give
   bond to the state of Ohio, to be approved by the adjutant general in the sum of five
   thousand dollars, conditioned to save the public harmless by reason of any
   unlawful use of such weapon while under the control of such applicant or under the
   control of another with his consent; and any person injured by such improper use
   may have recourse on said bond. Provided, however, that this section shall not
   affect the right of the national guard of Ohio, sheriffs, regularly appointed police
   officers of incorporated cities and villages, regularly elected constables, wardens
   and guards of penitentiaries, jails, prisons, penal institutions or financial
   institutions maintaining their own police force and such special officers as are now
   or may be hereafter authorized by law to possess and use such weapons when on
   duty. Any person who owns, possesses or has custody of a machine gun, light
   machine gun or sub-machine gun at the time when this section shall become
   effective, shall have thirty days thereafter in which to comply with the provisions
   of this section. Penalty for possession, transportation, etc., without permit. §
   12819-5. Whoever owns, possesses, transports or has custody of or uses a machine
                                            20
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 123
                                                               PageID.11618
                                                                  of 230 PageID
                                                                              Page
                                                                                #:449
                                                                                   122 of
                                          229



   gun, light machine gun or sub-machine gun without a permit, as provided by
   section 12819-4 of the General Code, or whoever having such permit, uses or
   consents to the use by another of such weapon in an unlawful manner, shall be
   guilty of a felony and upon conviction thereof, shall be imprisoned in the
   penitentiary not less than one nor more than ten years. [War trophies excepted].

   OREGON:

   1933 Or. Laws 489, An Act to Amend Sections 72-201, 72-202, 72-207, Oregon
   Code 1930, ch. 315, §§ 3-4.
   § 3. Except as otherwise provided in this act, it shall be unlawful for any person
   within this state to possess or have in his possession any machine gun . . .
   § 4. The unlawful concealed carrying upon the person or within the vehicle of the
   carrier of any machine gun, pistol, revolver or other firearm capable of being
   concealed upon the person is a nuisance. Any such weapons taken from the person
   or vehicle of any person unlawfully carrying the same are herby declared to be
   nuisances, and shall be surrendered to the magistrate before whom said person
   shall be taken . . .

   1933 Or. Laws 488, An Act to Amend Sections 72-201, 72-202, 72-207, Oregon
   Code 1930, § 2.
   On and after the date upon which this act takes effect no unnaturalized foreign-
   born person and no person who has been convicted of a felony against the person
   or property of another or against the government of the United States or the state of
   Oregon or of any political subdivision thereof shall own or have in his possession
   or under his custody or control any pistol, revolver, or other firearms capable of
   being concealed upon the person, or machine gun. The terms “pistol,” “revolver,”
   and “firearms capable of being concealed upon the person” as used in this acts
   shall be construed to apply to and include all firearms having a barrel less than 12
   inches in length. The word “machine gun” shall be construed to be a weapon of
   any description by whatever name known, loaded or unloaded, from which two or
   more shots may be fired by a single pressure upon the trigger device. Any person
   who shall violate the provisions of this section shall be guilty of a felony and, upon
   conviction thereof, be punishable by imprisonment in the state penitentiary for not
   less than one nor more than five years.




                                            21
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 124
                                                               PageID.11619
                                                                  of 230 PageID
                                                                              Page
                                                                                #:450
                                                                                   123 of
                                          229



   PENNSYLVANIA:

   1929 Pa. Laws 777, An Act prohibiting the sale, giving away, transfer, purchasing,
   owning, possession and use of machine guns: §§1-4
   § 1. Be it enacted, etc., That the term “machine gun” as used in this act, shall mean
   any firearm that fires two or more shots consecutively at a single function of the
   trigger or firing device.
   § 2. It shall be unlawful for any person, copartnership, association or corporation to
   sell, or give, or transfer, any machine gun to any person, copartnership, association
   or corporation within this Commonwealth; and it shall be unlawful for any person,
   copartnership, association, or corporation to purchase, own or have in possession
   any machine gun. Any person violating any of the provisions of this section shall
   be guilty of a felony, and, on conviction thereof, shall be sentenced to pay a fine
   not exceeding one thousand dollars, and undergo imprisonment by separate or
   solitary confinement at labor not exceeding five years.
   § 3. Any person who shall commit, or attempt to commit, any crime within this
   Commonwealth, when armed with a machine gun, shall, upon conviction of such
   crime or attempt to commit such crime, in addition to the punishment for the crime
   for which he has been convicted, be sentenced to separate and solitary confinement
   at labor for a term not exceeding ten years. Such additional penalty of
   imprisonment shall commence upon the expiration or termination of the sentence
   imposed for the crime of which he stands convicted, and shall not run concurrently
   with such sentence.
   § 4. Nothing contained in this act shall prohibit the manufacture for, and sale of,
   machine guns to the military forces of the United States, or of the Commonwealth
   of Pennsylvania, or to any police department of this Commonwealth, or of any
   political subdivision thereof, nor to the purchase or possession of machine guns by
   such governments and departments; and nothing contained in this act shall prohibit
   any organization, branch, camp or post of veterans, or any veteran of any war in
   which the United States was engaged, from owning and possessing a machine gun
   as a relic, if a permit for such ownership or possession has been obtained from the
   sheriff of the county, which permit is at all times attached to such machine gun.
   The sheriffs of the several counties are hereby authorized, upon application and the
   payment of a fee of one dollar, to issue permits for the ownership and possession
   of machine guns by veteran and organizations, branches, camps or posts of
   veterans and organizations, branches, camps or posts of veterans, upon production
   to the sheriff of such evidence as he may require that the organization, branch,
   camp or post is a bona fide organization of veterans, or that any such veteran



                                            22
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 125
                                                               PageID.11620
                                                                  of 230 PageID
                                                                              Page
                                                                                #:451
                                                                                   124 of
                                          229



   applicant is a veteran of good moral character and reputation, and that the
   ownership and possession of such machine gun is actually desired as a relic.

   1929 Pa. Laws 777, An Act prohibiting the sale, giving away, transfer, purchasing,
   owning, possession and use of machine guns: § 3.
   § 3. Any person who shall commit, or attempt to commit, any crime within this
   Commonwealth, when armed with a machine gun, shall upon conviction of such
   crime or attempt to commit such crime, in addition to the punishment for the crime
   for which he has been convicted, be sentenced to separate and solitary confinement
   at labor for a term not exceeding ten years. Such additional penalty of
   imprisonment shall commence upon the expiration or termination of the sentence
   imposed for the crime of which he stands convicted, and shall not run concurrently
   with such sentence.

   RHODE ISLAND:

   1927 R.I. Pub. Laws 256, An Act to Regulate the Possession of Firearms: §§ 1, 12.
   § 1. When used in this act the following words and phrases shall be construed as
   follows: “pistol” shall include any pistol or revolver, and any shot gun, rifle or
   similar weapon with overall less than twenty-six inches, but shall not include any
   pistol without a magazine or any pistol or revolver designed for the use of blank
   cartridges only. “machine gun” shall include any weapon which shoots
   automatically and any weapon which shoots more than twelve shots semi-
   automatically without reloading. “Firearm shall include any machine gun or pistol.
   . . “crime of violence” shall mean and include nay of the following crimes or any
   attempt to commit any of the same, viz.murder, manslaughter, rape, mayhem,
   assault or battery involving grave bodily injury, robbery, burglary, and breaking
   and entering. “sell” shall include let or hire, give, lend and transfer, and the word
   “purchase” shall include hire, accept and borrow, and the expression “purchasing”
   shall be construed accordingly. . .
   § 12. No person shall change, alter, remove, or obliterate the name of the maker,
   model, manufacturer’s number, or other mark of identification on any firearm.
   Possession of any firearm upon which any such mark shall have been changed,
   altered, removed, or obliterated, shall be prima facie evidence that the possessor
   has changed, altered, removed or obliterated the same.

   1927 (January Session) R.I. Pub. Laws 256, An Act to Regulate the Possession of
   Firearms: §§ 1, 4, 5, 6
   § 1. When used in this act the following words and phrases shall be construed as
   follows: “Pistol” shall include any pistol or revolver, and any shot gun, rifle or
                                            23
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 126
                                                               PageID.11621
                                                                  of 230 PageID
                                                                              Page
                                                                                #:452
                                                                                   125 of
                                          229



   similar weapon with overall less than twenty-six inches, but shall not include any
   pistol without a magazine or any pistol or revolver designed for the use of blank
   cartridges only. “machine gun” shall include any weapon which shoots
   automatically and any weapon which shoots more than twelve shots semi-
   automatically without reloading. “Firearm shall include any machine gun or pistol.
   . . “Crime of violence” shall mean and include any of the following crimes or any
   attempt to commit any of the same, viz.: murder, manslaughter, rape, mayhem,
   assault or battery involving grave bodily injury, robbery, burglary, and breaking
   and entering. “Sell” shall include let or hire, give, lend and transfer, and the word
   “purchase” shall include hire, accept and borrow, and the expression “purchasing”
   shall be construed accordingly. . .
   § 4. No person shall, without a license therefor, issued as provided in section six
   hereof, carry a pistol in any vehicle or concealed on or about his person, except in
   his dwelling house or place of business or on land possessed by him, and no person
   shall manufacture, sell, purchase or possess a machine gun except as otherwise
   provided in this act.
   § 5. The provisions of section four shall not apply to sheriffs, deputy sheriffs, the
   superintendent and members of the state police, prison or jail wardens or their
   deputies, members of the city or town police force or other duly appointed law
   enforcement officers, nor to members of the army, navy or marine corps of the
   United States, or of the national guard, when on duty, or of organizations by law
   authorized to purchase or receive firearms from the United States or this state, nor
   to officers or employees of the United States authorized by law to carry a
   concealed firearm, nor to duly authorized military organizations when on duty, nor
   to members thereof when at or going to or from their customary places of
   assembly, nor to the regular and ordinary transportation of pistols as merchandise,
   nor to any person while carrying a pistol unloaded in a wrapper from the place of
   purchase to his home or place of business, or to a place of repair or back to his
   home or place of business, or in moving goods from one place or abode or business
   to another.
   § 6. The licensing authorities of any city or town shall upon application of any
   person having a bona fide residence or place of business within such city or town,
   or of any person having a bona fide residence or place of business within the
   United States and a license to carry a pistol concealed upon his person issued by
   the authorities of any other state or subdivision of the United States, issue a license
   to such person to carry concealed upon his person a pistol within this state for not
   more than one years from date of issue, if it appears the applicant has good reason
   to fear an injury to his person or property or has any other proper reason for
   carrying a pistol, and that he is a suitable person to be so licensed. The license shall
   be in triplicate, in form to be prescribed by the attorney-general and shall bear the
                                             24
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 127
                                                               PageID.11622
                                                                  of 230 PageID
                                                                              Page
                                                                                #:453
                                                                                   126 of
                                          229



   fingerpring, name, address, description and signature of the licensee and the reason
   given for desiring a license. The original thereof shall be delivered to the licensee,
   the duplicate shall within seven days be sent to the attorney-general and the
   triplicate shall be preserved for six years by the licensing authorities issuing said
   license. A fee of two dollars may be charged and shall be paid for each license, to
   the officer issuing the same. Before issuing any such permit the applicant for the
   same shall be required to give bond to the city or town treasurer in the penal sum
   of three hundred dollars, with surety satisfactory to the authority issuing such
   permit, to keep the peace and be of good behavior. Every such permit shall be valid
   for one year from the date when issued unless sooner revoked. The fee charged for
   the issuing of such license or permit shall be applied in accordance with the
   provisions of section thirty-three of chapter 401 of the general laws.

   1927 R. I. Pub. Laws 256, An Act to Regulate the Possession of Firearms: §§ 1, 4,
   7, 8.
   § 1. When used in this act the following words and phrases shall be construed as
   follows: “Pistol” shall include any pistol or revolver, and any shot gun, rifle or
   similar weapon with overall less than twenty-six inches, but shall not include any
   pistol without a magazine or any pistol or revolver designed for the use of blank
   cartridges only. “Machine gun” shall include any weapon which shoots
   automatically and any weapon which shoots more than twelve shots semi-
   automatically without reloading. “Firearm shall include any machine gun or pistol.
   . . “Crime of violence” shall mean and include any of the following crimes or an
   attempt to commit any of the same, viz.: murder, manslaughter, rape, mayhem,
   assault or battery involving grave bodily injury, robbery, burglary, and breaking
   and entering. “Sell” shall include let or hire, give, lend and transfer, and the word
   “purchase” shall include hire, accept and borrow, and the expression “purchasing”
   shall be construed accordingly. . .
   § 4. No person shall, without a license therefor, issued as provided in section six
   hereof, carry a pistol in any vehicle or concealed on or about his person, except in
   his dwelling house or place of business or on land possessed by him, and no person
   shall manufacture, sell, purchase or possess a machine gun except as otherwise
   provided in this act.
   § 7. The attorney-general may issue a permit to any banking institution doing
   business in this state or to any public carrier who is engaged in the business of
   transporting mail, money, securities or other valuables, to possess and use machine
   guns under such regulations as the attorney general may prescribe.
   § 8. It shall be unlawful within this state to manufacture, sell, purchase or possess
   except for military or police purposes, any muffler, silencer or device for
   deadening or muffling the sound of a firearm when discharged.
                                            25
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 128
                                                               PageID.11623
                                                                  of 230 PageID
                                                                              Page
                                                                                #:454
                                                                                   127 of
                                          229




   1927 R.I. Pub. Laws 256, An Act to Regulate the Possession of Firearms, §§1, 3
   § 1. When used in this act the following words and phrases shall be construed as
   follows: “pistol” shall include any Pistol or revolver, and any shot gun, rifle or
   similar weapon with overall less than twenty-six inches, but shall not include any
   pistol without a magazine or any pistol or revolver designed for the use of blank
   cartridges only. “machine gun” shall include any weapon which shoots
   automatically and any weapon which shoots more than twelve shots semi-
   automatically without reloading. “Firearm shall include any machine gun or pistol.
   . . “Crime of violence” shall mean and include any of the following crimes or any
   attempt to commit any of the same, viz.: murder, manslaughter, rape, mayhem,
   assault or battery involving grave bodily injury, robbery, burglary, and breaking
   and entering. “sell” shall include let or hire, give, lend and transfer, and the word
   “purchase” shall include hire, accept and borrow, and the expression “purchasing”
   shall be construed accordingly. . .
   § 3. No person who has been convicted in this state or elsewhere of a crime of
   violence shall purchase own, carry or have in his possession or under his control
   any firearm.

   SOUTH CAROLINA:

   1934 S.C. Acts 1288, An Act regulating the use and possession of Machine Guns:
   §§ 1 to 6.
   § 1. “Machine gun” defined. – Be it enacted by the General Assembly of the State
   of South Carolina: For the purposes of this Act the word “machine gun” applies to
   and includes all firearms commonly known as machine rifles, machine guns and
   sub-machine guns of any caliber whatsoever, capable of automatically discharging
   more than eight cartridges successively without reloading, in which the
   ammunition is fed to such gun from or by means of clips, disks, belts or other
   separable mechanical device.
   § 2. Transportation of Machine Gun. – It shall be unlawful for any person or
   persons in any manner to transport from one place to another in this State, or from
   any railroad company, or express company, or other common carrier, or any
   officer, agent or employee of any of them, or any other person acting in their
   behalf knowingly to ship or to transport form one place to another in this State in
   any manner or by any means whatsoever, except as hereinafter provided, any
   firearm as described hereinabove or commonly known as a machine gun.
   § 3. Storing, Keeping, and/or Possessing Machine Gun. – It shall be unlawful for
   any person to store, keep, possess, or have in possession, or permit another to store,


                                            26
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 129
                                                               PageID.11624
                                                                  of 230 PageID
                                                                              Page
                                                                                #:455
                                                                                   128 of
                                          229



   keep, possess, or have in possession, except as hereinafter provided, any firearem
   of the type defined above or commonly known as a machine gun.
   § 4. Selling, Renting or Giving away Machine Gun. – It shall be unlawful for any
   person to sell, rent, or give away, or be interested directly or indirectly, in the sale,
   renting or giving away, or otherwise disposing of any firearm of the type above
   described or commonly known as a machine gun.
   § 5. Exceptions – Register Machine Guns. – The provisions of this Act shall not
   apply to the army, navy or marine corps of the United States, the National Guard,
   and organizations authorized by law to purchase or received machine guns from
   the United States, or from this State, and the members of such corps. National
   Guard and organizations while on duty or at drill, may possess, carry and transport
   machine guns, and, Provided, further, That any peace officer of the State, counties
   or political sub-division thereof. State Constable, member of the Highway patrol,
   railway policemen, warden, superintendents, headkeeper or deputy of any State
   prison, penitentiary, workhouse, county jail, city jail, or other institution for
   detention of persons convicted or accused of crime, or held as witnesses in
   criminal cases, or persons on duty in the postal service of the United States, or
   common carrier while transporting direct to any police department, military or
   naval organization, or persons authorized by law to possess or use a machine gun,
   may possess machine guns when required in the performance of their duties, nor
   shall the provisions of this Act be construed to apply to machine guns kept for
   display as relics and which are rendered harmless and not useable. Within thirty
   days after the passage of this Act every person permiteed by this Act to possess a
   machine gun or immediately after any person is elected to or appointed to any
   office or position which entitles such person to possess a machine gun, shall file on
   the office of the Secretary of State on a blank to be supplied by the Secretary of
   State on application therefor, an application to be properly sworn to, which shall be
   approved by the Sheriff of the county in which the applicant resides or has its
   principal place of business, which shall include the applicants name, residence and
   business address, description including sex, race, age weight, height, color of eyes,
   color of hair, whether or not ever charged or convicted of any crime, municipal,
   State or otherwise, and where, if so charged, and when same was disposed of. The
   applicant shall also give the description including the serial number and make the
   machine gun which he possesses or desires to possess. Thereupon the Secretary of
   State shall file such application in his office, registering such applicant togther with
   the information required in the application in a book or index to be kept for that
   purpose, and assign to him a number, an dissue to him a card which shall bear the
   signature of the applicant, and which he shall keep with him while he has such
   machine gun in his possession. Such registeration shall be made on the date


                                              27
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 130
                                                               PageID.11625
                                                                  of 230 PageID
                                                                              Page
                                                                                #:456
                                                                                   129 of
                                          229



   application is received and filed iwth the Secretary of State, and shall expire on
   December 31, of the year in which said license is issued.
   § 6. Penalty – Any person violating any of the provisions of this Act shall be guilty
   of a felony, and, on conviction thereof shall be sentenced to pay a fine not
   exceeding One Thousand Dollars, and undergo imprisonment by separate or
   solitary confinement at labor not exceeding twenty (20) years.

   SOUTH DAKOTA:

   1933 S.D. Sess. Laws 245-47, An Act Relating to Machine Guns, and to Make
   Uniform the Law with Reference Thereto, ch. 206, §§ 1-8.
   § 1. “machine gun” applies to and includes a weapon of any description by
   whatever name known, loaded or unloaded from which more than five shots or
   bullets may be rapidly or automatically, or semi-automatically discharged from a
   magazine, by a single function of the firing device. “Crime of Violence” apples to
   and includes any of the following crimes or an attempt to commit any of the same,
   namely, murder, manslaughter, kidnapping, rape, mayhem, assault to do great
   bodily harm, robbery, burglary, housebreaking, breaking and entering, and larceny.
   “Person” applied to and includes firm, partnership, association or corporation.
   § 2. Possession or use of a machine gun in the perpetration or attempted
   perpetration of a crime of violence is hereby declared to be a crime punishable by
   imprisonment in the state penitentiary for a term of not more than twenty years.
   § 3. Possession or use of a machine gun for offensive or aggressive purpose is
   hereby declared to be a crime punishable by imprisonment in the state penitentiary
   for a term of not more than fifteen years.
   § 4. Possession or use of a machine gun shall be presumed to be for offensive or
   aggressive purpose; (a) When the machine gun is on premises not owned or rented
   for bona fide permanent residence or business occupancy by the person in whose
   possession the machine gun may be found; or (b) when in the possession of, or
   used by, an unnaturalized foreign born person, who has been convicted of a crime
   of violence in any court of record, state or federal of the United States of America,
   its territories or insular possessions; or (c) when the machine gun is of the kind
   described in §8 and has not been registered as in said section required; or (d) when
   empty or loaded pistol shells of 30 or larger caliber which have been or are
   susceptible or use in the machine gun are found in the immediate vicinity thereof.
   § 5. The presence of a machine gun in any room, boat, or vehicle shall be evidence
   of the possession or use of the machine gun by each person occupying the room,
   boat, or vehicle where the weapon is found.
   § 6. Exceptions. Nothing contained in this act shall prohibit or interfere with (1.)
   the manufacture for, and sale of, machine guns to the miltary forces or the peace
                                            28
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 131
                                                               PageID.11626
                                                                  of 230 PageID
                                                                              Page
                                                                                #:457
                                                                                   130 of
                                          229



   officers of the United States or of any political subdivision thereof, or the
   transportation required for that purpose; (2.) The possession of a machine gun for
   scientific purpose, or the possession of a machine gun not usable as a weapon and
   possessed as a curiosity, ornament, or keepsake; (3.) The possession of a machine
   gun other than one adapted to use pistol cartridges of 30 (.30 in. or 7.63 mm.) or
   larger caliber, for a purpose manifstly not aggresive or offensive.
   § 7. Every manufacturer shall keep a register of all machine guns manufactured or
   handled by him. This register shall show the model and serial number, date of
   manufacture, sale, loan, gift, delivery or receipt, of every machine gun, the name,
   address, and occupation of the person to whom the machine gun was sold, loaned,
   given or delivered, or from whom it was received and the purpose for which it was
   acquired by the person to whom the machine gun was sold, loaned given or
   delivered, or from whom received. Upon demand every manufacturer shall permit
   any marshal, sheriff or police officer to inspect his entire stock of machine guns,
   parts and supplies therefor, and shall produce the register, herein required, for
   inspection. A violation of any provisions of this section shall be punishable by a
   fine of not more than five hundred dollars, or by imprisonment in the county jail,
   nfor not exceeding six months or by both such fine and imprisonment.
   § 8. Every machine gun now in this state adapted to use pistol cartridges of 30 (.30
   in. or 7.63 mm.) or larger caliber shall be registered in the office of the Secretary of
   State, on the effective date of this act, and annually thereafter. If acquired hereafter
   it shall be registered within 24 hours after its acquisition. Blanks for registration
   shall be prepared by the Secretary of STate, and furnished upon application. To
   comply with this section the application as filed must show the model and serial
   number of the gun, the name, address and occupation of the person in possession,
   ande from whom and the purpose for which, the gun was acquired. The registration
   data shall not be subject to inspection by the public. Any person failing to register
   any gun as required by this section shall be presumed to possess the same for
   offensive and aggressive purpose.

   TEXAS:

   1933 Tex. Gen. Laws 219-20, 1st Called Sess., An Act Defining “Machine Gun”
   and “Person”; Making It an Offense to Possess or Use Machine Guns. . . , ch. 82,
   §§ 1-4, 6
   § 1. Definition. “Machine gun” applies to and includes a weapon of any description
   by whatever name known, loaded or unloaded, from which more than five (5) shots
   or bullets may be automatically discharged from a magazine by a single
   functioning of the firing device. “Person” applies to and includes firm, partnership,
   association or corporation.
                                             29
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 132
                                                               PageID.11627
                                                                  of 230 PageID
                                                                              Page
                                                                                #:458
                                                                                   131 of
                                          229



   § 2. Whosoever shall possess or use a machine gun, as defined in Section 1, shall
   be guilty of a felony and upon conviction thereof, shall be confined in the State
   Penitentiary, for not less than two nor more than ten (10) years.
   § 3. Whoever shall sell, lease, give, barter, exchange, or trade, or cause to be sold,
   leased, given, bartered, exchanged, or traded, a machine gun as hereinabove
   defined to any person shall be guilty of a felony and upon conviction thereof, shall
   be confined to the State Penitentiary, for not less than two (2) nor more than (10)
   years.
   § 4. [Excludes military, police, unusable keepsakes, prison officers.]
   § 6. The fact that there are many gangsters purchasing machine guns in Texas,
   causing a menace to the citizenry of Texas, creates an emergency and imperative
   public necessity that the Constitutional Rule requiring bills to be read on three
   several days be suspended, and said Rule is hereby suspended, and this Act shall
   take effect and be in force from and after its passage, and it is so enacted.

   VERMONT:

   1923 Vt. Acts and Resolves 127, An Act to Prohibit the Use of Machine Guns and
   Automatic Rifles in Hunting, § 1.
   A person engaged in hunting for game who uses, carries, or has in his possession a
   machine gun of any kind or description, or an automatic rifle of military type with
   a magazine capacity of over six cartridges, shall be fined not more than five
   hundred dollars nor less than fifty dollars. The presence of such a firearm in a
   hunting camp shall be presumptive evidence that the possessor of such a firearm
   has violated the provisions of this section.

   VIRGINIA:

   1934 Va. Acts 137-39, An Act to define the term “machine gun”; to declare the use
   and possession of a machine gun for certain purposes a crime and to prescribe the
   punishment therefor, ch. 96, §§ 1-7.
   § 1. Where used in this act; (a) “Machine gun” applies to and includes a weapon of
   any description by whatever name known, loaded or unloaded, from which more
   than seven shots or bullets may be rapidly, or automatically, or semi-automatically
   discharged from a magazine, by a single function of the firing device, and also
   applies to and includes weapons, loaded or unloaded, from which more than
   sixteen shots or bullets may be rapidly, automatically, semi-automatically or
   otherwise discharged without reloading. (b) “Crime of violence” applies to and
   includes any of the following crimes or an attempt to commit any of the same,
   namely, murder, manslaughter, kidnapping, rape, . . .
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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 133
                                                               PageID.11628
                                                                  of 230 PageID
                                                                              Page
                                                                                #:459
                                                                                   132 of
                                          229



   § 2. Possession or use of machine gun in the perpetration or attempted perpetration
   of a crime of violence is hereby declared to be a crime punishable by death or by
   imprisonment in the State penitentiary for a term not less than twenty years.
   § 3. Unlawful possession or use of a machine gun for offensive or aggressive
   purpose is hereby declared to be a crime punishable by imprisonment in the State
   penitentiary for a term of not less than ten years.
   § 4. Possession or use of a machine gun shall be presumed to be for offensive or
   aggressive purpose; (a) When the machine gun is on premises not owned or rented,
   for bona fide permanent residence or business occupancy, by the person in whose
   possession the machine gun may be found; or (b) When in the possession of , or
   used by, an unnaturalized foreign born person, or a person who has been convicted
   of a crime of violence in any court of record, state or federal, of the United States
   of America, its territories or insular possessions; or (c) When the machine gun is of
   the kind described in section eight and has not been registered as in said section
   required; or (d) When empty or loaded pistol shells of thirty (thirty one-hundredths
   inch or seven and sixty-three one hundredths millimeter ) or larger caliber which
   have been or are susceptible to use in the machine gun are found in the immediate
   vicinity thereof.
   § 5. The presence of a machine gun in any room, boat, or vehicle shall be prima
   facie evidence of the possession or use of the machine gun by each person
   occupying the room, boat, or vehicle where the weapon is found.
   § 6. (excludes military police etc. )
   § 7. Every manufacturer or dealer shall keep a register of all machine guns
   manufactured or handled by him. This register shall show the model and serial
   number, date of manufacture, sale, load, gift, delivery or receipt, of every machine
   gun, the name, address, and occupation of the person to whom the machine gun
   was sold, loaned, given or delivered, or from whom it was received; and the
   purpose for which it was acquired by the person to whom the machine gun was
   sold. . .

   WASHINGTON:

   1933 Wash. Sess. Laws 335-36, An Act Relating to Machine Guns, Regulating the
   Manufacture, Possession, Sale of Machine Guns and Parts, and Providing Penalty
   for the Violation Thereof, and Declaring an Emergency, ch. 64, §§ 1-5.
   § 1. That it shall be unlawful for any person to manufacture, own, buy, sell, loan,
   furnish, transport, or have in possession, or under control, any machine gun, or any
   part thereof capable of use or assembling or repairing any machine gun: provided,
   however, that such limitation shall not apply to any peace officer in the discharge


                                            31
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 134
                                                               PageID.11629
                                                                  of 230 PageID
                                                                              Page
                                                                                #:460
                                                                                   133 of
                                          229



   of official duty, or to any officer or member of the armed forces of the United
   States or the State of Washington.
   § 2. For the purpose of this act a machine gun is defined as any firearm or weapon
   known as a machine gun, mechanical rifle, submachine gun, and/or any other
   weapon, mechanism, or instrument not requiring that the trigger be pressed for
   each shot and having a reservoir clip, disc, drum belt, or other separable
   mechanical device for storing, carrying, or supplying ammunition which can be
   loaded into such weapon, mechanism, or instrument, and fired therefrom at the rate
   of five or more shots per second.
   § 3. Any person violating any of the provisions of this act shall be guilty of a
   felony.
   § 4. All machine guns, or parts thereof, illegally held or possessed are hereby
   declared to be contraband, and it shall be the duty of all peace officers, and/or any
   officer or member of the armed forces of the United States or the State of
   Washington to seize said machine gun, or parts thereof, wherever and whenever
   found.
   § 5. This act is necessary for the immediate preservation of public health and
   safety, and shall take effect immediately.

   WEST VIRGINIA:

   1925 W.Va. Acts 31-32, 1st Extraordinary Sess., An Act to Amend and Re-Enact
   Section Seven . . . Relating to Offenses Against the Peace . . . , ch. 3, § 7, pt. b.
   It shall be unlawful for any person, firm or corporation to place or keep on public
   display to passersby on the streets, for rent or sale, any revolver, pistol, dirk, bowie
   knife, slung shot or other dangerous weapon of like kind or character or any
   machine gun, sub-machine gun or high powered rifle or any gun of similar kind or
   character, or any ammunition for the same. All dealers licensed to sell any of the
   forgoing arms or weapons shall take the name, address, age and general
   appearance of the purchaser, as well as the maker of the gun, manufacturer’s serial
   number and caliber, and report the same at once in writing to the superintendent of
   the department of public safety. It shall be unlawful for any person to sell, rent,
   give or lend any of the above mentioned arms to an unnaturalized person.

   1925 W.Va. Acts 30-31, 1st Extraordinary Sess., An Act to Amend and Re-Enact
   Section Seven . . . Relating to Offenses Against the Peace; Providing for the
   Granting and Revoking of Licenses and Permits Respecting the Use,
   Transportation and Possession of Weapons and Fire Arms . . . , ch. 3, § 7, pt. b.
   (b) It shall be unlawful for any person to carry, transport, or have in his possession
   any machine gun, sub-machine gun, and what is commonly known as a high
                                             32
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 135
                                                               PageID.11630
                                                                  of 230 PageID
                                                                              Page
                                                                                #:461
                                                                                   134 of
                                          229



   powered rifle, or any gun of a similar kind or character, or any ammunition
   therefor, except on his own premises or premises leased to him for a fixed term,
   until such person shall have first obtained a permit from the superintendent of the
   department of public safety of this state, and approved by the governor, or until a
   license therefore shall have been obtained from the circuit court as in the case of
   pistols and all such licenses together with the numbers identifying such rifle shall
   be certified to the superintendent of the department of public safety. Provided,
   further, that nothing herein shall prevent the use of rifles by bona fide rifle club
   members who are freeholders or tenants for a fixed term in this state at their usual
   or customary place of practice, or licensed hunters in the actual hunting of game
   animals. No such permit shall be granted by such superintendent except in cases of
   riot, public danger, and emergency, until such applicant shall have filed his written
   application with said superintendent of the department of public safety, in
   accordance with such rules and regulations as may from time to time be prescribed
   by such department of public safety relative thereto, which application shall be
   accompanied by a fee of two dollars to be used in defraying the expense of issuing
   such permit and said application shall contain the same provisions as are required
   to be shown under the provisions of this act by applicants for pistol licenses, and
   shall be duly verified by such applicant, and at least one other reputable citizen of
   this state. Any such permit as granted under the provisions of this act may be
   revoked by the governor at his pleasure upon the revocation of any such permit the
   department of public safety shall immediately seize and take possession of any
   such machine gun, sub-machine gun, high powered rifle, or gun of similar kind and
   character, held by reason of said permit, and any and all ammunition therefor, and
   the said department of public safety shall also confiscate any such machine gun,
   sub-machine gun and what is commonly known as a high powered rifle, or any gun
   of similar kind and character and any and all ammunition therefor so owned,
   carried, transported or possessed contrary to the provisions of this act, and shall
   safely store and keep the same, subject to the order of the governor.

   WISCONSIN:

   1928-1929 Wis. Sess. Laws 157, An Act to Create . . . the Statutes, Relating to
   Machine Guns and Providing a Penalty, ch. 132, § 1.
   Any person who shall own, use or have in his possession a machine gun shall be
   punished by imprisonment in the state prison for a term the minimum of which
   shall be one year and the maximum fifteen years. Nothing in this section shall be
   construed as prohibiting police officers, national guardsmen, sheriffs and their
   deputies from owning, using or having in their possession a machine gun while
   actually engaged in the performance of their lawful duties; nor shall any person or
                                            33
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 136
                                                               PageID.11631
                                                                  of 230 PageID
                                                                              Page
                                                                                #:462
                                                                                   135 of
                                          229



   organization be prohibited form possessing any machine gun received from the
   government as a war trophy.

   1931-1933 Wis. Sess. Laws 245-47, An Act . . .Relating to Machine Guns and to
   Make Uniform the Law with Reference Thereto, ch. 76, § 1, pt. 164.01 to 164.06.
   164.01 Definitions (a) “Machine gun” applies to and includes a weapon of any
   description by whatever name known from which more than two shots or bullets
   may be discharged by a single function of the firing device. . .
   164.02 Use of Machine Gun is a Separate Crime. Possession or use of a machine
   gun in the perpetration or attempted perpetration of a crime of violence is hereby
   declared to be a crime punishable by imprisonment in the state penitentiary for a
   term of not less than twenty years.
   164.03 Possession for Aggressive Purpose. Possession or use of a machine gun for
   offensive or aggressive purpose is hereby declared to be a crime punishable by
   imprisonment in the state penitentiary for a term not less than ten years.
   164.04 Possession when Presumed For Aggressive Purpose. Possession or use of a
   machine gun shall be presumed to be for offensive or aggressive purpose; (1) when
   the machine gun is on premises not owned or rented, for a bona fide permanent
   residence or business occupancy, by the person in whose possession the machine
   gun may be found; or (2) when in the possession of, or used by, an unnaturalized
   foreign-born person, or a person who has been convicted of a crime of violence in
   any court of record, state or federal, of the United States of America, its territories
   or insular possessions; or (3) When the machine gun is of the kind described in
   section 164.08 and has not been registered as in said section required; or (4) When
   empty or loaded pistol shells of 30 (.30 in. or 7.63 mm.) or larger caliber which
   have been used or are susceptible of use in the machine gun are found in the
   immediate vicinity thereof.
   164.05 Presumptions from Presence of Gun. The presence of a machine gun in any
   room, boat, or vehicle shall be evidence of the possession or use of the machine
   gun by each person occupying the room, boat, or vehicle shall be evidence of the
   possession or use of the machine gun by each person occupying the room, boat, or
   vehicle where the weapon is found.
   164.06 Exceptions. Nothing contained in this chapter shall prohibit or interfere
   with the manufacture for, and sale of , machine guns to the military forces or the
   peace officers of the United States or of any political subdivision thereof, or the
   transportation required for that purpose; the possession of a machine gun for
   scientific purpose, or the possession of a machine gun not usable as a weapon and
   possessed as a curiosity, ornament, or keepsake; the possession of a machine gun
   other than one adapted to use pistol cartridges of 30 (.30 in. or 7.63 mm.) or larger


                                             34
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 137
                                                               PageID.11632
                                                                  of 230 PageID
                                                                              Page
                                                                                #:463
                                                                                   136 of
                                          229



   caliber, for a purpose manifestly not aggressive or offensive. . . [manufacturers and
   owners required to register].

   1931-1933 Wis. Sess. Laws 778, An Act . . . Relating to the Sale, Possession,
   Transportation and Use of Machine Guns and Other Weapons in Certain Cases,
   and Providing a Penalty, ch. 359, § 1.
   No person shall sell, possess, use or transport any machine gun or other full
   automatic firearm, nor shall any person sell, possess, use or transport any bomb,
   hand grenade, projectile, shell or other container of any kind or character into
   which tear gas or any similar substance is used or placed for use to cause bodily
   discomfort, panic, or damage to property. (2) Any person violating any of the
   provisions of this section shall be punished by imprisonment in the state prison for
   a term of not less than one year nor more than three years. (3) [doesn’t apply to
   police, military etc.].

   WYOMING:

   1933 Wyo. Sess. Laws 117, An Act Relating to the Registering and Recording of
   Certain Facts Concerning the Possession and Sale of Firearms by all Wholesalers,
   Retailers, Pawn Brokers, Dealers and Purchasers, Providing for the Inspection of
   Such Register, Making the Violation of the Provisions Hereof a Misdemeanor, and
   Providing a Penalty Therefor, ch. 101, §§ 1-4.
   § 1. All wholesalers, retailers, dealers and pawn brokers are hereby required to
   keep a record of all firearms which may come into their possession, whether new
   or second hand, which record shall be known as the Firearms Register. Such
   register shall contain the following information, to wit: the name of the
   manufacturer, person, persons, firm or corporation from whom the firearm was
   obtained, the date of its acquisition, its manufacturer’s number, its color, its
   caliber, whether the same is new or second hand, whether it is automatic, a
   revolver, a single shot pistol, a rifle, a shot gun or a machine gun, the name of the
   party to whom said firearm is sold in such purchasers handwriting and the date of
   such sale.
   § 2. Every person who purchases any firearm from any retailer, pawn broker or
   dealer, shall sign his name or make his mark properly witnessed, if he cannot write,
   on said Firearm Register, at the time of the delivery to him of any firearm so
   purchased.
   § 3. The firearm register, herein required to be kept, shall be prepared by every
   wholesaler, retailer, pawn broker and dealer in firearms in the state of Wyoming
   within 30 days after this Act shall become effective and shall thereafter be
   continued as herein provided. It shall be kept at the place of business of said
                                            35
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 138
                                                               PageID.11633
                                                                  of 230 PageID
                                                                              Page
                                                                                #:464
                                                                                   137 of
                                          229



   wholesaler, retailer, pawn broker or dealer, and shall be subject to inspection by
   any peace officer at all reasonable times.
   § 4. Any person, firm or corporation who shall fail or refuse to comply with the
   provisions of this Act shall be deemed guilty of a misdemeanor and upon
   conviction thereof shall be fined in a sum not to exceed $100.00, or imprisoned in
   the County Jail for a period of not to exceed six months, or by both such fine and
   imprisonment.

   SOURCE: https://firearmslaw.duke.edu/repository/search-the-repository/




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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 139
                                                               PageID.11634
                                                                  of 230 PageID
                                                                              Page
                                                                                #:465
                                                                                   138 of
                                          229




                                   EXHIBIT E
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          1:22-cv-04775 Document
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                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 140
                                                               PageID.11635
                                                                  of 230 PageID
                                                                              Page
                                                                                #:466
                                                                                   139 of
                                          229



                                        EXHIBIT E

                            DANGEROUS WEAPONS LAWS1

   ALABAMA

   1837 Ala. Acts 7, An Act to Suppress the Use of Bowie Knives, §§ 1, 2.
   Be it enacted by the Senate and House of Representatives of the State of Alabama
   in General Assembly convened, That if any person carrying any knife or weapon,
   known as Bowie Knives or Arkansaw [sic] Tooth-picks, or either or any knife or
   weapon that shall in form, shape or size, resemble a Bowie-Knife or Arkansaw
   [sic] Tooth-pick, on a sudden rencounter, shall cut or stab another with such knife,
   by reason of which he dies, it shall be adjudged murder, and the offender shall
   suffer the same as if the killing had been by malice aforethought.
   And be it further enacted, [t]hat for every such weapon, sold or given, or otherwise
   disposed of in this State, the person selling, giving or disposing of the same, shall
   pay a tax of one hundred dollars, to be paid into the county Treasury; and if any
   person so selling, giving or disposing of such weapon, shall fail to give in the same
   to his list of taxable property, he shall be subject to the pains and penalties of
   perjury.

   1839 Ala. Acts 67, An Act to Suppress the Evil Practice of Carrying Weapons
   Secretly, § 1
   That if any person shall carry concealed about his person any species of fire arms,
   or any bowie knife, Arkansas tooth-pick, or any other knife of the like kind, dirk,
   or any other deadly weapon, the person so offending shall, on conviction thereof,
   before any court having competent jurisdiction, pay a fine not less than fifty, nor
   more than five hundred dollars, to be assessed by the jury trying the case; and be
   imprisoned for a term not exceeding three months, at the discretion of the Judge of
   said court.

   1841 Ala. Acts 148–49, Of Miscellaneous Offences, ch. 7, § 4.
   Everyone who shall hereafter carry concealed about his person, a bowie knife, or
   knife or instrument of the like kind or description, by whatever name called, dirk
   or any other deadly weapon, pistol or any species of firearms, or air gun, unless
   such person shall be threatened with, or have good cause to apprehend an attack, or
   be travelling, or setting out on a journey, shall on conviction, be fined not less than
   fifty nor more than three hundred dollars: It shall devolve on the person setting up
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       Further research may yield additional laws regulating firearm hardware.

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     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 141
                                                               PageID.11636
                                                                  of 230 PageID
                                                                              Page
                                                                                #:467
                                                                                   140 of
                                          229



   the excuse here allowed for carrying concealed weapons, to make it out by proof,
   to the satisfaction of the jury; but no excuse shall be sufficient to authorize the
   carrying of an air gun, bowie knife, or knife of the like kind or description.

   The Revised Code of Alabama Page 169, Image 185 (1867) available at The
   Making of Modern Law: Primary Sources.
   Taxation, § 10. On All pistols or revolvers in the possession of private persons not
   regular dealers holding them for sale, a tax of two dollars each; and on all bowie
   knives, or knives of the like description, held by persons not regular dealers, as
   aforesaid, a tax of three dollars each; and such tax must be collected by the
   assessor when assessing the same, on which a special receipt shall be given to the
   tax payer therefor, showing that such tax has been paid for the year, and in default
   of such payment when demanded by the assessor, such pistols, revolvers, bowie
   knives, or knives of like description, must be seized by him, and unless redeemed
   by payment in ten days thereafter, with such tax, with an additional penalty of fifty
   per cent., the same must be sold at public outcry before the court house door, after
   five days notice; and the overplus remaining, if any, after deducting the tax and
   penalty aforesaid, must be paid over to the person from whom the said pistol,
   revolver, bowie knife, or knife of like description, was taken, and the net amount
   collected by him must be paid over to the collector every month, from which, for
   each such assessment and collection, the assessor shall be entitled to fifty cents,
   and when the additional penalty is collected, he shall receive fifty per cent.
   additional thereto.

   Wade Keyes, The Code of Alabama, 1876 : with References to the Decisions of
   the Supreme Court of the State upon the Construction of the Statutes; and in Which
   the General and Permanent Acts of the Session of 1876-7 have been Incorporated
   Page 882, Image 898 (1877) available at The Making of Modern Law: Primary
   Sources.
   Offenses Against Public Peace, § 4109. Carrying Concealed Weapons – Any
   person who, not being threatened with, or having good reason to apprehend, an
   attack, or traveling, or setting out on a journey, carries concealed about his person
   a bowie knife, or any other knife or instrument of like kind or description, or a
   pistol, or fire arms of any other kind or description, or an air gun, must be fined, on
   conviction, not less than fifty, nor more than three hundred dollars; and may also
   be imprisoned in the county jail, or sentenced to hard labor for the county, for not
   more than six months. (Footnote – Not unconstitutional. – 1 Ala. 612 Co-extensive
   only with necessity – 49 Ala. 355. . .)



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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 142
                                                               PageID.11637
                                                                  of 230 PageID
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                                                                                #:468
                                                                                   141 of
                                          229



   Wade Keyes, The Code of Alabama, 1876 : with References to the Decisions of
   the Supreme Court of the State upon the Construction of the Statutes; and in Which
   the General and Permanent Acts of the Session of 1876-7 have been Incorporated
   Page 989, Image 1005 (1877) available at The Making of Modern Law: Primary
   Sources.
   Proceedings In Circuit and City Courts, § 4809. Carrying Concealed Weapons. – In
   an indictment for carrying concealed weapons, it is sufficient to charge that the
   defendant “carried concealed about his person a pistol, or other description of fire-
   arms,” or “a bowie-knife, or other knife or instrument of the like kind or
   description,” without averring the want of a legal excuse on his part; and the
   excuse, if any, must be proved by the defendant, on the trial, to the satisfaction of
   the jury.

   Wade Keyes, The Code of Alabama, 1876 : with References to the Decisions of
   the Supreme Court of the State upon the Construction of the Statutes; and in Which
   the General and Permanent Acts of the Session of 1876-7 have been Incorporated
   Page 901, Image 917 (1877) available at The Making of Modern Law: Primary
   Sources.
   Offenses Against Public Health, etc. § 4230 (3751). Selling, giving, or lending,
   pistol or bowie knife, or like knife, to boy under eighteen. – Any person who sells,
   gives, or lends, to any boy under eighteen years of age, any pistol, or bowie knife,
   or other knife of like kind or description, must on conviction, be fined not less than
   fifty, nor more than five hundred dollars.




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CaseCase:
     3:19-cv-01537-BEN-JLB
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 143
                                                               PageID.11638
                                                                  of 230 PageID
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                                                                                #:469
                                                                                   142 of
                                          229



   Wade Keyes, The Code of Alabama, 1876 : with References to the Decisions of
   the Supreme Court of the State upon the Construction of the Statutes; and in Which
   the General and Permenent Acts of the Session of 1876-7 have been Incorporated
   Page 883, Image 899 (1877) available at The Making of Modern Law: Primary
   Sources.
   Carrying Weapons, Dangerous or Unusual Weapons | Alabama | 1873
   Offenses Against Public Justice, &c. § 4110. Carrying, concealed, brass knuckles
   and slung-shots. – Any person who carries, concealed about his person, brass
   knuckles, slung-shot, or other weapon of like kind or description, shall, on
   conviction thereof, be fined not less than twenty, nor more than two hundred
   dollars, and may also, at the discretion of the court trying the case, be imprisoned
   in the county jail, or sentenced to hard labor for the county, for a term not
   exceeding six months. § 4111. Carrying rifle or shot-gun walking canes. – Any
   person who shall carry a rifle or shot-gun walking cane, shall, upon conviction, be
   fined not less than five hundred dollars, nor more than one thousand dollars, and be
   imprisoned in the penitentiary not less than two years.

   J. M. Falkner, The Code of Ordinances of the City Council of Montgomery
   [Alabama], with the Charter Page 148-49, Image 148-49 (1879) available at The
   Making of Modern Law: Primary Sources.
   § 428. Any person who, not being threatened with or having good reason to
   apprehend an attack, or travelling or setting out on a journey, carries concealed
   about his person a bowie-knife or any other knife of like kind or description, or a
   pistol or fire-arms of any other kind or description, air gun, slung-shot, brass-
   knuckles, or other deadly or dangerous weapon, must, on conviction, be fined not
   less than one nor more than one hundred dollars.

   William Logan Martin, Commissioner, The Code of Alabama, Adopted by Act of
   the General Assembly of the State of Alabama, Approved February 16, 1897,
   Entitled “An Act to Adopt a Code of Laws for the State Alabama ” with Such
   Statutes Passed at the Session of 1896-97, as are Required to be Incorporated
   Therein by Act Approved February 17, 1897; and with Citations to the Decisions
   of the Supreme Court of the State Construing or Mentioning the Statutes Page
   1137, Image 1154 (Vol. 1, 1897) available at The Making of Modern Law:
   Primary Sources.
   [License Taxes; From Whom and For What Business Required; Prices; County
   Levy,] Taxation, § 27. For dealers in pistols, or pistol cartridges, or bowie-knives,
   or dirk-knives, whether principal stock in trade or not, three hundred dollars. Any
   cartridges, whether called rifle or pistol cartridges, or by any other name, that can
   be used in a pistol, shall be deemed pistol cartridges within the meaning of this
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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 144
                                                               PageID.11639
                                                                  of 230 PageID
                                                                              Page
                                                                                #:470
                                                                                   143 of
                                          229



   subdivision. Any person or firm who orders for another, or delivers any cartridges
   within this state, shall be deemed a dealer under this provision.

   ALASKA

   Fred F. Barker, Compilation of the Acts of Congress and Treaties Relating to
   Alaska: From March 30, 1867, to March 3, 1905 139 1906.
   That it shall be unlawful for any person to carry concealed about his person, in any
   manner whatever, any revolver, pistol, or other firearm, or knife (other than an
   ordinary pocket knife), or any dirk or dagger, slung shot, metal knuckles, or any
   instrument by the use of which injury could be inflicted upon the person or
   property of any other person.

   1896-99 Alaska Sess. Laws 1270, An Act To Define And Punish Crimes In The
   District Of Alaska And To Provide A Code Of Criminal Procedure For Said
   District, chap. 6, § 117.
   That it shall be unlawful for any person to carry concealed about his person in any
   manner whatever, any revolver, pistol, or other firearm, or knife (other than an
   ordinary pocket knife), or any dirk or dagger, slung shot, metal knuckles, or any
   instrument by the use of which injury could be inflicted upon the person or
   property of any other person.

   ARIZONA

   1889 Ariz. Sess. Laws 16, An Act Defining And Punishing Certain Offenses
   Against The Public Peace, § 1.
   If any person within any settlement, town, village or city within this territory shall
   carry on or about his person, saddle, or in his saddlebags, any pistol, dirk, dagger,
   slung shot, sword cane, spear, brass knuckles, bowie knife, or any other kind of
   knife manufactured or sold for purposes of offense or defense, he shall be punished
   by a fine of not less than twenty-five nor more than one hundred dollars; and in
   addition thereto, shall forfeit to the County in which his is convicted, the weapon
   or weapons so carried.

   1893 Ariz. Sess. Laws 3, An Act To Regulate And Prohibit The Carrying Of
   Deadly Weapons Concealed, § 1.
   It shall be unlawful for any person to have or carry concealed on or about his
   person any pistol or other firearm, dirk, dagger, slung-shot, sword cane, spear,
   brass knuckles, or other knuckles of metal, bowie knife or any kind of knife of


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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 145
                                                               PageID.11640
                                                                  of 230 PageID
                                                                              Page
                                                                                #:471
                                                                                   144 of
                                          229



   weapon except a pocket-knife not manufactured and used for the purpose of
   offense and defense.

   1901 Arizona 1251-53, Crimes Against the Public Peace, §§ 381, 385, 390.
   § 381. It shall be unlawful for any person (except a peace officer in actual service
   and discharge of his duty) , to have or carry concealed on or about his person, any
   pistol or other firearm, dirk, dagger, slung shot, sword cane, spear, brass knuckles
   or other knuckles of metal, bowie-knife or any kind of knife or weapon, except a
   pocket knife, not manufactured and used for the purpose of offense and defense.
   § 385. If any person within any settlement, town, village or city within this
   territory shall carry on or about his person, saddle, or in saddlebags, any pistol,
   dagger, slung-shot, sword-cane, spear, brass knuckles, bowie- knife or any other
   kind of knife manufactured or sold for purposes of offense or defense, he shall be
   punished by a fine of not less than twenty-five nor more than one hundred dollars;
   and in addition shall forfeit to the county in which he is convicted the weapon or
   weapons so carried.
   § 390. Persons travelling may be permitted to carry arms within settlements or
   towns of the territory, for one half hour after arriving in such settlements or towns,
   and while going out of such towns or settlements; and sheriffs and constables of
   the various counties of this territory and their lawfully appointed deputies may
   carry weapons in the legal discharge of the duties . . .

   1901 Ariz. Acts 1252, Crimes and Punishments, §§ 387, 391.
   § 387. If any person shall go into church or religious assembly, any school room,
   or other place where persons are assembled for amusement or for educational or
   scientific purposes, or into any circus, show or public exhibition of any kind or into
   a ball room, social party or social gathering, to any election precinct, on the day or
   days of any election, where any portion of the people of this territory are collected
   to vote at any election, or to any other place where people may be assembled to
   minister, or to perform any other public duty, or to any other public assembly, and
   shall have or carry about his person a pistol or other firearm, dirk, dagger, slung-
   shot, sword-cane, spear, brass knuckles, bowie knife or any other kind of knife
   manufactured and sold for the purposes of offense or defense, he shall be punished
   by a fine not less than fifty or more than five hundred dollars, and shall forfeit to
   the county the weapon or weapons so found on his person.
   § 391. It shall be the duty of the keeper of each and every hotel, boarding house
   and drinking saloon, to keep posted in a conspicuous place in his bar room, or
   reception room . . . a plain notice to travelers to divest themselves of their weapons
   in accordance with section 382 . . .


                                             6
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 146
                                                               PageID.11641
                                                                  of 230 PageID
                                                                              Page
                                                                                #:472
                                                                                   145 of
                                          229



   ARKANSAS

   Slaves, in Laws of the Arkansas Territory 521 (J. Steele & J. M’Campbell, Eds.,
   1835).
   Race and Slavery Based | Arkansas | 1835
   § 3. No slave or mulatto whatsoever, shall keep or carry a gun, powder, shot, club
   or other weapon whatsoever, offensive or defensive; but all and every gun weapon
   and ammunition found in the possession or custody of any negro or mulatto, may
   be seized by any person and upon due proof made before any justice of the peace
   of the district [county] where such seizure shall be, shall by his order be forfeited
   to the seizor, for his own use, and moreover, every such offender shall have and
   receive by order of such justice any number of lashes not exceeding thirty nine on
   his or her bare back well laid on for every such offense.

   Josiah Gould A Digest of the Statutes of Arkansas All Laws of a General and
   Permanent Character in Force the Close of the Session of the General Assembly of
   380 381–82 (1837).
   Every person who shall wear any pistol, dirk, butcher or large knife, or a sword in
   a cane, concealed as a weapon, unless upon a journey, shall be adjudged guilty of a
   misdemeanor.

   George Eugene Dodge, A Digest of the Laws and Ordinances of the City of Little
   Rock, with the Constitution of State of Arkansas, General Incorporation Laws, and
   All Acts of the General Assembly Relating to the City Page 230-231, Image 230-
   231 (1871) available at The Making of Modern Law: Primary Sources.
   Sentence Enhancement for Use of Weapon | Arkansas | 1871
   City Ordinances, § 287. Whenever there shall be found upon the person of any one,
   who has been found guilty of a breach of the peace, or for conduct calculated to
   provoke a breach of the peace, any pistol, revolver, bowie-knife, dirk, rifle, shot
   gun, slung-shot, colt, or knuckles of lead, brass or other metal; or when, upon trial,
   evidence shall be adduced proving that such weapons were in the possession or on
   the person of any one while in the act or commission of the act aforesaid, such
   person shall be fined not less than twenty-five nor more than five hundred dollars,
   in addition to the penalty for the breach of the peace aforesaid.

   Act of Feb. 16, 1875,1874-75 Ark. Acts 156.
   § 1. That any person who shall wear or carry any pistol of any kind whatever, or
   any dirk, butcher or bowie knife, or a sword or a spear in a cane, brass or metal
   knucks, or razor, as a weapon, shall be adjudged guilty of a misdemeanor, and
   upon conviction thereof, in the county in which said offense shall have been
                                             7
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 147
                                                               PageID.11642
                                                                  of 230 PageID
                                                                              Page
                                                                                #:473
                                                                                   146 of
                                          229



   committed, shall be fined in any sum not less than twenty-give nor more than one
   hundred dollars, to be recovered by presentment or indictment in the Circuit Court,
   or before any Justice of the Peace of the county wherein such offense shall have
   been committed; Provided, That nothing herein contained shall be so construed as
   to prohibit any person wearing or carrying any weapon aforesaid on his own
   premises, or to prohibit persons traveling through the country, carrying such
   weapons while on a journey with their baggage, or to prohibit any officer of the
   law wearing or carrying such weapons when engaged in the discharge of his
   official duties, or any person summoned by any such officer to assist in the
   execution of any legal process, or any private person legally authorized to execute
   any legal process to him directed.

   1881 Ark. Acts 191, An Act to Preserve the Public Peace and Prevent Crime, chap.
   XCVI (96), § 1-2.
   That any person who shall wear or carry, in any manner whatever, as a weapon,
   any dirk or bowie knife, or a sword, or a spear in a cane, brass or metal knucks,
   razor, or any pistol of any kind whatever, except such pistols as are used in the
   army or navy of the United States, shall be guilty of a misdemeanor. . . . Any
   person, excepting such officers or persons on a journey, and on his premises, as are
   mentioned in section one of this act, who shall wear or carry any such pistol as i[s]
   used in the army or navy of the United States, in any manner except uncovered,
   and in his hand, shall be guilty of a misdemeanor.

   CALIFORNIA

   1849 Cal. Stat. 245, An Act to Incorporate the City of San Francisco, § 127.
   [I]f any person shall have upon him any pistol, gun, knife, dirk, bludgeon, or other
   offensive weapon, with intent to assault any person, every such person, on
   conviction, shall be fined not more than one hundred dollars or imprisoned in the
   county jail not more than three months.

   S. Garfielde, Compiled Laws of the State of California: Containing All the Acts of
   the Legislature of a Public and General Nature, Now in Force, Passed at the
   Sessions of 1850-51-52-53. To Which are Prefixed the Declaration of
   Independence, the Constitutions of the United States and of California, the Treaty
   of Queretaro, and the Naturalization Laws of the United States Page 663-664,
   Image 682-683 (1853) available at The Making of Modern Law: Primary Sources.
   Sentence Enhancement for Use of Weapon | California | 1853
   Compiled Laws of California, § 127.


                                             8
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 148
                                                               PageID.11643
                                                                  of 230 PageID
                                                                              Page
                                                                                #:474
                                                                                   147 of
                                          229



   If any person shall be found having upon him or her any picklock, crow, key, bitt,
   or other instrument or tool, with intent feloniously to break and enter into any
   dwelling house, store, shop, warehouse, or other building containing valuable
   property, or shall be found in any of the aforesaid buildings with intent to steal any
   money, goods, and chattels, every person so offending shall, on conviction thereof,
   be imprisoned in the county jail not more than two years; and if any person shall
   have upon him any pistol, gun, knife, dirk, bludgeon, or other offensive weapon,
   with intent to assault any person, every such person, on conviction, shall be fined
   not more than one hundred dollars or imprisoned in the county jail not more than
   three months.

   William H. R. Wood, Digest of the Laws of California: Containing All Laws of a
   General Character Which were in Force on the First Day of January, 1858; Also,
   the Declaration of Independence, Constitution of the United States, Articles of
   Confederation, Kentucky and Virginia Resolutions of 1798-99, Acts of Congress
   Relative to Public Lands and Pre-Emptions. Together with Judicial Decisions,
   Both of the Supreme Court of the United States and of California, to Which are
   Also Appended Numerous Forms for Obtaining Pre-Emption and Bounty Lands,
   Etc., Etc. Page 334, Image 340 (1861) available at The Making of Modern Law:
   Primary Sources.
   Crimes and Punishments, Art. 1904. That any person in this state having, carrying
   or procuring from another person any dirk, dirk-knife, bowie-knife, sword, sword-
   cane, pistol, gun or other deadly weapon, who shall, in the presence of two or more
   persons, draw or exhibit any of said deadly weapons in a rude, angry and
   threatening manner, not in necessary self-defense, or who shall, in any manner,
   unlawfully use the same, in any fight or quarrel, the person or persons so
   offending, upon conviction thereof in any criminal court in any county of this state,
   shall be fined in any sum not less than one hundred, nor more than five hundred
   dollars, or imprisonment in the county jail not less than one nor more than six
   months, at the discretion of the court, or both such fine and imprisonment, together
   with the costs of prosecution; which said costs shall, in all cases be computed and
   collected in the same manner as costs in civil cases. . . provided, nevertheless, that
   no sheriff, deputy sheriff, marshal, constable or other peace officer, shall be held to
   answer under the provisions of this act, for drawing or exhibiting any of the
   weapons herein-before mentioned, while in the lawful discharge of his or their
   duties. . .

   Theodore Henry Hittell, The General Laws of the State of California, from 1850 to
   1864, Inclusive: Being a Compilation of All Acts of a General Nature Now in
   Force, with Full References to Repealed Acts, Special and Local Legislation, and
                                             9
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 149
                                                               PageID.11644
                                                                  of 230 PageID
                                                                              Page
                                                                                #:475
                                                                                   148 of
                                          229



   Statutory Constructions of the Supreme Court. To Which are Prefixed the
   Declaration of Independence, Constitution of the United States, Treaty of
   Guadalupe Hidalgo, Proclamations to the People of California, Constitution of the
   State of California, Act of Admission, and United States Naturalization Laws, with
   Notes of California Decisions Thereon Page 261, Image 272 (1868) available at
   The Making of Modern Law: Primary Sources.
   Carrying Weapons | California | 1864
   An Act to Prohibit the Carrying of Concealed Weapons, § 1.
   Every person not being peace-officer, provost-marshal, enrolling-officer, or officer
   acting under the laws of the United States in the department of the provost-marshal
   of this State, State and Federal assessors, collectors of taxes and licenses while in
   the performance of official duties, or traveler, who shall carry or wear any dirk,
   pistol, sword in cane, slungshot, or other dangerous or deadly weapon concealed,
   shall, upon conviction thereof before any court of competent jurisdiction, be
   deemed guilty of a misdemeanor, and shall be imprisoned in the county jail for not
   less than thirty nor more than ninety days, or fined in any sum not less than twenty
   nor more than two hundred dollars. § 2. Such persons, and no others, shall be
   deemed travelers within the meaning of this act, as may be actually engaged in
   making a journey at the time.

   L. W. Moultrie, City Attorney, Charter and Ordinances of the City of Fresno, 1896
   Page 37, Image 35 (1896) available at The Making of Modern Law: Primary
   Sources. Misdemeanors. § 53.
   No junk-shop keeper or pawnbroker shall hire, loan or deliver to any minor under
   the age of 18 years any gun, pistol or other firearm, dirk, bowie-knife, powder,
   shot, bullets or any weapon, or any combustible or dangerous material, without the
   written consent of the parent or guardian of such minor.

   L. W. Moultrie, Charter and Ordinances of the City of Fresno Page 30, Image 28
   (1896) available at The Making of Modern Law: Primary Sources.
   Ordinances of the City of Fresno, § 8.
   Any person excepting peace officers and travelers, who shall carry concealed upon
   his person any pistol or firearm, slungshot, dirk or bowie-knife, or other deadly
   weapon, without a written permission (revocable at any time) from the president of
   the board of trustees, is guilty of a misdemeanor.




                                            10
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 150
                                                               PageID.11645
                                                                  of 230 PageID
                                                                              Page
                                                                                #:476
                                                                                   149 of
                                          229



   1917 Cal. Sess. Laws 221-225, An act relating to and regulating the carrying,
   possession, sale or other disposition of firearms capable of being concealed upon
   the person; prohibiting the possession, carrying, manufacturing and sale of certain
   other dangerous weapons and the giving, transferring and disposition thereof to
   other persons within this state; providing for the registering of the sales of
   firearms; prohibiting the carrying or possession of concealed weapons in municipal
   corporations; providing for the destruction of certain dangerous weapons as
   nuisances and making it a felony to use or attempt to use certain dangerous
   weapons against another, § 5.
   Carrying Weapons | California | 1917
   § 5. Any person who attempts to use, or who with intent to use the same
   unlawfully against another, carries or possesses a dagger, dirk, dangerous knife,
   razor, stiletto, or any loaded pistol, revolver, or other firearm, or any instrument or
   weapon commonly known as a blackjack, slungshot, billy, sandclub, sandbag,
   metal knuckles, bomb, or bombshell or any other dangerous or deadly instrument
   or weapon, is guilty of a felony. The carrying or possession of any of the weapons
   specified in this section by any person while committing, or attempting or
   threatening to commit a felony, or breach of the peace, or any act of violence
   against the person or property of another, shall be presumptive evidence of
   carrying or possessing such weapon with intent to use the same in violation of this
   section.

   1923 Cal. Stat. 695 An Act to Control and Regulate the Possession, Sale and Use
   of Pistols, Revolvers, and Other Firearms Capable of Being Concealed Upon the
   Person
   Dangerous or Unusual Weapons, Felons, Foreigners and Others Deemed
   Dangerous By the State | California | 1923
   § 1. On and after the date upon which this act takes effect, every person who
   within the State of California manufactures or causes to be manufactured, or who
   imports into the state, or who keeps for sale, or offers or exposes for sale, or who
   gives, lends, or possesses any instrument or weapon of the kind commonly known
   as a blackjack, slungshot, billy, sandclub, sandbag, or metal knuckles, or who
   carries concealed upon his person any explosive substance, other than fixed
   ammunition, or who carries concealed upon his person any dirk or dagger, shall be
   guilty of a felony and upon a conviction thereof shall be punishable by
   imprisonment in a state prison for not less than one year nor for more than five
   years.
   § 2. On and after the date upon which this act takes effect, no unnaturalized foreign
   born person and no person who has been convicted of a felony against the person
   or property of another or against the government of the United States or of the
                                             11
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 151
                                                               PageID.11646
                                                                  of 230 PageID
                                                                              Page
                                                                                #:477
                                                                                   150 of
                                          229



   State of California or of any political subdivision thereof shall own or have in his
   possession or under his custody or control any pistol, revolver or other firearm
   capable of being concealed upon the person.

   COLORADO

   1862 Colo. Sess. Laws 56, An Act To Prevent The Carrying Of Concealed Deadly
   Weapons In The Cities And Towns Of This Territory, § 1.
   If any person or persons shall, within any city, town, or village in this Territory,
   whether the same is incorporated or not, carry concealed upon his or her person
   any pistol, bowie knife, dagger, or other deadly weapon, shall, on conviction
   thereof before any justice of the peace of the proper county, be fined in a sum not
   less than five, nor more than thirty-five dollars.

   1867 Colo. Sess. Laws 229, Criminal Code, § 149.
   Carrying Weapons | Colorado | 1867
   If any person or persons shall, within any city, town or village in this territory,
   whether the same is incorporated or not, carry concealed upon his or her person,
   any pistol, bowie-knife, dagger or other deadly weapon, such person shall, on
   conviction thereof before any justice of the peace of the proper county, be fined in
   any sum not less than five nor more than thirty-five dollars. The provision of this
   section shall not be construed to apply to sheriffs, constables and police officers,
   when in the execution of their official duties.

   1876 Colo. Const. 30, art. II, § 13.
   Post-Civil War State Constitutions | Colorado | 1876
   That the right of no person to keep and bear arms in defense of his home, person
   and property, or in aid of the civil power when hereto legally summoned, shall be
   called in question; but nothing herein contained shall be construed to justify the
   practice of carrying concealed weapons.

   1876 Colo. Sess. Laws 304, General Laws, § 154:
   [I]f any person shall have upon him any pistol, gun, knife, dirk, bludgeon, or other
   offensive weapon, with intent to assault any person, such person, on conviction
   shall be fined in any sum not exceeding five hundred dollars, or imprisoned in the
   county jail no exceeding six months.

   Edward O. Wolcott, The Ordinances of Georgetown [Colorado] Passed June 7th,
   A.D. 1877, Together with the Charter of Georgetown, and the Amendments
   Thereto: A Copy of the Patent Heretofore Issued to Georgetown by the
                                            12
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 152
                                                               PageID.11647
                                                                  of 230 PageID
                                                                              Page
                                                                                #:478
                                                                                   151 of
                                          229



   Government of the United States, and the Rules and Order of Business Page 100,
   Image 101 (1877) available at The Making of Modern Law: Primary Sources.
   Offenses Affecting Streets and Public Property, § 9.
   If any person or persons, within the corporate limits of Georgetown, shall be found
   carrying concealed, upon his or her person, any pistol, bowie knife, dagger, or
   other deadly weapon, such person shall, on conviction thereof, be fined in a sum
   not less than five dollars, nor more than fifty dollars.

   Colo. Rev. Stat 1774, Carrying Concealed Weapons—Penalty—Search Without
   Warrant—Jurisdiction of Justice, § 248. (1881)
   No person, unless authorized so to do by the chief of police of a city, mayor of a
   town or the sheriff of a county, shall use or carry concealed upon his person any
   firearms, as defined by law, nor any pistol, revolver, bowie knife, dagger, sling
   shot, brass knuckles or other deadly weapon . . . .

   Isham White, The Laws and Ordinances of the City of Denver, Colorado Page 369,
   Image 370 (1886) available at The Making of Modern Law: Primary Sources.
   Sentence Enhancement for Use of Weapon | Colorado | 1886
   City of Denver, Slung Shot – Brass Knuckles, § 10.
   Whenever there shall be found upon the person of anyone who is guilty of a breach
   of the peace, or of conduct calculated to provoke a breach of the peace, any slung
   shot, colt, or knuckles of lead, brass or other metal, or, when upon trial, evidence
   shall be adduced proving that such weapons were in the possession or on the
   person of anyone while in the act of commission of the acts aforesaid, such person
   shall upon conviction be fined not less than twenty-five dollars nor more than three
   hundred dollars.

   CONNECTICUT

   Charles Stoers Hamilton, Charter and Ordinances of the City of New Haven,
   Together with Legislative Acts Affecting Said City Page 164, Image 167 (1890)
   available at The Making of Modern Law: Primary Sources.
   Good Order and Decency § 192.
   Every person who shall carry in said City, any steel or brass knuckles, pistol, or
   any slung shot, stiletto or weapon of similar character, or shall carry any weapon
   concealed on his person without permission of the Mayor or Superintendent of
   Police in writing, shall, on conviction, pay a penalty of not less than five, nor more
   than fifty dollars for every such offense.



                                             13
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 153
                                                               PageID.11648
                                                                  of 230 PageID
                                                                              Page
                                                                                #:479
                                                                                   152 of
                                          229



   DELAWARE

   1797 Del. Laws 104, An Act For the Trial Of Negroes, ch. 43, § 6.
   Race and Slavery Based | Delaware | 1797
   And be it further enacted by the authority aforesaid, That if any Negro or Mulatto
   slave shall presume to carry any guns, swords, pistols, fowling pieces, clubs, or
   other arms and weapons whatsoever, without his master’s special license for the
   same, and be convicted thereof before a magistrate, he shall be whipped with
   twenty-one lashes, upon his bare back.

   1881 Del. Laws 987, An Act Providing for the Punishment of Persons Carrying
   Concealed Deadly Weapons, ch. 548, § 1.
   That if any person shall carry concealed a deadly weapon upon or about his person
   other than an ordinary pocket knife, or shall knowingly sell a deadly weapon to a
   minor other than an ordinary pocket knife, such person shall, upon conviction
   thereof, be fined not less than twenty-five nor more than two hundred dollars or
   imprisoned in the county jail for not less than ten nor more than thirty days, or both
   at the discretion of the court: Provided, that the provisions of this section shall not
   apply to the carrying of the usual weapons by policemen and peace officers.

   Revised Statutes of the State of Delaware, of Eight Hundred and Fifty-Two. As
   They Have Since Been Amended, Together with the Additional Laws of a Public
   and General Nature, Which Have Been Enacted Since the Publication of the
   Revised Code of Eighteen Fifty-Two. To the Year of Our Lord One Thousand
   Eight Hundred and Ninety-Three; to Which are Added the Constitutions of the
   United States and of this State, the Declaration of Independence, and Appendix
   Page 987, Image 1048 (1893) available at The Making of Modern Law: Primary
   Sources.
   An Act Providing for the Punishment of Persons Carrying Concealed Deadly
   Weapons, § 1.
   § 1. That if any person shall carry concealed a deadly weapon upon or about his
   person other than an ordinary pocket knife, or shall knowingly sell a deadly
   weapon to a minor other than an ordinary pocket knife, such person shall, upon
   conviction thereof, be fined not less than twenty-five nor more than one hundred
   dollars or imprisoned in the county jail for not less than ten nor more than thirty
   days, or both at the discretion of the court: Provided, that the provisions of this
   section shall not apply to the carrying of the usual weapons by policemen and other
   peace officers.
   § 2. That if any person shall, except in lawful self-defense discharge any firearm in
   any public road in this State, shall be deemed guilty of a misdemeanor and upon
                                             14
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 154
                                                               PageID.11649
                                                                  of 230 PageID
                                                                              Page
                                                                                #:480
                                                                                   153 of
                                          229



   conviction thereof shall be punished by fine not exceeding fifty dollars or by
   imprisonment not exceeding one month, or both at the discretion of the court.

   DISTRICT OF COLUMBIA

   An Act to Prevent the Carrying of Concealed Weapons, Aug. 10, 1871, reprinted in
   Laws of the District of Columbia: 1871-1872, Part II, 33 (1872).
   Carrying Weapons | | 1871
   Ch. XXV. Be in enacted by the Legislative Assembly of the District of Columbia,
   That it shall not be lawful for any person or persons to carry or have concealed
   about their persons any deadly or dangerous weapons, such as daggers, air-guns,
   pistols, bowie-knives, dirk-knives, or dirks, razors, razor-blades, sword-canes,
   slung-shots, or brass or other metal knuckles, within the District of Columbia; and
   any person or persons who shall be duly convicted of so carrying or having
   concealed about their persons any such weapons shall forfeit and pay, upon such a
   conviction, not less than twenty dollars nor more than fifty dollars, which fine shall
   be prosecuted and recovered in the same manner as other penalties and forfeitures
   are sued for and recovered: Provided, That the officers, non-commissioned
   officers, and privates of the United States army, navy, and marine corps, police
   officers, and members of any regularly organized militia company or regiment,
   when on duty, shall be exempt from such penalties and forfeitures.

   FLORIDA

   John P. Duval, Compilation of the Public Acts of the Legislative Council of the
   Territory of Florida, Passed Prior to 1840 Page 423, Image 425 (1839) available at
   The Making of Modern Law: Primary Sources.
   An Act to Prevent any Person in this Territory from Carrying Arms Secretly. Be it
   Enacted by the Governor and Legislative Council of the Territory of Florida, That
   from and after the passage of this act, it shall not be lawful for any person in this
   Territory to carry arms of any kind whatsoever secretly, on or about their persons;
   and if any dirk, pistol, or other arm, or weapon, except a common pocket-knife,
   shall be seen, or known to be secreted upon the person of any one in this Territory,
   such person so offending shall, on conviction, be fined not exceeding five hundred
   dollars, and not less than fifty dollars, or imprisoned not more than six months, and
   not less than one month, at the discretion of the jury: Provided, however, that this
   law shall not be so construed as to prevent any person from carrying arms openly,
   outside of all their clothes; and it shall be the duty of judges of the superior courts
   in this Territory, to give the matter contained in this act in special charge to the
   grand juries in the several counties in this Territory, at every session of the courts.
                                             15
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 155
                                                               PageID.11650
                                                                  of 230 PageID
                                                                              Page
                                                                                #:481
                                                                                   154 of
                                          229




   Fla. Act of Aug. 8, 1868, as codified in Fla. Rev. Stat., tit. 2, pt. 5 (1892) 2425.
   Manufacturing or selling slung shot: Whoever manufactures, or causes to be
   manufactured, or sells or exposes for sale any instrument or weapon of the kind
   usually known as slung-shot, or metallic knuckles, shall be punished by
   imprisonment not exceeding six months, or by fine not exceeding one hundred
   dollars.

   1868 Fla. Laws 2538, Persons Engaged in Criminal Offence, Having Weapons,
   chap. 7, § 10.
   Sentence Enhancement for Use of Weapon | Florida | 1868
   Whoever, when lawfully arrested while committing a criminal offense or a breach
   or disturbance of the public peace, is armed with or has on his person slung shot,
   metallic knuckles, billies, firearms or other dangerous weapon, shall be punished
   by imprisonment not exceeding three months, or by fine not exceeding one
   hundred dollars.

   James F McClellan, A Digest of the Laws of the State of Florida: From the Year
   One Thousand Eight Hundred and Twenty-Two, to the Eleventh Day of March,
   One Thousand Eight Hundred and Eighty-One, Inclusive, Page 403, Image 419
   (1881) available at The Making of Modern Law: Primary Sources. [1868]
   Offences Against Public Peace, § 13.
   Whoever shall carry arms of any kind whatever, secretly, on or about their person,
   or whoever shall have about or on their person any dirk, pistol or other arm or
   weapon, except a common pocket knife, upon conviction thereof shall be fined in a
   sum not exceeding one hundred dollars, or imprisoned in the county jail not
   exceeding six months.

   Florida Act of Aug. 6, 1888, chap. 1637, subchap. 7, § 10, as codified in Fla. Rev.
   State., tit. 2, pt. 5 (1892) 2423.
   Persons Engaged in criminal offense having weapons. – Whoever, when lawfully
   arrested while committing a criminal offense or a breach or disturbance of the
   public peace is armed or has on his person slung-shot, metallic knuckles, billies,
   firearms or other dangerous weapon, shall be punished by imprisonment not
   exceeding one year and by fine not exceeding fifty dollars.

   GEORGIA

   Lucius Q.C. Lamar, A Compilation of the Laws of the State of Georgia, Passed by
   the Legislature since the Year 1810 to the Year 1819, Inclusive. Comprising all the
                                             16
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 156
                                                               PageID.11651
                                                                  of 230 PageID
                                                                              Page
                                                                                #:482
                                                                                   155 of
                                          229



   Laws Passed within those Periods, Arranged under Appropriate Heads, with Notes
   of Reference to those Laws, or Parts of Laws, which are Amended or Repealed to
   which are Added such Concurred and Approved Resolutions, as are Either of
   General, Local, or Private Moment. Concluding with a Copious Index to the Laws,
   a Separate one to the Resolutions Page 599, Image 605 (1821) available at The
   Making of Modern Law: Primary Sources.
   Carrying Weapons | Georgia | 1816
   Offences Against the Public Peace, (1816) § 19.
   If any person shall be apprehended, having upon him or her any picklock, key,
   crow, jack, bit or other implement, with intent feloniously to break and enter into
   any dwelling-house, ware-house, store, shop, coach-house, stable, or out-house, or
   shall have upon him any pistol, hanger, cutlass, bludgeon, or other offensive
   weapon, with intent feloniously to assault any person, or shall be found in or upon
   any dwelling-house, ware-house, store, shop, coach-house, stable, or out-house,
   with intent to steal any goods or chattels; every such person shall be deemed a
   rogue and vagabond, and on conviction, shall be sentenced to undergo an
   imprisonment in the common jail of the county, or in the penitentiary, at hard
   labour, for such period of time as the jury shall recommend to the court.

   1860 Ga. Laws 56, An Act to add an additional Section to the 13th Division of the
   Penal Code, making it penal to sell to or furnish slaves or free persons of color,
   with weapons of offence and defence; and for other purposes therein mentioned,
   § 1.
   [A]ny person other than the owner, who shall sell or furnish to any slave or free
   person of color, any gun, pistol, bowie knife, slung shot, sword cane, or other
   weapon used for the purpose of offence or defense, shall, on indictment and
   conviction, be fined by the Court in a sum not exceeding five hundred dollars, and
   imprisoned in the common Jail of the county not exceeding six months . . .

   R. H. Clark, The Code of the State of Georgia (1873) § 4528 – Deadly weapons
   not to be carried in public places
   No person in this State is permitted or allowed to carry about his or her person, any
   dirk, bowie knife, pistol or revolver, or any kind of deadly weapon, to any Court of
   justice, or any election ground, or precinct, or any place of public worship, or any
   other public gathering in this State, except militia muster grounds; and if any
   person or persons shall violate any portion of this section, he, she or they shall be
   guilty of a misdemeanor, and upon conviction, shall be punished by a fine of not
   less than twenty nor more than fifty dollars for each and every such offense, or
   imprisonment in the common jail of the county not less than ten nor more than
   twenty days, or both, at the discretion of the Court.
                                            17
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 157
                                                               PageID.11652
                                                                  of 230 PageID
                                                                              Page
                                                                                #:483
                                                                                   156 of
                                          229




   HAWAII

   1852 Haw. Sess. Laws 19, Act to Prevent the Carrying of Deadly Weapons
   Dangerous or Unusual Weapons | Hawaii | 1852
   § 1. Any person not authorized by law, who shall carry, or be found armed with,
   any bowie-knife, sword-cane, pistol, air-gun, slung-shot or other deadly weapon,
   shall be liable to a fine of no more than Thirty, and no less than Ten Dollars, or in
   default of payment of such fine, to imprisonment at hard labor, for a term not
   exceeding two months and no less than fifteen days, upon conviction of such
   offense before any District Magistrate, unless good cause be shown for having
   such dangerous weapons: and any such person may be immediately arrested
   without warrant by the Marshal or any Sheriff, Constable or other officer or person
   and be lodged in prison until he can be taken before such Magistrate.

   1913 Haw. Rev. Laws ch. 209, § 3089, Carrying Deadly Weapons
   Dangerous or Unusual Weapons | Hawaii | 1913
   § 3089. Persons not authorized; punishment. Any person not authorized by law,
   who shall carry, or be found armed with any bowie-knife, sword-cane, pistol, air-
   gun, slung-shot, or other deadly weapon, shall be liable to a fine of not more than
   Two Hundred and Fifty Dollars and not less than Ten Dollars, or in default of
   payment of such fine, to imprisonment of a term not exceeding one year, nor less
   than three months, upon conviction for such offense, unless good cause be shown
   for having such dangerous weapon; and any such person may be immediately
   arrested without warrant by the high sheriff, or any sheriff, policeman, or other
   officer or person.

   IDAHO

   Crimes and Punishments, in Compiled and Revised Laws of the Territory of Idaho
   354 (M. Kelly, Territorial Printer 1875).
   Carrying Weapons | Idaho | 1875
   § 133. If any person shall have found upon him or her any pick-lock, crow-key, bit
   or other instrument or tool, with intent feloniously to crack and enter into any
   dwelling-house, store, shop, warehouse, or other building containing valuable
   property, or shall be found in the aforesaid buildings with intent to steal any
   money, goods and chattels, every person so offending shall, on conviction thereof,
   be imprisoned in the Territorial prison for a term not less than one year nor more
   than five years; and if any person shall have upon him or her any pistol, gun, knife,
   dirk, bludgeon, or other offensive weapon, with intent to assault any person, every
                                            18
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 158
                                                               PageID.11653
                                                                  of 230 PageID
                                                                              Page
                                                                                #:484
                                                                                   157 of
                                          229



   such person, on conviction, shall be fined not more than one hundred dollars, or
   imprisoned in the county jail not more than three months.

   Charter and Revised Ordinances of Boise City, Idaho. In Effect April 12, 1894
   Page 118-119, Image 119-120 (1894) available at The Making of Modern Law:
   Primary Sources.
   Carrying Weapons | Idaho | 1879
   Carrying Concealed Weapons, § 36.
   Every person not being a sheriff, deputy sheriff, constable or other police officer,
   who shall carry or wear within the incorporated limits of Boise City, Idaho, any
   bowie knife, dirk knife, pistol or sword in cane, slung-shot, metallic knuckles, or
   other dangerous or deadly weapons, concealed, unless such persons be traveling or
   setting out on a journey, shall, upon conviction thereof before the city magistrate of
   said Boise City, be fined in any sum not exceeding twenty-five dollars for each
   offense, or imprisoned in the city jail for not more than twenty days, or by both
   such fine and imprisonment.

   1909 Id. Sess. Laws 6, An Act To Regulate the Use and Carrying of Concealed
   Deadly Weapons and to Regulate the Sale or Delivery of Deadly Weapons to
   Minors Under the Age of Sixteen Years to Provide a Penalty for the Violation of
   the Provisions of this Act, and to Exempt Certain Persons, § 1.
   Carrying Weapons | Idaho | 1909
   If any person, (excepting officials of a county, officials of the State of Idaho,
   officials of the United States, peace officers, guards of any jail, any officer of any
   express company on duty), shall carry concealed upon or about his person any dirk,
   dirk knife, bowie knife, dagger, slung shot, pistol, revolver, gun or any other
   deadly or dangerous weapon within the limits or confines of any city, town or
   village, or in any public assembly, or in any mining, lumbering , logging, railroad,
   or other construction camp within the State of Idaho . . . .




                                            19
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 159
                                                               PageID.11654
                                                                  of 230 PageID
                                                                              Page
                                                                                #:485
                                                                                   158 of
                                          229



   ILLINOIS

   Mason Brayman, Revised Statutes of the State of Illinois: Adopted by the General
   Assembly of Said State, at Its Regular Session, Held in the Years A. D. 1844-’5:
   Together with an Appendix Containing Acts Passed at the Same and Previous
   Sessions, Not Incorporated in the Revised Statutes, but Which Remain in Force
   Page 176, Image 188 (1845) available at The Making of Modern Law: Primary
   Sources.
   Sentence Enhancement for Use of Weapon | Illinois | 1845
   Criminal Jurisprudence, § 139.
   If any person shall be found,, having upon him or her, any pick-lock, crow, key,
   bit, or other instrument or tool, with intent feloniously to break and enter into any
   dwelling house, store, warehouse, shop or other building containing valuable
   property, or shall be found in any of the aforesaid buildings with intent to steal any
   goods and chattels, every such person so offending, shall, on conviction, be
   deemed a vagrant, and punished by confinement in the penitentiary, for any term
   not exceeding two years. And if any person shall have upon him any pistol, gun,
   knife, dirk, bludgeon or other offensive weapon, with intent to assault any person,
   every such person, on conviction, shall be fined, in a sum not exceeding one
   hundred dollars, or imprisoned, not exceeding three months.

   Harvey Bostwick Hurd, The Revised Statutes of the State of Illinois. A. D. 1874.
   Comprising the Revised Acts of 1871-2 and 1873-4, Together with All Other
   General Statutes of the State, in Force on the First Day of July, 1874 Page 360,
   Image 368 (1874) available at The Making of Modern Law: Primary Sources.
   Disorderly Conduct: Disturbing the Peace, § 56.
   Whoever, at a late and unusual hour of the night time, willfully and maliciously
   disturbs the peace and quiet of any neighborhood or family, by loud or unusual
   noises, or by tumultuous or offensive carriage, threatening, traducing, quarreling,
   challenging to fight or fighting, or whoever shall carry concealed weapons, or in a
   threatening manner display any pistol, knife, slungshot, brass, steel or iron
   knuckles, or other deadly weapon, day or night, shall be fined not exceeding $100.




                                             20
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 160
                                                               PageID.11655
                                                                  of 230 PageID
                                                                              Page
                                                                                #:486
                                                                                   159 of
                                          229



   Consider H. Willett, Laws and Ordinances Governing the Village of Hyde Park
   [Illinois] Together with Its Charter and General Laws Affecting Municipal
   Corporations; Special Ordinances and Charters under Which Corporations Have
   Vested Rights in the Village. Also, Summary of Decisions of the Supreme Court
   Relating to Municipal Corporations, Taxation and Assessments Page 64, Image 64
   (1876) available at The Making of Modern Law: Primary Sources.
   Misdemeanors, § 39.
   No person, except peace officers, shall carry or wear under their clothes, or
   concealed about their person, any pistol, revolver, slung-shot, knuckles, bowie-
   knife, dirk-knife, dirk, dagger, or any other dangerous or deadly weapon, except by
   written permission of the Captain of Police.

   Harvey Bostwick Hurd, Late Commissioner, The Revised Statutes of the State of
   Illinois. 1882. Comprising the “Revised Statutes of 1874,” and All Amendments
   Thereto, Together with the General Acts of 1875, 1877, 1879, 1881 and 1882,
   Being All the General Statutes of the State, in Force on the First Day of December,
   1882 Page 375, Image 392 (1882) available at The Making of Modern Law:
   Primary Sources. [1881]
   Deadly Weapons: Selling or Giving to Minor. § 54b.
   Whoever, not being the father, guardian, or employer or the minor herein named,
   by himself or agent, shall sell, give, loan, hire or barter, or shall offer to sell, give,
   loan, hire or barter to any minor within this state, any pistol, revolver, derringer,
   bowie knife, dirk or other deadly weapon of like character, capable of being
   secreted upon the person, shall be guilty of a misdemeanor, and shall be fined in
   any sum not less than twenty-five dollars ($25), nor more than two hundred ($200).

   Revised Ordinances of the City of Danville [Illinois] Page 66, Image 133 (1883)
   available at The Making of Modern Law: Primary Sources.
   Ordinances of the City of Danville. Concealed Weapons. § 22.
   Whoever shall carry concealed upon or about his person any pistol, revolver,
   derringer, bowie-knife, dirk, slung-shot, metallic knuckles, or a razor, as a weapon,
   or any other deadly weapon of like character, capable or being concealed upon the
   person, or whoever shall in a threatening or boisterous manner, flourish or display
   the same, shall be fined not less than one dollar, nor more than one hundred
   dollars; and in addition to the said penalty shall, upon the order of the magistrate
   before whom such conviction is had, forfeits the weapon so carried to the city.




                                              21
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 161
                                                               PageID.11656
                                                                  of 230 PageID
                                                                              Page
                                                                                #:487
                                                                                   160 of
                                          229



   Illinois Act of Apr. 16, 1881, as codified in Ill. Stat. Ann., Crim. Code, chap. 38
   (1885) 88. Possession or sale forbidden, § 1.
   Be it enacted by the people of the state of Illinois represented in the General
   Assembly. That whoever shall have in his possession, or sell, or give or loan, hire
   or barter, or whoever shall offer to sell, give loan, have or barter, to any person
   within this state, any slung shot or metallic knuckles, or other deadline weapon of
   like character, or any person in whose possession such weapons shall be found,
   shall be guilty of a misdemeanor . . .

   INDIANA

   1804 Ind. Acts 108, A Law Entitled a Law Respecting Slaves, § 4.
   And be it further enacted, That no slave or mulatto whatsoever shall keep or carry
   any gun, powder, shot, club or other weapon whatsoever, offensive or defensive,
   but all and every gun weapon and ammunition found in the possession or custody
   of any negro or mulatto, may be seized by any person and upon due proof thereof
   made before any justice of the peace of the district where such seizure shall be,
   shall by his order be forfeited to the seizor, for his use and moreover every such
   offender shall have and receive by order of such justice any number of loashes not
   exceeding thirty nine on his or her bare back, well laid for every such offense.

   1855 Ind. Acts 153, An Act To Provide For The Punishment Of Persons Interfering
   With Trains or Railroads, chap. 79, § 1.
   That any person who shall shoot a gun, pistol, or other weapon, or throw a stone,
   stick, clubs, or any other substance whatever at or against any locomotive, or car,
   or train of cars containing persons on any railroad in this State, shall be deemed
   guilty of a misdemeanor . . .

   1859 Ind. Acts 129, An Act to Prevent Carrying Concealed or Dangerous
   Weapons, and to Provide Punishment Therefor.
   § 1. Be it enacted by the General Assembly of the State of Indiana, That every
   person not being a traveler, who shall wear or carry any dirk, pistol, bowie-knife,
   dagger, sword in cane, or any other dangerous or deadly weapon concealed, or who
   shall carry or wear any such weapon openly, with the intent or avowed purpose of
   injuring his fellow man, shall, upon conviction thereof, be fined in any sum not
   exceeding five hundred dollars.




                                            22
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 162
                                                               PageID.11657
                                                                  of 230 PageID
                                                                              Page
                                                                                #:488
                                                                                   161 of
                                          229



   1875 Ind. Acts 62, An Act Defining Certain Misdemeanors, And Prescribing
   Penalties Therefore, § 1.
   That if any person shall draw or threaten to use any pistol, dirk, knife, slung shot,
   or any other deadly or dangerous weapon upon any other person he shall be
   deemed guilty of a misdemeanor, and upon conviction therefor, shall be fined in
   any sum not less than one nor more than five hundred dollars, to which may be
   added imprisonment in the county jail not to exceed six months; That the
   provisions of this act shall not apply to persons drawing or threatening to use such
   dangerous or deadly weapons in defense of his person or property, or in defense of
   those entitled to his protection by law.

   The Revised Statutes of Indiana: Containing, Also, the United States and Indiana
   Constitutions and an Appendix of Historical Documents. Vol. 1 Page 366, Image
   388 (1881) available at The Making of Modern Law: Primary Sources.
   Sensitive Places and Times | Indiana | 1881
   Crimes. § 1957. Attacking Public Conveyance. 56. Whoever maliciously or
   mischievously shoots a gun, rifle, pistol, or other missile or weapon, or throws a
   stone, stick, club, or other substance whatever, at or against any stage-coach,
   locomotive, railroad-car, or train of cars, or street-car on any railroad in this State,
   or at or against any wharf-boat, steamboat, or other water-craft, shall be
   imprisoned in the county jail not more than one year nor less than thirty days, and
   fined not more than one hundred dollars nor less than ten dollars.

   1905 Ind. Acts 677, Public Conveyance—Attacking, § 410.
   Sensitive Places and Times | Indiana | 1905
   Whoever maliciously or mischievously shoots a gun, rifle, pistol or other weapon,
   or throws a stone, stick, club or any other substance whatever, at or against any
   stage coach, or any locomotive, railroad car, or train of cars, street car, or
   interurban car on any railroad in this state, or at or against any wharf-boat,
   steamboat, or other watercraft, shall be imprisoned in the county jail not less than
   thirty days nor more than one year, and fined not less than ten dollars nor more
   than one hundred dollars.

   IOWA

   S. J. Quincy, Revised Ordinances of the City of Sioux City. Sioux City, Iowa Page
   62, Image 62 (1882) available at The Making of Modern Law: Primary Sources.
   Carrying Weapons | Iowa | 1882
   Ordinances of the City of Sioux City, Iowa, § 4.


                                              23
CaseCase:
     3:19-cv-01537-BEN-JLB
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                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 163
                                                               PageID.11658
                                                                  of 230 PageID
                                                                              Page
                                                                                #:489
                                                                                   162 of
                                          229



   No person shall, within the limits of the city, wear under his clothes, or concealed
   about his person, any pistol, revolver, slung-shot, cross-knuckles, knuckles of lead,
   brass or other metal, or any bowie-knife, razor, billy, dirk, dirk-knife or bowie-
   knife, or other dangerous weapon. Provided, that this section shall not be so
   construed as to prevent any United States, State, county, or city officer or officers,
   or member of the city government, from carrying any such weapon as may be
   necessary in the proper discharge of his official duties.

   Geoffrey Andrew Holmes, Compiled Ordinances of the City of Council Bluffs, and
   Containing the Statutes Applicable to Cities of the First-Class, Organized under the
   Laws of Iowa Page 206-207, Image 209-210 (1887) available at The Making of
   Modern Law: Primary Sources.
   Carrying Weapons | Iowa | 1887
   Carrying Concealed Weapons Prohibited, § 105.
   It shall be unlawful for any person to carry under his clothes or concealed about his
   person, or found in his possession, any pistol or firearms, slungshot, brass
   knuckles, or knuckles of lead, brass or other metal or material , or any sand bag, air
   guns of any description, dagger, bowie knife, or instrument for cutting, stabbing or
   striking, or other dangerous or deadly weapon, instrument or device; provided that
   this section shall not be construed to prohibit any officer of the United States, or of
   any State, or any peace officer, from wearing and carrying such weapons as may
   be convenient, necessary and proper for the discharge of his official duties.

   William H. Baily, The Revised Ordinances of Nineteen Hundred of the City of Des
   Moines, Iowa Page 89-90, Image 89-90 (1900) available at The Making of Modern
   Law: Primary Sources.
   Carrying Weapons | Iowa | 1900
   Ordinances City of Des Moines, Weapons, Concealed, § 209.
   It shall be unlawful for any person to carry under his clothes or concealed about his
   person, or found in his possession, any pistol or other firearms, slungshot, brass
   knuckles, or knuckles of lead, brass or other metal or material, or any sand bag, air
   guns of any description, dagger, bowie knife, dirk knife, or other knife or
   instrument for cutting, stabbing or striking, or other dangerous or deadly weapon,
   instrument or device. Provided, that this section shall not be construed to prohibit
   any officer of the United States or of any State, or any peace officer from wearing
   or carrying such weapons as may be convenient, necessary and proper for the
   discharge of his official duties.




                                             24
CaseCase:
     3:19-cv-01537-BEN-JLB
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 164
                                                               PageID.11659
                                                                  of 230 PageID
                                                                              Page
                                                                                #:490
                                                                                   163 of
                                          229



   KANSAS

   1883 Kan. Sess. Laws 159, An Act To Prevent Selling, Trading Or Giving Deadly
   Weapons Or Toy Pistols To Minors, And To Provide Punishment Therefor, §§ 1-2.
   § 1. Any person who shall sell, trade, give, loan or otherwise furnish any pistol,
   revolver, or toy pistol, by which cartridges or caps may be exploded, or any dirk,
   bowie knife, brass knuckles, slung shot, or other dangerous weapons to any minor,
   or to any person of notoriously unsound mind, shall be deemed guilty of a
   misdemeanor, and shall upon conviction before any court of competent
   jurisdiction, be fined not less than five nor more than one hundred dollars.
   § 2. Any minor who shall have in his possession any pistol, revolver or toy pistol,
   by which cartridges may be exploded, or any dirk, bowie-knife, brass knuckles,
   slung shot or other dangerous weapon, shall be deemed guilty of a misdemeanor,
   and upon conviction before any court of competent jurisdiction shall be fined not
   less than one nore more than ten dollars.

   C. B. Pierce, Charter and Ordinances of the City of Leavenworth, with an
   Appendix Page 45, Image 45 (1863) available at The Making of Modern Law:
   Primary Sources.
   Carrying Weapons | Kansas | 1862
   An Ordinance Relating to Misdemeanors, § 23.
   For carrying or having on his or her person in a concealed manner, any pistol, dirk,
   bowie knife, revolver, slung shot, billy, brass, lead or iron knuckles, or any other
   deadly weapon within this city, a fine not less than three nor more than one
   hundred dollars.

   883 Kan. Sess. Laws 159, An Act To Prevent Selling, Trading Or Giving Deadly
   Weapons Or Toy Pistols To Minors, And To Provide Punishment Therefor, §§ 1-2.
   § 1. Any person who shall sell, trade, give, loan or otherwise furnish any pistol,
   revolver, or toy pistol, by which cartridges or caps may be exploded, or any dirk,
   bowie knife, brass knuckles, slung shot, or other dangerous weapons to any minor,
   or to any person of notoriously unsound mind, shall be deemed guilty of a
   misdemeanor, and shall upon conviction before any court of competent
   jurisdiction, be fined not less than five nor more than one hundred dollars.
   § 2. Any minor who shall have in his possession any pistol, revolver or toy pistol,
   by which cartridges may be exploded, or any dirk, bowie-knife, brass knuckles,
   slung shot or other dangerous weapon, shall be deemed guilty of a misdemeanor,
   and upon conviction before any court of competent jurisdiction shall be fined not
   less than one nore more than ten dollars.


                                            25
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     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 165
                                                               PageID.11660
                                                                  of 230 PageID
                                                                              Page
                                                                                #:491
                                                                                   164 of
                                          229



   O. P. Ergenbright, Revised Ordinances of the City of Independence, Kansas:
   Together with the Amended Laws Governing Cities of the Second Class and
   Standing Rules of the City Council Page 162, Image 157 (1887) available at The
   Making of Modern Law: Primary Sources.
   Carrying Weapons | Kansas | 1887
   Weapons, § 27. Any person who in this city shall draw any pistol or other weapon
   in a hostile manner, or shall make any demonstration or threat of using such
   weapon on or against any person; or any person who shall carry or have on his or
   her person, in a concealed manner, any pistol, dirk, bowie-knife, revolver, slung-
   shot, billy, brass, lead, or iron knuckles, or any deadly weapon, within this city,
   shall be fined not less than five dollars, nor more than one hundred dollars:
   Provided, that this ordinance shall not be so construed as to prohibit officers of the
   law while on duty from being armed.

   KENTUCKY

   1798 Ky. Acts 106. No negro, mulatto, or Indian whatsoever shall keep or carry
   any gun, powder, shot, club, or other weapon whatsoever, offensive or defensive
   but all and every gun, weapon and ammunition found in the possession or custody
   of any negro, mulatto or Indian may be seized by any person and upon due proof
   thereof made before any justice of the peace of the county where such seizure shall
   be shall by his order, be forfeited to the seizor for his own use, and moreover every
   such offender shall have and receive by order of such justice any number of lashes
   not exceeding thirty nine on his or her back, well laid for every such offense.

   1859 Ky. Acts 245, An Act to Amend An Act E ntitled “An Act to Reduce to One
   the Several Acts in Relation to the Town of Harrodsburg, § 23.
   If any person, other than the parent or guardian, shall sell, give or loan, any pistol,
   dirk, bowie knife, brass knucks, slung-shot, colt, cane-gun, or other deadly
   weapon, which is carried concealed, to any minor, or slave, or free negro, he shall
   be fined fifty dollars.

   LOUISIANA

   1813 La. Acts 172, An Act Against Carrying Concealed Weapons, and Going
   Armed in Public Places in an Unneccessary Manner, § 1.
   Carrying Weapons | Louisiana | 1813
   Be it enacted by the senate and house of representatives of the state of Louisiana,
   in general assembly convened, That from and after the passage of this act, any
   person who shall be found with any concealed weapon, such as a dirk, dagger,
                                             26
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 166
                                                               PageID.11661
                                                                  of 230 PageID
                                                                              Page
                                                                                #:492
                                                                                   165 of
                                          229



   knife, pistol, or any other deadly weapon concealed in his bosom, coat, or in any
   other place about him that do not appear in full open view, any person so
   offending, shall on conviction thereof before any justice of the peace, be subject to
   pay a fine . . . .

   Henry A. Bullard & Thomas Curry, 1 A New Digest of the Statute Laws of the
   State of Louisiana, from the Change of Government to the Year 1841 at 252 (E.
   Johns & Co., New Orleans, 1842).
   Carrying Weapons | Louisiana | 1842
   [A]ny person who shall be found with any concealed weapon, such as a dirk,
   dagger, knife, pistol, or any other deadly weapon concealed in his bosom, coat, or
   in any other place about him, that do not appear in full open view, any person so
   offending, shall, on conviction thereof, before an justice of the peace, be subject to
   pay a fine not to exceed fifty dollars, nor less than twenty dollars . . . .

   1870 La. Acts 159–60, An Act to Regulate the Conduct and to Maintain the
   Freedom of Party Election . . . , § 73.
   Subject(s): Sensitive Places and Times
   [I]t shall be unlawful for any person to carry any gun, pistol, bowie knife or other
   dangerous weapon, concealed or unconcealed, on any day of election during the
   hours the polls are open, or on any day of registration or revision of registration,
   within a distance of one-half mile of any place of registration or revision of
   registration; any person violating the provisions of this section shall be deemed
   guilty of a misdemeanor; and on conviction shall be punished by a fine of not less
   than one hundred dollars, and imprisonment in the parish jail not less than one
   month . . . .

   La. Const. of 1879, art. III.
   Post-Civil War State Constitutions | Louisiana | 1879
   A well regulated militia being necessary to the security of a free State, the right of
   the people to keep and bear arms shall not be abridged. This shall not prevent the
   passage of laws to punish those who carry weapons concealed.




                                             27
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 167
                                                               PageID.11662
                                                                  of 230 PageID
                                                                              Page
                                                                                #:493
                                                                                   166 of
                                          229



   MAINE

   An Act to Prevent Routs, Riots, and Tumultuous assemblies, and the Evil
   Consequences Thereof, reprinted in CUMBERLAND GAZETTE (Portland, MA.),
   Nov. 17, 1786, at 1. On October 26, 1786 the following was passed into law by the
   Massachusetts Assembly: That from & after the publication of this act, if any
   persons, to the number of twelve, or more, being armed with clubs or other
   weapons; or if any number of persons, consisting of thirty, or more, shall be
   unlawfully, routously, rioutously or tumultuously assembled, any Justice of the
   Peace, Sheriff, or Deputy ... or Constable ... shall openly make [a] proclamation
   [asking them to disperse, and if they do not disperse within one hour, the officer is]
   ... empowered, to require the aid of a sufficient number of persons in arms ... and if
   any such person or persons [assembled illegally] shall be killed or wounded, by
   reason of his or their resisting the persons endeavoring to disperse or seize them,
   the said Justice, Sheriff, Deputy-Sheriff, Constable and their assistants, shall be
   indemnified, and held guiltless.

   The Revised Statutes of the State of Maine, Passed October 22, 1840; To Which
   are Prefixed the Constitutions of the United States and of the State of Maine, and
   to Which Are Subjoined the Other Public Laws of 1840 and 1841, with an
   Appendix Page 709, Image 725 (1847) available at The Making of Modern Law:
   Primary Sources.
   Justices of the Peace, § 16.
   Any person, going armed with any dirk, dagger, sword, pistol, or other offensive
   and dangerous weapon, without a reasonable cause to fear an assault on himself, or
   any of his family or property, may, on the complaint of any person having cause to
   fear an injury or breach of the peace, be required to find sureties for keeping the
   peace for a term, not exceeding one year, with the right of appeal as before
   provided.

   1841 Me. Laws 709, ch. 169, § 16.
   If any person shall go armed with a dirk, dagger, sword, pistol, or other offensive
   and dangerous weapon, without reasonable cause to fear an assault or other injury
   or violence to his person, or to his family or property, he may, on complaint of any
   person having resonable cause to fear an injury or breach of the peace, be required
   to find sureties for keeping the peace, for a term not exceeding six months, with the
   right of appealing as before provided.




                                            28
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 168
                                                               PageID.11663
                                                                  of 230 PageID
                                                                              Page
                                                                                #:494
                                                                                   167 of
                                          229



   The Revised Statutes of the State of Maine, Passed August 29, 1883, and Taking
   Effect January 1, 1884 Page 928, Image 955 (1884) available at The Making of
   Modern Law: Primary Sources.
   Prevention of Crimes, § 10.
   Whoever goes armed with any dirk, pistol, or other offensive and dangerous
   weapon, without just cause to fear an assault on himself, family, or property, may,
   on complaint of any person having cause to fear an injury or breach of the peace,
   be required to find sureties to keep the peace for a term not exceeding one year,
   and in case of refusal, may be committed as provided in the preceding sections.

   MARYLAND

   The Laws Of Maryland, With The Charter, The Bill Of Rights, The Constitution
   Of The State, And Its Alterations, The Declaration Of Independence, And The
   Constitution Of The United States, And Its Amendments Page 465, Image 466
   (1811) available at The Making of Modern Law: Primary Sources.
   Sentence Enhancement for Use of Weapon | Maryland | 1809
   If any person shall be apprehended, having upon him or her any picklock, key,
   crow, jack, bit or other implement, with an intent feloniously to break and enter
   into any dwelling-house, ware-house, stable or out-house, or shall have upon him
   or her any pistol, hanger, cutlass, bludgeon, or other offensive weapon, with intent
   feloniously to assault any person, or shall be found in or upon any dwelling-house,
   warehouse, stable or out-house, or in any enclosed yard or garden, or area
   belonging to any house, with an intent to steal any goods or chattels, every such
   person shall be deemed a rouge and vagabond, and, on being duly convicted
   thereof, shall be sentenced to undergo a confinement in the said penitentiary for a
   period of time not less than three months nor more than two years, to be treated as
   law prescribes.

   1872 Md. Laws 57, An Act To Add An Additional Section To Article Two Of The
   Code Of Public Local Laws, Entitled “Anne Arundel County,” Sub-title
   “Annapolis,” To Prevent The Carrying Of concealed Weapons In Said City, § 246.
   Carrying Weapons | Maryland | 1872
   It shall not be lawful for any person to carry concealed, in Annapolis, whether a
   resident thereof or not, any pistol, dirk-knife, bowie-knife, sling-shot, billy, razor,
   brass, iron or other metal knuckles, or any other deadly weapon, under a penalty of
   a fine of not less than three, nor more than ten dollars in each case, in the discretion
   of the Justice of the Peace, before whom the same may be tried, to be collected. . .



                                             29
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 169
                                                               PageID.11664
                                                                  of 230 PageID
                                                                              Page
                                                                                #:495
                                                                                   168 of
                                          229



   John Prentiss Poe, The Maryland Code : Public Local Laws, Adopted by the
   General Assembly of Maryland March 14, 1888. Including also the Public Local
   Acts of the Session of 1888 incorporated therein Page 1457, Image 382 (Vol. 2,
   1888) available at The Making of Modern Law: Primary Sources.
   Sensitive Places and Times | Maryland | 1874
   Election Districts–Fences. § 99.
   It shall not be lawful for any person in Kent county to carry, on the days of
   election, secretly or otherwise, any gun, pistol, dirk, dirk-knife, razor, billy or
   bludgeon; and any person violating the provisions of this section shall be deemed
   guilty of a misdemeanor, and on conviction thereof before any justice of the peace
   of said county, shall be fined not less than five nor more than twenty dollars, and
   on refusal to pay said fine shall be committed by such justice of the peace to the
   jail of the county until the same shall be paid.

   John Prentiss Poe, The Maryland Code. Public Local Laws, Adopted by the
   General Assembly of Maryland March 14, 1888. Including also the Public Local
   Acts of the Session of 1888 Incorporated Therein Page 522-523, Image 531-532
   (Vol. 1, 1888) available at The Making of Modern Law: Primary Sources.
   Sentence Enhancement for Use of Weapon | Maryland | 1884
   City of Baltimore, § 742.
   Whenever any person shall be arrested in the city of Baltimore, charged with any
   crime or misdemeanor, or for being drunk or disorderly, or for any breach of the
   peace, and shall be taken before any of the police justices of the peace of the said
   city, and any such person shall be found to have concealed about his person any
   pistol, dirk knife, bowie-knife, sling-shot, billy, brass, iron or any other metal
   knuckles, razor, or any other deadly weapon whatsoever, such person shall be
   subject to a fine of not less than five dollars nor more than twenty-five dollars in
   the discretion of the police justice of the peace before whom such person may be
   taken, and the confiscation of the weapon so found, which said fine shall be
   collected as other fines are now collected; provided, however, that the provisions
   of this section shall not apply to those persons who, as conservators of the peace
   are entitled or required to carry a pistol or other weapon as a part of their official
   equipment.

   1886 Md. Laws 315, An Act to Prevent the Carrying of Guns, Pistols, Dirk-knives,
   Razors, Billies or Bludgeons by any Person in Calvert County, on the Days of
   Election in said County, Within One Mile of the Polls § 1:
   That from and after the passage of this act, it shall not be lawful for any person in
   Calvert County to carry, on the days of election and primary election within three
   hundred yards of the polls, secretly, or otherwise, any gun, pistol, dirk, dirk-knife,
                                             30
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 170
                                                               PageID.11665
                                                                  of 230 PageID
                                                                              Page
                                                                                #:496
                                                                                   169 of
                                          229



   razor, billy or bludgeon, and any person violating the provisions of this act, shall
   be deemed guilty of a misdemeanor and on conviction thereof by the Circuit Court
   of Calvert County . . . shall be fined not less than ten nor more than fifty dollars for
   each such offense. . .

   John Prentiss Poe, The Maryland Code. Public Local Laws, Adopted by the
   General Assembly of Maryland March 14, 1888. Including also the Acts of the
   Session of 1888 Incorporated Therein, and Prefaced with the Constitution of the
   State Page 468-469, Image 568-569 (Vol. 1, 1888) available at The Making of
   Modern Law: Primary Sources.
   Carrying Weapons | Maryland | 1886
   Concealed Weapons, § 30.
   Every person, not being a conservator of the peace entitled or required to carry
   such weapon as a part of his official equipment, who shall wear or carry any pistol,
   dirk-knife, bowie- knife, slung-shot, billy, sand-club, metal knuckles, razor, or any
   other dangerous or deadly weapon of any kind whatsoever, (penknives excepted,)
   concealed upon or about his person; and every person who shall carry or wear any
   such weapon openly, with the intent or purpose of injuring any person, shall, upon
   conviction thereof, be fined not more than five hundred dollars, or be imprisoned
   not more than six months in jail or in the house of correction.

   1886 Md. Laws 315, An Act to Prevent the Carrying of Guns, Pistols, Dirk-knives,
   Razors, Billies or Bludgeons by any Person in Calvert County, on the Days of
   Election in said County, Within One Mile of the Polls § 1.
   That from and after the passage of this act, it shall not be lawful for any person in
   Calvert County to carry, on the days of election and primary election within three
   hundred yards of the polls, secretly, or otherwise, any gun, pistol, dirk, dirk-knife,
   razor, billy or bludgeon, and any person violating the provisions of this act, shall
   be deemed guilty of a misdemeanor and on conviction thereof by the Circuit Court
   of Calvert County . . . shall be fined not less than ten nor more than fifty dollars for
   each such offense. . .




                                             31
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 171
                                                               PageID.11666
                                                                  of 230 PageID
                                                                              Page
                                                                                #:497
                                                                                   170 of
                                          229



   John Prentiss Poe, The Baltimore City Code, Containing the Public Local Laws of
   Maryland Relating to the City of Baltimore, and the Ordinances of the Mayor and
   City Council, in Force on the First Day of November, 1891, with a Supplement,
   Containing the Public Local Laws Relating to the City of Baltimore, Passed at the
   Session of 1892 of the General Assembly, and also the Ordinances of the Mayor
   and City Council, Passed at the Session of 1891-1892, and of 1892-1893, up to the
   Summer Recess of 1893 Page 297-298, Image 306-307 (1893) available at The
   Making of Modern Law: Primary Sources.
   Carrying Weapons | Maryland | 1890
   Ordinances of Baltimore, § 742A.
   Every person in said city of Baltimore not being a conservator of the peace,
   entitled or required to carry such weapons as a part of his official equipment, who
   shall wear or carry any pistol, dirk-knife, bowie-knife, sling-shot, billy, sand-club,
   metal knuckles, razor or any other dangerous or deadly weapon of any kind
   whatsoever, (pen knives excepted.) concealed upon or about his person; and every
   person who shall carry or wear such weapons openly, with the intent or purpose of
   injuring any person, shall, upon a conviction thereof, be fined not more than five
   hundred dollars, and be imprisoned not more than six months in jail or in the house
   of correction; that this act shall not release or discharge any person or persons
   already offending against the general law in such cases made and provided, but any
   such person or persons may be proceeded against, prosecuted and punished under
   the general law of this State as if this act had not been passed.

   MASSACHUSETTS

   1750 Mass. Acts 544, An Act For Preventing And Suppressing Of Riots, Routs
   And Unlawful Assemblies, chap. 17, § 1.
   If any persons to the number of twelve or more, being armed with clubs or other
   weapons. . . shall be unlawfully, riotously, or tumultuously assembled . . . (Read
   riot act, if don’t disperse) . . . It shall be lawful for every officer . . . to seize such
   persons, and carry them before a justice of the peace; and if such persons shall be
   killed or hurt by reason of their resisting . . . officers and their assistants shall be
   indemnified and held guiltless.




                                                32
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 172
                                                               PageID.11667
                                                                  of 230 PageID
                                                                              Page
                                                                                #:498
                                                                                   171 of
                                          229



   Theron Metcalf, The Revised Statutes of the Commonwealth of Massachusetts,
   Passed November 4, 1835; to Which are Subjoined, an Act in Amendment
   Thereof, and an Act Expressly to Repeal the Acts Which are Consolidated Therein,
   Both Passed in February 1836; and to Which are Prefixed, the Constitutions of the
   United States and of the Commonwealth of Massachusetts Page 750, Image 764
   (1836) available at The Making of Modern Law: Primary Sources.
   Of Proceedings to Prevent the Commission of Crimes, § 16.
   If any person shall go armed with a dirk, dagger, sword, pistol, or other offensive
   and dangerous weapon, without reasonable cause to fear an assault or other injury,
   or violence to his person, or to his family or property, he may, on complaint of any
   person having reasonable cause to fear an injury, or breach of the peace, be
   required to find sureties for keeping the peace, for a term not exceeding six
   months, with the right of appealing as before provided.

   1850 Mass. Gen. Law, chap. 194, §§ 1, 2, as codified in Mass. Gen. Stat., chap.
   164 (1873) § 10.
   Whoever when arrested upon a warrant of a magistrate issued against him for an
   alleged offense against the laws of this state, and whoever when arrested by a
   sheriff, deputy sheriff , constable, police officer, or watchman, while committing a
   criminal offense against the laws of this state, or a breach or disturbance of the
   public peace, is armed with, or has on his person, slung shot, metallic knuckles,
   bills, or other dangerous weapon, shall be punished by fine . . .

   1850 Mass. Gen. Law, chap. 194, §§ 1, 2 as codified in Mass. Gen. Stat., chap. 164
   (1873) § 11.
   Whoever manufactures, or causes to be manufactured, or sells, or exposes for sale,
   any instrument or weapon of the kind usually known as slung shot, or metallic
   knuckles, shall be punished by fine not less than fifty dollars, or by imprisonment
   in the jail not exceeding six months.

   1927 Mass. Acts 416, An Act Relative to Machine Guns and Other Firearms, ch.
   326, § 5 (amending §10)
   Carrying Weapons | Massachusetts | 1927
   Whoever, except as provided by law, carries on his person, or carries on his person
   or under his control in a vehicle, a pistol or revolver, loaded or unloaded, or
   possesses a machine gun as defined in section one hundred and twenty-one of
   chapter one hundred and forty… or whoever so carries any stiletto, dagger, dirk
   knife, slung shot, metallic knuckles or sawed off shotgun, or whoever, when
   arrested upon a warrant for an alleged crime or when arrested while committing a
   crime or a breach or disturbance of the public peace, is armed with, or has on his
                                            33
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 173
                                                               PageID.11668
                                                                  of 230 PageID
                                                                              Page
                                                                                #:499
                                                                                   172 of
                                          229



   person, or has on his person or under his control in a vehicle, a billy or dangerous
   weapon other than those herein mentioned, shall be punished by imprisonment for
   not less than six months nor more than two and a half years in a jail . . .

   MICHIGAN

   1887 Mich. Pub. Acts 144, An Act to Prevent The Carrying Of Concealed
   Weapons, And To Provide Punishment Therefore, § 1.
   It shall be unlawful for any person, except officers of the peace and night-watches
   legitimately employed as such, to go armed with a dirk, dagger, sword, pistol, air
   gun, stiletto, metallic knuckles, pocket-billy, sand bag, skull cracker, slung shot,
   razor or other offensive and dangerous weapon or instrument concealed upon his
   person.

   1891 Mich. Pub. Acts 409, Police Department, pt 15:. . . . And all persons who
   shall carry concealed on or about their persons, any pistol, revolver, bowie knife,
   dirk, slung shot, billie, sand bag, false knuckles, or other dangerous weapon, or
   who shall lay in wait , lurk or be concealed, with intent to do injury to any person
   or property, who shall threaten to beat or kill another or injure him in his person or
   property . . . shall be deemed a disorderly person, and upon conviction thereof may
   be punished by a fine not exceeding one hundred dollars and the costs of
   prosecution, and in imposition of any such fine and costs the court may make a
   further sentence that in default of payment, such offender be imprisoned in the city
   prison. . .

   1927 Mich. Pub. Acts 888-89, An Act to Regulate and License the Selling,
   Purchasing, Possessing and Carrying of Certain Firearms, § 3.
   Dangerous or Unusual Weapons | Michigan | 1927
   It shall be unlawful within this state to manufacture, sell, offer for sale, or possess
   any machine gun or firearm which can be fired more than sixteen times without
   reloading, or any muffler, silencer or device for deadening or muffling the sound of
   a discharged firearm, or any bomb or bombshell, or any blackjack, slung shot,
   billy, metallic knuckles, sandclub, sandbag or bludgeon. Any person convicted of a
   violation of this section shall be guilty of a felony and shall be punished by a fine
   not exceeding one thousand dollars or imprisonment in the state prison not more
   than five years, or by both such fine and imprisonment in the discretion of the
   court. . . .




                                             34
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 174
                                                               PageID.11669
                                                                  of 230 PageID
                                                                              Page
                                                                                #:500
                                                                                   173 of
                                          229



   1929 Mich. Pub. Acts 529, An Act to Regulate and License the Selling,
   Purchasing, Possessing and Carrying of Certain Firearms, § 3.
   Dangerous or Unusual Weapons | Michigan | 1929
   It shall be unlawful within this state to manufacture, sell, offer for sale or possess
   any machine gun or firearm which can be fired more than sixteen times without
   reloading or any muffler, silencer, or device for deadening or muffling the sound of
   a discharged firearm, or any bomb, or bomb shell, blackjack, slung shot, billy,
   metallic knuckles, sand club, sand bag, or bludgeon or any gas ejecting device,
   weapon, cartridge, container, or contrivance designed or equipped for or capable of
   ejecting any gas which will either temporarily or permanently disable, incapacitate,
   injure or harm any person with whom it comes in contact.

   MINNESOTA

   W. P. Murray, The Municipal Code of Saint Paul: Comprising the Laws of the
   State of Minnesota Relating to the City of Saint Paul, and the Ordinances of the
   Common Council; Revised to December 1, 1884 Page 289, Image 295 (1884)
   available at The Making of Modern Law: Primary Sources.
   Concealed Weapons – License, § 1.
   It shall be unlawful for any person, within the limits of the city of St. Paul, to carry
   or wear under his clothes, or concealed about his person, any pistol or pistols, dirk,
   dagger, sword, slungshot, cross-knuckles, or knuckles of lead, brass or other metal,
   bowie-knife, dirk-knife or razor, or any other dangerous or deadly weapon. § 2.
   Any such weapons or weapons, duly adjudged by the municipal court of said city
   to have been worn or carried by any person, in violation of the first section of this
   ordinance, shall be forfeited or confiscated to the said city of St. Paul, and shall be
   so adjudged. § 3. Any policeman of the city of St. Paul, may, within the limits of
   said city, without a warrant, arrest any person or persons, whom such policeman
   may find in the act of carrying or wearing under their clothes, or concealed about
   their person, any pistol or pistols, dirk, dagger, sword, slungshot, cross-knuckles,
   or knuckles of lead, brass or other metal, bowie-knife, dirk-knife or razor, or any
   other dangerous or deadly weapon, and detain him, her or them in the city jail,
   until a warrant can be procured, or complaint made for the trial of such person or
   persons, as provided by the charter of the city of St. Paul, for other offenses under
   said charter, and for the trial of such person or persons, and for the seizure and
   confiscation of such of the weapons above referred to, as such person or persons
   may be found in the act of carrying or wearing under their clothes, or concealed
   about their persons.



                                             35
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 175
                                                               PageID.11670
                                                                  of 230 PageID
                                                                              Page
                                                                                #:501
                                                                                   174 of
                                          229



   George Brooks Young. General Statutes of the State of Minnesota in Force January
   1, 1889 Page 1006, Image 1010 (Vol. 2, 1888) available at The Making of Modern
   Law: Primary Sources.
   Dangerous or Unusual Weapons | Minnesota | 1888
   Making, Selling, etc., Dangerous Weapons, §§ 333-334.
   § 333. A person who manufactures, or causes to be manufactured, or sells, or keeps
   for sale, or offers or gives or disposes of any instrument or weapon of the kind
   usually known as slung-shot, sand-club, or metal knuckles, or who, in any city of
   this state, without the written consent of a magistrate, sells or gives any pistol or
   fire-arm to any person under the age of eighteen years, is guilty of a misdemeanor.
   Carrying, using, etc., certain Weapons . . . .
   § 334. A person who attempts to use against another, or who, with intent so to use,
   carries, conceals, or possesses any instrument or weapon of the kind commonly
   known as a slung-shot, sand-club, or metal knuckles, or a dagger, dirk, knife, pistol
   or other fire-arm, or any dangerous weapon, is guilty of a misdemeanor.

   MISSISSIPPI

   1799 Miss. Laws 113, A Law For The Regulation Of Slaves. No Negro or mulatto
   shall keep or carry any gun, powder, shot, club or other weapon whatsoever,
   offensive or defensive; but all and every gun, weapon and ammunition found in the
   possession or custody of any negro or mulatto may be seized by any person . . .
   every such offender shall have and receive by order of such justice, any number of
   lashes not exceeding thirty-nine, on his or her bare back, well laid on, for every
   such offense.

   1804 Miss. Laws 90, An Act Respecting Slaves, § 4. No Slave shall keep or carry
   any gun, powder, shot, club or other weapon whatsoever offensive or defensive,
   except tools given him to work with . . .

   1878 Miss. Laws 175, An Act To Prevent The Carrying Of Concealed Weapons
   And For Other Purposes, § 1.
   That any person not being threatened with or havin good and sufficient reason to
   apprehend an attack, or traveling (not being a tramp) or setting out on a long
   journey, or peace officers, or deputies in discharge of their duties, who carries
   concealed in whole or in part, any bowie knife, pistol, brass knuckles, slung shot or
   other deadly weapon of like kind or description shall be deemed guilty of a
   misdemeanor, and on conviction, shall be punished for the first offense by a fine of
   not less than five dollars nor more than one hundred dollars . . .


                                            36
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 176
                                                               PageID.11671
                                                                  of 230 PageID
                                                                              Page
                                                                                #:502
                                                                                   175 of
                                          229



   MISSOURI

   Organic Laws:-Laws of Missouri Territory, (Alphabetically Arranged):-Spanish
   Regulations for the Allotment of Lands:- Laws of the United States, for Adjusting
   Titles to Lands, &c. to Which are Added, a Variety of Forms, Useful to
   Magistrates Page 374, Image 386 (1818) available at The Making of Modern Law:
   Primary Sources. 1818.
   Slaves, § 3. No slave or mulatto whatsoever, shall keep or carry a gun, powder,
   shot, club or other weapon whatsoever, offensive or defensive; but all and every
   gun weapon and ammunition found in the possession or custody of any negro or
   mulatto, may be seized by any person and upon due proof made before any justice
   of the peace of the district [county] where such seizure shall be, shall by his order
   be forfeited to the seizor, for his own use, and moreover, every such offender shall
   have and receive by order of such justice any number of lashes not exceeding thirty
   nine on his or her bare back well laid on for every such offence. § 4. Every free
   negro or mulatto, being a housekeeper may be permitted to keep one gun, powder
   and shot; and all negroes or mulattoes bond or free, living at any frontier
   plantation, may be permitted to keep and use guns, powder shot and weapons,
   offensive and defensive, by license from a justice of the peace of the district
   [county] wherein such plantation lies, to be obtained upon the application of free
   negroes or mulattoes or of the owners of such as are slaves.

   Everett Wilson Pattison, The Revised Ordinance of the City of St. Louis, Together
   with the Constitution of the United States, and of the State of Missouri; the Charter
   of the City; and a Digest of the Acts of the General Assembly, Relating to the City
   Page 491-492, Image 499-500 (1871) available at The Making of Modern Law:
   Primary Sources.
   Carrying Weapons | Missouri | 1871
   Ordinances of the City of St. Louis, Misdemeanors, §§ 9-10.
   § 9. Hereafter it shall not be lawful for any person to wear under his clothes, or
   concealed about his person, any pistol, or revolver, colt, billy, slung shot, cross
   knuckles, or knuckles of lead, brass or other metal, bowie knife, razor, dirk knife,
   dirk, dagger, or any knife resembling a bowie knife, or any other dangerous or
   deadly weapon, within the City of St. Louis, without written permission from the
   Mayor; and any person who shall violate this section shall be deemed guilty of a
   misdemeanor, and, upon conviction thereof, be fined not less than ten nor more
   than five hundred dollars for each and every offence.

                                            37
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 177
                                                               PageID.11672
                                                                  of 230 PageID
                                                                              Page
                                                                                #:503
                                                                                   176 of
                                          229



   § 10. Nothing in the preceding section shall be so construed as to prevent any
   United States, State, county or city officer, or any member of the city government,
   from carrying or wearing such weapons as may be necessary in the proper
   discharge of his duties.

   1883 Mo. Laws 76, An Act To Amend Section 1274, Article 2, Chapter 24 Of The
   Revised Statutes Of Missouri, Entitled “Of Crimes And Criminal Procedure”
   § 1274.
   If any person shall carry concealed, upon or about his person, any deadly or
   dangerous weapon, or shall go into any church or place where people have
   assembled for religious worship, or into any school room or place where people are
   assembled for educational, literary or social purposes, or to any election precinct
   on any election day, or into any court room during the siting of court, or into any
   other public assemblage of persons met for any lawful purpose other than for
   militia drill or meetings called under the militia law having upon or about his
   person any kind of fire arms, bowie knife, dirk, dagger, slung-shot, or other deadly
   weapon, or shall in the presence of one or more persons shall exhibit and such
   weapon in a rude, angry or threatening manner, or shall have or carry any such
   weapon upon or about his person when intoxicated or under the influence of
   intoxicating drinks, or shall directly or indirectly sell or deliver, loan or barter to
   any minor any such weapon, without the consent of the parent or guardian of such
   minor, he shall, upon conviction be punished by a fine of not less than twenty-five
   nor more than two hundred dollars, or by imprisonment in the county jail not
   exceeding six months, or by both such fine and imprisonment.

   W. J. Connell, The Revised Ordinances of the City of Omaha, Nebraska,
   Embracing All Ordinances of a General Nature in Force April 1, 1890, Together
   with the Charter for Metropolitan Cities, the Constitution of the United States and
   the Constitution of the State of Nebraska Page 344, Image 356 (1890) available at
   The Making of Modern Law: Primary Sources.
   Carrying Weapons | Nebraska | 1890
   Ordinances of Omaha, Concealed Weapons, § 10.
   It shall be unlawful for any person to wear under his clothes, or concealed about
   his person, any pistol or revolver, colt, billy, slung-shot, brass knuckles or knuckles
   of lead, dirk, dagger, or any knife resembling a bowie knife, or any other
   dangerous or deadly weapon within the corporate limits of the city of Omaha. Any
   person guilty of a violation of this section shall, on conviction, be fined not
   exceeding one hundred ($100) dollars for each and every offense; nothing in this
   section, however, shall be so construed as to prevent the United States Marshals
   and their deputies, sheriffs and their deputies, regular or special police officers of
                                             38
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 178
                                                               PageID.11673
                                                                  of 230 PageID
                                                                              Page
                                                                                #:504
                                                                                   177 of
                                          229



   the city, from carrying or wearing such weapons as may be deemed necessary in
   the proper discharge of their duties. Provided, however, If it shall be proved from
   the testimony on the trial of any such case, that the accused was, at the time of
   carrying any weapon as aforesaid, engaged in the pursuit of lawful business,
   calling or employment and the circumstances in which he was placed at the time
   aforesaid were such as to justify a prudent man in carrying the weapon or weapons
   aforesaid, for the defense of his person, property or family, the accused shall be
   acquitted.

   William K. Amick, The General Ordinances of the City of Saint Joseph (A City of
   the Second Class) Embracing all Ordinances of General Interest in Force July 15,
   1897, together with the Laws of the State of Missouri of a General Nature
   Applicable to the City of St. Joseph. Compiled and Arranged Page 508, Image 515
   (1897) available at The Making of Modern Law: Primary Sources.
   Carrying Weapons | Missouri | 1897
   Concealed Weapons – Carrying of, § 7.
   Any person who shall in this city wear under his clothes or carry concealed upon or
   about his person, or be found having upon or about his person concealed, any
   pistol or revolver, colt, billy, slung shot, cross knuckles or knuckles of lead, brass
   or other metal, dirk, dagger, razor, bowie knife, or any knife resembling a bowie
   knife, or any other dangerous or deadly weapon, shall be deemed guilty of a
   misdemeanor.

   Joplin Code of 1917, Art. 67, § 1201. Missouri. Weapons; Deadly.
   If any person shall carry concealed upon or about his person a dangerous or deadly
   weapon of any kind or description, or shall go into any church or place where
   people have assembled for religious worship, or into any school room or place
   where people are assembled for educational, political, literary or social purposes,
   or to any election precinct on any election day, or into any court room during the
   sitting of court, or into any other public assemblage of persons met for any lawful
   purpose other than for militia drill, or meetings called under militia law of this
   state, having upon or about his person, concealed or exposed, any kind of firearms,
   bowie knife, spring-back knife, razor, knuckles, bill, sword cane, dirk, dagger,
   slung shot, or other similar deadly weapons, or shall, in the presence of one or
   more persons, exhibit any such weapon in a rude, angry or threatening manner, or
   shall have any such weapons in his possession when intoxicated, or directly or
   indirectly shall sell or deliver, loan or barter, to any minor any such weapon,
   without the consent of the parent or guardian of such minor, he shall be deemed
   guilty of a misdemeanor. Provided, that nothing contained in this section shall
   apply to legally qualified sheriffs, police officers, and other persons whose bona
                                            39
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 179
                                                               PageID.11674
                                                                  of 230 PageID
                                                                              Page
                                                                                #:505
                                                                                   178 of
                                          229



   fide duty is to execute process, civil or criminal, make arrests, or aid in conserving
   the public peace, nor to persons traveling in a continuous journey peaceably
   through this state.

   1923 Mo. Laws 241-42, An Act to Provide the Exercise of the Police Powers of the
   State by and through Prohibiting the Manufacture, Possession, Transportation, Sale
   and Disposition of Intoxicating Liquors. . .§ 17.
   Sensitive Places and Times | Missouri | 1923
   Any person, while in charge of, or a passenger thereon, who shall carry on his
   person, or in, on, or about, any wagon, buggy, automobile, boat, aeroplane, or
   other conveyance or vehicle whatsoever, in, or upon which any intoxicating liquor,
   including wine or beer, is carried, conveyed or transported in violation of any
   provision of the laws of this state, any revolver, gun or other firearm, or explosive,
   any bowie knife, or other knife having a blade of more than two and one-half
   inches in length, any sling shot, brass knucks [sic], billy, club or other dangerous
   weapon, article or thing which could, or might, be used in inflicting bodily injury
   or death upon another, shall be deemed guilty of a felony, and, upon conviction
   thereof, shall be punished by the imprisonment in the state penitentiary for a term
   of not less than two years. Provided, that this section shall not apply to any person
   or persons transporting intoxicating liquor for personal use and not for sale in
   violation of law. Provided, that this section shall not apply to any person or
   passenger who did not know that such vehicle or conveyance was being used for
   unlawful purposes.

   MONTANA

   1864 Mont. Laws 355, An Act to Prevent the Carrying of Concealed Deadly
   Weapons in the Cities and Towns of This Territory, § 1.
   If any person shall within any city, town, or village in this territory, whether the
   same is incorporated or not, carry concealed upon his or her person any pistol,
   bowie-knife, dagger, or other deadly weapon, shall, on conviction thereof before
   any justice of the peace of the proper county, be fined in any sum not less than
   twenty five dollars, nor more than one hundred dollars.




                                             40
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 180
                                                               PageID.11675
                                                                  of 230 PageID
                                                                              Page
                                                                                #:506
                                                                                   179 of
                                          229



   1879 Mont. Laws 359, Offences against the Lives and Persons of Individuals, ch.
   4, § 23.
   If any person shall, by previous appointment or agreement, fight a duel with a rifle,
   shot-gun, pistol, bowie-knife, dirk, small-sword, back-sword, or other dangerous
   weapon, and in so doing shall kill his antagonist, or any person or persons, or shall
   inflict such wound as that the party or parties injured shall die thereof within one
   year thereafter, every such offender shall be deemed guilty of murder in the first
   degree, and, upon conviction thereof, shall be punished accordingly [death by
   hanging].

   1885 Mont. Laws 74, Deadly Weapons, An Act to Amend § 62 of Chapter IV of
   the Fourth Division of the Revised Statutes, § 62-63.
   Every person in this territory having, carrying, or procuring from another person,
   any dirk, dirk-knife, sword, sword-cane, pistol, gun, or other deadly weapon, who
   shall in the presence of one or more persons, draw or exhibit any of said deadly
   weapons in a rude or angry or threatening manner, not in necessary self defense, or
   who shall in any manner unlawfully use the same in any fight or quarrel, the
   person or persons so offending, upon conviction thereof in any criminal court in
   any county in this territory shall be fined in any sum not less than ten dollars nor
   more than one hundred dollars, or imprisoned in the county jail not less than one
   month nor more than three months, at the discretion of the court, or by both such
   fine and imprisonment, together with the costs of prosecution, which said costs
   shall in all cases be computed and collected in the same manner as costs in civil
   cases; and all fines and forfeitures arising under the provisions of this act shall be
   paid into the county treasury for school purposes: Provided, that no sheriff, deputy
   sheriff, constable, marshal, or other peace officer, shall be held to answer, under
   the provisions of this act, for drawing or exhibiting any of the weapons
   hereinbefore mentioned while in the lawful discharge of his or their duties.

   1887 Mont. Laws 549, Criminal Laws, § 174.
   If any person shall have upon him or her any pistol, gun, knife, dirk-knife,
   bludgeon, or other offensive weapon, with intent to assault any person, every such
   person, on conviction, shall be fined not more than one hundred dollars, or
   imprisoned in the county jail not more than three months.




                                            41
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 181
                                                               PageID.11676
                                                                  of 230 PageID
                                                                              Page
                                                                                #:507
                                                                                   180 of
                                          229



   NEBRASKA

   1858 Neb. Laws 69, An Act To Adopt And Establish A Criminal code For The
   Territory Of Nebraska, § 135.
   And if any person shall have upon him any pistol, gun, knife, dirk, bludgeon or
   other offensive weapon with intent to assault any person, every such person, on
   conviction, shall be fined in a sum not exceeding one hundred dollars. . .

   Gilbert B. Colfield, Laws, Ordinances and Rules of Nebraska City, Otoe County,
   Nebraska Page 36, Image 36 (1872) available at The Making of Modern Law:
   Primary Sources.
   Carrying Weapons | Nebraska | 1872
   Ordinance No. 7, An Ordinance Prohibiting the Carrying of Fire Arms and
   Concealed Weapons, § 1.
   Be it ordained by the Mayor and Councilmen of the City of Nebraska City, That it
   shall be, and it is hereby declared to be unlawful for any person to carry, openly or
   concealed, any musket, rifle, shot gun, pistol, sabre, sword, bowie knife, dirk,
   sword cane, billy slung shot, brass or other metallic knuckles, or any other
   dangerous or deadly weapons, within the corporate limits of Nebraska City, Neb;
   Provided, that nothing herein contained shall prevent the carrying of such weapon
   by a civil or military officer, or by a soldier in the discharge of his duty, nor by any
   other person for mere purposes of transportation from one place to another.

   W. J. Connell, The Revised Ordinances of the City of Omaha, Nebraska,
   Embracing All Ordinances of a General Nature in Force April 1, 1890, Together
   with the Charter for Metropolitan Cities, the Constitution of the United States and
   the Constitution of the State of Nebraska Page 344, Image 356 (1890) available at
   The Making of Modern Law: Primary Sources.
   Carrying Weapons | Nebraska | 1890
   Ordinances of Omaha, Concealed Weapons, § 10.
   It shall be unlawful for any person to wear under his clothes, or concealed about
   his person, any pistol or revolver, colt, billy, slung-shot, brass knuckles or knuckles
   of lead, dirk, dagger, or any knife resembling a bowie knife, or any other
   dangerous or deadly weapon within the corporate limits of the city of Omaha. Any
   person guilty of a violation of this section shall, on conviction, be fined not
   exceeding one hundred ($100) dollars for each and every offense; nothing in this
   section, however, shall be so construed as to prevent the United States Marshals
   and their deputies, sheriffs and their deputies, regular or special police officers of
   the city, from carrying or wearing such weapons as may be deemed necessary in
   the proper discharge of their duties. Provided, however, If it shall be proved from
                                             42
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 182
                                                               PageID.11677
                                                                  of 230 PageID
                                                                              Page
                                                                                #:508
                                                                                   181 of
                                          229



   the testimony on the trial of any such case, that the accused was, at the time of
   carrying any weapon as aforesaid, engaged in the pursuit of lawful business,
   calling or employment and the circumstances in which he was placed at the time
   aforesaid were such as to justify a prudent man in carrying the weapon or weapons
   aforesaid, for the defense of his person, property or family, the accused shall be
   acquitted.

   Compiled Ordinances of the City of Fairfield, Clay County, Nebraska Page 34,
   Image 34 (1899) available at The Making of Modern Law: Primary Sources.
   Carrying Weapons | Nebraska | 1899
   Ordinance No. 20, An Ordinance to Prohibit the Carrying of Concealed Weapons
   and Fixing a Penalty for the violations of the same. Be it ordained by the Mayor
   and Council of the City of Fairfield, Nebraska: § 1.
   It shall be unlawful for any person to carry upon his person any concealed pistol,
   revolver, dirk, bowie knife, billy, sling shot, metal knuckles, or other dangerous or
   deadly weapons of any kind, excepting only officers of the law in the discharge or
   their duties; and any person so offending shall be deemed guilty of a misdemeanor,
   and on conviction thereof, shall be subject to the penalty hereinafter provided. § 2.
   Any such weapon or weapons, duly adjudged by the Police Judge of said city to
   have been worn or carried by any person in violation of the first section of this
   ordinance, shall be forfeited or confiscated to the City of Fairfield and shall be so
   adjudged.

   NEVADA

   Bonnifield, The Compiled Laws of the State of Nevada. Embracing Statutes of
   1861 to 1873, Inclusive Page 563, Image 705 (Vol. 1, 1873) available at The
   Making of Modern Law: Primary Sources.
   Of Crimes and Punishments, §§ 35-36.
   § 35. If any person shall by previous appointment or agreement, fight a duel with a
   rifle, shotgun, pistol, bowie knife, dirk, smallsword, backsword, or other dangerous
   weapon, and in doing shall kill his antagonist, or any person or persons, or shall
   inflict such wound as that the party or parties injured shall die thereof within one
   year thereafter, every such offender shall be deemed guiltily of murder in the first
   degree and upon conviction thereof shall be punished accordingly.
   § 36. Any person who shall engage in a duel with any deadly weapon although no
   homicide ensue or shall challenge another to fight such duel, or shall send or
   deliver any verbal or written message reporting or intending to be such challenge,
   although no duel ensue, shall be punished by imprisonment in the State prison not


                                            43
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 183
                                                               PageID.11678
                                                                  of 230 PageID
                                                                              Page
                                                                                #:509
                                                                                   182 of
                                          229



   less than two nor more than ten years, and shall be incapable of voting or holding
   any office of trust or profit under the laws of this State.

   David E. Baily, The General Statutes of the State of Nevada. In Force. From 1861
   to 1885, Inclusive. With Citations of the Decisions of the Supreme Court Relating
   Thereto Page 1077, Image 1085 (1885) available at The Making of Modern Law:
   Primary Sources.
   Possession by, Use of, and Sales to Minors and Others Deemed Irresponsible |
   Nevada | 1881
   An Act to prohibit the carrying of concealed weapons by minors. § 1.
   Every person under the age of twenty-one (21) years who shall wear or carry any
   dirk, pistol, sword in case, slung shot, or other dangerous or deadly weapon
   concealed upon his person, shall be deemed guilty of a misdemeanor, and shall,
   upon conviction thereof, be fined not less than twenty nor more than two hundred
   ($200) dollars, or by imprisonment in the county jail not less than thirty days nor
   more than six months or by both such fine and imprisonment.

   NEW JERSEY

   The Grants, Concessions, And Original Constitutions Of The Province Of New
   Jersey Page 289-290 (1881) (1686)
   An Act Against Wearing Swords, Etc. Whereas there hath been great complaint by the
   inhabitants of this Province, that several persons wearing swords, daggers, pistols,
   dirks, stilettoes, skeines, or any other unusual or unlawful weapons, by reason of
   which several persons in this Province, receive great abuses, and put in great fear and
   quarrels, and challenges made, to the great abuse of the inhabitants of this Province. . .
   And be it further enacted by the authority aforesaid, that no person or persons after
   publication hereof, shall presume privately to wear any pocket pistol, skeines,
   stilettoes, daggers or dirks, or other unusual or unlawful weapons within this
   Province, upon penalty for the first offence five pounds, and to be committed by any
   justice of the peace, his warrant before whom proof thereof shall be made, who is
   hereby authorized to enquire of and proceed in the same, and keep in custody till he
   hath paid the said five pounds, one half to the public treasury for the use of this
   Province, and the other half to the informer: And if such person shall again offend
   against this law, he shall be in like manner committed upon proof thereof before any
   justice of the peace to the common jail, there to remain till the next sessions, and upon
   conviction thereof by verdict of twelve men, shall receive judgment to be in prison six
   month, and pay ten pounds for the use aforesaid. And be it further enacted by the
   authority aforesaid, that no planter shall ride or go armed with sword, pistol or dagger,
   upon the penalty of five pounds, to be levied as aforesaid, excepting all officers, civil

                                              44
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 184
                                                               PageID.11679
                                                                  of 230 PageID
                                                                              Page
                                                                                #:510
                                                                                   183 of
                                          229



   and military, and soldiers while in actual service, as also all strangers, travelling upon
   their lawful occasions through this Province, behaving themselves peaceably.

   Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871,
   under the Act Entitled “An Act to Re-organize the Local Government of Jersey
   City,” Passed March 31, 1871, and the Supplements Thereto Page 41, Image 41
   (1874) available at The Making of Modern Law: Primary Sources.
   Carrying Weapons | New Jersey | 1871
   An Ordinance To Prevent the Carrying of Loaded or Concealed Weapons within
   the Limits of Jersey City. The Mayor and Aldermen of Jersey City do ordain as
   follows: § 1.
   That it shall not be lawful for any person or persons (excepting policemen and
   private watchmen when on duty), within the corporate limits of Jersey City, to
   carry, have, or keep concealed on his or her person any instrument or weapon
   commonly known as a slung-shot, billy, sand-club or metal knuckles, and any dirk
   or dagger (not contained as a blade of a pocket-knife), and loaded pistol or other
   dangerous weapon, under the penalty of not exceeding twenty dollars for each
   offense. § 2. That it shall not be lawful for any person or persons (excepting
   policemen and private watchmen when on duty), within the corporate limits of
   Jersey City, to carry or wear any sword in a cane, or air-gun, under the penalty of
   not exceeding twenty dollars for each offense. § 3. Any forfeiture on penalty
   arising under this ordinance may be recovered in the manner specified by the City
   Charter, and all persons violating any of the provisions aforesaid shall, upon
   conviction, stand committed until the same be paid.




                                               45
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 185
                                                               PageID.11680
                                                                  of 230 PageID
                                                                              Page
                                                                                #:511
                                                                                   184 of
                                          229



   Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871,
   under the Act Entitled “An Act to Re-organize the Local Government of Jersey
   City,” Passed March 31, 1871, and the Supplements Thereto Page 86- 87, Image
   86-87 (1874) available at The Making of Modern Law: Primary Sources.
   Carrying Weapons, Registration and Taxation | New Jersey | 1873
   An Ordinance In Relation to the Carrying of Dangerous Weapons. The Mayor and
   Aldermen of Jersey City do ordain as follows: § 1.
   That with the exceptions made in the second section of this ordinance, no person
   shall, within the limits of Jersey City, carry, have or keep on his or her person
   concealed, any slung-shot, sand-club, metal knuckles, dirk or dagger not contained
   as a blade of a pocket knife, loaded pistol or other dangerous weapon. § 2. That
   policemen of Jersey City, when engaged in the performance of police duty, the
   sheriff and constables of the County of Hudson, and persons having permits, as
   hereinafter provided for, shall be and are excepted from the prohibitions of the first
   section of this ordinance. § 3. The Municipal Court of Jersey City may grant
   permits to carry any of the weapons named in the first section to such persons as
   should, from the nature of their profession, business or occupation, or from
   peculiar circumstances, be allowed so to do; and may, in granting such permits,
   impose such conditions and restrictions in each case as to the court shall seem
   proper. All applications for permits shall be made in open court, by the applicant in
   person, and in all cases the court shall require a written endorsement of the
   propriety of granting a permit from at least three reputable freeholders; nor shall
   any such permit be granted to any person until the court is satisfied that such
   person is temperate, of adult age, and capable of exercising self-control . Permits
   shall not be granted for a period longer than one year, and shall be sealed by the
   seal of the court. The possession of a permit shall not operate as an excuse unless
   the terms of the same are strictly complied with. In cases of emergency, permits
   may be granted by a single Justice of the Municipal Court, or by the Chief of
   Police, to be in force not longer than thirty days, but such permit shall not be
   renewable. §4. That no person shall, within the limits of Jersey City, carry any air
   gun or any sword cane. § 5. The penalty for a violation of this ordinance shall be a
   fine not exceeding fifty dollars, or imprisonment in the city prison not exceeding
   ten days, or both fine and imprisonment not exceeding the aforesaid amount and
   time, in the discretion of the court.




                                            46
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 186
                                                               PageID.11681
                                                                  of 230 PageID
                                                                              Page
                                                                                #:512
                                                                                   185 of
                                          229



   1905 N.J. Laws 324-25, A Supplement to an Act Entitled “An Act for the
   Punishment of Crimes,” ch. 172, § 1.
   Any person who shall carry any revolver, pistol or other deadly, offensive or
   dangerous weapon or firearm or any stiletto, dagger or razor or any knife with a
   blade of five inches in length or over concealed in or about his clothes or person,
   shall be guilty of a misdemeanor, and upon conviction thereof shall be punishable
   by a fine not exceeding two hundred dollars or imprisonment at hard labor, not
   exceeding two years, or both;. . . .

   1927 N.J. Laws 742, A Further Supplement to an Act Entitled, “An Act for the
   Punishment of Crimes,” ch. 321, § 1.
   Manufacturing, Inspection and Sale of Gunpowder and Firearms | New Jersey |
   1927
   No pawnbroker shall hereafter sell or have in his possession for sale or to loan or
   give away, any machine gun, automatic rifle, revolver, pistol, or other firearm, or
   other instrument of any kind known as a blackjack, slungshot, billy, sandclub,
   sandbag, bludgeon, metal knuckles, dagger, dirk, dangerous knife, stiletto, bomb or
   other high explosive. Any pawnbroker violating the provisions of this act shall be
   guilty of a high misdemeanor and punished accordingly.

   NEW MEXICO

   Charles Nettleton, Laws of the State of New-Jersey Page 474, Image 501 (1821)
   available at The Making of Modern Law: Primary Sources.
   Sentence Enhancement for Use of Weapon | New Jersey | 1799
   [An Act to Describe, Apprehend and Punish Disorderly Persons (1799)], § 2.
   And whereas diverse ill disposed persons are frequently apprehended, having upon
   them implements for house-breaking, or offensive weapons, or are found in or
   upon houses, warehouses, stables, barns or out-houses, areas of houses, coach-
   houses, smoke-houses, enclosed yards, or gardens belonging to houses, with intent
   to commit theft, misdemeanors or other offences; and although their evil purposes
   are thereby manifested, the power of the justices of the peace to demand of them
   sureties for their good behavior hath not been of sufficient effect to prevent them
   from carrying their evil purpose into execution; Be it further enacted, That if any
   person shall be apprehended, having upon him or her any picklock, key, crow,
   jack, bit or other implement, with an intent to break and enter into any dwelling-
   house or out-house; or shall have upon him or her any pistol, hanger, cutlass,
   bludgeon, or other offensive weapon, with intent to assault any person; or shall be
   found in or upon any dwelling-house, ware-house, stable, barn, coach-house,
   smoke-house or out-house, or in any enclosed yard or garden, or area belonging to
                                            47
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 187
                                                               PageID.11682
                                                                  of 230 PageID
                                                                              Page
                                                                                #:513
                                                                                   186 of
                                          229



   any house, with an intent to steal any goods or chattels, then he or she shall be
   deemed and adjudged to be a disorderly person.

   1853 N.M. Laws 406, An Act Prohibiting The Carrying Of Weapons Concealed Or
   Otherwise, § 25.
   That from and after the passage of this act, it shall be unlawful for any person to
   carry concealed weapons on their persons, or any class of pistols whatever, bowie
   knife, cuchillo de cinto (belt buckle knife), Arkansas toothpick, Spanish dagger,
   slung shot, or any other deadly weapon, of whatever class or description that may
   be, no matter by what name they may be known or called under the penalties and
   punishment which shall hereinafter be described.

   Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871,
   under the Act Entitled “An Act to Re-organize the Local Government of Jersey
   City,” Passed March 31, 1871, and the Supplements Thereto Page 41, Image 41
   (1874) available at The Making of Modern Law: Primary Sources.
   Carrying Weapons | New Jersey | 1871
   An Ordinance To Prevent the Carrying of Loaded or Concealed Weapons within
   the Limits of Jersey City. The Mayor and Aldermen of Jersey City do ordain as
   follows: § 1.
   That it shall not be lawful for any person or persons (excepting policemen and
   private watchmen when on duty), within the corporate limits of Jersey City, to
   carry, have, or keep concealed on his or her person any instrument or weapon
   commonly known as a slung-shot, billy, sand-club or metal knuckles, and any dirk
   or dagger (not contained as a blade of a pocket-knife), and loaded pistol or other
   dangerous weapon, under the penalty of not exceeding twenty dollars for each
   offense. § 2. That it shall not be lawful for any person or persons (excepting
   policemen and private watchmen when on duty), within the corporate limits of
   Jersey City, to carry or wear any sword in a cane, or air-gun, under the penalty of
   not exceeding twenty dollars for each offense. § 3. Any forfeiture on penalty
   arising under this ordinance may be recovered in the manner specified by the City
   Charter, and all persons violating any of the provisions aforesaid shall, upon
   conviction, stand committed until the same be paid.




                                             48
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 188
                                                               PageID.11683
                                                                  of 230 PageID
                                                                              Page
                                                                                #:514
                                                                                   187 of
                                          229



   Mercer Beasley, Revision of the Statutes of New Jersey: Published under the
   Authority of the Legislature; by Virtue of an Act Approved April 4, 1871 Page
   304, Image 350 (1877) available at The Making of Modern Law: Primary Sources.
   Sentence Enhancement for Use of Weapon | New Jersey | 1877
   An Act Concerning Disorderly Persons, § 2.
   And whereas, diverse ill-disposed persons are frequently apprehended, having
   upon them implements for house-breaking, or offensive weapons, or are found in
   or upon houses, warehouses, stables, barns or out-houses, areas of houses, coach-
   houses, smoke-houses, enclosed yards, or gardens belonging to houses (as well as
   places of public resort or assemblage), with intent to commit theft, misdemeanors
   or other offences; and although their evil purposes are thereby manifested, the
   power of the justices of the peace to demand of them sureties for their good
   behavior hath not been of sufficient effect to prevent them from carrying their evil
   purposes into execution; if any person shall be apprehended, having upon him or
   her any picklock, key, crow, jack, bit or other implement with an intent to break
   and enter into any building: or shall have upon him or her any pistol, hanger,
   cutlass, bludgeon, or other offensive weapon, with intent to assault any person; or
   shall be found in or near any dwelling house, warehouse, stable, barn, coach-house,
   smoke-house, or out-house, or in any enclosed yard or garden, or area belonging to
   any house, or in any place of public resort or assemblage for business, worship,
   amusement, or other lawful purposes with intent to steal any goods or chattels, then
   he or she shall be deemed and adjudged a disorderly person.

   An Act to Prohibit the Unlawful Carrying and Use of Deadly Weapons, Feb. 18,
   1887, reprinted in Acts of the Legislative Assembly of the Territory of New
   Mexico, Twenty-Seventh Session 55, 58 (1887).
   Brandishing, Carrying Weapons, Dangerous or Unusual Weapons, Firing
   Weapons, Transportation | New Mexico | 1887
   § 8. Deadly weapons, within the meaning of this act, shall be construed to mean all
   kinds and classes of pistols, whether the same be a revolved, repeater, derringer, or
   any kind or class of pistol or gun; any and all kinds of daggers, bowie knives,
   poniards, butcher knives, dirk knives, and all such weapons with which dangerous
   cuts can be given, or with which dangerous thrusts can be inflicted, including
   sword canes, and any kind of sharp pointed canes; as also slung shots, bludgeons
   or any other deadly weapons with which dangerous wounds can be inflicted. . . .

   NEW YORK

   The Colonial Laws Of New York From The Year 1664 To The Revolution,
   Including The Charters To The Duke Of York, The Commissions And Instructions
                                            49
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 189
                                                               PageID.11684
                                                                  of 230 PageID
                                                                              Page
                                                                                #:515
                                                                                   188 of
                                          229



   To Colonial Governors, The Dukes Laws, The Laws Of The Dongan And Leisler
   Assemblies, The Charters Of Albany And New York And The Acts Of The
   Colonial Legislatures From 1691 To 1775 Inclusive Page 687, Image 689 (1894)
   available at The Making of Modern Law: Primary Sources.
   Race and Slavery Based | New York | 1664
   Laws of the Colony of New York. And be it further enacted by the authority
   aforesaid that it shall not be lawful for any slave or slave to have or use any gun,
   pistol, sword, club or any other kind of weapon whatsoever, but in the presence or
   by the direction of his her or their Master or Mistress, and in their own ground on
   Penalty of being whipped for the same at the discretion of the Justice of the Peace
   before whom such complaint shall come or upon the view of the said justice not
   exceeding twenty lashes on the bare back for every such offense.

   George S. Diossy, The Statute Law of the State of New York: Comprising the
   Revised Statutes and All Other Laws of General Interest, in Force January 1, 1881,
   Arranged Alphabetically According to Subjects Page 321, Image 324 (Vol. 1,
   1881) available at The Making of Modern Law: Primary Sources.
   Carrying Weapons | New York | 1881
   Offenses Against Public Decency; Malicious Mischief, and Other Crimes not
   Before Enumerated, Concealed Weapons, § 9.
   Every person who shall within this state use, or attempt to use, or with intent to use
   against any other person, shall knowingly and secretly conceal on his person, or
   with like intent shall willfully and furtively possess any instrument or weapon of
   the kind commonly known as a slung-shot, billy, sand club or metal knuckles, and
   any dirk shall be deemed guilty of felony, and on conviction thereof may be
   punished by imprisonment in the state prison, or penitentiary or county jail, for a
   term not more than one year, or by a fine not exceeding five hundred dollars, or by
   both such fine and imprisonment.

   George R. Donnan, Annotated Code of Criminal Procedure and Penal Code of the
   State of New York as Amended 1882-5 Page 172, Image 699 (1885) available at
   The Making of Modern Law: Primary Sources.
   Carrying, Using, Etc., Certain Weapons, § 410.
   A person who attempts to use against another, or who, with intent so to use,
   carries, conceals or possesses any instrument or weapon of the kind commonly
   known as the slung-shot, billy, sand –club or metal knuckles, or a dagger, dirk or
   dangerous knife, is guilty of a felony. Any person under the age of eighteen years
   who shall have, carry or have in his possession in any public street, highway or
   place in any city of this state, without a written license from a police magistrate of
   such city, any pistol or other fire-arm of any kind, shall be guilty of a
                                             50
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 190
                                                               PageID.11685
                                                                  of 230 PageID
                                                                              Page
                                                                                #:516
                                                                                   189 of
                                          229



   misdemeanor. This section shall not apply to the regular and ordinary
   transportation of fire-arms as merchandise, or for use without the city limits. § 411.
   Possession, Presumptive Evidence. The possession, by any person other than a
   public officer, of any of the weapons specified in the last section, concealed or
   furtively carried on the person, is presumptive evidence of carrying, or concealing,
   or possessing, with intent to use the same in violation of that section.

   Charter and Ordinances of the City of Syracuse: Together with the Rules of the
   Common Council, the Rules and Regulations of the Police and Fire Departments,
   and the Civil Service Regulations Page 215, Image 216 (1885) available at The
   Making of Modern Law: Primary Sources.
   [Offenses Against the Public Peace and Quiet,] § 7.
   Any person who shall carry about his or her person any dirk, bowie knife, sword or
   spear cane, pistol, revolver, slung shot, jimmy, brass knuckles, or other deadly or
   unlawful weapon, or shall use any deadly or unlawful weapon, with intent to do
   bodily harm to any person, shall be subject to a fine of not less than twenty-five
   nor more than one hundred dollars, or to imprisonment in the penitentiary of the
   county for not less than thirty days nor longer than three months, or to both such
   fine and imprisonment.

   Montgomery Hunt Throop, The Revised Statutes of the State of New York; As
   Altered by Subsequent Legislation; Together with the Other Statutory Provisions
   of a General and Permanent Nature Now in Force, Passed from the Year 1778 to
   the Close of the Session of the Legislature of 1881, Arranged in Connection with
   the Same or kindred Subjects in the Revised Statutes; To Which are Added
   References to Judicial Decisions upon the Provisions Contained in the Text,
   Explanatory Notes, and a Full and Complete Index Page 2512, Image 677 (Vol. 3,
   1882) available at The Making of Modern Law: Primary Sources.
   Carrying Weapons | New York | 1866
   An Act to Prevent the Furtive Possession and use of slung-shot and other
   dangerous weapons. Ch. 716, § 1.
   Every person who shall within this state use, or attempt to use or with intent to use
   against any other person shall knowingly and secretly conceal on his person, or
   with like intent shall willfully and furtively possess any possess any instrument or
   weapon of the kind commonly known as slung-shot, billy, sand club or metal
   knuckles, and any dirk or dagger (not contained as a blade of a pocket knife), or
   sword-cane or air-gun shall be deemed guilty of felony, and on conviction thereof
   be punished by imprisonment in the state prison, or penitentiary or county jail, for
   a term not more than one year, or by a fine not exceeding five hundred dollars, or
   by both such fine and imprisonment. § 2. The having possession of any of the
                                            51
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 191
                                                               PageID.11686
                                                                  of 230 PageID
                                                                              Page
                                                                                #:517
                                                                                   190 of
                                          229



   weapons mentioned in the first section of this act by any other than a public
   officer, willfully and secretly concealed on the person or knowingly and furtively
   carried thereon, shall be presumptive evidence of so concealing and possessing or
   carrying the same with the intent to use the same in violation of the provisions of
   this act.

   1900 N.Y. Laws 459, An Act to Amend Section Four Hundred and Nine of the
   Penal Code, Relative to Dangerous Weapons, ch. 222, § 1.
   Possession by, Use of, and Sales to Minors and Others Deemed Irresponsible |
   New York | 1900
   Making, et cetera, dangerous weapons. – A person who manufactures, or causes to
   be manufactured, or sells or keeps for sale, or offers, or gives, or disposes of any
   instrument or weapon of the kind usually known as slunghsot, billy, sand-club or
   metal knuckes, or who, in any city or incorporated village in this state, without the
   written consent of the police magistrate, sells or gives any pisol or other firearm, to
   any person under the age of eighteen years or without a like consent sells or gives
   away any air-gun, or spring-gun, or other instrument or weapon in which the
   propelling force is a spring or air to any person under ht age of twelve years, or
   who sells or gives away any instrument or weapon commonly known as a toy
   pistol, in or upon which any loaded or blank cartridges are used or may be used, to
   any person under the age of sixteen years, is guilty of a misdemeanor.

   1911 N.Y. Laws 442, An Act to Amend the Penal Law, in Relation to the Sale and
   Carrying of Dangerous Weapons. ch. 195, § 1.
   Possession by, Use of, and Sales to Minors and Others Deemed Irresponsible |
   New York | 1911
   Section[] eighteen hundred and ninety-six . . . [is] hereby amended . . . § 1896.
   Making and disposing of dangerous weapons. A person who manufactures, or
   causes to be manufactured, or sells or keeps for sale, or offers, or gives, or disposes
   of any instrument or weapon of the kind usually known as a blackjack, slungshot,
   billy, sandclub, sandbag, bludgeon, or metal knuckles, to any person; or a person
   who offers, sells, loans, leases or gives any gun, revolver, pistol or other firearm or
   any airgun, spring-gun or other instrument or weapon in which the propelling force
   is a spring or air or any instrument or weapon commonly known as a toy pistol or
   in or upon which any loaded or blank cartridges are used, or may be used, or any
   loaded or blank cartridges or ammunition therefor, to any person under the age of
   sixteen years, is guilty of a misdemeanor.




                                             52
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 192
                                                               PageID.11687
                                                                  of 230 PageID
                                                                              Page
                                                                                #:518
                                                                                   191 of
                                          229



   1911 N.Y. Laws 442-43, An Act to Amend the Penal Law, in Relation to the Sale
   and Carrying of Dangerous Weapons. ch. 195, § 1.
   Section . . . eighteen hundred and ninety-seven . . . [is] hereby amended to read as
   follows: § 1897. Carrying and use of dangerous weapons. A person who attempts
   to use against another, or who carries, or possesses any instrument or weapon of
   the kind commonly known as a blackjack, slunghsot, billy, sandclub, sandbag,
   metal knuckles or bludgeon, or who with intent to use the same unlawfully against
   another, carries or possesses a dagger, dirk, dangerous knife, razor, stiletto, or any
   other dangerous or deadly instrument or weapon, is guilty of a felony. Any person
   under the age of sixteen years, who shall have, carry, or have in his possession, any
   of the articles named or described in the last section, which is forbidden therein to
   offer, sell, loan, lease or give to him, shall be guilty of a misdemeanor. . . . Any
   person over the age of sixteen years, who shall have or carry concealed upon his
   person in any city, village, or town of this state, any pistol, revolver, or other
   firearm without a written license therefor, theretofore issued to him by a police
   magistrate of such city or village, or by a justice of the peace of such town, or in
   such manner as may be prescribed by ordinance of such city, village or town, shall
   be guilty of a felony.

   1913 N.Y. Laws 1627-30, vol. III, ch. 608, § 1, Carrying and Use of Dangerous
   Weapons
   Carrying Weapons, Dangerous or Unusual Weapons | New York | 1913
   § 1. A person who attempts to use against another, or who carries or possesses, any
   instrument or weapon of the kind commonly known as a blackjack, slungshot,
   billy, sandclub, sandbag, metal knuckles, bludgeon, bomb or bombshell, or who,
   with intent to use the same unlawfully against another, carries or possesses a
   dagger, dirk, dangerous knife, razor, stiletto, or any other dangerous or deadly
   instruments or weapon, is guilty of a felony.

   1931 N.Y. Laws 1033, An Act to Amend the Penal Law in Relation to Carrying
   and Use of Glass Pistols, ch. 435, § 1.
   Dangerous or Unusual Weapons | New York | 1931
   A person who attempts to use against another an imitation pistol, or who carries or
   possesses any instrument or weapon of the kind commonly known as a black-jack,
   slungshot, billy, sand club, sandbag, metal knuckles, bludgeon, or who, with intent
   to use the same unlawfully against another, carries or possesses a dagger, dirk,
   dangerous knife, razor, stiletto, imitation pistol, machine gun, sawed off shot-gun,
   or any other dangerous or deadly instrument, or weapon is guilty of a
   misdemeanor, and if he has been previously convicted of any crime he is guilty of
   a felony.
                                            53
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 193
                                                               PageID.11688
                                                                  of 230 PageID
                                                                              Page
                                                                                #:519
                                                                                   192 of
                                          229




   NORTH CAROLINA

   North Carolina: N.C. Sess. Laws (1879) chap. 127, as codified in North Carolina
   Code, Crim. Code, chap. 25 (1883) § 1005, Concealed weapons, the carrying or
   unlawfully, a misdemeanor.
   If any one, except when on his own premises, shall carry concealed about his
   person any pistol, bowie knife, dirk, dagger, slungshot, loaded case, brass, iron or
   metallic knuckes or razor or other deadly weapon or like kind, he shall be guilty of
   a misdemeanor, and be fined or imprisoned at the discretion of the court. And if
   anyone not being on his own lands, shall have about his person any such deadly
   weapon, such possession shall be prima facie evidence of the concealment thereof.
   ..

   NORTH DAKOTA

   1895 N.D. Rev. Codes 1293, Penal Code, Crimes Against the Public Health and
   Safety, ch. 40, §§ 7312-13.
   § 7312. Carrying or using slung shot. Every person who carries upon his person,
   whether concealed or not, or uses or attempts to use against another, any
   instrument or weapon of the kind usually known as slung shot, or of any similar
   kind, is guilty of a felony.
   § 7313. Carrying concealed weapons. Every person who carries concealed about
   his person any description of firearms, being loaded or partly loaded, or any sharp
   or dangerous weapon, such as is usually employed in attack or defense of the
   person, is guilty of a misdemeanor.

   1915 N.D. Laws 96, An Act to Provide for the Punishment of Any Person Carrying
   Concealed Any Dangerous Weapons or Explosives, or Who Has the Same in His
   Possession, Custody or Control, unless Such Weapon or Explosive Is Carried in
   the Prosecution of a Legitimate and Lawful Purpose, ch. 83, §§ 1-3, 5.
   § 1. Any person other than a public officer, who carries concealed in his clothes
   any instrument or weapon of the kind usually known as a black-jack, slung-shot,
   billy, sand club, sand bag, bludgeon, metal knuckles, or any sharp or dangerous
   weapon usually employed in attack or defense of the person, or any gun, revolver,
   pistol or other dangerous fire arm loaded or unloaded, or any person who carries
   concealed nitro-glycerin, dynamite, or any other dangerous or violent explosive, or
   has the same in his custody, possession or control, shall be guilty of a felony. . . .



                                            54
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 194
                                                               PageID.11689
                                                                  of 230 PageID
                                                                              Page
                                                                                #:520
                                                                                   193 of
                                          229



   OHIO

   1788-1801 Ohio Laws 20, A Law Respecting Crimes and Punishments . . . , ch. 6.
   Sentence Enhancement for Use of Weapon | Ohio | 1788
   Burglary . . . If the person or persons so breaking and entering any dwelling house,
   shop, store or vessel as aforesaid, shall commit, or attempt to commit any personal
   abuse, force, or violence, or shall be so armed with any dangerous weapon or
   weapons as clearly to indicate a violent intention, he, she or they so offending,
   upon conviction thereof, shall moreover, forfeit all his, her or their estate, real and
   personal, to this territory, out of which the party injured shall be recompensed as
   aforesaid, and the offender shall also be committed to any gaol [jail] in the territory
   for a term not exceeding forty years.

   1859 Ohio Laws 56, An Act to Prohibit the Carrying or Wearing of Concealed
   Weapons, § 1.
   Carrying Weapons | Ohio | 1859
   [W]hoever shall carry a weapon or weapons, concealed on or about his person,
   such as a pistol, bowie knife, dirk, or any other dangerous weapon, shall be
   deemed guilty of a misdemeanor, and on conviction of the first offense shall be
   fined not exceeding two hundred dollars, or imprisoned in the county jail not more
   than thirty days; and for the second offense, not exceeding five hundred dollars, or
   imprisoned in the county jail not more than three months, or both, at the discretion
   of the court.

   Joseph Rockwell Swan, The Revised Statutes of the State of Ohio, of a General
   Nature, in Force August 1, 1860. With Notes of the Decisions of the Supreme
   Court Page 452, Image 464 (1860) available at The Making of Modern Law:
   Primary Sources.
   Carrying Weapons | Ohio | 1859
   An Act to Prohibit the Carrying or Wearing of Concealed Weapons, §§ 1-2.
   § 1. Be it enacted by the General Assembly of the State of Ohio, that whoever shall
   carry a weapon or weapons, concealed on or about his person, such as a pistol,
   bowie knife, dirk, or any other dangerous weapon, shall be deemed guilty of a
   misdemeanor, and on conviction of the first offense shall be fined not exceeding
   two hundred dollars, or imprisoned in the county jail not more than thirty days; and
   for the second offense, not exceeding five hundred dollars, or imprisoned in the
   county jail not more than three months, or both, at the discretion of the court. Sec.
   § 2. If it shall be proved to the jury, from the testimony on the trial of any case
   presented under the [section of this act banning the carrying of concealed
   weapons], that the accused was, at the time of carrying any of the weapon or
                                             55
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 195
                                                               PageID.11690
                                                                  of 230 PageID
                                                                              Page
                                                                                #:521
                                                                                   194 of
                                          229



   weapons aforesaid, engaged in the pursuit of any lawful business, calling, or
   employment, and that the circumstances in which he was placed at the time
   aforesaid were such as to justify a prudent man in carrying the weapon or weapons
   aforesaid for the defense of his person, property or family, the jury shall acquit the
   accused.

   Michael Augustus Daugherty, The Revised Statutes and Other Acts of a General
   Nature of the State of Ohio: In Force January 1, 1880 Page 1633, Image 431 (Vol.
   2, 1879) available at The Making of Modern Law: Primary Sources.
   Carrying Weapons | Ohio | 1880
   Offences Against Public Peace, § 6892.
   Whoever carries any pistol, bowie-knife, dirk, or other dangerous weapon,
   concealed on or about his person, shall be fined not more than two hundred dollars,
   or imprisoned not more than five hundred dollars, or imprisoned not more than
   three months, or both.

   OKLAHOMA

   1890 Okla. Laws 495, art. 47
   Brandishing, Carrying Weapons, Hunting, Possession by, Use of, and Sales to
   Minors and Others Deemed Irresponsible | Oklahoma | 1890
   § 1. It shall be unlawful for any person in the Territory of Oklahoma to carry
   concealed on or about his person, saddle, or saddle bags, any pistol, revolver,
   bowie knife, dirk, dagger, slung-shot, sword cane, spear, metal knuckles, or any
   other kind of knife or instrument manufactured or sold for the purpose of defense
   except as in this article provided.
   § 2. It shall be unlawful for any person in the Territory of Oklahoma, to carry upon
   or about his person any pistol, revolver, bowie knife, dirk knife, loaded cane, billy,
   metal knuckles, or any other offensive or defensive weapon, except as in this
   article provided.
   § 3. It shall be unlawful for any person within this Territory, to sell or give to any
   minor any of the arms or weapons designated in sections one and two of this
   article.
   § 4. Public officers while in the discharge of their duties or while going from their
   homes to their place of duty, or returning therefrom, shall be permitted to carry
   arms, but at no other time and under to other circumstances: Provided, however,
   That if any public officer be found carrying such arms while under the influence of
   intoxicating drinks, he shall be deemed guilty of a violation of this article as
   though he were a private person.


                                             56
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 196
                                                               PageID.11691
                                                                  of 230 PageID
                                                                              Page
                                                                                #:522
                                                                                   195 of
                                          229



   § 5. Persons shall be permitted to carry shot-guns or rifles for the purpose of
   hunting, having them repaired, or for killing animals, or for the purpose of using
   the same in public muster or military drills, or while traveling or removing from
   one place to another, and not otherwise.
   § 7. It shall be unlawful for any person, except a peace officer, to carry into any
   church or religious assembly, any school room or other place where persons are
   assembled for public worship, for amusement, or for educational or scientific
   purposes, or into any circus, show or public exhibition of any kind, or into any ball
   room, or to any social party or social gathering, or to any election, or to any place
   where intoxicating liquors are sold, or to any political convention, or to any other
   public assembly, any of the weapons designated in sections one and two of this
   article.
   § 8. It shall be unlawful for any person in this Territory to carry or wear any deadly
   weapons or dangerous instrument whatsoever, openly or secretly, with the intent or
   for the avowed purpose of injuring his fellow man.
   § 9. It shall be unlawful for any person to point any pistol or any other deadly
   weapon whether loaded or not, at any other person or persons either in anger or
   otherwise.

   1890 Okla. Sess. Laws 475, Crimes Against The Public Health And Safety,
   §§ 18-19.
   § 18. Every person who manufactures or causes to be manufactured, or sells or
   offers or keeps for sale, or gives or disposes of any instrument or weapon of the
   kind usually known as slung shot, or of any similar kind is guilty of a
   misdemeanor.
   § 19. Every person who carries upon his person, whether concealed or not or uses
   or attempts to use against another, any instrument or weapon of the kind usually
   known as slung shot, or of any similar kind, is guilty of a felony.

   General Laws Relating to Incorporated Towns of Indian Territory Page 37, Image
   33 (1890) available at The Making of Modern Law: Primary Sources.
   Carrying Weapons | Oklahoma | 1890
   Revised Ordinances of the Town of Checotah, Ordinance No. 11, § 3.
   To wear or carry any pistol of any kind whatever, or any dirk, butcher knife or
   bowie knife, or a sword, or a spear in a cane, brass or metal knuckles or a razor,
   slung shot, sand bag, or a knife with a blade over three inches long, with a spring
   handle, as a weapon.




                                            57
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 197
                                                               PageID.11692
                                                                  of 230 PageID
                                                                              Page
                                                                                #:523
                                                                                   196 of
                                          229



   Leander G. Pitman, The Statutes of Oklahoma, 1890. (From the Laws Passed by
   the First Legislative Assembly of the Territory) Page 495-496, Image 511-512
   (1891) available at The Making of Modern Law: Primary Sources.
   Carrying Weapons | Oklahoma | 1891
   Concealed Weapons, §§ 1, 2, 4-10.
   § 1. It shall be unlawful for any person in the Territory of Oklahoma to carry
   concealed on or about his person, saddle, or saddle bags, any pistol, revolver,
   bowie knife, dirk, dagger, slung-shot, sword cane, spear, metal knuckles, or any
   other kind of knife or instrument manufactured or sold for the purpose of defense
   except as in this article provided.
   § 2. It shall be unlawful for any person in this territory of Oklahoma, to carry upon
   or about his person any pistol, revolver, bowie knife, dirk knife, loaded cane, billy,
   metal knuckles, or any other offensive or defensive weapon, except as in this
   article provided.
   § 4. Public officers while in the discharge of their duties or while going from their
   homes to their place of duty, or returning therefrom, shall be permitted to carry
   arms, but at no other time and under no other circumstances: Provided, however
   That if any public officer be found carrying such arms while under the influence of
   intoxicating drinks, he shall be deemed guilty of a violation of this article as
   though he were a private person.
   § 5. Persons shall be permitted to carry shot-guns or rifles for the purpose of
   hunting, having them repaired, or for killing animals, or for the purpose of using
   the same in public muster or military drills, or while travelling or removing from
   one place to another, and not otherwise.
   § 6. Any person violating the provisions of any one of the forgoing sections, shall
   on the first conviction be adjudged guilty of a misdemeanor and be punished by a
   fine of not less than twenty-five dollars nor more than fifty dollars, or by
   imprisonment in the county jail not to exceed thirty days or both at the discretion
   of the court. On the second and every subsequent conviction, the party offending
   shall on conviction be fined not less than fifty dollars nor more than two hundred
   and fifty dollars or be imprisoned in the county jail not less than thirty days nor
   more than three months or both, at the discretion of the court.
   § 7. It shall be unlawful for any person, except a peace officer, to carry into any
   church or religious assembly, any school room or other place where persons are
   assembled for public worship, for amusement, or for educational or scientific
   purposes, or into any circus, show or public exhibition of any kind, or into any ball
   room, or to any social party or social gathering, or to any election, or to any place
   where intoxicating liquors are sold, or to any political convention, or to any other
   public assembly, any of the weapons designated in sections one and two of this
   article.
                                             58
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 198
                                                               PageID.11693
                                                                  of 230 PageID
                                                                              Page
                                                                                #:524
                                                                                   197 of
                                          229



   § 8. It shall be unlawful for any person in this territory to carry or wear any deadly
   weapons or dangerous instrument whatsoever, openly or secretly, with the intent or
   for the avowed purpose of injuring his fellow man.
   § 9. It shall be unlawful for any person to point any pistol or any other deadly
   weapon whether loaded or not, at any other person or persons either in anger or
   otherwise.
   § 10. Any person violating the provisions of section seven, eight, or nine of this
   article; shall on conviction, be punished by a fine of not less than fifty dollars, nor
   more than five hundred and shall be imprisoned in the county jail for not less than
   three nor more than twelve months.

   Wilson's Rev. & Ann. St. Okla.(1903) § 583, c. 25.
   It shall be unlawful for any person in the territory of Oklahoma to carry concealed
   on or about his person, saddle, or saddle bags, any pistol, revolver, bowie knife,
   dirk, dagger, slung-shot, sword cane, spear, metal knuckles, or any other kind of
   knife or instrument manufactured or sold for the purpose of defense except as in
   this article provided.

   OREGON

   1885 Or. Laws 33, An Act to Prevent Persons from Carrying Concealed Weapons
   and to Provide for the Punishment of the Same, §§ 1-2.
   § 1. It shall be unlawful for any person to carry concealed about his person in any
   manner whatever any revolver, pistol, or other fire-arm, or any knife (other than an
   ordinary pocket knife), or any dirk or dagger, slung-shot or metal knuckles, or any
   instrument by the use of which injury could be inflicted upon the person or
   property of any other person.
   § 2. Any person violating any of the provisions of section one of this act shall be
   deemed guilty of a misdemeanor, and, upon conviction thereof, shall be punished
   by a fine of not less than ten dollars nor more than two hundred dollars, or by
   imprisonment in the county jail not less than five days nor more than one hundred
   days, or by both fine and imprisonment, in the discretion of the court.

   Laws of Oregon (1885), An Act to Prevent Persons from Carrying Concealed
   Weapons, § 1-4, p. 33, as codified in Ore. Code, chap. 8 (1892) § 1969.
   It shall be unlawful for any person to carry concealed about his person in any
   manner whatever any revolver, pistol, or other fire-arm, or any knife (other than an
   ordinary pocket knife), or any dirk or dagger, slung-shot or metal knuckles, or any
   instrument by the use of which injury could be inflicted upon the person or
   property of any other person.
                                             59
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 199
                                                               PageID.11694
                                                                  of 230 PageID
                                                                              Page
                                                                                #:525
                                                                                   198 of
                                          229




   The Charter of Oregon City, Oregon, Together with the Ordinances and Rules of
   Order Page 259, Image 261 (1898) available at The Making of Modern Law:
   Primary Sources.
   Carrying Weapons | Oregon | 1898
   An Ordinance Providing for the Punishment of Disorderly Persons, and Keepers
   and Owners of Disorderly Houses, § 2.
   It shall be unlawful for any person to carry any sling shot, billy, dirk, pistol or any
   concealed deadly weapon or to discharge any firearms, air gun, sparrow gun,
   flipper or bean shooter within the corporate limits of the city, unless in self-
   defense, in protection of property or an officer in the discharge of his duty;
   provided, however, permission may be granted by the mayor to any person to carry
   a pistol or revolver when upon proper representation it appears to him necessary or
   prudent to grant such permission.

   1917 Or. Sess. Laws 804-808, An Act Prohibiting the manufacture, sale,
   possession, carrying, or use of any blackjack, slungshot, billy, sandclub, sandbag,
   metal knuckles, dirk, dagger or stiletto, and regulating the carrying and sale of
   certain firearms, and defining the duties of certain executive officers, and
   providing penalties for violation of the provisions of this Act, §§ 7-8.
   Carrying Weapons | Oregon | 1917
   § 7. Any person who attempts to use, or who with intent to use the same
   unlawfully against another, carries or possesses a dagger, dirk, dangerous knife,
   razor, stiletto, or any loaded pistol, revolver or other firearm, or any instrument or
   weapon of the kind commonly known as a blackjack, slung-shot, billy, sandclub,
   sandbag, metal knuckles, bomb or bomb-shell, or any other dangerous or deadly
   weapon or instrument, is guilty of a felony. The carrying or possession of any of
   the weapons specified in this section by any person while committing, or
   attempting or threatening to commit a felony, or a breach of the peace, or any act
   of violence against the person or property of another, shall be presumptive
   evidence of carrying or possessing such weapon with intent to use the same in
   violation of this section.
   Any person who violates the provisions of this section shall be deemed guilty of a
   felony, and upon conviction thereof shall be punished by a fine of not less than
   $50.00 nor more than $500.00, or by imprisonment in the county jail for not less
   than one month nor more than six months, or by imprisonment in the penitentiary
   for not exceeding five years.
   § 8. Whenever any person shall be arrested and it shall be discovered that such
   person possesses or carries or has possessed or carried upon his person any loaded
   pistol, revolver or other firearm, or any weapon named or enumerated in Section 7
                                             60
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 200
                                                               PageID.11695
                                                                  of 230 PageID
                                                                              Page
                                                                                #:526
                                                                                   199 of
                                          229



   of this Act, in violation of any of the sections of this Act, it shall be the duty of the
   person making the arrest to forthwith lay an information for a violation of said
   section or sections against the person arrested before the nearest or most accessible
   magistrate having jurisdiction of the offense, and such magistrate must entertain
   and examine such information and act thereon in the manner prescribed by law.
   Section 11. Any person not a citizen of the United States of America, who shall be
   convicted of carrying a deadly weapon, as described in Sections 1, 2 and 7 of this
   Act, shall be guilty of a felony and on conviction thereof shall be punished by
   imprisonment in the State prison for a period not exceeding five years.

   PENNSYLVANIA

   1851 Pa. Laws 382, An Act Authorizing Francis Patrick Kenrick, Bishop Of
   Philadelphia, To Convey Certain Real Estate In The Borough Of York, And A
   supplement To The Charter Of Said Borough, § 4.
   That any person who shall willfully and maliciously carry any pistol, gun, dirk
   knife, slung shot, or deadly weapon in said borough of York ,shall be deemed
   guilty of a felon, and being thereof convicted shall be sentenced to undergo an
   imprisonment at hard labor for a term not less than 6 months nor more than one
   year and shall give security for future good behavior for such sum and for such
   time as the court before whom such conviction shall take place may fix . . . .

   Laws of the City of Johnstown, Pa., Embracing City Charter, Act of Assembly of
   May 23, 1889, for the Government of Cities of the Third Class, General and
   Special Ordinances, Rules of Select and Common Councils and Joint Sessions
   Page 86, Image 86 (1897) available at The Making of Modern Law: Primary
   Sources.
   Carrying Weapons | Pennsylvania | 1897
   An Ordinance for the Security of Persons and Property of the Inhabitants of the
   City of Johnstown; The preservation of the Public Peace and Good Order of the
   City, and Prescribing Penalties for Offenses Against the Same, § 12.
   No person shall willfully carry concealed upon his or her person any pistol, razor,
   dirk or bowie-knife, black jack, or handy billy, or other deadly weapon, and any
   person convicted of such offense shall pay a fine of not less than five dollars or
   more than fifty dollars with costs.

   RHODE ISLAND

   1893 R.I. Pub. Laws 231, An Act Prohibiting The Carrying Of Concealed
   Weapons, chap. 1180, § 1.
                                              61
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 201
                                                               PageID.11696
                                                                  of 230 PageID
                                                                              Page
                                                                                #:527
                                                                                   200 of
                                          229



   No person shall wear or carry in this state any dirk, bowie knife, butcher knife,
   dagger, razor, sword in cane, air gun, billy, brass or metal knuckles, slung shot,
   pistol or fire arms of any description, or other weapons of like kind and description
   concealed upon his persons . . . [additional fine provided if intoxicated while
   concealed carrying].

   1893 R.I. Pub. Laws 231, An Act Prohibiting The Carrying Of Concealed
   Weapons, chap. 1180, §§1-3.
   Carrying Weapons, Sentence Enhancement for Use of Weapon | Rhode Island |
   1893
   § 1. No person shall wear or carry in this state any dirk, bowie knife, butcher knife,
   dagger, razor, sword in cane, air gun, billy, brass or metal knuckles, slung shot,
   pistol or fire arms of any description, or other weapons of like kind and description
   concealed upon his person: Provided, that officers or watchmen whose duties
   require them to make arrests or to keep and guard prisoners or property, together
   with the persons summoned by such officers to aid them in the discharge of such
   duties, while actually engaged in such duties, are exempted from the provisions of
   this act.
   § 2. Any person convicted of a violation of the provisions of section 1 shall be
   fined not less than twenty dollars nor more than two hundred dollars, or be
   imprisoned not less than six months nor more than one year.
   § 3. Whenever any person shall be arrested charged with any crime or
   misdemeanor, or for being drunk or disorderly, or for any breach of the peace, and
   shall have concealed upon his person any of the weapons mentioned in section 1,
   such person, upon complaint and conviction , in addition to the penalties provided
   in section 2, shall be subject to a fine of not less than five dollars nor more than
   twenty five dollars, and the confiscation of the weapon so found.

   General Laws of the State of Rhode Island and Providence Plantations to Which
   are Prefixed the Constitutions of the United States and of the State Page 1010-
   1011, Image 1026-1027 (1896) available at The Making of Modern Law: Primary
   Sources.
   Carrying Weapons | Rhode Island | 1896
   Offences Against Public Policy, §§ 23, 24, 26.
   § 23. No person shall wear or carry in this state any dirk, bowie-knife, butcher
   knife, dagger, razor, sword-in-cane, air-gun, billy, brass or metal knuckles, slung-
   shot, pistol or fire-arms of any description, or other weapons of like kind and
   description concealed upon his person: provided, that officers or watchmen whose
   duties require them to make arrests or to keep and guard prisoners or property,
   together with the persons summoned by such officers to aid them in the discharge
                                            62
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 202
                                                               PageID.11697
                                                                  of 230 PageID
                                                                              Page
                                                                                #:528
                                                                                   201 of
                                          229



   of such duties, while actually engaged in such duties, are exempted from the
   provisions of this and the two following sections.
   § 24. Any person convicted of a violation of the provisions of the preceding section
   shall be fined not less than ten nor more than twenty dollars, or be imprisoned not
   exceeding three months, and the weapon so found concealed shall be confiscated
   ....
   § 26. No negative allegations of any kind need be averred or proved in any
   complaint under the preceding three sections, and the wearing or carrying of such
   concealed weapons or weapons shall be evidence that the wearing or carrying of
   the same is unlawful; but the respondent in any such case my show any fact that
   would render the carrying of the same lawful under said sections.

   1908 (January Session) R.I. Pub. Laws 145, An Act in Amendment of section 23
   of chapter 283 of the General Laws
   Carrying Weapons | Rhode Island | 1908
   § 23. No person shall wear or carry in this state any dirk, dagger, razor, sword-in-
   cane, bowie knife, butcher knife, or knife of any description having a blade of
   more than three inches in length, measuring from the end of the handle, where the
   blade is attached to the end of said blade, any air gun, billy, brass or metal
   knuckles, slung-shot, pistol or firearms of any description, or other weapons of like
   kind and description, concealed upon his person: Provided, that officers or
   watchmen whose duties require them to arrest or to keep and guard prisoners or
   property, together with the persons summoned by such officers to aid them in the
   discharge of such duties, while actually engaged in such duties, are exempted from
   the provision of this and the two other following sections.

   SOUTH CAROLINA

   1880 S.C. Acts 448, § 1, as codified in S.C. Rev. Stat. (1894). § 129 (2472.)
   § 1. Be it enacted by the Senate and House of Representatives of the State of South
   Carolina, not met and sitting in General Assembly, and by the authority of the
   same, That any person carrying a pistol , dirk, dagger, slung shot, metal knuckles,
   razor, or other deadly weapon usually used for the infliction of personal injury,
   concealed about his person shall be guilty of a misdemeanor and upon conviction
   thereof, before a Court of competent jurisdiction shall forfeit to the County the
   weapon so carried concealed and be fined in a sum not more than two hundred
   dollars, or imprisoned for not more than twelve months, or both, in the discretion
   of the Court.



                                            63
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 203
                                                               PageID.11698
                                                                  of 230 PageID
                                                                              Page
                                                                                #:529
                                                                                   202 of
                                          229



   § 2. It shall be the duty of every Trial Justice, Sheriff, Constable, or other peace
   officer, to cause all persons violating this Act to be prosecuted therefor whenever
   they shall discover a violation hereof.

   1923 S.C. Acts 221
   If any person shall knowingly sell, offer for sale, give, or in any way dispose of to
   a minor any pistol or pistol cartridge, brass knucks, bowie knife, dirk, loaded cane
   or sling shot, he shall be guilty of a misdemeanor. Any person being the parent or
   guardian, of or attending in loco parentis to any child under the age of twelve years
   who shall knowingly permit such child to have the possession or custody of, or use
   in any manner whatever any gun, pistol, or other dangerous firearm, whether such
   firearm be loaded or unloaded, or any person who shall knowingly furnish such
   child any firearm, shall be guilty of a misdemeanor, and, upon conviction, shall be
   fined not exceeding Fifty Dollars or imprisoned not exceeding thirty days.

   SOUTH DAKOTA

   S.D. Terr. Pen. Code (1877), § 457 as codified in S.D. Rev. Code, Penal Code
   (1903), §§ 470-471.
   § 470. Every person who carries upon his person, whether concealed or not, or uses
   or attempt to use against another, any instrument or weapon of the kind usually
   known as slung shot, or of any similar kind, is guilty of a felony.
   § 471. Every person who carries concealed about his person any description of
   firearms, being loaded or partly loaded, or any sharp or dangerous weapons, such
   as is usually employed in attack or defense of the person, is guilty of a
   misdemeanor.

   S.D. Rev. Code, Penal Code 1150 (1903) §§ 470, 471
   § 470. Every person who carries upon his person, whether concealed or not, or uses
   or attempt to use against another, any instrument or weapon of the kind usually
   known as slung shot, or of any similar kind, is guilty of a felony.
   § 471. Every person who carries concealed about his person any description of
   firearms, being loaded or partly loaded, or any sharp or dangerous weapons, such
   as is usually employed in attack or defense of the person, is guilty of a
   misdemeanor.




                                            64
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 204
                                                               PageID.11699
                                                                  of 230 PageID
                                                                              Page
                                                                                #:530
                                                                                   203 of
                                          229



   TENNESSEE

   1837-38 Tenn. Pub. Acts 200-01, An Act to Suppress the Sale and Use of Bowie
   Knives and Arkansas Tooth Picks in this State, ch 137, § 2.
   That if any person shall wear any Bowie knife, Arkansas tooth pick, or other knife
   or weapon that shall in form, shape or size resemble a Bowie knife or Arkansas
   toothpick under his clothes, or keep the same concealed about his person, such
   person shall be guilty of a misdemeanor, and upon conviction thereof shall be fined
   in a sum not less than two hundred dollars, nor more than five hundred dollars, and
   shall be imprisoned in the county jail not less than three months and not more than
   six months.

   1837-1838 Tenn. Pub. Acts 200, An Act to Suppress the Sale and Use of Bowie
   Knives and Arkansas Tooth Picks in this State, ch. 137, § 1.
   That if any merchant, . . . shall sell, or offer to sell . . . any Bowie knife or knives,
   or Arkansas tooth picks . . . such merchant shall be guilty of a misdemeanor, and
   upon conviction thereof upon indictment or presentment, shall be fined in a sum
   not less than one hundred dollars, nor more than five hundred dollars, and shall be
   imprisoned in the county jail for a period not less than one month nor more than
   six months.

   1837-1838 Tenn. Pub. Acts 201, An Act to Suppress the Sale and Use of Bowie
   Knives and Arkansas Tooth Picks in the State, ch. 137, § 4.
   That if any person carrying any knife or weapon known as a Bowie knife,
   Arkansas tooth pick, or any knife or weapon that shall in form, shape or size
   resemble a Bowie knife, on a sudden rencounter [sic], shall cut or stab another
   person with such knife or weapon, whether death ensues or not, such person so
   stabbing or cutting shall be guilty of a felony, and upon conviction thereof shall be
   confined in the jail and penitentiary house of this state, for a period of time not less
   than three years, nor more than fifteen years.

   Seymour Dwight Thompson, A Compilation of the Statute Laws of the State of
   Tennessee, of a General and Permanent Nature, Compiled on the Basis of the Code
   of Tennessee, With Notes and References, Including Acts of Session of 1870-1871
   Page 125, Image 794 (Vol. 2, 1873) available at The Making of Modern Law:
   Primary Sources. [1856]
   Offences Against Public Policy and Economy. § 4864.
   Any person who sells, loans, or gives, to any minor a pistol, bowie-knife, dirk,
   Arkansas tooth-pick, hunter’s knife, or like dangerous weapon, except a gun for
   hunting or weapon for defense in traveling, is guilty of a misdemeanor, and shall
                                              65
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 205
                                                               PageID.11700
                                                                  of 230 PageID
                                                                              Page
                                                                                #:531
                                                                                   204 of
                                          229



   be fined not less than twenty-five dollars, and be imprisoned in the county jail at
   the discretion of the court.

   William H. Bridges, Digest of the Charters and Ordinances of the City of
   Memphis, Together with the Acts of the Legislature Relating to the City, with an
   Appendix Page 190, Image 191 (1863) available at The Making of Modern Law:
   Primary Sources.
   Offences Affecting Public Safety: Carrying Concealed Weapons, § 3.
   It shall not be lawful for any person or persons to carry concealed about his or their
   persons any pistol, Bowie-knife, dirk, or any other deadly weapon; and any person
   so offending, shall upon conviction thereof before the Recorder, be fined not less
   than ten nor more than fifty dollars for each and every offence.

   William H. Bridges, Digest of the Charters and Ordinances of the City of
   Memphis, from 1826 to 1867, Inclusive, Together with the Acts of the Legislature
   Relating to the City, with an Appendix Page 44, Image 44 (1867) available at The
   Making of Modern Law: Primary Sources.
   Police Regulations Of The State, Offences Against Public Peace, §§ 4746, 4747,
   4753, 4757.
   § 4746. Any person who carries under his clothes or concealed about his person, a
   bowie-knife, Arkansas tooth-pick or other knife or weapon of like form and shape
   or size, is guilty of a misdemeanor.
   § 4747. It is a misdemeanor to sell, or offer to sell, or to bring into the State for the
   purpose of selling, giving away or otherwise disposing of any knife or weapon
   mentioned in the preceding section.
   § 4753. No person shall ride or go armed to the terror of the people, or privately
   carry any dirk, large knife, pistol or any dangerous weapon, to the fear or terror of
   any person.
   § 4757. No person shall either publicly or privately carry a dirk, sword-cane,
   Spanish stiletto, belt or pocket pistol, except a knife, conspicuously on the strap of
   a shot-pouch, or on a journey to a place out of his county or State.

   William H. Bridges, Digest of the Charters and Ordinances of the City of
   Memphis, from 1826 to 1867, Inclusive, Together with the Acts of the Legislature
   Relating to the City, with an Appendix Page 50, Image 50 (1867) available at The
   Making of Modern Law: Primary Sources.
   Police Regulations of the State. Selling Liquors or Weapons to Minors. § 4864.
   Any person who sells, loans or gives to any minor a pistol, bowie-knife, dirk,
   Arkansas toothpick, hunter’s knife, or like dangerous weapon, except a gun for
   hunting or weapon for defense in traveling, is guilty of a misdemeanor and shall be
                                              66
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     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 206
                                                               PageID.11701
                                                                  of 230 PageID
                                                                              Page
                                                                                #:532
                                                                                   205 of
                                          229



   fined not less than twenty-five dollars, and imprisoned in the county jail at the
   discretion of the court.

   William H. Bridges, Digest of the Charters and Ordinances of the City of
   Memphis, from 1826 to 1867, Inclusive, Together with the Acts of the Legislature
   Relating to the City, with an Appendix Page 44, Image 44 (1867) available at The
   Making of Modern Law: Primary Sources.
   Police Regulations Of the State. Offences Against Public Peace. Concealed
   Weapons. §§ 4746-4747.
   § 4746. Any person who carries under his clothes or concealed about his person, a
   bowie-knife, Arkansas tooth-pick or other knife or weapon of like form and shape
   or size, is guilty of a misdemeanor. Selling such weapons misdemeanor.
   § 4747. It is a misdemeanor to sell, or offer to sell, or to bring into the state for the
   purpose of selling, giving away or otherwise disposing of any knife or weapon
   mentioned in the preceding Section.

   James H. Shankland Public Statutes of the State of Tennessee, since the Year 1858.
   Being in the Nature of a Supplement to the Code Page 108, Image 203 (Nashville,
   1871) available at The Making of Modern Law: Primary Sources.
   Elections.
   § 2. That it shall not be lawful for any qualified voter or other person attending any
   election in this State, or for any person attending any fair, race course, or other
   public assembly of the people, to carry about his person, concealed or otherwise,
   any pistol, dirk, Bowie-knife, Arkansas toothpick, or weapon in form, shape, or
   size resembling a Bowie knife or Arkansas tooth-pick, or other deadly or
   dangerous weapon.
   § 3. That all persons convicted under the second section of this act shall be
   punished by fine of not less than fifty dollars, and by imprisonment, or both, at the
   discretion of the court.

   Tenn. Pub. Acts (1879), chap. 186, as codified in Tenn. Code (1884). 5533: It shall
   not be lawful for any person to carry, publicly or privately, any dirk, razor
   concealed about his person, sword cane, loaded cane, slung-shot or brass knucks,
   Spanish stiletto, belt or pocket pistol, revolver, or any kind of pistol, except the
   army or navy pistol used in warfare, which shall be carried openly in hand.




                                              67
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 207
                                                               PageID.11702
                                                                  of 230 PageID
                                                                              Page
                                                                                #:533
                                                                                   206 of
                                          229



   William King McAlister Jr., Ordinances of the City of Nashville, to Which are
   Prefixed the State Laws Chartering and Relating to the City, with an Appendix
   Page 340-341, Image 345-346 (1881) available at The Making of Modern Law:
   Primary Sources.
   Ordinances of the City of Nashville, Carrying Pistols, Bowie-Knives, Etc., § 1.
   That every person found carrying a pistol, bowie-knife, dirk-knife, slung-shot,
   brass knucks or other deadly weapon, shall be deemed guilty of a misdemeanor,
   and, upon conviction of such first offense, shall be fined form ten to fifty dollars, at
   the discretion of the court, but upon conviction of every such subsequent offense,
   shall be fined fifty dollars; Provided, however, that no ordinary pocket knife and
   common walking-canes shall be construed to be deadly weapons.

   Claude Waller, Digest of the Ordinances of the City of Nashville, to Which are
   Prefixed the State Laws Incorporating, and Relating to, the City, with an Appendix
   Containing Various Grants and Franchises Page 364-365, Image 372-373 (1893)
   available at The Making of Modern Law: Primary Sources.
   Ordinances of the City of Nashville, § 738.
   Every person found carrying a pistol, bowie-knife, dirk-knife, slung-shot, brass
   knucks, or other deadly weapon, shall be deemed guilty of a misdemeanor, and,
   upon conviction of such first offense, shall be fined from ten to fifty dollars, at the
   discretion of the court; but, upon conviction of every subsequent offense, shall be
   fined fifty dollars; Provided, however, That no ordinary pocket-knife and common
   walking canes shall be construed to be deadly weapons. . .

   TEXAS

   1871 Tex. Laws 25, An Act to Regulate the Keeping and Bearing of Deadly
   Weapons.
   § 1. Be it enacted by the Legislature of the State of Texas, That any person carrying
   on or about his person, saddle, or in his saddle bags, any pistol, dirk, dagger, slung-
   shot, sword-cane, spear, brass-knuckles, bowie-knife, or any other kind of knife
   manufactured or sold for the purposes of offense or defense, unless he had reasonable
   grounds for fearing an unlawful attack on his person, and that such ground of attack
   shall be immediate and pressing; or unless having or carrying the same on or about his
   person for the lawful defense of the State, as a militiaman in actual service, or as a
   peace officer or policeman, shall be guilty of a misdemeanor, and on conviction
   thereof shall, for the first offense, be punished by fine of not less then than twenty-
   five nor more than one hundred dollars, and shall forfeit to the county the weapon or
   weapons so found on or about his person; and for every subsequent offense may, in
   addition to such fine and forfeiture, be imprisoned in the county jail for a term not

                                             68
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 208
                                                               PageID.11703
                                                                  of 230 PageID
                                                                              Page
                                                                                #:534
                                                                                   207 of
                                          229



   exceeding sixty days; and in every case of fine under this section the fined imposed
   and collected shall go into the treasury of the county in which they may have been
   imposed; provided, that this section shall not be so contrued as to prohibit any person
   from keeping or bearing arms on his or her own premises, or at his or her own place
   of business, nor to prohibit sheriffs or other revenue officers, and other civil officers,
   from keeping or bearing arms while engaged in the discharge of their official duties,
   nor to prohibit persons traveling in the State from keeping or carrying arms with their
   baggage; provided further, that members of the Legislature shall not be included
   under the term “civil officers” as used in this act.
   § 2. Any person charged under the first section of this act, who may offer to prove, by
   way of defense, that he was in danger of an attack on his person, or unlawful
   interference with his property, shall be required to show that such danger was
   immediate and pressing, and was of such a nature as to alarm a person of ordinary
   courage; and that the weapon so carried was borne openly and not concealed beneath
   the clothing; and if it shall appear that this danger had its origin in a difficulty first
   commenced by the accused, it shall not be considered as a legal defense.

   Tex. Act of Apr. 12, 1871, as codified in Tex. Penal Code (1879).
   Art. 163.
   If any person other than a peace officer, shall carry any gun, pistol, bowie knife, or
   other dangerous weapon, concealed or unconcealed, on any day of election , during
   the hours the polls are open, within the distance of one-half mile of any poll or
   voting place, he shall be punished as prescribed in article 161 of the code. Art. 318.
   If any person in this state shall carry on or about his person, saddle, or in his saddle
   bags, any pistol, dirk, dagger, slung-shot, sword cane, spear, brass-knuckles, bowie
   knife, or any other kind of knife manufactured or sold for purposes of offense or
   defense, he shall be punished by fine . . . in addition thereto, shall forfeit to the
   county in which he is convicted, the weapon or weapons so carried.

   1897 Tex. Gen. Laws 221, An Act To Prevent The Barter, Sale And Gift Of Any
   Pistol, Dirk, Dagger, Slung Shot, Sword Cane, Spear, Or Knuckles Made Of Any
   Metal Or Hard Substance To Any Minor Without The Written Consent Of The
   Parent Or Guardian Of Such Minor. . ., chap. 155.
   That if any person in this State shall knowingly sell, give or barter, or cause to be
   sold, given or bartered to any minor, any pistol, dirk, dagger, slung shot, sword-
   cane, spear or knuckles made of any metal or hard substance, bowie knife or any
   other knife manufactured or sold for the purpose of offense or defense, without the
   written consent of the parent or guardian of such minor, or of someone standing in
   lieu thereof, he shall be punished by fine of not less then twenty-five nor more than
   two hundred dollars, or by imprisonment in the county jail not less than ten nor

                                               69
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 209
                                                               PageID.11704
                                                                  of 230 PageID
                                                                              Page
                                                                                #:535
                                                                                   208 of
                                          229



   more than thirty days, or by both such fine and imprisonment and during the time
   of such imprisonment such offender may be put to work upon any public work in
   the county in which such offense is submitted.

   Theodore Harris, Charter and Ordinances of the City of San Antonio. Comprising
   All Ordinances of a General Character in Force August 7th, Page 220, Image 225
   (1899) available at The Making of Modern Law: Primary Sources.
   Brandishing | Texas | 1899
   Ordinances of the City of San Antonio, Ordinances, ch. 22, § 4.
   If any person shall, within the city limits, draw any pistol, gun, knife, sword-cane,
   club or any other instrument or weapon whereby death may be caused, in a
   threatening manner, or for the purpose of intimidating others, such person shall be
   deemed guilty of an offense.

   UTAH

   Dangerous and Concealed Weapon, Feb. 14, 1888, reprinted in The Revised
   Ordinances Of Salt Lake City, Utah 283 (1893) (Salt Lake City, Utah). § 14.
   Any person who shall carry and slingshot, or any concealed deadly weapon,
   without the permission of the mayor first had and obtained, shall, upon conviction,
   be liable to a fine not exceeding fifty dollars.

   Chapter 5: Offenses Against the Person, undated, reprinted in The Revised
   Ordinances Of Provo City, Containing All The Ordinances In Force 105, 106-7
   (1877) (Provo, Utah).
   § 182: Every person who shall wear, or carry upon his person any pistol, or other
   firearm,
   slungshot, false knuckles, bowie knife, dagger or any other dangerous or deadly
   weapon, is guilty of an offense, and liable to a fine in any sum not exceeding
   twenty-five dollars; Provided, that nothing in this section, shall be construed to
   apply to any peace officer, of the United States, the Territory of Utah, or of this
   city. 2




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    See http://www.supremecourt.gov/DocketPDF/18/18-
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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 210
                                                               PageID.11705
                                                                  of 230 PageID
                                                                              Page
                                                                                #:536
                                                                                   209 of
                                          229



   VERMONT

   Ordinances of the City of Barre, Vermont
   Carrying Weapons, Firing Weapons | Vermont | 1895
   CHAPTER 16, § 18.
   No person, except on his own premises, or by the consent and permission of the
   owner or occupant of the premises, and except in the performance of some duty
   required by law, shall discharge any gun, pistol, or other fire arm loaded with ball
   or shot, or with powder only, or firecrackers, serpent, or other preparation whereof
   gunpowder or other explosive substance is an ingredient, or which consists wholly
   of the same, nor shall make any bonfire in or upon any street, lane, common or
   public place within the city, except by authority of the city council.
   CHAPTER 38, SEC. 7. No person shall carry within the city any steel or brass
   knuckles, pistol, slung shot, stilletto, or weapon of similar character, nor carry any
   weapon concealed on his person without permission of the mayor or chief of police
   in writing.3




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                                                Filed 10/13/22
                                                         Page 211
                                                               PageID.11706
                                                                  of 230 PageID
                                                                              Page
                                                                                #:537
                                                                                   210 of
                                          229



   VIRGINIA

   Collection of All Such Acts of the General Assembly of Virginia, of a Public and
   Permanent Nature, as Are Now in Force; with a New and Complete Index. To
   Which are Prefixed the Declaration of Rights, and Constitution, or Form of
   Government Page 187, Image 195 (1803) available at The Making of Modern Law:
   Primary Sources.
   Race and Slavery Based | Virginia | 1792
   [An Act to Reduce into one, the Several Acts Concerning Slaves, Free Negroes,
   and Mulattoes (1792),] §§ 8-9.
   §8. No negro or mulatto whatsoever shall keep or carry any gun, powder, shot,
   club, or other weapon whatsoever, offensive or defensive, but all and every gun,
   weapon, and ammunition found in the possession or custody of any negro or
   mulatto, may be seized by any person, and upon due proof thereof made before any
   Justice of the Peace of the County or Corporation where such seizure shall be, shall
   by his order be forfeited to the seizor for his own use ; and moreover, every such
   offender shall have and receive by order of such Justice, any number of lashes not
   exceeding thirty-nine, on his or her bare back, well laid on, for every such offense.
   § 9. Provided, nevertheless, That every free negro or mulatto, being a house-
   keeper, may be permitted to keep one gun, powder and shot; and all negroes and
   mulattoes, bond or free, living at any frontier plantation, may be permitted to keep
   and use guns, powder, shot, and weapons offensive or defensive, by license from a
   Justice of Peace of the County wherein such plantation lies, to be obtained upon
   the application of free negroes or mulattoes, or of the owners of such as are slaves.

   The Code of Virginia: With the Declaration of Independence and the Constitution
   of the United States; and the Constitution of Virginia Page 897, Image 913 (1887)
   available at The Making of Modern Law: Primary Sources.
   Carrying Weapons | Virginia | 1887
   Offences Against the Peace, § 3780. Carrying Concealed Weapons, How Punished.
   Forfeiture and Sale of Weapons. If any person carry about his person, hid from
   common observation, any pistol, dirk, bowie-knife, razor, slung-shot, or any
   weapon of the like kind, he shall be fined not less than twenty nor more than one
   hundred dollars, and such pistol, dirk, bowie-knife, razor, slung-shot, or any
   weapon of the like kind, shall be forfeited to the commonwealth and may be seized
   by an officer as forfeited; and upon the conviction of the offender the same shall be
   sold and the proceeds accounted for and paid over as provided in section twenty-
   one hundred and ninety: Provided, that this section shall not apply to any police
   officer, town or city sergeant, constable, sheriff, conservator of the peace, or
   collecting officer, while in the discharge of his official duty.
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CaseCase:
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          1:22-cv-04775 Document
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                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 212
                                                               PageID.11707
                                                                  of 230 PageID
                                                                              Page
                                                                                #:538
                                                                                   211 of
                                          229




   WASHINGTON

   1854 Wash. Sess. Law 80, An Act Relative to Crimes and Punishments, and
   Proceedings in Criminal Cases, ch. 2, § 30.
   Brandishing | Washington | 1854
   Every person who shall, in a rude, angry, or threatening manner, in a crowd of two
   or more persons, exhibit any pistol, bowie knife, or other dangerous weapon, shall
   on conviction thereof, be imprisoned in the county jail not exceeding one year, and
   be fined in any sum not exceeding five hundred dollars.

   1859 Wash. Sess. Laws 109, An Act Relative to Crimes and Punishments, and
   Proceedings in Criminal Cases, ch. 2, § 30.
   Brandishing | Washington | 1859
   Every person who shall, in a rude, angry or threatening manner, in a crowd of two
   or more persons, exhibit any pistol, bowie knife or other dangerous weapon, shall,
   on conviction thereof, be imprisoned in the county jail not exceeding one year, and
   be fined in any sum not exceeding five hundred dollars.

   1869 Wash. Sess. Laws 203-04, An Act Relative to Crimes and Punishments, and
   Proceedings in Criminal Cases, ch. 2, § 32.
   Brandishing | Washington | 1869
   Every person who shall, in a rude, angry or threatening manner, in a crowd of two
   or more persons, exhibit any pistol, bowie knife, or other dangerous weapon, shall
   on conviction thereof, be imprisoned in the county jail not exceeding one year and
   be fined in any sum not exceeding five hundred dollars.

   1881 Wash. Code 181, Criminal Procedure, Offenses Against Public Policy,
   ch. 73, § 929.
   Carrying Weapons | Washington | 1881
   If any person carry upon his person any concealed weapon, he shall be deemed
   guilty of a misdemeanor, and, upon conviction, shall be fined not more than one
   hundred dollars, or imprisoned in the county jail not more than thirty days[.]

   1881 Wash. Sess. Laws 76, An Act to Confer a City Govt. on New Tacoma, ch. 6,
   § 34, pt. 15.
   Carrying Weapons | Washington | 1881
   [T]o regulate the transportation, storage and sale of gunpowder, giant powder,
   dynamite, nitro-glycerine, or other combustibles, and to provide or license
   magazines for the same, and to prevent by all possible and proper means, danger or
                                           73
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 213
                                                               PageID.11708
                                                                  of 230 PageID
                                                                              Page
                                                                                #:539
                                                                                   212 of
                                          229



   risk of injury or damages by fire arising from carelessness, negligence or otherwise
   . . . to regulate and prohibit the carrying of deadly weapons in a concealed manner;
   to regulate and prohibit the use of guns, pistols and firearms, firecrackers, and
   detonation works of all descriptions[.]

   William Lair Hill, Ballinger’s Annotated Codes and Statutes of Washington,
   Showing All Statutes in Force, Including the Session Laws of 1897 Page 1956,
   Image 731 (Vol. 2, 1897) available at The Making of Modern Law: Primary
   Sources.
   Brandishing | Washington | 1881
   Flourishing Dangerous Weapon, etc. Every person who shall in a manner likely to
   cause terror to the people passing, exhibit or flourish, in the streets of an
   incorporated city or unincorporated town, any dangerous weapon, shall be deemed
   guilty of a misdemeanor, and on conviction thereof shall be punished by a fine in
   any sum not exceeding twenty-five dollars. Justices of the peace shall have
   exclusive original jurisdiction of all offenses arising under the last two preceding
   sections.

   1883 Wash. Sess. Laws 302, An Act to Incorporate the City of Snohomish, ch. 6,
   § 29, pt. 15.
   Carrying Weapons | Washington | 1883
   [The city has power] to regulate and prohibit the carrying of deadly weapons in a
   concealed manner; to regulate and prohibit the use of guns, pistols, and fire-arms,
   fire crackers, bombs and detonating works of all descriptions . . . .

   Albert R. Heilig, Ordinances of the City of Tacoma, Washington Page 333-334,
   Image 334-335 (1892) available at The Making of Modern Law: Primary Sources.
   Carrying Weapons | Washington | 1892
   Ordinances of the City of Tacoma, An Ordinance Defining Disorderly Persons and
   Prescribing the Punishment for Disorderly Conduct Within the City of Tacoma. All
   persons (except police officers and other persons whose duty it is to execute
   process or warrants or make arrests) who shall carry upon his person any concealed
   weapon consisting of a revolver, pistol or other fire arms or any knife (other than
   an ordinary pocket knife) or any dirk or dagger, sling shot or metal knuckles, or
   any instrument by the use of which injury could be inflicted upon the person or
   property of any other person.




                                            74
CaseCase:
     3:19-cv-01537-BEN-JLB
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 214
                                                               PageID.11709
                                                                  of 230 PageID
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                                                                                #:540
                                                                                   213 of
                                          229



   Rose M. Denny, The Municipal Code of the City of Spokane, Washington.
   Comprising the Ordinances of the City (Excepting Ordinances Establishing Street
   Grades) Revised to October 22, 1896 Page 309-310, Image 315-316 (1896)
   available at The Making of Modern Law: Primary Sources.
   Carrying Weapons | Washington | 1896
   Ordinances of Spokane, An Ordinance to Punish the Carrying of Concealed
   Weapons within the City of Spokane, § 1.
   If any person within the City of Spokane shall carry upon his person any concealed
   weapon, consisting of either a revolver, pistol or other fire-arms, or any knife
   (other than an ordinary pocket knife) or any dirk or dagger, sling-shot or metal
   knuckles, or any instrument by the use of which injury could be inflicted upon the
   person or property of any other person, shall be deemed guilty of a misdemeanor,
   and upon conviction thereof shall be fined not less than twenty dollars, nor more
   than one hundred dollars and costs of prosecution, and be imprisoned until such
   fine and costs are paid; provided, that this section shall not apply to police officers
   and other persons whose duty is to execute process or warrants or make arrests, or
   persons having a special written permit from the Superior Court to carry weapons

   Richard Achilles Ballinger, Ballinger’s Annotated Codes and Statutes of
   Washington: Showing All Statutes in Force, Including the Session Laws of 1897
   Page 1956-1957, Image 731-732 (Vol. 2, 1897) available at The Making of
   Modern Law: Primary Sources.
   Carrying Weapons | Washington | 1897
   Carrying Concealed Weapons, § 7084.
   If any person shall carry upon his person any concealed weapon, consisting of
   either a revolver, pistol, or other fire-arms, or any knife, (other than an ordinary
   pocket knife), or any dirk or dagger, sling-shot, or metal knuckles, or any
   instrument by the use of which injury could be inflicted upon the person or
   property of any other person, shall be deemed guilty of a misdemeanor, and upon
   conviction thereof shall be fined not less than twenty dollars nor more than one
   hundred dollars, or imprisonment in the county jail not more than thirty days, or by
   both fine and imprisonment, in the discretion of the court: Provided, That this
   section shall not apply to police officers and other persons whose duty it is to
   execute process or warrants or make arrests.




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CaseCase:
     3:19-cv-01537-BEN-JLB
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                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 215
                                                               PageID.11710
                                                                  of 230 PageID
                                                                              Page
                                                                                #:541
                                                                                   214 of
                                          229



   WEST VIRGINIA

   1882 W. Va. Acts 421–22
   Carrying Weapons | West Virginia | 1882
   If a person carry about his person any revolver or other pistol, dirk, bowie knife,
   razor, slung shot, billy, metalic or other false knuckles, or any other dangerous or
   deadly weapon of like kind or character, he shall be guilty of a misdemeanor, and
   fined not less that twenty-five nor more than two hundred dollars, and may, at the
   discretion of the court, be confined in jail not less than one, nor more than twelve
   months; and if any person shall sell or furnish any such weapon as is hereinbefore
   mentioned to a person whom he knows, or has reason, from his appearance or
   otherwise, to believe to be under the age of twenty-one years, he shall be punished
   as hereinbefore provided; but nothing herein contained shall be so construed as to
   prevent any person from keeping or carrying about his dwelling house or premises
   any such revolver or other pistol, or from carrying the same from the place of
   purchase to his dwelling house, or from his dwelling house to any place where
   repairing is done, to have it repaired, and back again. And if upon the trial of an
   indictment for carrying any such pistol, dirk, razor or bowie knife, the defendant
   shall prove to the satisfaction of the jury that he is a quiet and peacable citizen, of
   good character and standing in the community in which he lives, and at the time he
   was found with such pistol, dirk, razor or bowie knife, as charged in the
   indictment, he had good cause to believe and did believe that he was in danger of
   death or great bodily harm at the hands of another person, and that he was, in good
   faith, carrying such weapon for self-defense and for no other purpose, the jury shall
   find him not guilty. But nothing in this section contained shall be construed as to
   prevent any officer charged with the execution of the laws of the state from
   carrying a revolver or other pistol, dirk or bowie knife.

   1891 W. Va. Code 915, Of Offences Against the Peace, ch. 148, § 7.
   Carrying Weapons | West Virginia | 1891
   If a person carry about his person any revolver or other pistol, dirk, bowie knife,
   razor, slung shot, billy, metallic or other false knuckles, or any other dangerous or
   deadly weapon of like kind or character, he shall be guilty of a misdemeanor, and
   fined not less than twenty-five nor more than two hundred dollars, and may, at the
   discretion of the court, be confined in jail not less than one nor more than twelve
   months; and if any person shall sell or furnish any such weapon as is hereinbefore
   mentioned to a person whom he knows, or has reason, from his appearance or
   otherwise, to believe to be under the age of twenty-one years, he shall be punished
   as hereinbefore provided; but nothing herein contained shall be so construed as to
   prevent any person from keeping or carrying about his dwelling house or premises,
                                             76
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 216
                                                               PageID.11711
                                                                  of 230 PageID
                                                                              Page
                                                                                #:542
                                                                                   215 of
                                          229



   any such revolver or other pistol, or from carrying the same from the place of
   purchase to his dwelling house, or from his dwelling house to any place where
   repairing is done, to have it repaired and back again. And if upon the trial of an
   indictment for carrying any such pistol, dirk, razor or bowie knife, the defendant
   shall prove to the satisfaction of the jury that he is a quiet and peaceable citizen, of
   good character and standing in the community in which he lives, and at the time he
   was found with such pistol, dirk, razor or bowie knife, as charged in the indictment
   he had good cause to believe and did believe that he was in danger of death or
   great bodily harm at the hands of another person, and that he was in good faith,
   carrying such weapon for self-defense and for no other purpose, the jury shall find
   him not guilty. But nothing in this section contained shall be so construed as to
   prevent any officer charged with the execution of the laws of the State, from
   carrying a revolver or other pistol, dirk or bowie knife.

   1925 W.Va. Acts 25-30, 1st Extraordinary Sess., An Act to Amend and Re-Enact
   Section Seven . . . Relating to Offenses Against the Peace; Providing for the
   Granting and Revoking of Licenses and Permits Respecting the Use,
   Transportation and Possession of Weapons and Fire Arms. . . , ch. 3, § 7, pt. a.
   Carrying Weapons, Possession by, Use of, and Sales to Minors and Others Deemed
   Irresponsible, Registration and Taxation | West Virginia | 1925
   § 7 (a). If any person, without a state license therefor, carry about his person any
   revolver or other pistol, dirk, bowie-knife, slung shot, razor, billy, metallic or other
   false knuckles, or any other dangerous or deadly weapon of like kind or character,
   he shall be guilty of a misdemeanor and upon conviction thereof be confined in the
   county jail for a period of not less than six nor more than twelve months for the
   first offense; but upon conviction of the same person for the second offense in this
   state, he shall be guilty of a felony and be confined in the penitentiary not less than
   one or more than five years, and in either case fined not less than fifty nor more
   than two hundred dollars, in the discretion of the court. . . .

   WISCONSIN

   1883 Wis. Sess. Laws 713, An Act to Revise, consolidate And Amend The Charter
   Of The City Of Oshkosh, The Act Incorporating The City, And The Several Acts
   Amendatory Thereof, chap. 6, § 3, pt. 56.
   To regulate or prohibit the carrying or wearing by any person under his clothes or
   concealed about his person any pistol or colt, or slung shot, or cross knuckles or
   knuckles of lead, brass or other metal or bowie knife, dirk knife, or dirk or dagger,
   or any other dangerous or deadly weapon and to provide for the confiscation or
   sale of such weapon.
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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 217
                                                               PageID.11712
                                                                  of 230 PageID
                                                                              Page
                                                                                #:543
                                                                                   216 of
                                          229




   WYOMING

   1884 Wyo. Sess. Laws, chap. 67, § 1, as codified in Wyo. Rev. Stat., Crimes
   (1887): Exhibiting deadly weapon in angry manner. § 983.
   Whoever shall, in the presence of one or more persons, exhibit any kind of fire-
   arms, Bowie Knife, dirk, dagger, slung-shot or other deadly weapon, in a rude,
   angry or threatening manner not necessary to the defense of his person, family or
   property, shall be deemed guilty of misdemeanor, and on conviction thereof, shall
   be punished by a fine not less than ten dollars, nor more than one hundred dollars,
   or by imprisonment in the county jail not exceeding six months . . . .

   Wyo. Comp. Laws (1876) chap. 35 § 127, as codified in Wyo. Rev. Stat., Crimes
   (1887) Having possession of offensive weapons. § 1027.
   If any person or persons have upon him any pistol, gun, knife, dirk, bludgeon or
   other offensive weapon, with intent to assault any person, every such person, on
   conviction, shall be fined in any sum not exceeding five hundred dollars, or
   imprisoned in the county jail not exceeding six months.

   A. McMicken, City Attorney, The Revised Ordinances of the City of Rawlins,
   Carbon County, Wyoming Page 131-132; Image 132-133 (1893) available at The
   Making of Modern Law: Primary Sources.
   Carrying Weapons | Wyoming | 1893
   Revised Ordinances of the City of Rawlins, Article VII, Carrying Firearms and
   Lethal Weapons, § 1.
   It shall be unlawful for any person in said city to keep or bear upon the person any
   pistol, revolver, knife, slungshot, bludgeon or other lethal weapon, except the
   officers of the United States, of the State of Wyoming, of Carbon County and of
   the City of Rawlins. § 2. Any person convicted of a violation of the preceding
   section shall be fined not exceeding one hundred dollars, or imprisoned in the city
   jail not exceeding thirty days. § 3. Persons not residing in said city shall be notified
   of this Ordinance by the police or any citizen, and after thirty minutes from the
   time of notification, shall be held liable to the penalties of this article, in case of its
   violation. § 4. The city marshal and policemen of the city shall arrest, without
   warrant, all persons found violating the provisions of this article, and are hereby
   authorized to take any such weapon from the person of the offender and to
   imprison the offender for trial, as in case of violations of other Ordinances of said
   city.

   SOURCE: https://firearmslaw.duke.edu/repository/search-the-repository/
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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
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                                                         Page 218
                                                               PageID.11713
                                                                  of 230 PageID
                                                                              Page
                                                                                #:544
                                                                                   217 of
                                          229




                                   EXHIBIT F
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     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 219
                                                               PageID.11714
                                                                  of 230 PageID
                                                                              Page
                                                                                #:545
                                                                                   218 of
                                          229



                                         EXHIBIT F

                               TRAP GUN RESTRICTIONS1

   MARYLAND:

   1910 Md. Laws 521, § 16c.
   Sensitive Places and Times | Maryland | 1910
   § 16c. That it shall be unlawful for any person to hunt, pursue or kill any of the
   birds or animals named in Section 12, 13, 14 and 14A of this Act, or any
   insectivorous birds (excepting English sparrows), in Allegany County on Sunday,
   or on election days, and it shall be prima facie evidence of a violation of this Act if
   any person is found in the fields or woods with on a gun on Sunday or on election
   days, or to hunt or kill in any trap or destroy any of the birds . . .

   MICHIGAN:

   1875 Mich. Pub. Acts 136, An Act To Prevent The Setting Of Guns And Other
   Dangerous Devices, § 1.
   Dangerous or Unusual Weapons | Michigan | 1875
   [I]f any person shall set any spring or other gun, or any trap or device operating by
   the firing or explosion of gunpowder or any other explosive, and shall leave or
   permit the same to be left, except in the immediate presence of some competent
   person, he shall be deemed to have committed a misdemeanor; and the killing of
   any person by the firing of a gun or device so set shall be deemed to be
   manslaughter.

   1931 Mich. Pub. Acts 671, The Michigan Penal Code, ch. 37, § 236.
   Dangerous or Unusual Weapons | Michigan | 1931
   Setting spring guns, etc.–Any person who shall set any spring or other gun, or any
   trap or device operating by the firing or explosion of gunpowder or any other
   explosive, and shall leave or permit the same to be left, except in the immediate
   presence of some competent person, shall be guilty of a misdemeanor, punishable
   by imprisonment in the county jail not more than one year, or by a fine of not more
   than five hundred dollars, and the killing of any person by the firing of a gun or
   device so set shall be manslaughter.



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       Further research may yield additional laws regulating trap guns.

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                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 220
                                                               PageID.11715
                                                                  of 230 PageID
                                                                              Page
                                                                                #:546
                                                                                   219 of
                                          229



   MINNESOTA:

   The Statutes at Large of the State of Minnesota: Comprising the General Statutes
   of 1866 as Amended by Subsequent Legislation to the Close of the Session of
   1873: Together with All Laws of a General Nature in Force, March 7, A.D. 1873
   with References to Judicial Decisions of the State of Minnesota, and of Other
   States Whose Statutes are Similar to Which are Prefixed the Constitution of the
   United States, the Organic Act, the Act Authorizing a State Government, and the
   Constitution of the State of Minnesota Page 993, Image 287 (Vol. 2, 1873)
   available at The Making of Modern Law: Primary Sources.
   Dangerous or Unusual Weapons | Minnesota | 1873
   Of Crimes and Their Punishment, Setting Spring Guns Unlawful, § 64-65.
   § 64. The setting of a so-called trap or spring gun, pistol, rifle, or other deadly
   weapon in this state is hereby prohibited and declared to be unlawful.
   § 65. Any person offending against the foregoing section shall be punished as
   follows: If no injury results therefrom to any person, the person so offending shall
   be punished by imprisonment in the county jail of the proper county for a period
   not less than six months, or by fine not exceeding five hundred dollars, or by both
   fine and imprisonment, at the discretion of the court. If death results to any human
   being from the discharge of a weapon so unlawfully set, the person so offending
   shall, upon conviction thereof, be punished by imprisonment in the state prison for
   a term not exceeding fifteen nor less than ten years. If any person is injured, but
   not fatally, by the discharge of any weapon so unlawfully set, the person so
   offending, upon conviction thereof, shall be punished by imprisonment in the state
   prison for a term not exceeding five years, in the discretion of the court.

   MISSOURI:

   “Shot by a Trap-Gun,” The South Bend Tribune, Feb. 11, 1891: “Chillicothe, Mo.,
   Feb. 11 – In the circuit court George Dowell, a young farmer, was fined $50 under
   an old law for setting a trap-gun. Dowell set the gun in his corn-crib to catch a
   thief, but his wife was the first person to visit the crib and on opening the door was
   shot dead.”2




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       See https://bit.ly/3CtZsfk.

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CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 221
                                                               PageID.11716
                                                                  of 230 PageID
                                                                              Page
                                                                                #:547
                                                                                   220 of
                                          229



   NEW HAMPSHIRE:

   1915 N.H. Laws 180-81, An Act to Revise and Amend the Fish and Game Laws,
   ch. 133, pt. 2, § 18.
   Dangerous or Unusual Weapons | New Hampshire | 1915
   A person who violates a provision of this part is guilty of a misdemeanor and shall
   be fined as follows . . . [p]rovided, however, that a person violating the prohibition
   against setting a spring gun the object of which is to discharge a firearm, shall be
   fined not more than five hundred dollars nor less than fifty dollars, and shall be
   liable for twice the amount of the damage caused by his act, to be recovered by the
   person sustaining the injury or loss.

   NEW JERSEY:

   1763-1775 N.J. Laws 346, An Act for the Preservation of Deer and Other Game,
   and to Prevent Trespassing with Guns, ch. 539, § 10.
   Dangerous or Unusual Weapons | New Jersey | 1771
   And Whereas a most dangerous Method of setting Guns has too much prevailed in
   this Province, Be it Enacted by the Authority aforesaid, That if any Person or
   Persons within this Colony shall presume to set any loaded Gun in such Manner as
   that the same shall be intended to go off or discharge itself, or be discharged by
   any String, Rope, or other Contrivance, such Person or Persons shall forfeit and
   pay the Sum of Six Pounds; and on Non-payment thereof shall be committed to the
   common Gaol of the County for Six Months.

   NEW YORK:

   “The Man Trap,” The Buffalo Commercial, Nov. 1, 1870: “Coroner Flynn and the
   jury previously impaneled yesterday morning concluded the inquest on the body of
   George Tweedle, the burglar, who was shot by the trap-gun in the shop of Joseph J.
   Agostino . . . . A Springfield musket was fastened to the sill, inside, with the
   muzzle three inches from the shutter. The other end of the barrel rested on a block
   of wood, and one end of a string was tied to the hammer, passed over a small
   pulley, and the other end fastened to the shutter, so that, on opening the latter, the
   discharge would follow. . . . The jury retired, and in a short time returned with a
   verdict setting forth the cause of death to have been a musket shot wound from a
   weapon placed as a trap by Joseph D. Agostino. As there is a statute against the
   use of such infernal machines, which might cause loss of life to some innocent



                                             3
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 222
                                                               PageID.11717
                                                                  of 230 PageID
                                                                              Page
                                                                                #:548
                                                                                   221 of
                                          229



   person, the jury censured Agostino. He will not be released, however, but will be
   held under $2,000 bail.”3

   NORTH DAKOTA:

   1891 N.D. Laws 193, An Act to Amend Sections 1 and 2 of Chapter 63 of the
   General Laws of 1883, ch. 70, § 1.
   Dangerous or Unusual Weapons | North Dakota | 1891
   That it shall be unlawful for any person or persons to kill, ensnare or trap in any
   form or manner, or by any device whatever, or for any purpose, any buffalo, elk,
   deer, antelope or mountain sheep between the 1st day of January and the 1st day of
   September of each and every year. And it shall be unlawful for any person or
   persons, at any time, to use or employ any hound or dogs of any kind in running or
   driving any buffalo, elk, deer, antelope or mountain sheep, or to set any gun or
   guns or gun trap to be discharged upon or by, any buffalo, elk, deer, antelope or
   mountain sheep as driven or pursued in any manner whatever.

   The Revised Codes of the State of North Dakota 1895 Together with the
   Constitution of the United States and of the State of North Dakota with the
   Amendments Thereto Page 1259, Image 1293 (1895) available at The Making of
   Modern Law: Primary Sources.
   Dangerous or Unusual Weapons | North Dakota | 1895
   Setting Spring Gun, Trap or Device. Every person who sets any spring or other gun
   or trap or device operating by the firing or exploding of gunpowder or any other
   explosive, and leaves or permits the same to be left, except in the immediate
   presence of some competent person, shall be deemed to have committed a
   misdemeanor; and the killing of any person by the firing of a gun or other device
   so set shall be deemed to be manslaughter in the first degree.

   OREGON:

   1925 Or. Laws 42, An Act Prohibiting the Placing of Spring-Guns or Set-Guns;
   and Providing a Penalty Therefor, ch. 31, §§ 1-2.
   Dangerous or Unusual Weapons | Oregon | 1925
   § 1. It shall be unlawful for any person to place or set any loaded spring-gun or set-
   gun, or any gun or firearm or other device of any kind designed for containing or
   firing explosives in any place whatsoever where the same may be fired, exploded
   or discharged by the contract of any person or animal with any string, wire, rod,
   3
       See https://bit.ly/3yUSGNF.

                                             4
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 223
                                                               PageID.11718
                                                                  of 230 PageID
                                                                              Page
                                                                                #:549
                                                                                   222 of
                                          229



   stick, spring or other contrivance affixed thereto or connected therewith or with the
   trigger thereof.
   § 2. Any person who shall violate any of the provisions of this act shall be deemed
   guilty of a misdemeanor and shall be punished by a fine of not less than $100 nor
   more than $500, or by imprisonment in the county jail not less than thirty days nor
   more than six months, or by both such fine and imprisonment; provided, however,
   that this act shall not apply to any loaded spring-gun or set-gun or firearm or any
   device placed for the purpose of destroying gophers, moles or other burrowing
   rodents.


   RHODE ISLAND:

   1890 R.I. Pub. Laws 17, An Act In Amendment Of And IN Addition to Chapter 94
   Of The Public Statutes Of Birds, § 6;
   1892 R.I. Pub. Laws 14, An Act In Amendment Of Chapter 92 Of The Public
   Statutes, Entitled “Of Firearms And Fireworks, § 6.
   Hunting | Rhode Island | 1890, 1892
   § 6. Every person who shall at any time of year, take, kill or destroy any quail or
   partridge, by means of any trap, snare, net or spring, or who shall construct, erect,
   set, repair, maintain or tend any trap, snare, net, or spring for the purpose of taking,
   killing or destroying any quail or patridge, or who shall shoot any water fowl by
   means or by the use of any battery, swivel, punt or pivot gun, shall be fined for
   each offence, twenty dollars. Provided, however, that at such seasons as the taking,
   killing or destroying of such birds is prohibited by this chapter, any person may
   snare on his own land.

   SOUTH CAROLINA:

   Edmund William McGregor Mackey, The Revised Statutes of the State of South
   Carolina, Prepared by Commissioners under an Act of the General Assembly,
   Approved March 9, 1869, to Which is Prefixed the Constitution of the United
   States and the Constitution of South Carolina Page 404, Image 482 (1873)
   available at The Making of Modern Law: Primary Sources.
   Hunting | South Carolina | 1855
   Hunting, General Provisions, § 21.
   That it shall not be lawful for any non-resident of this State to use a gun, set a trap
   or decoy, or to employ any other device for killing or taking deer, turkeys, ducks or
   other game, not to set a trap, seine, or net, or draw or use the same, or any other
   contrivance for taking or killing fish, within the territorial limits of this State.
                                              5
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 224
                                                               PageID.11719
                                                                  of 230 PageID
                                                                              Page
                                                                                #:550
                                                                                   223 of
                                          229




   1931 S.C. Acts 78, An Act Declaring it unlawful for any person, firm, or
   corporation to place a loaded trap gun, spring gun, or any like devise in any
   building, or in any place, and providing punishment for the violation thereof: § 1.
   Dangerous or Unusual Weapons | South Carolina | 1931
   Be it enacted by the General Assembly of the State of South Carolina: That it shall
   be unlawful for any person, firm, or corporation to construct, set, or place a loaded
   trap gun, spring gun, or any like device in any manner in any building, or in any
   place within this State, and any violation to the provisions of this Act shall be
   deemed a misdemeanor and punished by fine of not less than One Hundred
   ($100.00) Dollars and not more than Five Hundred ($500.00) Dollars, or by
   imprisonment of not less than thirty (30) days nor more than one (1) year, or by
   both fine and imprisonment, in the discretion of the Court.

   SOUTH DAKOTA:

   1909 S.D. Sess. Laws 450, An Act for the Preservation, Propagation, Protection,
   Taking, Use and Transportation of Game and Fish and Establishing the Office of
   State Game Warden and Defining His Duties, ch. 240, §§ 21-22.
   Hunting | South Dakota | 1909
   § 21. No person shall at any time catch, take or kill any of the birds or animals
   mentioned in this chapter in any other manner than by shooting them with a gun
   held to the shoulder of the person discharging the same.
   § 22. No person shall at any time set, lay or prepare or have in possession, any trap,
   snare, artificial light, net, bird line, swivel gun or set gun or any contrivance
   whatever for the purpose of catching, taking or killing any of the same animals or
   birds in this chapter mentioned, except that decoys and stationary blinds may be
   used in hunting wild geese, brant and ducks. The use of rifles in the hunting of said
   birds is prohibited.

   UTAH:

   An Act in relation to Crimes and Punishment, Ch. XXII, Title VII, Sec. 102, in
   Acts, Resolutions and Memorials Passed at the Several Annual Sessions of the
   Legislative Assembly of the Territory of Utah 59 (Henry McEwan 1866).
   Sentence Enhancement for Use of Weapon | Utah | 1865
   § 102. If any person maliciously injure, deface or destroy any building or fixture
   attached thereto, or wilfully and maliciously injure, destroy or secrete any goods,
   chattels or valuable paper of another, or maliciously, prepare any dead fall, or dig
   any pit, or set any gun, or arrange any other trap to injure another’s person or
                                             6
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 225
                                                               PageID.11720
                                                                  of 230 PageID
                                                                              Page
                                                                                #:551
                                                                                   224 of
                                          229



   property, he shall be imprisoned not more than one year, or fined not exceeding
   five hundred dollars, or both fined and imprisoned at the discretion of the court;
   and is liable to the party injured in a sum equal to three times the value of the
   property so destroyed or injured or damage sustained, in a civil action.

   1901 Utah Laws 97-98, An Act Defining an Infernal Machine, and Prescribing
   Penalties for the Construction or Contrivance of the Same, or Having Such
   Machine in Possession, or Delivering Such Machine to Any Person . . . , ch. 96,
   §§ 1-3. Dangerous or Unusual Weapons | Utah | 1901
   § 1. Infernal machine defined. That an infernal machine is any box, package,
   contrivance or apparatus, containing or arranged with an explosive or acid or
   poisonous or inflammable substance, chemical, or compound, or knife, or loaded
   pistol or gun or other dangerous or harmful weapon or thing constructed, contrived
   or arranged so as to explode, ignite or throw forth its contents, or to strike with any
   of its parts, unexpectedly when moved, handled or open, or after the lapse of time,
   or under conditions, or in a manner calculated to endanger health, life, limb or
   property.
   § 2. That every person who delivers or causes to be delivered, to any express or
   railway company or other common carrier to any person any infernal machine,
   knowing it to be such, without informing such common carrier or person of the
   nature therof, or sends the same through mail, or throws or places the same on or
   about the premises or property of another, or in any place where another may be
   injured thereby, in his person or property, is guilty of a felony, and upon conviction
   thereof, shall be punished by imprisonment in the state prison for a term not
   exceeding twenty-five years.
   § 3. Penalty for constructing or having in possession – That every person who
   knowingly constructs or contrives any infernal machine, or with intent to injure
   another in his person or property, has any infernal machine in his possession, is
   guilty of a felony, and upon conviction thereof, shall be punished by imprisonment
   in the state prison for a term not exceeding five years.

   VERMONT:

   1884 Vt. Acts & Resolves 74, An Act Relating To Traps, § 1
   Dangerous or Unusual Weapons | Vermont | 1884
   A person who sets a spring gun trap, or a trap whose operation is to discharge a
   gun or firearm at an animal or person stepping into such trap, shall be fined not less
   than fifty nor more than five hundred dollars, and shall be further liable to a person
   suffering damage to his own person or to his domestic animals by such traps, in a
   civil action, for twice the amount of such damage. If the person injured dies, his
                                             7
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 226
                                                               PageID.11721
                                                                  of 230 PageID
                                                                              Page
                                                                                #:552
                                                                                   225 of
                                          229



   personal representative may have the action, as provided in sections two thousand
   one hundred and thirty-eight and two thousand one hundred and thirty-nine of the
   Revised Laws.

   1912 Vt. Acts and Resolves 261
   Dangerous or Unusual Weapons | Vermont | 1912
   . . . and provided further that a person violating the prohibition against setting a
   spring gun or other device the object of which is to discharge a firearm shall be
   fined not more than five hundred dollars nor less than fifty dollars, and shall also
   be liable for twice the amount of the damage caused by his act to be recovered by
   the person sustaining the injury or loss, in an action on this section.


   WASHINGTON:

   1909 Wash. Sess. Laws 973, An Act Relating to Crimes and Punishments and the
   Rights and Custody of Persons Accused or Convicted of Crime, and Repealing
   Certain Acts, ch. 249, ch. 7, §266, pts. 1-3.
   Dangerous or Unusual Weapons | Washington | 1909
   § 266. Setting Spring Guns. Every person who shall set a so-called trap, spring
   pistol, rifle, or other deadly weapon, shall be punished as follows: 1. If no injury
   result therefrom to any human being, by imprisonment in the county jail for not
   more than one year or by a fine of not more than one thousand dollars, or by both.
   2. If injuries not fatal result therefrom to any human being, by imprisonment in the
   state penitentiary for not more than twenty years. 3. If the death of a human being
   results therefrom, by imprisonment in the state penitentiary for not more than
   twenty years.




                                             8
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 227
                                                               PageID.11722
                                                                  of 230 PageID
                                                                              Page
                                                                                #:553
                                                                                   226 of
                                          229



   WISCONSIN:

   David Taylor, The Revised Statutes of the State of Wisconsin, as Altered and
   Amended by Subsequent Legislation, Together with the Unrepealed Statutes of a
   General Nature Passed from the Time of the Revision of 1858 to the Close of the
   Legislature of 1871, Arranged in the Same Manner as the Statutes of 1858, with
   References, Showing the Time of the Enactment of Each Section, and Also
   References to Judicial Decisions, in Relation to and Explanatory of the Statutes
   Page 1964, Image 859 (Vol. 2, 1872) available at The Making of Modern Law:
   Primary Sources.
   Dangerous or Unusual Weapons | Wisconsin | 1872
   Offenses Cognizable Before Justices, Miscellaneous. § 53. Any person or persons
   in this State who shall hereafter set any gun, pistol or revolver, or any other
   firearms, for the purpose of killing deer or any other game, or for any other
   purpose, shall be deemed guilty of a misdemeanor, and upon conviction shall be
   fined in a sum not exceeding fifty dollars, and shall be imprisoned in the county
   jail of the proper county for a term of not less than twenty days.

   1921 Wis. Sess. Laws 870, An Act . . . Relating to Wild Animals, ch. 530, § 1.
   Hunting | Wisconsin | 1921
   (29.22)(1) No person shall hunt game with any means other than the use of a gun
   held at arm’s length and discharged from the shoulder; or place, spread or set any
   net, pitfall, spring gun, pivot gun, swivel gun, or other similar contrivance for the
   purpose of catching, or which might catch, take or ensnare game . . . and no person
   shall carry with him in any automobile any gun or rifle unless the same is
   unloaded, and knocked down or unloaded and inclosed within a carrying case[.]




                                             9
CaseCase:
     3:19-cv-01537-BEN-JLB
          1:22-cv-04775 Document
                             Document
                                 #: 34-4137-8
                                         Filed: 12/19/22
                                                Filed 10/13/22
                                                         Page 228
                                                               PageID.11723
                                                                  of 230 PageID
                                                                              Page
                                                                                #:554
                                                                                   227 of
                                          229




                                   EXHIBIT G
   CaseCase:
        3:19-cv-01537-BEN-JLB
             1:22-cv-04775 Document
                                Document
                                    #: 34-4137-8
                                            Filed: 12/19/22
                                                   Filed 10/13/22
                                                            Page 229
                                                                  PageID.11724
                                                                     of 230 PageID
                                                                                 Page
                                                                                   #:555
                                                                                      228 of
                                             229
                                                           The Buffalo Commercial (Buffalo, New York) · Tue, Nov 1, 1870 · Page 4
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   CaseCase:
        3:19-cv-01537-BEN-JLB
             1:22-cv-04775 Document
                                Document
                                    #: 34-4137-8
                                            Filed: 12/19/22
                                                   Filed 10/13/22
                                                            Page 230
                                                                  PageID.11725
                                                                     of 230 PageID
                                                                                 Page
                                                                                   #:556
                                                                                      229 of
                                             229
                                                           The South Bend Tribune (South Bend, Indiana) · Wed, Feb 11, 1891 · Page 3
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